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17                               UNITED STATES DISTRICT COURT
18                            SOUTHERN DISTRICT OF CALIFORNIA
19 DARRYL DUNSMORE, ANDREE                                 Case No. 3:20-cv-00406-AJB-DDL
   ANDRADE, ERNEST ARCHULETA,
20 JAMES CLARK, ANTHONY EDWARDS,                           VOLUME II – EXHIBITS TO
   REANNA LEVY, JOSUE LOPEZ,                               REPLY DECLARATION OF
21 CHRISTOPHER NORWOOD, JESSE                              RICHARD M. PEARL IN
   OLIVARES, GUSTAVO SEPULVEDA,                            SUPPORT OF PLAINTIFFS’
22 MICHAEL TAYLOR, and LAURA                               MOTION FOR INTERIM
   ZOERNER, on behalf of themselves and all                ATTORNEYS’ FEES AND
23 others similarly situated,                              COSTS
                 Plaintiffs,
24                                                         Judge: Hon. Anthony J. Battaglia
          v.
25 SAN DIEGO COUNTY SHERIFF’S                              Date: May 8, 2025
   DEPARTMENT, COUNTY OF SAN                               Time: 2:00 p.m.
26 DIEGO, SAN DIEGO COUNTY                                 Crtrm.: 4A
   PROBATION DEPARTMENT, and DOES
27 1 to 20, inclusive,
                 Defendants.
28
     [4672402.1]                                                     Case No. 3:20-cv-00406-AJB-DDL
               VOLUME II – EXHIBITS TO REPLY DECLARATION OF RICHARD M. PEARL IN SUPPORT OF
                       PLAINTIFFS’ MOTION FOR INTERIM ATTORNEYS’ FEES AND COSTS
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     SUPPORT OF PLAINTIFFS’ MOTION FOR INTERIM ATTORNEYS’
                        FEES AND COSTS

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  2001-035537, Cal. Sup. Ct. (dated August 31, 2010)           B        136-172

  Declaration of John O’Connor, Johnson v. Sear,
  Roebuck and Co, et al., Case No. 34-2009-00054053,
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  Fee Petition, Nadaf-Rahrov v. Neiman Marcus Group,
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  Corrected Declaration of Guy B. Wallace, Nevarez v.
  Forty Niners Football Company, LLC, Case
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[4672187.2]
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          Guinnane Construction Co. E Chess et al, Alameda County
                                        Superior Ct. No. RG18932289




                                                                       Ex. A - 70
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                                                                                         County of Alameda
                                                                                            07/03/2024
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                                                                                 By              YIN6.0           Deputy
                                                                                               D. Fisher
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                        COUNTY OF ALAMEDA


     GUINNANE CONSTRUCTION CO., INC.,                        No.      RG18932289

                 Plaintiff,                                  TENTATIVE AND PROPOSED
                                                             STATEMENT OF DECISION AFTER
         V.                                                  TRIAL
     STEPHEN MARC CHESS, CHESS
     CONNECT INC., a California corporation
     doing business as TOWNSEND
     COMMERCIAL REAL ESTATE, EDMUN
     JIN aka EDMUND JIN and DOES 1-20,
                 Defendants(s).



    I.        INTRODUCTION

              This action concerns round two of a dispute regarding 2120 Greenville Road, Livermore,

    California ("Greenville Property"). Previously, in Guinnane Construction Co., Inc. v. Peterson,

    Alameda County Superior Court Case No. RG17861212 ("Peterson Action"), Guinnane

    Construction Co., Inc. ("Guinnane" or "Guinnane Construction") obtained a judgment entered on

    August 15, 2018, against Russell Peterson, Janet Peterson, Christie Hibner and Yong Lu ordering

    the Greenville Property to be conveyed to Guinnane. Afterwards, Guinnane initiated this action

    on December 14, 2018, against defendants Edmund Jin, Stephen Marc Chess, and Chess Connect

    Inc. (dba Townsend Commercial Real Estate) (Mr. Chess and Chess Connect collectively "Chess

    defendants"), alleging that the defendants tortiously interfered with the contract that Guinnane

    specifically enforced in the Peterson Action. Plaintiff asserts four causes of action against the

    defendants: (1) inducing breach of contract; (2) intentional interference with contractual

    relations; (3) intentional interference with prospective economic advantage; and (4) negligent

                                                      1




                                                                                                     Ex. A - 71
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    interference with prospective economic advantage. At the outset of this action, the Court denied

    the Chess defendants' Anti-SLAPP motion to strike in a ruling affirmed by the Court of Appeal.

    See Guinnane Constr. Co. v. Chess, No. A157781, 2020 WL 7640216 (Cal. Ct. App. Dec. 22,

    2020).

             The matter came on for bench trial, jury having been waived, on March 5, 2024.

    Jonathan Hughes and Andrew Hanneman represented Guinnane; Robert Ward and Roey Rahmil

    represented Mr. Jin; and Peter Catalanotti represented the Chess defendants. The Court heard

    testimony from Roy Guinnane, Richard Pearl, Stephen Chess, Samuel Chuck, William Hensley,

    Edmund Jin, and John O'Conner. The Court also received numerous exhibits in evidence. After

    evidence closed, the parties submitted post-trial closing briefs, with the plaintiff filing its initial

    closing brief on April 1, 2024, the defendants filing their oppositions on April 22, 2024, and the

    plaintiff filing a reply on May 2, 2024.

             This is the Court's Tentative and Proposed Statement of Decision. It is subject to the

    parties' objections under California Rule of Court 3.1590(g). Pursuant to Code of Civil

    Procedure § 632 and California Rule of Court 3.1590(c), this Tentative and Proposed Statement

    of Decision will be the Court's Final Statement of Decision unless a party (1) within 10 days

    files and serves specified controverted issues or makes proposals not covered in the Tentative

    and Proposed Statement of Decision or (2) within 15 days files and serves objections to this

    Tentative and Proposed Statement of Decision.


    II.      FACTUAL BACKGROUND

             A.     The Greenville Property, the Parties and Players, and Polo

             The Greenville Property comprises about 80 acres in the City of Livermore next to the

    National Lawrence Livermore Laboratory. Clifford DeLima, who was about 92-years-old as of


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                                                                                                       Ex. A - 72
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    the trial date, and Barbara DeLima purchased the Greenville Property in or around 1981 with

    another individual. The DeLimas constructed a residence and have lived on the property since

    then. They also constructed two horse barns and a hay shed and maintained horses on the

    property. The property contains a racetrack and open space for horses to wander. Mr. DeLima's

    daughter, Jennifer Ratto, now lives on the property with her three children.

           Robert G. Hibner was a veterinarian who cared for the DeLimas' horses. In

    consideration for that care, he obtained an interest in the Greenville Property. He later built a

    veterinary clinic that currently sits on the property. Before events relevant here, Mr. Hibner and

    his spouse Christine Hibner and Russell Peterson, who also is a veterinarian, and his spouse

    Janet Peterson collectively acquired a 50% undivided interest in the Greenville Property.

    By December 2002, the DeLimas (through a trust), on the one hand, and the Hibners and the

    Petersons, on the other, each owned a 50% undivided interest in the Greenville Property. They

    entered a Tenants in Common Agreement ("TIC") dated December 30, 2022. (Ex. 1.) The TIC

    contains a right of first refusal ("ROFR") under which any co-owner had the right to purchase

    the portion of any of the other co-owners' interest in the property on the same terms that the co-

    owner was willing to sell. (Ex. 1, !f 27.) The TIC provides that it "begins as of December 30,

    2002 and shall continue for Ten (10) Years or until dissolved by mutual agreement of all the

    parties or under the provisions provided herein." (Id., ¶4.)

           Roy Guinnane is a general contractor and businessman who owns Guinnane

    Construction. Mr. Guinnane also owns horses. In the 1980s, he met Mr. DeLima at Bay

    Meadows Racetrack in San Mateo, California, where Mr. DeLima was a horse trainer. They

    became close friends. Mr. Guinnane eventually transferred his horses to Mr. DeLima's care and




                                                      3




                                                                                                   Ex. A - 73
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    has stabled them at the Greeneville Property. By 2016, Mr. DeLima maintained about 100

    horses on the property.

           In or around 2016, the Petersons and Ms. Hibner (Mr. Hibner having passed) wanted to

    sell their 50% interest. The DeLimas, in contrast, did not. On this issue, Mr. Guinnane

    advocated for the DeLimas and told Mr. Peterson that, if the DeLimas "sell the way you are

    suggesting they will not have enough money to purchase another property to live out the

    remaining years of their life." Mr. Guinnane looked for another property that the DeLimas could

    purchase and carry on their work with livestock but was unable to find one. (85:4-9)1

    Mr. Guinnane negotiated with the Petersons for Mr. Guinnane to purchase the Peterson-Hibner

    50% interest in the property, but the parties were unable to reach an agreement.

           Edmund Jin immigrated to the United States in the 1980s. While visiting the United

    States, he and his family found themselves opposed to the Chinese government amid the political

    turmoil surrounding the Tiananmen Square massacre. Unable to return to China, Mr. Jin learned

    English, studied, and worked hard. He ultimately developed a textile-based import business that

    became very successful. He and his family now own E&E Co. Ltd., which provides household

    products to large retailers and consumers around the United States and engages in other

    diversified businesses. Mr. Jin operates E&E with his spouse, his sister, and his brother-in-law

    Yong Lu. As part of his business, Mr. Jin regularly negotiates the acquisition and sales of

    businesses and real estate. He has engaged in about 100 real estate transactions.

           Steve Chess has been Mr. Jin's long-term real estate agent, having handled over 20 real

    estate transactions for Mr. Jin over the course of 30 years. Along with his wife, Mr. Chess owns



            'The trial transcripts are consecutively paginated except for March 11, 2024. Page
    and line numbers refer to the consecutive pagination, while the March 11 transcript reference
    are dated.

                                                    4




                                                                                                  Ex. A - 74
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    Chess Connect, Inc., and Townsend Commercial Real Estate. Chess Connect functions as

    Townsend Commercial's broker, and Mr. Chess is its principal agent.

           Mr. Jin is an avid sportsman. Among other activities, he learned polo and became a polo

    enthusiast with a desire to promote the sport. He primarily played at the Menlo Polo Club in

    Atherton, California. That club, however, lacks a full-sized polo field. Mr. Jin soon learned that

    the San Francisco Bay Area lacks a full-sized operational polo field,2 with the closest ones in

    Gilroy and Petaluma. Mr. Jin discussed the matter with his polo instructor, Eric Wright, who

    explained that a full-sized polo field requires a large swath of flat land as well as other

    requirements that are expensive and rare in the Bay Area. Mr. Jin then asked Mr. Wright to find

    a place for Mr. Jin and his family to invest in to build a regulation sized polo field.


           B.      Mr. Jin Attempts to Purchase the Entirety of the Greenville Property


           After some research and with Mr. Wright's help, Mr. Jin identified the Greeneville

    Property as viable land to support a full-sized polo field. He set out to acquire it intending to

    build a polo facility on it. Mr. Jin's plan was not necessarily to create a lucrative business, and

    the details of how the polo facility would operate were never fully decided. He intended,

    however, that Mr. Wright would run the polo field, sell membership, and earn a profit from the

    operations. He anticipated that the polo field would generate revenue at some level. (664:4-16.)

    Although he personally might not make much profit, Mr. Jin did not want to take a loss. (662:6-

    20.) He also intended to use the racetrack on the Greeneville Property to the exclusion of

    DeLimas. (3/11/24 Tx at 16:8-13.)




           2 Apparently, the Polo Fields at Golden Gate Park is not so used.


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                                                                                                    Ex. A - 75
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           Mr. Jin engaged Mr. Chess to help acquire the Greenville Property. At all relevant

    times, the Chess defendants acted as Mr. Jin's agent. To begin negotiations, Mr. Wright referred

    Mr. Chess to Mr. Peterson. After some back and forth, on December 15, 2016, Mr. Chess

    extended an offer to Mr. Peterson for Mr. Jin to purchase the entire property, including the

    DeLimas' interest, for $3 million. Mr. DeLima learned of the offer, told Mr. Guinnane about it,

    and asked Mr. Guinnane to respond to Mr. Peterson regarding the offer. After some back and

    forth, Mr. Guinnane informed Mr. Peterson that the DeLimas were not interested in selling and

    did not intend to move. The $3 million offer did not result in a sale.


            C.      Messrs. Jin, Chess, and Wright Consider Options


           Messrs. Jin, Chess, and Wright continued to consider ways to acquire the Greeneville

    Property. On January 31, 2017, Mr. Chess sent Mr. Jin an aerial picture of the property that

    showed "how [Mr. Jin] could cut th[e] property up." The image shows the property with a hand-

    drawn dotted line separating areas with structures, including the DeLimas' residence, from areas

    without structures that includes the racetrack. Mr. Chess shared the images with Mr. Wright and

    stated, "I'm talking to our attorney to see if we can file a petition to force him to sell the other

    half . . old guy doesn't want to move. I believe we can force the sale of his half though." (Ex.

    12.)

           Mr. Wright responded that the area with the racetrack "would be the most useful to us in

    the near term, but we need the whole thing to make it commercially viable for us." (Id.) He

    suggested ways to deal with the DeLimas.

            On February 8, Mr. Chess told Mr. Wright, "[Mr. Jin] approved the idea of buying out

    the lower 40 acre partner that owns half the property. Then filing a partition sale to force the

    other owner to sell." (Id.) Mr. Chess further summarized his plans: "First step is to make an

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                                                                                                      Ex. A - 76
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    offer with timeframe contingencies and get the 50% owner tied up in escrow. The[n] we go

    through the due diligence of making sure everything can be done on the property that you want

    to do the[re]. If everything comes out clean th[en] we close on the 50% ownership and file[] a

    partition sale to get the entire property. My next step is to talk to that owner and negotiate the

    price." (Id.) Mr. Chess testified that this "was the agreed upon plan." (325:23-24.) When asked

    if he approved that plan, Mr. Jin testified, "I believe so." (3/11/24 Tx. at 22:18-24.)


           D.      Mr. Jin Enters a Contract with the Petersons and Ms. Hibner to
                   Acquire Their 50% Interest with a Condition that They Extend a
                   ROFR to the DeLimas

           In 2017, Mr. Jin through Mr. Chess negotiated with Mr. Peterson to purchase the

    Petersons and Ms. Hibner's 50% interest. During the negotiations, an issue arose regarding the

    ROFR in the 2002 TIC. Mr. Chess was uncertain whether the TIC had expired by 2017 or was

    still enforceable. Erring on the side of caution, Mr. Chess wanted Mr. Peterson to extend a

    ROFR to the DeLimas as part of the transaction. On March 19, 2017, Mr. Chess informed

    Mr. Peterson that Mr. Jin will not start any due diligence on the property until after the DeLimas

    waive a right to purchase the Petersons and Ms. Hibner's interest. (Ex. 18.) He added, "[Mr.

    Jin] can't spend time and money until he knows that DeLima is out of the deal. Otherwise if we

    work on this and DeLima moves forward to purchase we will have wasted all that time/money

    for nothing." (Id.)

           In March 2017, Mr. Jin extended a written offer to the Petersons and Ms. Hibner to

    purchase their interest for $1.2 million, and the parties then entered a contract dated April 1,

    2017. (Ex. 21.) Consistent with the negotiations, the April 1 contract called for a 60-day due

    diligence period and included a contingency that this period would not begin until after

    the DeLimas have waived or declined a ROFR. It provides: "The 60 [day] Buyer Due Diligence


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                                                                                                       Ex. A - 77
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    Period shall not commence until this 30 day Right of First Refusal from the DeLima Trust

    waives its purchase option or upon written decline of said option [sic]." (Ex. 21 at 7.) Mr. Jin

    agreed to put the ROFR condition in the April 1 contract to procure a "clean deal" and

    understood that a "clean deal" required giving the DeLimas an offer to buy the Petersons and

    Ms. Hibner's interest on the terms that Mr. Jin proposed. (668-69.) Mr. Chess agreed that the

    contract required the sellers to send a letter to the DeLimas to address the ROFR. (420:22-26.)


            E.      Mr. Peterson Offers a ROFR, and the DeLimas Accept

           After they executed the April 1 contract, the Petersons and Ms. Hibner retained Samuel

    Chuck, a real estate lawyer. Mr. Chuck prepared a letter dated April 4, 2017, for the Petersons

    and Ms. Hibner to extend a ROFR to the DeLimas. (Ex. 24.) The letter states that the Petersons

    and Ms. Hibner entered a contract to sell their interest to Mr. Jin for $1.2 million under the terms

    set forth in the April 1 contract. The letter then states:

                    Although we have no obligation to provide any type of right of first refusal since
                    the Tenants-in-Common Agreement has expired by its own terms, we want to
                    offer you the courtesy of being able to purchase the property for the same
                    purchase price as being sold to Mr. Jin. To allow for this option, a 30 day first
                    right of refusal is written into the purchase agreement. If you would like to
                    purchase the property for that price, notify me in writing within 7 days so the sale
                    can be completed within the 30 day provision (i.e. Monday, May 2, 2017).

    The letter includes provisions for Mr. DeLima to acknowledge receipt of the letter and to waive

    the ROFR. The letter does not include a parallel provision for Mr. DeLima to accept the ROFR.

    Mr. Chuck testified that the letter extended a bona fide offer to the DeLimas. His intent was, "if

    you want to buy this [at $1.2 million], let us know; and we will put that deal together" and his

    clients would work with the DeLimas to close the deal. (396:6-22.) Mr. Chuck and Mr. Chess,

    however, expected the DeLimas to decline and to waive the ROFR. (397:5-10.)




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                                                                                                   Ex. A - 78
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           Mr. Peterson delivered the April 4 letter to Mr. Guinnane and Mr. DeLima personally at

    the Greenville Property on April 8 2017. Mr. DeLima signed the acknowledgement of

    receipt but did not sign the waiver.

           On April 11, 2017, the DeLimas accepted the offer unconditionally and exercised their

    ROFR. Mr. DeLima and Barbara DeLima as trustees of the relevant trust executed a letter dated

    April 11, 2017, stating that they "would like to purchase the [Petersons/Hibner's] interest in the

    [Greeneville Property] on the terms set forth in the letter." (Ex. 26.) Because neither

    Mr. Guinnane nor the DeLimas used email, they enlisted the DeLimas' daughter, Ms. Ratto, to

    use her computer and email to communicate with Mr. Peterson. On April 11, 2017 Ms. Ratto

    emailed the DeLima's acceptance letter to Mr. Peterson by a cover email stating, "Please find

    attached letter signed by Clifford and Barbara De Lima exercising their right of first refusal."

    (Ex. 26.)

           Mr. Peterson acknowledged receipt of the DeLimas' April 11 letter by a handwritten note

    also dated April 11, 2017. The note states, "Terms were stipulated in letters dated April 4, 2017,

    and April 10, 2017, stating the transaction must close on or before May 1, 2017, for the full cash

    value of $1.2 million." (Id.)3

           After the DeLimas sent their response, Mr. Chess learned that the DeLimas responded to

    the ROFR letter and wanted to move forward at the same price. (423:5-8.) Mr. Chess saw both

    the April 4 offer letter and the April 11 acceptance letter in 2017 as the events were unfolding.

    (473:23-74:18.) Mr. Chess informed Mr. Jin about the exchange of documents between

    Mr. Peterson and the DeLimas. (435:1-8.) Mr. Jin learned that the DeLimas accepted the ROFR




           3 The "April 10" date was most likely a typo, and Mr. Peterson intended April 11.


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                                                                                                  Ex. A - 79
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    offer. (669:16-20.) He testified that he "might" have seen the correspondence between

    Mr. Peterson and the DeLimas. (643.)


           F.      After Acceptance, the Petersons and Ms. Hibner Ghosted
                   Mr. Guinnane and the DeLimas, and Guinnane filed the Peterson
                   Action

           After the DeLimas sent their April 11 acceptance letter, Mr. Guinnane took steps to close

    by the May 1 deadline. He sent Mr. Peterson a proposed CAR Form real estate contract dated

    April 12, 2017. (Ex. 28.) Later, on April 21, 2017, the DeLimas assigned "all right, title and

    interest in and to the TIC Right of First Refusal and the April 4 Letter" to Guinnane

    Construction. (Ex. 30.) Mr. Guinnane set up escrow with a title company, deposited $25,000,

    and instructed that closing must happen by May 1. Towards the end of April 2017, in

    Mr. Guinnane's presence, the escrow officer asked Mr. Peterson for information necessary to

    close. Mr. Peterson stated that he would get back to the escrow officer quickly and stated his

    understanding that closing by May 1 was not possible. Mr. Peterson, however, did not follow up

    with the escrow officer. Mr. Guinnane then attempted to contact Mr. Peterson multiple times but

    received no response. He followed up with an email on May 11, 2017, through Ms. Ratto asking

    Mr. Peterson to call him. (Ex. 42.) Still, he received no response. The Petersons and

    Ms. Hibner ghosted Mr. Guinnane and the DeLimas.

           Believing that something was amiss, Mr. Guinnane engaged counsel. On May 22, 2017,

    Guinnane filed the Peterson Action, seeking specific performance of what Mr. Guinnane

    believed was the Petersons and Ms. Hibner's obligation to sell their interest in the Greenville

    Property to Guinnane Construction.




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           G.      Messrs. Jin and Chess Continue to Negotiate

           Meanwhile, after Messrs. Jin and Chess learned that the DeLimas accepted the offer of a

    ROFR, including the exchange of the April 4 and April 11 documents, Mr. Chess discussed

    options with Mr. Jin, including the option to stand down and allow the Petersons and Ms. Hibner

    to sell to the DeLimas. (432:3-6.) Messrs. Jin and Chess, however, made multiple new offers

    with escalating consideration to purchase the Petersons and Ms. Hibner's interest in the

    Greenville Property. (See 425:13-20; 431:3-6; 429:12-27; 26:19-27:1.)

           On April 28, 2017, Mr. Chess texted Mr. Peterson stating, "My client is now at

    1,500,000." (Ex. 32.)

           The Petersons and Ms. Hibner were initially reluctant to renegotiate with Mr. Jin. On

    May 3, Mr. Chuck responded: "[S]ince the co-owner has elected to exercise its right of first

    refusal to purchase the property at the price in Mr. Jin's prior offer, my client has elected to

    proceed with that buyer. Accordingly, we'll need to terminate Mr. Jin's escrow and wire your

    client his deposit of $25,000." (Ex. 36.) Upon receipt, Mr. Chess understood that Mr. Chuck

    represented that the Petersons and Ms. Hibner decided to proceed with the lower value deal

    rather than Mr. Jin's higher value deal. (436:26-437:2.)

           Later that day, Mr. Chess responded that Mr. Jin still wants to buy the property and had

    instructed Mr. Chess to continue to negotiate. (Ex. 37.) Messrs. Chess and Jin declined to

    cancel escrow. (437.)

           On May 4, 2017, Mr. Chess texted Mr. Peterson directly, "We will also indemnify you

    from future possible [Mr. DeLima] issues." (Ex. 32.) Mr. Jin testified that he offered to

    indemnify the Petersons and Ms. Hibner to make his offer to purchase more attractive.

    (3/11/2024 Tx. at 34.)



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           Mr. Chess followed up with an email to Mr. Chuck and Mr. Peterson stating that Mr. Jin

    is willing to pay a $1.5 million "all-cash closing immediately with no contingencies and

    indemnify your client for any future issues regarding [Mr. DeLima's] potential challenges. My

    attorney says all you have to do is cancel the deal with those guys and wait a couple days-and

    we're good. We can close very quickly and will pay more if absolutely necessary to get this

    property. My client is very determined to buy the property." (Ex. 38.)

           The Petersons and Ms. Hibner decided to negotiate further with Mr. Jin. On May 5,

    2017, at 8:29 am, Mr. Chuck responded to Mr. Chess that the Petersons and Ms. Hibner would

    agree to the following: $1.7 million; "Fully indemnity, hold harmless and defense of any claims

    from other potential buyers"; close within 10 days; no contingencies; non-refundable deposit of

    $200,000; and Mr. Jin to close even if Mr. DeLima files suit. (Ex. 38.) Also on May 5, 2017, at

    about 1:21 pm on a separate email chain, Mr. Chuck forwarded to Mr. Chess Ms. Ratto's April

    11, 2017, email that transmitted DeLima's acceptance of the ROFR. (Ex. 41.) Mr. Chess, in any

    event, had already seen those documents. (446:11-12.)

           Later, on May 8, 2017, Mr. Chuck informed Mr. Chess that the Petersons and Ms. Hibner

    rejected a $1.5 million purchase price but would be agreeable to $1.6 million subject to the terms

    in his prior email. He added, "Let me know if we have a deal. If not, my clients intend to

    proceed with the sale to [Mr. Guinnane and Mr. DeLima]." (Ex. 41.) Mr. Chess responded

    stating that Mr. Jin agreed to pay $1.6 million, to close as soon as possible, to provide a

    $200,000 non-refundable deposit upon signing, and to indemnify the sellers from future issues

    from Messrs. Guinnane and DeLima. (Ex. 41.)

           A few days later on May 12, 1017, Mr. Chess emailed Mr. Peterson directly, stating that

    about 50 to 90 horses will be on the property if Mr. Jin buys it and that Mr. Peterson "would be



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    the top horse veterinarian to be considered for any treatment or upkeep of these horses and

    obviously would be lot of great business for you." (Ex. 43.)

           Mr. Chess followed up on May 16, 2017, by emailing Mr. Chuck a draft letter written for

    Mr. Peterson's signature that he requested Mr. Chuck send to the DeLimas stating that the

    Petersons and Ms. Hibner were no longer going to proceed to sell the property to the DeLimas.

    (Ex. 49; 449:10-13.) In his email, Mr. Chess also listed points that someone on his side believed

    constituted legal defenses that the Petersons and Ms. Hibner could assert against a contract claim

    by the DeLimas. (Id.)

           Mr. Chuck testified that Mr. Chess wanted him to terminate the deal with the DeLimas,

    stating that there was no contract and that his side was proceeding with another buyer.

    Mr. Chuck, however, was unwilling at that point to expose his clients to the legal risk of the

    DeLimas enforcing their contract rights without some upside from Mr. Jin. (358:20-23.) In his

    reply email, he declined to send any letters, at least until "they reached an agreement" with

    Mr. Jin.

           Mr. Chuck followed up with a detailed email to Mr. Chess and Mr. Jin's counsel where

    he set forth his position on behalf of the Petersons and Ms. Hibner. He stated,


           My concern[s] in this matter are simple and straightforward. It is obvious that Cliff
           DeLima and Roy Guinnane believe they have an enforceable right of first refusal to
           purchase the property for $1,200,000. It's also obvious they believe they properly
           exercised it. Whether they did or not is a question of law that would have to be resolved
           by a court. Regardless, it is also clear to me that should we proceed with the sale to the
           DeLima Trust or its assignee, my client will have no further contractual rights to Mr. Jin.
           However, to date, Mr. Jin and Mr. Chess have not confirmed that fact in writing. Rather,
           they've asked us to create a scenario in which we attempt to terminate any relationship
           with Cliff DeLima without an affirmative binding agreement with Mr. Jin. That is not
           acceptable.

    (Ex. 49.)



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           On May 23, 2017, Mr. Chuck informed Mr. Chess and Mr. Jin's counsel that the

    Peterson Action had been filed.

           Later that day, Mr. Chess told Mr. Chuck that he and Mr. Peterson agreed to a purchase

    price of $1.5 million and that Mr. Jin wanted "assistance from the seller's side before he was

    willing to move forward." (Ex. 50.)

           After all this, on May 24, 2017, Mr. Chuck informed Mr. Chess and Mr. Jin's counsel

    that the Petersons and Ms. Hibner "elected to complete the sale with" Messrs. Guinnane

    and DeLima and asked them to cancel escrow. (Ex. 52.) Mr. Chuck testified that his statements

    accurately reflected the Petersons and Ms. Hibner's choice at that stage (369:9-10.)

           That same day on May 24, Mr. Chess texted Mr. Peterson, "Russ please consider this I

    will eliminate my commission therefore you. . . will clear a true $150,000 extra each. You have

    nothing to lose here my client is paying for everything. Why would [you] not want an extra

    $150k?" (Ex. 32.)

           On May 30, 2017, Mr. Chess texted Mr. Peterson: "What is up with you? We need a

    response by 12 noon Tuesday. You have nothing to lose we indemnify you and you make extra

    money please respond." (Id.)


           H.      The Petersons and Ms. Hibner Elect to Sell to Mr. Jin, and The
                   Parties Enter an Indemnity and Joint Defense Agreement

           By July 7, 2017, Mr. Peterson and Ms. Hibner elected to sell to Mr. Jin. Mr. Jin and the

    Petersons and Ms. Hibner executed a Purchase and Sale Agreement and Escrow Instructions

    dated July 7, 2017, for Mr. Jin to purchase the Petersons and Ms. Hibner's interest in the

    Greenville Property for $1.5 million "as is." In the July 7 contract, Mr. Jin agreed to pay

    Mr. Chess' broker commissions.



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           Mr. Jin, Mr. Peterson, Ms. Peterson, and Ms. Hibner also executed an Indemnity and

    Joint Defense Agreement dated July 7, 2017, with Mr. Jin as the indemnitor and the Petersons

    and Ms. Hibner as the indemnitees. (Ex. 58.) It provide the following in the recitals:

               •   Mr. Jin is "a highly experienced and sophisticated real estate investor."

               •   Mr. Jin was represented by Mr. Chess and Townsend Commercial as his real
                   estate broker.

               •   Mr. Chess prepared a Standard Offer, Agreement and Escrow Instructions for
                   purchase of the Greeneville Property dated March 10, 2017 ("Original PSA"), on
                   Mr. Jin's behalf to purchase the Petersons' and Ms. Hibner's 50% tenant in
                   common interest.4 "One of the conditions provided for in the Original PSA
                   drafted by [Mr. Chess] and [Mr. Jin] was a requirement that the Original PSA was
                   conditioned upon DeLima waving its ROFR to purchase [the Petersons and
                   Ms. Hibner's] 50% interest in the [Greeneville] Property."

               •   "[O]n or about April 4, 2017, pursuant to the Original PSA, Russ Peterson
                   delivered a notice of ROFR to DeLima. On or about April 11, 2017, DeLima
                   accepted the ROFR and elected to purchase the Property under the terms and
                   conditions of the Original PSA. The parties understand that DeLima assigned
                   their purchase rights to Guinnane Construction Company, Inc. (`Guinnane')."

               •   On May 22, 2017, Guinnane filed the Peterson Action "seeking to specifically
                   enforce the acceptance of the ROFR" and recorded a Lis Pendens.

               •   Despite the Peterson Action, Mr. Jin desires to buy the Petersons and
                   Ms. Hibner's "50% tenant in common interest in the Property subject to the
                   ROFR, the Lawsuit and the Lis Pendens for an increased purchase price" of $1.5
                   million.

               •   Mr. Jin believes that the that the TIC Agreement and the ROFR are not
                   enforceable.

               •   As a requirement for a new contract with Mr. Jin, the Petersons and Ms. Hibner
                   required Mr. Jin to enter into the indemnity agreement.




           4 This refers to the April 1, 2017, contract.


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    Under the indemnity agreement, Mr. Jin agreed to indemnify, defend, and hold harmless the

    Petersons and Ms. Hibner against all claims against them connected with the Peterson Action,

    the TIC Agreement or ROFR, the Greenville Property, and related matters.

           Afterwards, Mr. Jin assigned his rights to purchase the Petersons and Ms. Hibner's

    interest in the Greenville Property to his brother-in-law Mr. Lu, and Mr. Lu became a co-

    indemnitor under the indemnity agreement.

           The Petersons and Ms. Hibner sold their 50% interest in the Greenville Property to

    Mr. Lu for $1.5 million.


           I.      In the Peterson Action, the Court Orders the Petersons, Ms. Hibner,
                   and Mr. Lu to Convey the Greenville Property to Guinnane

           The Peterson Action was frilly litigated through final judgment after a bench trial. The

    Court, the Hon. Ronni MacLaren presiding, issued an Order After Court Trial on July 30, 2018,

    that set forth the factual and legal basis for its decision finding in favor of Guinnane and ordering

    specific performance.

           In its Order After Trial, the Court identified two principal issues: (1) Whether the

    Petersons and Ms. Hibner entered a valid contract with the DeLimas to sell their interest in the

    Greeneville Property; and (2) if so, whether the contract satisfies the statute of frauds.

           The Court discussed the principal documents exchanged between the parties set forth

    above. The Court found that Mr. Peterson's April 4, 2017, letter was an offer, open for seven

    days, to sell the Petersons and Ms. Hibner's interest in the Greenville property for $1.2 million.

    The Court rejected the argument that the letter was only an invitation to negotiate and various

    other arguments that the defendants asserted to challenge contract formation. Among other

    things, the Court found "multiple text messages exchanged between Defendants Janet Peterson

    and Christie Hibner in April and May 2017 in which the two expressed their understanding that

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    the DeLimas had exercised the right of first refusal and that the Property was being sold to the

    DeLimas, not to Jin." (Order at 7:15-19.)

            The Court found that the statute of frauds under Civil Code § 1642 was satisfied. The

    April 4, 2017 letter that Mr. Peterson delivered to the DeLimas and his April 11 handwritten note

    acknowledging receipt of Mr. DeLima's acceptance constituted writings subscribed to by

    Mr. Peterson. The Court found that Ms. Peterson and Ms. Hibner as signatories to the indemnity

    agreement adopted the factual representations therein. The Court pointed to the language quoted

    above in the indemnity agreement stating that, pursuant to the contract between Mr. Jin and the

    Petersons and Ms. Hibner, Mr. Peterson delivered the notice of ROFR to the DeLimas and that

    the DeLimas accepted the ROFR and elected to purchase their interests on the same terms is their

    contract with Mr. Jin. The Court found that the recitals show on their face or by implication and

    ratification that Ms. Peterson and Ms. Hibner authorized Mr. Peterson to deliver the April 4,

    2017, letter on their behalf. The Court ruled that the indemnity agreement constituted a writing

    subscribed to by Ms. Peterson and Ms. Hibner.

            The Court further found that the April 4, 2017, offer and the DeLimas' acceptance

    contained all the material terms for sale of real property in that they identified the seller, the

    buyer, the price, the manner of payment, and the property to be transferred.

            The Court entered Judgment on August 15, 2018, ordering the Petersons and Ms. Hibner

    to deliver all records regarding the Greenville Property, including the veterinary clinic and to

    vacate the property. The Court ordered Mr. Lu to transfer his interests in the Greenville Property

    that he obtained from the Petersons and Ms. Hibner to Guinnane Construction in consideration

    for $1.2 million. He did so. No appeal was taken from the Judgment.




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    III.   DISCUSSION

           In this action, Guinnane seeks its attorneys' fees and costs incurred in the Peterson

    Action to enforce the DeLimas' contract with the Petersons and Ms. Hibner as damages under the

    "tort of another" doctrine based on the interference torts asserted here.


           A.      Inducing Breach of Contract and Intentional Interference with
                   Contractual Relations

           The First and Second Causes of Action assert claims for inducing breach of contract and

    tortious interference with contractual relations. The tort of inducing breach of contract requires a

    plaintiff to prove: "(1) he had a valid and existing contract; (2) the defendant had knowledge of

    the contract and intended to induce its breach; (3) the contract was in fact breached by the

    contracting party; (4) the breach was caused by the defendant's unjustified or wrongful conduct;

    and (5) the plaintiff has suffered damage." Shamblin V. Berge, 166 Cal. App. 3d 118, 122

    (1985) (quoting Dryden v. Tr -Valley Growers, 65 Cal. App. 3d 990, 995 (1977). The tort of

    interference with contractual relationship is slightly broader and protects against acts that do not

    necessarily result in breach but disrupt the contractual relationship. Id. It has the same first,

    second, and fifth elements, but elements (3) and (4) require the plaintiff to prove that "(3)

    defendant committed intentional and unjustified acts designed to interfere with or disrupt the

    contract" and "(4) actual interference with or disruption of the relationship." Id. (citing Manor

    Investment Co. v. F. W. Woolworth, Inc., 159 Cal. App. 3d 586, 593, fn.3 (1984)); see also Pac.

    Gas & Elec. Co. v. Bear Stearns & Co. 50 Ca1.3d 1118, 1126 (1990) (elements of intentional

    interference with contractual relations are "(1) a valid contract between plaintiff and a third

    party; (2) defendant's knowledge of this contract; (3) defendant's intentional acts designed to

    induce a breach or disruption of the contractual relationship; (4) actual breach or disruption of

    the contractual relationship; and (5) resulting damage."

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           PG&E explained that the interference torts protect a contractual relationship, not any

    term of the contract—against outside interference. Id. at 1127. "As Justice Tobriner said in the

    context of voidable contracts: 'The actionable wrong lies in the inducement to break the contract

    or to sever the relationship, not in the kind of contract or relationship so disrupted, whether it is

    written or oral, enforceable or not enforceable." Id. (citing Zimmerman v. Bank ofAmerica, 191

    Cal. App. 2d 55, 57 (1961)).

           The Court finds that Guinnane has proven these two torts.


           B.      Whether a Valid Contract Existed

           The Court finds that Guinnane proved the existence of a valid contract. The Petersons

    and Ms. Hibner's April 11 letter was an offer of a ROFR. The DeLimas formed a valid and

    enforceable contract with the Petersons and Ms. Hibner on April 11 when they communicated

    their unconditional acceptance of that offer.5 On April 21, 2017, the DeLimas assigned their

    contract rights to Guinnane.


                           a) The Order After Trial and Judgment in the Peterson
                           Action Have Collateral Estoppel Effect Against Mr. Jin

           Mr. Jin concedes that Judge MacLaren's Order After Trial finding that the DeLimas and

    the Petersons and Ms. Hibner formed an enforceable contract and that the DeLimas assigned

    their contract rights to Guinnane has collateral estoppel effect here as to him.6 Mr. Jin was in



            5 The Chess defendants' arguments regarding a purported contract for
    "$850,000/$903,000" misses the point. The referenced testimony does not concern the
    contract at issue in this action or the Peterson Action.
            6 "Collateral estoppel applies when (1) the party against whom the plea is raised was a
    party or was in privity with a party to the prior adjudication, (2) there was a final judgment on
    the merits in the prior action and (3) the issue necessarily decided in the prior adjudication is
    identical to the one that is sought to be relitigated." See Smith v. ExxonMobil Oil Corp., 153
    Cal. App. 4th 1407, 1414 (2007). California law describes privity for purposes of collateral
    estoppel as follows:

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    privity with Mr. Lu. Mr. Jin was the principal proponent whose interest in developing a polo

    facility on the Greenville Property served as the impetus to defend the Peterson Action even

    though Mr. Lu held title and paid defense fees. Mr. Lu, the Petersons, and Ms. Hibner were

    represented by Shartsis Friese LLP in the Peterson Action, the firm that represents Mr. Jin here.

           The parties dispute whether the Chess defendants are in privity with the Petersons and

    Ms. Hibner or Mr. Lu. This is a close question, and the Court does not reach this issue because

    the evidence here establishes a contract.


                           b) The Court Independently Finds an Enforceable Contract
                           Based on the Evidence at Trial

           Judge MacLaren's decision and analysis on contract formation was correct. Based on the

    evidence submitted in this trial, the Court independently finds that the Petersons and Mr. Hibner

    formed an enforceable contract with the DeLimas when the DeLimas communicated their

    acceptance of the ROFR. And, the DeLimas assigned their contract rights to Guinnane.




           "The concept of privity ... refers `to a mutual or successive relationship to the same
           rights of property, or to such an identification in interest of one person with another as
           to represent the same legal rights...." [Citation.] "Over time, courts have embraced a
           somewhat broader, more practical concept of privity. "[T]o maintain the stability of
           judgments, insure expeditious trials," prevent vexatious litigation, and "to serve the
           ends of justice," courts are expanding the concept of privity beyond the classical
           definition to relationships" 'sufficiently close to afford application of the principle of
           preclusion.' [Citation.] For example, more recently our Supreme Court explained the
           basic tenets of privity in broader terms: 'As applied to questions of preclusion, privity
           requires the sharing of "an identity or community of interest," with "adequate
           representation" of that interest in the first suit, and circumstances such that the
           nonparty "should reasonably have expected to be bound" by the first suit. [Citation.] A
           nonparty alleged to be in privity must have an interest so similar to the party's interest
           that the party acted as the nonparty's" "virtual representative" ' "in the first action.'
           "[Citation.] "Put another way, privity, '"as used in the context of res judicata or
           collateral estoppel, does not embrace relationships between persons or entities, but
           rather it deals with a person's relationship to the subject matter of the litigation." ' "
            [Citation.]


    Atwell v. City ofRohnert Park, 27 Cal. App. 5th 692, 702-03 (2018).

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           All elements are present here in a textbook example of contract formation. The April 4

    letter was a definite offer of a ROFR as Judge MacLaren found. The DeLimas' April 11 letter

    and email constituted an unconditional acceptance of the ROFR in the manner and within the

    time requested by the offer. No one disputes adequate consideration. The parties reached a

    meeting of the minds that the Petersons and Ms. Hibner would sell their interest in the Greenville

    Property to the DeLimas for $1.2 million cash and the other material terms to which Mr. Jin had

    agreed. A valid contract was formed when Ms. Ratto transmitted the April 11 acceptance to

    Mr. Peterson. See Civ. Code § 1583.7

           That Mr. Peterson received the acceptance is undisputed given his handwritten note

    acknowledging receipt. His note further specified that the terms were in the April 4 and April 11

    letters. Mr. Jin, the Petersons, and Ms. Hibner all confirmed the existence of the contract in their

    indemnity agreement in which they acknowledged that: "On or about April 11, 2017, DeLima

    accepted the ROFR and elected to purchase the Property under the terms and conditions of the

    Original PSA. The parties understand that DeLima assigned their purchase rights to Guinnane

    Construction Company, Inc. (`Guinnane')."

           The exchanged letters included all the material terms necessary for a valid and

    enforceable real estate contract under long-standing California law. See, e.g., King v. Stanley, 32

    Cal. 2d 584, 588 (1948) ("An agreement for the purchase or sale of real property does not have

    to be evidenced by a formal contract drawn with technical exactness in order to be binding" and

    a memorandum of the agreement is sufficient and may be found in an exchange of letters); Patel



            7 This basic contract principle of when a contract is formed is confirmed by the
    "mailbox rule." As Witkins summarized: "The general rule that a contract is made when the
    acceptance is posted, even though the letter of acceptance is lost and never reaches the
    offeror, is covered by C.C. 1583." Witkin, Summary of California Law (10ted. 2005)
    Contracts, § 191 at 225.

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    v. Lieberrnensch, 45 Cal. 4th 344, 349 (2008) (quoting King and holding "In the absence of

    express conditions, custom determines incidental matters relating to the opening of an escrow,

    furnishing deeds, title insurance policies, prorating of taxes, and the like. [Citations.] The

    material factors to be ascertained from the written contract are the seller, the buyer, the price to

    be paid, the time and manner of payment, and the property to be transferred, describing it so it

    may be identified. [Citations.]"); Blackburn v. Charnley, 117 Cal.App.4th 758, 766 (2004)

    ("The material factors to be ascertained to support a contract for the sale of real property are: (1)

    the seller; (2) the buyer; (3) the price; (4) time and manner of payment; and (5) description of the

    property sufficient to identify it."). The exchanged letters here identified the sellers   the

    Petersons and Ms. Hibner, the buyer      the DeLimas, the price    $1.2 million, the time and

    manner of payment—cash and closing by May 1, and a description of the property—the

    Petersons and Ms. Hibner's 50% interest in the Greenville Property. All other reasonable terms

    could be inferred by a Court if the parties were unable to agree. Courts regularly enforce real

    estate agreements under similar circumstances.


                           c) The Chess defendants' contract formation defenses lack
                           merit

           The Chess defendants raise the December 2002 TIC and claim that its provisions

    prevented the DeLimas from forming a contract with the Petersons and Ms. Hibner and

    prevented the DeLimas from assigning their interest in that contract to Guinnane. By that

    argument, the defendants are attempting to enforce the TIC. But the Chess defendants and

    Mr. Jin are strangers to the TIC and have no colorable claim to be third party beneficiaries. They

    lack standing to enforce the TIC's terms and have cited no authority permitting an exception.

    See, e.g., Berclain Am. Latina V. Baan Co., 74 Cal. App. 4th 401, 405 (1999) (contract claim



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    generally requires party to be a signatory or a third-party beneficiary); Eastern Aviation Group,

    Inc. v. Airborne Express, Inc. 6 Cal.App.4th 1448, 1452 (1992.)

            In any event, whether the TIC expired or was in effect as of April 2017 is irrelevant.

    Mr. Peterson—at Messrs. Chess and Jin's demand—extended a ROFR through the April 4 letter

    that was independent and not contingent on the TIC's continued validity. Mr. Peterson

    represented in the April 4 letter that the TIC had expired. He nonetheless extended an offer of a

    ROFR. For the same reason, whether the DeLimas obtained the Petersons and Ms. Hibner's

    permission under the TIC to assign their rights to the ROFR, an issue raised by the Chess

    defendants, is also irrelevant—the April 4 offer of a ROFR was independent of the TIC.

    Regardless, no evidence showed that the Petersons or Ms. Hibner objected to the assignment.

    The Chess defendants cite no legal authority that precludes the DeLimas from assigning their

    contract rights.

            The Chess defendants point out that the CAR Form draft that Mr. Guinnane sent dated

    April 12, 2017, differed from the April 1 contract. But they provide no legal authority or

    analysis to explain its legal impact. (Chess Brief at 18:4-26.) The Court finds none. As noted,

    the contract between the Petersons and Ms. Hibner and the DeLimas was formed on April 11

    when the DeLimas' communicated their acceptance. The proposed CAR Form draft was sent on

    or after April 12. The draft was not some type of "counteroffer" that rejected April 11 offer, as

    the Chess defendants seem to imply. Acceptance had already occurred. Further, as Judge

    MacLaren noted, Mr. Guinnane sent that CAR Form draft before the DeLimas assigned their

    rights to him. He was a stranger to the contract between the Petersons and Ms. Hibner, on the

    one hand, and the DeLimas, on the other, at that point. No evidence suggests that the DeLimas

    intended to withdraw their acceptance.



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            The Chess defendants raise the statute of frauds. But they may not assert the statute of

    frauds as a defense to the torts at issue here. See Zimmerman, 191 Cal. App. 2d at 56 (holding

    that statute of frauds is no defense to torts of inducing breach of oral contract or interference with

    contractual relations).8 As Justice Tobriner wrote: "[W]e see no good reason why the protection

    against the dangers of oral agreements, which the statute affords to parties to a transaction,

    should inure to a stranger who seeks the destruction of the transaction and whose status

    fundamentally differs from that of the party whom the statute seeks to protect." Id. at 61. In any

    event, Judge MacLaren correctly addressed this issue, and the Court adopts her analysis and

    conclusions that the April 4 and 11 letters and the indemnity agreement suffice to satisfy the

    statute of frauds.


                    2.      Whether the Defendants had Knowledge of the Contract and
                            Intended to Induce its Breach

                            a) Knowledge

            A central issue is whether the defendants had knowledge of a valid contract for purposes

    of the interference torts.

            The Court finds that Messrs. Jin and Chess knew that Mr. Peterson, on behalf of the

    Petersons and Ms. Hibner, delivered the April 4 letter offering a ROFR to the DeLimas. They

    also knew that the DeLimas accepted the offer of a ROFR by transmitting the April 11

    acceptance letter to Mr. Peterson. The indemnity agreement alone establishes that they knew

    these facts. Both Mr. Jin and Mr. Chess knew that the DeLimas accepted the ROFR to purchase




            8 See also Golden v. Anderson, 256 Cal. App. 2d 714, 719 (1967) (holding that statute
    of frauds may not be asserted by "defendants, being strangers to such contract" as a defense to
    tortious interference with contractual relations); Friedman v. Jackson, 266 Cal. App. 2d 517
    (1968) (same). The statute of frauds, when violated, makes a contract voidable, not void.
    See, e.g., Safarian v. Govgassian, 47 Cal. App. 5th 1053, 1069 (2020).

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    the Petersons and Ms. Hibner's interest for $1.2 on the same terms that Mr. Jin had offered.

    (Chess Br. at 21:27-28.) Messrs. Jin and Chess required the Petersons and Ms. Hibner to extend

    the ROFR to the DeLimas as a condition of the April 1 contract, and they had seen the

    correspondence between the two sides that Judge MacLaren found and this Court finds

    constituted a contract. (Jin Br. at 12:17-18.; Chess Br. at 21:1-2.)

           Messrs. Jin and Chess's argument that they lacked "knowledge" for purposes of these

    torts claims, in essence, that they did not "know" or "believe" that the contract was enforceable

    during the relevant events in 2017. Both claim an understanding of contract formation at odds

    with California law. They claim that they did not see a written contract signed by all the parties.

    (Jin Br. at 12.) Mr. Jin testified that he viewed the exchanged letters as similar to a non-binding

    letter of intent.9 Mr. Chess claims that his "understanding of a valid contract included, at a

    minimum, a signature from all parties; and inclusion of price, terms, escrow instructions, how

    taxes would be paid, who would pay closing costs, and any contingencies." (Chess Br. at 21:11-

    14.) In short, Messrs. Jin and Chess claim that they believed that the Petersons and Ms. Hibner

    had litigable defenses to a contract claim by the DeLimas and Guinnane and that they did not

    appreciate the validity of the contract until Judge MacLaren ruled in the Peterson Action.

           The issue here is whether the defendants' mistake of law or, more precisely, mistake of

    an application of contract law to the undisputed facts here constitutes a defense to inducing

    breach of contract and tortious interference with contractual relations.

           In discussing interference torts, the Supreme Court explained that "the expectation that

    the parties will honor the terms of the contract is protected against officious intermeddlers. Since

    people "usually honor their promises no matter what flaws a lawyer can find, the offender



           9 Letters of intent can, depending on the circumstances, bind parties.


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    should not be heard to say that the contract ... meddled with could not have been enforced."

    Pac. Gas & Elec. Co., 50 Cal. 3d 1118, 1128 (quoting Buckaloo v. Johnson, 14 Ca1.3d 515, 826

    (1975)).

           Later, Quelimane Co. v. Stewart Title Guar. Co. looked to Restatement Second of Torts,

    § 766, in describing the intent standard for the tort of interference with contractual relations. 19

    Cal. 4th 26, 56 (1998); Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134 (2003).

           Little v. Amber Hotel Co. then adopted § 766 in addressing the knowledge standard for

    inducing a breach of contract. 202 Cal. App. 4th 280 (2011). In Little, the plaintiff was an

    attorney who had a retainer agreement with his client that included a deferred fee provision and

    that gave the attorney rights to court awarded fees. In a prior action between the plaintiff's client

    and the defendant, the court awarded attorneys' fees, and the plaintiff had an attorney's lien

    based on his retainer agreement. The defendant, however, entered a settlement with the

    plaintiff's client that resulted in the client abandoning the fee award and not disclosing the

    settlement funds to the plaintiff. The jury found that the defendant induced the client to breach

    its retainer agreement with the plaintiff.

           On appeal, the defendant claimed a lack of evidence that he knew of the attorney's lien

    and the deferred fee provision in the retainer agreement. The court held:


           To recover damages for inducing a breach of contract, the plaintiff need not establish that
           the defendant had full knowledge of the contract's terms. Comment i to Restatement of
           Second of Torts, section 766, pages 11-12, states: "To be subject to liability [for inducing
           a breach of contract], the actor must have knowledge of the contract with which he is
           interfering and of the fact that he is interfering with the performance of the contract.
           Although the actor's conduct is in fact the cause of another's failure to perform a contract,
           the actor does not induce or otherwise intentionally cause that failure if he has no
           knowledge of the contract. But it is not necessary that the actor appreciate the legal
           significance of the facts giving rise to the contractual duty, at least in the case of an
           express contract. If he knows those facts, he is subject to liability even though he is
           mistaken as to their legal significance and believes that the agreement is not legally

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            binding or has a different legal effectfrom what it is judicially held to have."

    Id. at 302 (emphasis added). This rule in Little is consistent with PG&E 's assertion that an

    offender "should not be heard" to claim that the contract "meddled with could not have been

    enforced." Little found that the plaintiff told the defendant that he had a contractual attorney's

    lien that entitled him to retain any attorney fee award and that his clients showed the defendant a

    letter from the plaintiff stating that he had an agreement entitling him to the award. The court

    held that this sufficed to support a finding that the defendant had knowledge of the contract. Id;

    see also I-CA Enterprises, Inc. v. Palram Americas, Inc., 235 Cal. App. 4th 257, 290 (2015)

    (holding that jury's finding that defendant knew of the contractual relationship with which they

    interfered is sufficient).

             Here, Mr. Jin's and Mr. Chess's claim of mistake of an application of law to facts does

    not constitute a defense to the interference torts under Little and PG&E. They had knowledge of

    the facts and the communications that constituted a valid contract between the Petersons and

    Ms. Hibner and the DeLimas. They also had knowledge of the contractual relationship.

    Messrs. Chess and Jin profess to have held idiosyncratic and incorrect understandings of

    California contract law. Whether reasonable or not, their mistake as to the legal significance of

    the facts and any belief "that the agreement is not legally binding or has a different legal effect

    from what it is judicially held to have" is no defense here.1° Because they believed that they

    could litigate the enforceability of the contract and that the Petersons and Ms. Hibner had

    potential defenses does not constitute a defense to the interference torts. As "offenders," they


            10 The Chess defendants assert that Mr. Chuck was equivocal as to whether the
    Petersons and Ms. Hibner had a contract with the DeLimas. But Mr. Chuck's beliefs and
    assertions on this point are beside the point. Neither Mr. Jin nor Mr. Chess assert an advice of
    counsel defense. More importantly, Mr. Chuck was not their counsel. Mr. Chuck's
    responsibility was to protect the interests of the Petersons and Ms. Hibner, not to give Messrs.
    Jin and Chess legal advice.

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    "should not be heard to say that the contract" between the DeLimas and the Petersons and Ms.

    Hibner that they "meddled with could not have been enforced."

           A rule otherwise would legitimize a host of abusive and meddling conduct against which

    the tort was intended to protect. Tortfeasors would attempt to justify tampering with contractual

    relationships on the grounds that they believed incorrectly that a contract was unenforceable

    based on their own incorrect and idiosyncratic beliefs.

           The result makes sense here. This was a simple factual scenario. Messrs. Jin and Chess

    required the Petersons and Ms. Hibner to extend to the DeLimas an offer of a ROFR to purchase

    their interest on the same terms agreed to by Mr. Jin as a condition of the April 1, 2017 contract;

    the Petersons and Ms. Hibner did so; and the DeLimas accepted unconditionally. Messrs. Jin

    and Chess knew that the Petersons and Ms. Hibner and the DeLimas formed a "deal." Mr. Chess

    even told Mr. Chuck that his lawyer said that all Mr. Chuck had to do was cancel the "deal."

    Given their sophistication and extensive business experience, it is difficult to believe Mr. Jin and

    Mr. Chess did not reasonably understand that the Petersons and Ms. Hibner formed a contract

    with the DeLimas when the DeLimas accepted.

           Springer v. Singleton, upon which Mr. Jin and Mr. Chess rely, does not require a different

    outcome. 256 Cal. App. 2d 184 (1967). There, the plaintiff and defendant agreed to buy certain

    property together. The plaintiff then cut the defendant out of a deal by putting the contract solely

    in his name, but he was unable to generate the funds to close. The defendant in turn then cut the

    plaintiff out of the deal and acquired the property for himself. The plaintiff then sued the

    defendant for inducing breach of his contract with the seller. The trial court ruled that the

    defendant did not induce sellers to break their agreement with the plaintiff. In its ruling, the

    "trial court did not make a specific finding as to the existence of a valid contract" at the time of



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    the interference. Id. at 188. But the trial court "assumed" a breach although "not completely

    satisfied." The trial court denied the claim on grounds of knowledge and causation. In

    addressing "knowledge," the Court of Appeal explained: "[W]hile [defendant] knew of the

    contract between [plaintiff] and the [seller], he also knew that the contract had an expiration date

    and that [plaintiff] had not performed within the time fixed." Id. at 89. Further, after the time

    for plaintiff s performance had passed, the seller told the defendant's agent that the plaintiff "was

    'out of it'." The Court of Appeal further held, "The evidence fully supports an implied finding

    that [defendant] did not have knowledge of the existence of the contract between [plaintiff] and

    [seller] at the time [defendant] is alleged to have cause its breach." Id.

           The Court of Appeal simply affirmed an implied finding by the trial court that the

    defendant lacked knowledge of a contract because there was evidence that the contract between

    the plaintiff and the seller had expired when the alleged interference occurred. The Court of

    Appeal did not find that the defendant's understanding was mistaken. Springer does not stand

    for the broad proposition that a mistaken belief as to the enforceability of a contract means that

    the defendant lacks knowledge of a contract for purposes of inducing its breach. Springer has

    not been cited for that proposition in the developing case law. To the extent a conflict exists,

    Little is more in line with the Supreme Court and legal developments after Springer.


                           b) Intentional Acts Designed to Induce Breach and Interfere

           The intent element "requires the plaintiff to plead and prove the "defendant's intentional

    acts [were] designed to induce a breach or disruption of the contractual relationship' . .

    Specific intent is not required. Instead, the plaintiff need only show 'interference is certain or

    substantially certain to occur as a result of [the defendant's] action." Jenni Rivera Enterprises,




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    LLC v. Latin World Ent. Holdings, Inc., 36 Cal. App. 5th 766, 788 (2019) (quoting and

    summarizing Quelimane and Korea Supply).

           Here, Mr. Jin and his agent Mr. Chess extended multiple offers with escalating

    consideration to the Petersons and Ms. Hibner and prodded them not to sell to the DeLimas and

    Guinnane. The very purpose of these increased offers and prodding was to interfere with the

    contract between the Petersons and Ms. Hibner and the DeLimas. Interference was certain or

    substantially certain to occur.


                   3.      Breach and Interference with Contractual Relation

           The Petersons and Ms. Hibner breached their contract with the DeLimas and, as the

    assignee of that contract, with Guinnane, by refusing to sell to them. The relationship between

    the DeLimas and Guinnane, on the one hand, and the Petersons and Ms. Hibner on the other, was

    ruptured.


                   4.      Causation

           The substantial factor test applies to whether the interference caused the breach and

    disruption of the contractual relationship—i.e., whether the defendants conduct was a substantial

    factor in causing the breach or disruption in the contractual relations. Jenni Rivera Enterprises,

    36 Cal. App. 5th at 792-93. Jenni Rivera Enterprises explained, "In the context of a cause of

    action for inducing interference with contractual relations, some courts have stated that causation

    exists where the plaintiff can show the contract would have been performed in the absence of the

    defendant's alleged inducements. Id. (citations.)

           Here, Messrs. Jin and Chess first increased the purchase price to $1.5 million. Mr. Chuck

    then immediately confirmed that the DeLimas accepted the ROFR and that the Petersons and

    Ms. Hibner elected to sell to the DeLimas and asked Mr. Jin to cancel escrow. Messrs. Jin and

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    Chess, however, refused to cancel escrow and upped the purchase price. They then offered to

    indemnify the Petersons and Ms. Hibner against any harm arising from not selling to the

    DeLimas. They then waived contingencies and suggested that additional cash was available. At

    that point, the Petersons and Ms. Hibner waivered and counter-offered at $1.7 million and later

    $1.6 million. Messrs. Jin and Chess then offered $1.6 million, with a $200,000 non-refundable

    deposit, and full indemnity. They then dangled additional veterinarian business for Mr. Peterson

    to care for all the horses that would be on the property if Mr. Jin were the owner. Despite all

    that, on May 24, 2017, Mr. Chuck again told them that the Petersons and Ms. Hibner elected to

    sell to the DeLimas and Guinnane. The next day, Messrs. Jin and Chess offered to absorb

    Mr. Chess's commissions in a manner that would net the Petersons and Ms. Hibner at least an

    additional $150,000. Mr. Chess summarized the net effect of their increased consideration in

    attempting to convince the Petersons and Ms. Hibner to sell to Mr. Jin: "You have nothing to

    lose we indemnify you and you make extra money please respond."

           Messrs. Jin and Chess's interference was, at least, a substantial factor in inducing the

    Petersons and Ms. Hibner to breach their contract with the DeLimas. Mr. Chuck told Mr. Chess

    twice in the middle of Messrs. Jin and Chess's prodding and escalating offers that the Petersons

    and Ms. Hibner intended to sell their interest to the DeLimas. The evidence shows that they

    changed their minds after much prodding by Mr. Chess and his clarifying that their offer to

    indemnify coupled with increased consideration gave the Peterson's and Ms. Hibner no

    economic downside in breaching their contract with the DeLimas and only economic upside. The

    Court finds that the Petersons and Ms. Hibner would have honored their contract with the

    DeLimas by selling their interest to Guinnane if the defendants had not interfered by their

    prodding and their escalating offers.



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                   5.      Damages

           Guinnane seeks his fees and costs in prosecuting the Peterson Action as damages under

    the "tort of another" doctrine. Under that doctrine, "A person who through the tort of another

    has been required to act in the protection of his interests by bringing or defending an action

    against a third person is entitled to recover compensation for the reasonably necessary loss of

    time, attorney's fees, and other expenditures thereby suffered or incurred." Prentice v. N. Am.

    Title Guar. Corp., Alameda Div., 59 Cal. 2d 618, 620 (1963) (land seller obtained fees against

    escrow holder for negligence requiring quite title action against buyer). Some decisions,

    including Prentice, describe "tort of another" as an exception to the American Rule, while other

    decisions more accurately describe the doctrine, not an "exception," but an application of the

    usual measure of damages. See Sooy v. Peter, 220 Cal. App. 3d 1305, 1310, (1990); Mai v. HKT

    Cal, Inc., 66 Cal. App. 5th 504, 512 (2021) ("It is better to conceptualize these cases as claims

    for compensatory damages where the facts happen to permit the plaintiff to seek attorney's fees

    as a type of compensatory award").

           The "tort of another" doctrine applies here. Messrs. Jin and Chess induced the Petersons

    and Ms. Hibner to breach their contract with the DeLimas and their assignee Guinnane. With

    that relationship ruptured, Guinnane was required to file and prosecute the Peterson Action to

    protect his contract rights to purchase the Petersons and Ms. Hibner's interest. As damages,

    Guinnane is entitled to "compensation for the reasonably necessary loss of time, attorney's fees,

    and other expenditures thereby suffered or incurred" under Prentice and related cases.

           Mr. Jin's argument that the "tort of another" doctrine requires that the tort involve a

    fiduciary relationship or breach of fiduciary duty is unsupported. No cited decision imposes this

    requirement. While multiple decisions affirming "tort of another" damages involve fiduciary

    relationships, the doctrine has been applied in other contexts. See, e.g., Vanguard Recording

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    Soc'y, Inc. v. Fantasy Recs., Inc., 24 Cal. App. 3d 410, 419 (1972) (plaintiffs permitted to

    recover attorney's fees incurred in bringing injunctive actions against third parties in order to

    prevent the distribution and sale of defendants' record caused by defendant's interference);

    Slaughter v. Legal Process & Courier Service (1984) 162 Cal.App.3d 1236, 1243 (1984) (tenant

    may seek fees in defending unlawful detainer action that went to default based on false affidavit

    of service against defendant process server).

            "Exceptional circumstances" need not be demonstrated in addition to the torts' elements.

    The California Supreme Court specifically rejected the contention that the "tort of another"

    doctrine requires "exceptional circumstances." Gray v. Don Miller & Assocs., Inc., 35 Ca1.3d

    498, 509 (1984). Gray explained away and limited statements to the contrary in Davis v. Air

    Technical Industries, Inc. 22 Ca1.3d 1 (1972). UMET Tr. v. Santa Monica Med. Inv. Co., 140

    Cal. App. 3d 864 (1983), cited by Mr. Jin for the proposition that "exceptional circumstances"

    are required relies on Davis and predates Gray. In contrast, Sooy explained that the "tort of

    another" doctrine requires only a violation of a traditional torty duty. Sooy, 220 Cal. App. 3d

    1310.

            The result in Sooy, cited by Mr. Jin, is inapposite. There the court held that the "tort of

    another" did not apply because the defendant owed no duty to the plaintiff, so there was no

    liability that caused the claimed attorneys' fees as damages. Sooy, 220 Cal. App. 3d at 1314

    ("Since [defendant] owed no duty of due care to [plaintiff], there is no basis for awarding

    attorney fees as damages under Prentice).

            The Chess defendants' reliance on Vacco Indus., Inc. v. Van Den Berg, 5 Cal. App. 4th

    34 (1992), and Gorman v. Tassajara Dev. Corp., 178 Cal. App. 4th 44 (2009), is misplaced.

    Vacco and Gormon involved actions against multiple tortfeasors where the plaintiffs sought



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    attorneys' fees under "tort of another" against one tortfeasor for prosecuting the same action

    against both. Those cases did not involve a separate action in which the plaintiff was required to

    incur fees because of the tort of any of the defendants; nor did they involve a plaintiff who was

    required to sue one of the defendants because of the tort of another defendant as opposed to

    because of each individual defendant's own wrongdoing. So, the "tort of another" doctrine did

    not apply. In contrast, Guinnane was required to prosecute the Peterson Action because of the

    torts committed by Messrs. Jin and Chess. Vacco and Gormon do not hold that multiple

    defendants cannot be jointly and severally liable for damages under a "tort of another" doctrine,

    just like any other viable damages theory, when that doctrine applies. Put another way, when

    multiple defendants jointly commit a tort that requires a plaintiff to sue a third party and thus

    incur attorneys' fees as damages, neither Vacco, Gormon, nor any other cited decision prevents

    the plaintiff from pursuing "tort of another" damages against all the defendants jointly and

    severally."


           C.      Malicious Prosecution Standard as an Additional Element

           Mr. Jin argues that PG&E v. Bear Sterns requires Guinnane to prove an additional

    element—that the Petersons and Ms. Hibner's defense of the Peterson Action was frivolous and

    without probable cause—and thereby meet the standard for malicious prosecution as applied to a

    defense.12 In that action, PG&E held a long-term power purchase agreement to buy power from

    the Placer County Water Agency. As energy prices rose, the now defunct Bear Sterns &

    Company prodded the water agency to terminate its power purchase agreement so that it could



            11 The amount of damages is discussed below in Section IV.
            12 Mr. Jin casts the defense to contract formation in the Peterson Action as belonging
    to Mr. Lu. But Mr. Lu was not a party to the contract between the Petersons and Ms. Hibner
    and the DeLimas.

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    sell power at better rates on the open market and to litigate the matter against PG&E. Bear

    Sterns agreed to fund the litigation. Moved to do so, the water agency initiated arbitration on

    whether it could terminate the power purchase agreement. PG&E then filed suit. The water

    agency then withdrew its arbitration demand and sought declaratory relief that the power

    purchase agreement could be terminated early. While that action was pending, PG&E sued Bear

    Sterns for interference with contractual relations and with prospective economic advantage.

           On appeal from a demurrer sustained without leave to amend, the Supreme Court

    addressed the question "whether actual interference is adequately alleged when the interference

    consists of inducing litigation on the contract." Id. at 1126. The court reasoned that the only

    common law tort claim that treats the filing of a lawsuit as an actionable injury is malicious

    prosecution. The actionable harm is in forcing the individual to expend financial and emotional

    resources to defend against a baseless claim. A plaintiff in a malicious prosecution action must

    prove that the action was brought without probable cause—i.e., not a colorable claim.

    "Obviously if the bringing of a colorable claim were actionable, tort law would inhibit free

    access to the courts and impair our society's commitment to the peaceful, judicial resolution of

    differences." Id. at 1131.

           The court expressed "concern with assuring free access to the courts" and discussed the

    underlying policies, including the First Amendment right to petition, the litigation privilege, and

    the Noerr-Pennington doctrine.13 "Our concern not to chill the right to petition the courts for




            13 Noerr-Pennington is a federal doctrine based on the First Amendment right to
    petition, first established in the anti-trust context but later expanded to apply generally, that
    insulates (with exceptions) statements made in litigation from liability. See, e.g., Professional
    Real Estate Investors, Inc. v. Columbia Pictures Industries, Inc., 508 U.S. 49 (1993). The
    doctrine's effect is similar to California's litigation privilege.

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    redress of grievances must inform our view of whether the act of inducing litigation is a tort."

    Id. at 1136. The court held:

                     We are satisfied that the malicious prosecution cases strike the appropriate
                     balance between the right to free access to the court and the interest in being free
                     from the cost of defending litigation. We conclude that a plaintiff seeking to state
                     a claim for intentional interference with contract or prospective economic
                     advantage because defendant induced another to undertake litigation, must allege
                     that the litigation was brought without probable cause and that the litigation
                     concluded in plaintiffs favor.

    Id. at 1137. Thus, to state a tortious interference claim where the interference is inducing a party

    to a contract to undertake litigation, a plaintiff must prove the elements of malicious

    prosecution—a tort that balances "the freedom of an individual to seek redress in the courts and

    the interest of a potential defendant in being free from unjustified litigation." Id. at 1131 (citing

    Oren Royal Oaks Venture v. Greenberg, Bernhard, Weiss & Karma, Inc., 42 Ca1.3d 1157, 1169

    (1986).

              Mr. Jin argues that Guinnane's action here similarly attempts to circumvent the malicious

    prosecution standard. He argues that Guinnane's claim, in essence, is that Mr. Jin induced the

    Petersons and Ms. Hibner to defend against the Peterson Action, and that, because the damages

    Guinnane asserts here are attorneys' fees and costs in prosecuting the Peterson Action, the

    wrongful conduct Guinnane complains about is that the Petersons and Ms. Hibner, with the help

    of Mr. Jin, defended that litigation. Mr. Jin argues, "What aligns this case with PG&E is that Jin

    allegedly induced, encouraged, participated or was otherwise a substantial factor in Lu's decision

    to defend Guinnane's specific performance lawsuit." (Jin Brief at 9:19-21.) He argues that there

    is no material difference between initiating litigation by filing a declaratory relief claim seeking

    permission to terminate a contract (as in PG&E) and defending an action on the grounds that an

    asserted contract is not enforceable (as the Petersons and Ms. Hibner did here). Mr. Jin does not



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    cite any authority expanding PG&E 's holding to the context here and appears to assert a novel

    argument to expand the law.

            The Court declines to apply PG&E to require Guinnane to prove that the Petersons and

    Ms. Hibner lacked probable cause to defend the Peterson Action. Although a defendant who

    asks a court to uphold an affirmative defense (and perhaps also to affirm a general denial) is

    similar to a plaintiff asking for affirmative relief in that both are petitioning a court for a

    decision, Mr. Jin's liability is not based on inducing the Petersons and Ms. Hibner to file an

    answer, assert an affirmative defense, or otherwise defend the Peterson Action. Mr. Jin's

    liability is based on making escalating offers and prodding the Petersons and Ms. Hibner not to

    sell to DeLimas and Guinnane and to sell to him instead. Although the damages caused by that

    interference include fees Guinnane incurred to recoup his lost property rights, the defense of the

    Peterson Action is not the basis for Mr. Jin's liability.

            Material differences exist between inducing a party to initiate litigation, as in PG&E, and

    inducing a party to breach a contract that triggers litigation by the aggrieved party. The first

    more directly seeks access to the courts, implicates petition rights, and invokes the litigation

    privilege and Noerr-Pennington. Inducing a breach outside the judicial process and waiting for

    the injured party to sue does not seek judicial protection. Nor does it involve communications in

    the context of litigation protected by the litigation privilege, Noerr-Pennington, or petition rights.

    Mr. Jin's conduct here—extending escalating offers to convince the sellers to sell to him—

    neither sought to access the courts nor to petition the government. It did not constitute petition

    or speech rights protected under the Anti-SLAPP statute as the Court of Appeal has held as

    discussed further below. See Guinnane Constr. Co., 2020 WL 7640216 at *6. Nor did it

    implicate the litigation privilege, see Section II.D.3 below. Inducing litigation seeks help from a



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    court, while inducing breach directly disrupts a contractual relationship outside of the judicial

    process. Inducing breach and then bracing for a lawsuit is more akin to "self-help."

            Mr. Jin's Closing Brief argues that the Petersons, Ms. Hibner, and Mr. Lu had a right to

    defend the Peterson Action. They did. And, Mr. Lu and/or Mr. Jin's funding of that defense, in

    and of itself, does not appear wrongful. But they did not have the right to induce breach of the

    contract through prodding and making escalating offers, including the offer to indemnify.

    Mr. Jin's central argument on this issue conflates these matters.14


            D.       Other Defenses
                     1.      Justification and Competition Defenses

            Mr. Jin asserts a justification defense under Richardson v. La Rancherita, 98 Cal. App.

    3d 73 (1979). Richardson recognized that "justification is the narrow protection afforded to a

    party where (1) he has a legally protected interest, (2) in good faith threatens to protect it, and (3)

    the threat is to protect it by appropriate means." 98 Cal. App. 3d at 81. "Something other than

    sincerity and an honest conviction by a party in his position is required before justification for his

    conduct on the grounds of 'good faith' can be established. There must be an objective basis for

    the belief. . . ." Id. at 82.

            This defense is unconvincing. First, Mr. Jin's threat or purported interference must have

    been directed to protect a legally protected interest. This fails here. Although Mr. Jin had an

    interest in the April 1 contract to purchase the Petersons and Ms. Hibner's interest for $1.2

    million, his interference was not targeted to protect that contract right. Mr. Jin's interference-




             14 Further, proving that a defendant has no colorable basis for defending an action is
    not a concept found in any cited cases. No cause of action for "malicious defense" exists;
    there is no cause of action against a defendant for defending without probable cause. A civil
    defendant generally has a right to hold a plaintiff to its burden of proof.

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    prodding and offering escalating consideration—sought to secure a new contract after the

    Petersons and Ms. Hibner entered a deal with the DeLimas. The interference led to the July 7

    contract—a new contract with new rights and obligations—not to protect the April 1 contract.

           The defendants' course of conduct shows that Mr. Jin abandoned the April 1 contract.

    Mr. Jin could have stood his ground and attempted to enforce the April 1 contract for $1.2

    million. If he believed it was enforceable, there was no reason to offer $1.5 million and

    additional consideration and then enter a new contract. He did not sue on the April 1 contract,

    however, most likely because he understood that its ROFR condition failed. Mr. Jin admitted in

    the indemnity agreement that the April 1 agreement "was conditioned upon DeLima waving its

    ROFR to purchase [the Petersons and Ms. Hibner's] 50% interest in the [Greeneville]

    Property."15 On a similar note, Mr. Jin's and the Chess defendants' claim that the ROFR

    condition in the April 1 contract was a contingency that Mr. Jin could have waived is beside the

    point because he never attempted to waive it and enforce the April 1 contract.

           Second, the Court does not find that Mr. Jin acted in good faith. The Petersons and

    Ms. Hibner extended the ROFR to the DeLimas at Mr. Jin 's behest. Yet, when the DeLimas

    accepted, Mr. Jin refused to honor the ROFR. Most likely this was because Mr. Jin expected the

    DeLimas to waive the ROFR, and he never intended to honor the ROFR if accepted by the

    DeLimas. That state of mind is consistent with Messrs. Jin and Chess's overarching plan to

    purchase the Peterson and Ms. Hibner's interest and then file a partition action to force the

    DeLimas to sell so that Mr. Jin could control of the entire Greenville Property.16 Controlling the




            15 Chess's claim that the April 1 contract was not conditioned on the Petersons and
    Ms. Hibner extending a ROFR to the DeLimas is belied by the indemnity agreement.
            16 The Court finds by a preponderance of the evidence that both Mr. Chess and Mr.
    Jinn agreed on this plan.

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    entire property was necessary, as Mr. Wright stated, to establish a polo facility. The DeLimas'

    acceptance of the ROFR did not match Mr. Jin's plans, so he refused to honor it.

           The same analysis applies to the Chess defendants, to the extent they make this

    argument.17 The Court does not find that Mr. Chess acted in good faith. In addition to the

    foregoing, Mr. Chess knows not to interfere with a buyer and seller who are in contract by

    submitting offers with higher consideration. He testified that, when a buyer and seller are in

    contract, and his client wants to purchase the property, his client needs to "buy the contract out"

    from the buyer or submit a "backup" offer, which would be effective if the "deal" between the

    buyer and seller "dies." (See 469:25-470:25.) Under California law as set forth above, no

    meaningful distinction exists between two parties who have signed a standard form contract and

    two parties who have reached a meeting of the minds to sell property by exchanging written

    letters as is the case here. Both situations create enforceable contracts. Mr. Chess knew or

    should have known that any new offer by Mr. Jin should have been a "backup" offer or Mr. Jin

    would need to buy the DeLimas out of their acceptance of the ROFR.

           In general, while the interference torts have been criticized for inhibiting competition,

    they help establish the parameters of legitimate competition. "[A] person is not justified in

    inducing a breach of contract simply because he is in competition with one of the parties to the

    contract and seeks to further his own economic advantage at the expense of the other." Imperial

    Ice Co. V. Rossier (1941) 18 Ca1.2d 33, 36 (1941). This is because, "[w]hatever interest society

    has in encouraging free and open competition by means not in themselves unlawful, contractual

    stability is generally accepted as of greater importance than competitive freedom." Id. A party



             17 The Chess defendants' argument that Mr. Chess engaged in "lawful competition" is
    difficult to comprehend. (Chess Br. at 26:4-27:5.) They cite B.E. Witkin regarding contracts
    "terminable at will," but no such contracts are at issue here.

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    may not, "under the guise of competition actively and affirmatively induce the breach of a

    competitor's contract." Id. at 37; see also I-CA Enterprises, Inc. v. Palram Americas, Inc., 235

    Cal. App. 4th 257, 290 (2015).


                    2.         Manager's Privilege

            The Chess defendants have no protection under the "manager's privilege." That doctrine

    provides that a manger or agent, with disinterested motives, may protect the interests of "his

    principal by counseling the breach of a contract with a third party which he reasonably believes

    to be harmful to his employer's best interest." Huynh v. Vu, 111 Cal. App. 4th 1183, 1194

    (2003) (holding that husband who acted as agent of wife may assert the privilege against a broker

    alleging interference with broker's contract with wife). Mr. Chess's liability does not turn on

    counseling his principal, Mr. Jin, to breach a contract, but on his prodding of the Petersons and

    Ms. Hibner, who were not Mr. Chess's principal or employer, to breach their contract with the

    DeLimas. See Klein v. Oakland Raiders, Ltd., 211 Cal. App. 3d 67, 81(1989) ("Where neither

    the employer nor his employee is a party to the contract with which the employee is interfering,

    there is no privilege.")

            True that Mr. Chess acted as Mr. Jin's agent. He acted principally for Mr. Jin's benefit in

    interfering with the Petersons and Ms. Hibner's contract with the DeLimas but also his own

    benefit as he would earn commissions from the transaction—whether paid by Mr. Jin or the

    sellers. In any event, agents, such as Mr. Chess, are liable for torts committed within the scope

    of their agency. See, e.g., Shafer v. Berger, Kahn, Shafton, Moss, Figler, Simon & Gladstone,

    107 Cal. App. 4th 54, 68-69 (2003).




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                   3.      Litigation Privilege

            The Chess defendants argue that Guinnane's claims are barred by the litigation privilege.

    The litigation privilege protects statements made in any legislative, judicial, or other official

    proceeding authorized by law. Civ. Cod § 47(b). The privilege,

           "applies to any publication required or permitted by law in the course of a judicial
           proceeding to achieve the objects of the litigation, even though the publication is made
           outside the courtroom and no function of the court or its officers is involved." [citation]
           "The usual formulation is that the privilege applies to any communication (1) made in
           judicial or quasi-judicial proceedings; (2) by litigants or other participants authorized by
           law; (3) to achieve the objects of the litigation; and (4) that have some connection or
           logical relation to the action." [citation]

    Jacob B. v. Cnty. of Shasta, 40 Cal. 4th 948, 955-56 (2007); see also Silberg v. Anderson, 50

    Cal. 3d 205, 213 (1990). Statements made before litigation or official proceedings commence

    that logically relate to the anticipated matter fall within the privilege. See, e.g., Lerette v. Dean

    Witter Org., Inc., 60 Cal. App. 3d 573 (1976) (pre-litigation demand letter protected by litigation

    privilege).

            In their Closing Brief, the Chess defendants fundamentally and materially misstate the

    litigation privilege. They argue that "communications made in connection with the validity of

    the contract between Peterson/Hibner and the DeLimas/Plaintiff actually considered by Judge

    MacLaren are litigation privileged and cannot be used as a basis for liability. . . . Since the

    Indemnity agreement was actually considered by Judge MacLaren, it cannot be the basis for

    liability for Chess." (Chess Br. at 54:21-55:5 (emphasis in original).) This is not the rule.

    Communications do not become protected from serving as the basis of tort liability under the

    litigation privilege merely upon being submitted as evidence. Put another way, the litigation

    privilege does not attach to statements made outside of official proceedings merely because those

    statements were considered by a court as evidence in litigation.



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           The Chess defendants, however, also argue that Mr. Chess' "communication relating to

    offering indemnity to Peterson/Hibner would have to been seen as relating to an imminent

    lawsuit." (Id. at 55:22-24.) This argument, which is buried in their closing brief, at least posits a

    cognizable theory.

           The Court of Appeal touched on this issue on review of the Court's denial of the Chess

    defendants' Anti-SLAPP motion to strike. The Court of Appeal held that the claims here do not

    arise from acts in furtherance of the right to petition or free speech under Code of Civil

    Procedure § 425.16(e)(1). Guinnane Constr. Co. v. Chess, No. A157781, 2020 WL 7640216

    (Cal. Ct. App. Dec. 22, 2020). The issue there was whether the escalating offers, including the

    offer and later agreement to indemnify, constituted protected activity under the first prong of the

    Anti-SLAPP test. The Chess defendants contended that they fell within 425.16(e)(1) as

    statements made during judicial proceedings, meaning "statements made before a legislative,

    executive, or judicial proceeding or any other official proceeding authorized by law" and "was

    designed to further[ ] the effective exercise of the petition right[ ]." Id. at *5. They claimed that

    "the offers were protected petitioning activity because they were made to the Peterson/Hibners

    shortly before or after Guinnane filed suit against the Peterson/Hibners for specific performance.

    Id. In ruling that the "series of offers to" the Petersons and Ms. Hibner fell outside of §

    425.16(e)(1), the Court of Appeal held:

           Contrary to Chess's arguments, the fact that Chess and Jin anticipated their acts might
           precipitate litigation does not demonstrate their offers to the Peterson/Hibners were
           communications preparatory to or in anticipation of litigation within subdivision (e)(1)
           of the anti-SLAPP statute. The offers of increased monetary and other consideration to
           purchase the property were not initial steps pertaining to potential litigation, such as
           sending a demand letter, providing legal advice to prospective litigants or undertaking an
           investigation of circumstances relevant to potential litigation. [citation.] Nor were the
           offers made in response to or defense against the specific performance action. [citation.]
           Rather, they were simply an effort on Chess's and Jin's part to effectuate a business
           transaction, nothing more and nothing less. In essence, Chess's argument conflates an

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           underlying tort or wrongdoing that may provoke a lawsuit with petitioning activity
           related to that lawsuit.

    Guinnane Constr. Co. v. Chess, No. A157781, 2020 WL 7640216, at *6 (Cal. Ct. App. Dec. 22,

    2020) (emphasis added). The Court further explained that the "offer to indemnify the sellers

    was not an exercise by Chess or Jin of petitioning activity. . . . Rather, Chess and Jin promised

    to defend and indemnify the Peterson/Hibners as an inducement to encourage them to sell their

    interest in the Property to Jin. In other words, their offer was part of the negotiation of a real

    estate transaction and not protected speech." (Id. at *7.)

           On Guinnane's cross-appeal, the Court of Appeal addressed Guinnane's argument that

    the litigation privilege did not bar the claims under the second prong of the Anti-SLAPP test but

    did not decide the issue. After discussing PG&E v. Bear Sterns, the Court of Appeal explained:

           Here, the offer of indemnity was also made as part of a course of conduct, one that
           included offering to pay a higher price and to waive the seller's commission for the
           Property. The plain purpose of all three was to encourage or induce the Peterson/Hibners
           to sell the Property to Jin rather than proceeding with the sale to Guinnane. The question
           is not whether funding litigation is communicative speech or noncommunicative conduct,
           but rather, into which of those categories Chess and Jin's offer to indemnify falls. Further,
           even if the offer constitutes communicative speech, there remains the question, for
           purposes of determining whether the litigation privilege applies, whether the offer was
           "made in the course of a judicial proceeding" and "to achieve the objects of the
           litigation."

    Id. at *10 (emphasis in original). The Court stated that "Guinnane has made a strong argument

    that the litigation privilege does not bar its claims. . . While we might find that argument

    persuasive if we reached it," the trial court did not abuse its discretion in concluding that Chess's

    contrary argument was not frivolous. Id. Thus, the Court of Appeal, at least, left open the issue

    whether the offer to indemnify is protected by the litigation privilege.

           The Chess defendants in their Closing Brief, however, provide no meaningful analysis on

    the two questions the Court of Appeal identified. Nor do they cite any authority applying the



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    litigation privilege to an offer to indemnify in any context. Given that their argument is buried in

    their brief and that they led with their mistaken recitation of the litigation privilege, it is

    understandable that Guinnane did not address this in its Reply Brief.

            The principal issue is whether the escalating offers, including the offer to indemnify,

    constitute a noncommunicative tortious course of conduct not protected by the litigation

    privilege. See Kimmel v. Goland, 51, Cal. 3d 202 (1990). The distinction between

    communicative acts and noncommunicative conduct ultimately hinges on the gravamen of the

    action. Navellier v. Sletten, 106 Cal. App. 4th 763, 771 (2003). PG&E is instructive. As noted,

    that case involved claims against Bear Sterns for taking steps to persuade the water agency to sue

    to terminate a contract, including agreeing to fund the litigation. As discussed in the Court of

    Appeal's decision in this case, the Supreme Court stated that the litigation privilege did not

    protect Bear Sterns: "The privilege does not apply to bar liability here . . . because the gravamen

    of the complaint was not a communication but a course of conduct. [citations.] Thus, while it

    could be argued that an exhortation to sue might be privileged, financing and otherwise

    promoting the litigation would not be." 50 Cal. 3d at 1132 n.12.

            Along these same lines, courts have held that statements analogous to those here made in

    the course of tortious conduct or contract negotiations/performance are not protected by the

    litigation privilege even though litigation looms overhead. See Haneline Pac. Properties, LLC v.

    May, 167 Cal. App. 4th 311(2008) (holding that property owner's communications with co-

    owner not to sell to plaintiff/lessee but rather to terminate lease and obtain higher market rent

    with specter of litigation looming was not within § 47 litigation privilege); LiMandri v. Judkins,

    52 Cal. App. 4th 326 (1997) (holding that litigation privilege did not bar claim "because it is

    based upon an alleged tortious course of conduct, including the defendant preparing and having



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    third party execute documents creating a security interest settlement proceeds and filing a notice

    of lien; "While the isolated act of filing Security's notice of lien was communicative, it was only

    one act in the overall course of conduct"); Stacy & Witbeck, Inc. v. City & Cnty. of San

    Francisco, 47 Cal. App. 4th 1, 54 (1996) (cause of action under False Claims Act based on claim

    submitted to a city identifying damages and stating that its purpose is to avoid litigation not

    protected by litigation privilege because it constituted tortious conduct).

           As the Court of Appeal here noted, Haneline held, "Negotiations and persuasion are part

    of any business deal. To suggest that nearly any attempt at negotiation is covered by the

    privilege, especially when attorneys are involved, is unduly overbroad. We do not find the

    purposes of the privilege stretch that far, and thus, neither should the privilege." Haneline, 167

    Cal. App. 4th at 320. Similarly, Stacy &Whitbeck held, "The paper trail of contractual

    performance and course of dealing between parties under a contract cannot be immunized from

    use in later judicial proceedings just because that paper trail is also a publication that serves a

    litigation purpose. If that same paper trail amounts to wrongful performance or conduct under the

    contract, it escapes section 47(b). The litigation privilege encompasses only the communicative

    act; it does not privilege tortious courses of conduct." 47 Cal. App. 4th at 7-8 (citing Kimmel v.

    Goland, 51, Cal. 3d 202 (1990).)

            Here, after Messrs. Jin and Chess learned that the DeLimas' accepted the Petersons and

    Ms. Hibner's offer of a ROFR, they first offered an increased purchase price ($1.5 million); then

    they offered to indemnify; then they offered to waive all contingencies; then they agreed to $1.6

    million; and then they agreed to absorb the broker's commission. The offer to indemnify was

    one of a series of escalating consideration made as part of contract negotiations between Mr. Jin

    and the Petersons and Ms. Hibner. Offering to pay to defend an anticipated lawsuits from the



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    DeLimas was materially the same as increasing the purchase price for the Greenville Property or

    eliminating broker commissions—it constituted additional financial consideration to the

    Petersons and Ms. Hibner to persuade them to sell to Mr. Jin and not to the DeLimas. Those

    escalating offers, including the offer to indemnify, constituted a course of tortious conduct. They

    are not protected by the litigation privilege.

           This conclusion is consistent with the Court of Appeal's ruling that the escalating offers,

    including the offer to indemnify, were not "communications preparatory to or in anticipation of

    litigation within" § 425.16(e)(1) as quoted above. While section 425.16(e)(1) and section 47(b)

    have different purposes and the analyses under each statute differ, there is a relationship between

    the two statutes, and courts have looked to the litigation privilege to aid in construing §

    425.16(e)(1). See Flatley v. Mauro, 39 Cal. 4th 299, 322-325 (2006). For purposes of this action

    and on the facts of this case, the Court does not see good reason why the results under the two

    statutes should differ. If the escalating offers, including the offer to indemnify, do not constitute

    communications made preparatory to or in anticipation of litigation under § 425.16(e)(1), as the

    Court of Appeal has found, the Court sees no reason why they would be preparatory to or in

    anticipation of litigation for purposes of § 47(b). The defendants do not provide any good

    explanation for why different results are warranted here.18


           E.      Intentional and Negligent Interference with Prospective Economic
                   Advantage

           The elements of the tort of intentional interference with prospective economic advantage

    are: "(1) an economic relationship between the plaintiff and some third party, with the



             18 The Court does not reach the question of whether the offer and agreement to
    indemnify were "made in the course of a judicial proceeding" and "to achieve the objects of
    the litigation." Neither party addressed this issue.

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    probability of future economic benefit to the plaintiff; (2) the defendant's knowledge of the

    relationship; (3) intentional acts on the part of the defendant designed to disrupt the relationship;

    (4) actual disruption of the relationship; and (5) economic harm to the plaintiff proximately

    caused by the acts of the defendant." Korea Supply Co., 29 Cal. 4t11 at 1153. The elements of

    negligent interference with prospective economic advantage are similar, except that elements 3

    and 4 are: "(3) the defendant's knowledge (actual or construed) that the relationship would be

    disrupted if the defendant failed to act with reasonable care"; and "(4) the defendant's failure to

    act with reasonable care." Redfearn v. Trader Joe's Co., 20 Cal. App. 5th 989, 1005 (2018).

           In addition, a plaintiff must prove that the defendant also "engaged in conduct that was

    wrongful by some legal measure other than the fact of interference itself." Della Penna v.

    Toyota Motor Sales, U.S.A., Inc., 11 Cal. 4th 376, 393 (1995); see Redfearn, 20 Cal. App. 5th at

    1006 (same rule for negligent interference). "[A]n act is independently wrongful if it is

    unlawful, that is, if it is proscribed by some constitutional, statutory, regulatory, common law, or

    other determinable legal standard." Korea Supply Co., 29 Cal. 4th at 1159. "[A] defendant's

    wrongful actions [need not be] be directed towards the plaintiff seeking to recover." Id. at 1163.

    This element must also be established to prove negligent interference with prospective economic

    advantage. Redfearn v. Trader Joe's Co., 20 Cal. App. 5th 989, 1006 (2018).19




            19 Here, Guinnane had an economic relationship with the Petersons and Ms. Hibner as
    the assignee of their contract with the DeLimas, Messrs. Jin and Chess were aware of that
    relationship, they offered increased consideration and agreed to indemnify to disrupt that
    relationship, which was disrupted, and Guinnane had to sue to obtain its expectancy.
    Guinnane had a probability of future economic benefit. He would own 50% of the Greenville
    Property. Property ownership constitutes an economic benefit. Although a principal concern
    for Mr. Guinnane was to protect the DeLimas from eviction, he also maintains horses on the
    Greenville Property under the DeLimas' case, so owning land on which to maintain his horses
    constitutes an economic benefit.

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           The Court does not find that Mr. Jin or Mr. Chess engaged in any independently

    wrongful conduct. Guinnane's principal argument is that Messrs. Jin and Chess' engaged in

    financial abuse under the Elder Abuse Act, Welf. & Inst. Code § 15600-75, by wrongfully

    obtaining Mr. DeLima's property rights. Financial abuse of an elder includes taking,

    appropriating, or obtaining "property" of an elder for "a wrongful use or with intent to defraud"

    as well as assisting in that conduct. Welf. & Inst. Code § 15610.30(a). "[W]rongful use" means

    "among other things, the person takes [appropriates, or obtains] the property and the person or

    entity knew or should have known that th[e] conduct is likely to be harmful to the elder or

    dependent adult." Id., § 15610.30(b). A person takes, appropriates, or obtains "property when

    an elder or dependent adult is deprived of any property right, including by means of an

    agreement, donative transfer, or testamentary bequest, regardless of whether the property is held

    directly or by a representative of an elder or dependent adult." Id., § 15610.30(c).2°

           Guinnane argues that Messrs. Jin and Chess took Mr. DeLima's property rights in his

    contract with the Petersons' and Ms. Hibner by interfering with that contract and convincing the




            20 "Property" under the Elder Act is broadly construed. Cameron v. Las Orchidias
    Properties, LLC, 82 Cal. App. 5th 481, 507 (2022) (holding that "property" includes
    "intangible" right to re-rent an apartment under the Ellis Act). "Knew or should have known"
    under § 15610.30(a) means actual or constructive knowledge. Paslay v. State Farm Gen. Ins.
    Co., 248 Cal. App. 4th 639, 657-58 (2016). Constructive knowledge "means knowledge 'that
    one using reasonable care or diligence should have, and therefore is attributed by law. . .
    [and] encompasses a variety of mental states, ranging from one who is deliberately indifferent
    in the face of an unjustifiably high risk of harm [citation] to one who merely should know of a
    dangerous condition [citation]." Id. "The existence of constructive knowledge is assessed by
    reference to an objective "reasonable person." Id. Paslay held that, when the taking
    constitutes a "deprivation of property due an elder under a contract," "wrongful conduct
    occurs only when the party who violates the contract actually knows that it is engaging in a
    harmful breach, or reasonably should be aware of the harmful breach." Paslay, 248 Cal. App.
    4th at 658 (holding that carrier denial of insurance policy benefits was not "wrongful use"
    under the Elder Abuse Act).

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    Petersons and Ms. Hibner to sell to Mr. Jin instead of the DeLimas.21 Mr. DeLima was 86-years-

    old at the time and an elder under the statute.22

           The flaw here, as correctly pointed out by Mr. Jin, is that the DeLimas assigned all their

    rights under the TIC and the April 4 letter, which includes the ROFR, to Guinnane on April 21,

    2017. (Ex. 30.) The DeLimas reserved no property rights under that assignment. (Id.) And, the

    Petersons and Ms. Hibner had neither breached their contract with the DeLimas nor decided not

    to sell to the DeLimas before the assignment. Closing, i.e., performance, was not to occur until

    May 1, 2017. And, as of May 30, 2017, Mr. Chess was still trying to convince the Petersons and

    Ms. Hibner to sell to Mr. Jin. (Ex. 32 ("What is up with you? We need a response by 12 noon

    Tuesday.") The Petersons and Ms. Hibner elected not to sell to the DeLimas at some point

    between May 30 and July 7, 2017. (Ex. 58.) By that point, the DeLimas had transferred their

    property rights at issue to Guinnane. So, the defendants did not take Mr. DeLima's property.

           Guinnane claims that it held the DeLimas' contract rights as a "representative of the

    estate of the elder or dependent adult" under § 15610.30(d)(1). While Mr. Guinane acted as

    Mr. DeLima's advocate in dealing with the Petersons, Ms. Hibner, and Mr. Jin at various times,

    the evidence does not show that Guinnane Construction—the assignee—held the DeLimas'

    interest in the contract as Mr. DeLima's representative. Guinnane does not cite any evidence in

    its Reply Brief on this point to support its assertion. (See Guinnane Reply at 9:8-21.)

           While Guinnane and the DeLimas' interests were aligned, the distinction regarding

    whose property rights were taken is material. The April 21 assignment had teeth. It gave




          21 At no point did the defendants take or obtain the DeLimas' own 50% interest in the
    Greenville Property.
          22 For purposes of the act, an elder is a person 65 -years-old or older. Welf. & Inst.
    Code § 15610.27. The evidence did not establish Barbara DeLima's age.

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    Guinnane standing to sue in the Peterson Action and here. Guinnane needed to own the property

    rights in the contract to force the conveyance of the Petersons and Ms. Hibner's interest to

    Guinnane. And, Judge MacLaren relied on the terms and the timing of the assignment. A ruling

    now that Guinnane was actually holding the contract rights for Mr. DeLima despite the

    assignment would be anomalous and contradict the evidence.

           Guinnane proposes a second theory of wrongful conduct, arguing that Mr. Chess, on or

    about May 16, 2017, drafted and sent to Mr. Chuck a letter prepared for Mr. Peterson's signature

    falsely stating that the Petersons and Ms. Hibner had decided not to sell to the DeLimas. (See

    Ex. 40.) The Court is not persuaded that the assertion in the letter that the Petersons and Ms.

    Hibner decided not to sell to the DeLimas was a false statement of fact given the context in

    which it was written. Mr. Chess drafted the letter for Mr. Peterson to adopt and send to the

    DeLimas, but Mr. Chuck declined on his client's behalf. A reasonable inference from the

    context is that Mr. Chess was hoping that Mr. Chuck would persuade the Petersons to adopt the

    letter and send it to the DeLimas. The statements in the letter were proposed for adoption, not

    representations of fact. Further, the asserted misrepresentation was never made directly or

    indirectly to the DeLimas or to Guinnane. Ghost-writing a letter containing a proposed

    statement for another to adopt in this context, without more, does not constitute fraud or deceit or

    a wrongful act under any legal measure.23


    IV.    DAMAGES AMOUNT

           The parties agree that Guinnane incurred attorneys' fees and costs to prosecute the

    Peterson Action but dispute their reasonableness. Mr. Guinnane engaged Arnold & Porter Kaye

    Scholer LLP to prosecute the Peterson Action, having had an existing relationship with the firm


           23The Chess defendants' comparative fault argument is moot.

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    through one of its attorneys, Kenneth Hausman. The firm litigated the Peterson Action from the

    outset through trial and final judgment and prevailed. The firm's timekeepers—assigned

    attorneys and legal assistants—maintained contemporaneous time notes, and the firm regularly

    billed Guinnane. (Ex. 89 (redacted billing statements); Ex. 93 (spreadsheet of redacted time

    entries).) The firm billed a total of $1,333,379 in attorneys' fees and $125,165 in costs and

    disbursements. The firm wrote off $45,915 of fees. Guinnane paid all the billed amounts out of

    pocket. After the Peterson Action, the defendants paid Guinnane $101,953 for statutorily

    reimbursable costs. Guinnane now seeks the fees and costs he paid, less the reimbursed, costs as

    well as prejudgment interest.

                The Court gives great weight to the fact that Guinnane paid all the fees that Arnold &

    Porter billed for work in the Peterson Action. This is credible evidence that fees and costs were

    incurred and are reasonable. Mai v. HKT Cal, Inc., 66 Cal. App. 5th 504, 519-20 (2021) ("A

    prima facie case as to the costs incurred and their reasonableness can be established by the

    plaintiffs testimony that bills for the services were paid.") "[A] person who receives a bill has

    'every interest to dispute its accuracy or reasonableness if there is reason to do so. Thus, if a bill

    or invoice is paid, the court is assured of the accuracy and reasonableness of the charges."

    Jones v. Dumrichob, 63 Cal. App. 4th 1258, 1268 (1998).

           The Court heard opinions from three experts, Richard Pearl, Willam Hensley, and John

    O'Connor, regarding reasonableness of the fees. All the experts relied on Arnold & Porter's

    invoices in forming their opinions—Ex. 89.24 The Court has independently reviewed those

    invoices.


           24 The Chess defendants' evidentiary objection in the Closing Brief that the invoices
    were not authenticated is not well taken. (Chess Brief at 3.) Not only is this wrong, but
    evidentiary issues were addressed during trial. Mr. Guinnane testified that he received,
    reviewed, and paid Arnold & Porter's invoices. (133:1-135:15) "[O]nce the plaintiff testifies
                                                       52




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           Each expert made some valid points, but the Court does not adopt any of the experts'

    opinions wholesale. The Court accepts Mr. Pearl's general opinion that the fees were

    reasonable, particularly given that Guinnane paid them, but finds that deductions for certain

    matters are appropriate.

           Arnold & Porter gave Guinnane a 10% discount at the outset and then a 20% discount

    beginning with the February 2018 bills. Arnold & Porter's blended hourly rate was $575 as

    Mr. O'Connor acknowledged. This was a reasonable rate for the Peterson Action. Although

    Mr. O'Connor opined that less expensive counsel would have been more appropriate, hiring

    Arnold & Porter was reasonable, particularly given Mr. Guinnane's relationship and trust in the

    firm and given that Shartsis Friese LLP, Mr. Jin's counsel here, represented the defendants.

    Arnold & Porter discharged its duties in the Peterson Action ably and obtained the desired result.

           In terms of difficulty, the Peterson Action25 was neither overly difficult nor complex, but

    neither was it simple. There were issues. But it was vigorously defended from the outset, as

    Mr. Jin and Yu had a right to do, and the defense was well funded by Mr. Jin and/or Mr. Yu with

    substantial resources behind. Guinnane needed a firm with resources and experience to

    adequately meet a vigorous defense. An opinion that another firm with lower billing rates would

    have reached the same result is speculative. Mr. Guinnane's choice of counsel should be

    respected under the facts here.

           Both sides appeared to have conducted exhaustive discovery, including extensive written

    discovery and about 12 fact depositions and additional expert depositions. Both sides engaged in



    (based on personal knowledge) that a bill in a particular amount was received and paid, the
    invoice itself can be introduced to explain and support the plaintiffs testimony as well as
    show the amount was reasonable." Mai, 66 Cal. App. 5th 521.
           25 The Court takes judicial notice of the documents in the register of action in the
    Peterson Action. Cal. Evid. Code § 452.

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                                                                                               Ex. A - 123
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    substantial law and motion practice. Multiple discovery motions were necessary. Guinnane was

    required to press for a privilege log and then file a motion to compel to obtain the indemnity

    agreement, which the defense initially withheld on a claim of privilege. The indemnity

    agreement was critical evidence upon which Judge MacLaren relied. Another firm might not

    have obtained the indemnity agreement. Both sides filed summary judgment motions and

    extensive pre-trial motions.

            The matter was not over-staffed. Mr. Hausman served as the senior partner on the

    pleadings, at least for pre-trial litigation. He provided advice and strategy as reflected in the

    bills, but he did not bill for his time, other than for one de minimus entry. That reduced the fees

    meaningfully. A senior associate was assigned to manage the matter on a day-to-day basis and

    took the laboring oar for pre-trial matters, which was appropriate. Other associates and legal

    assistants billed for assigned tasks and provided support. Mr. Hughes entered the action close to

    trial and led the trial team.

            The Court, however, agrees with Mr. Hensley that some of the principal senior

    associate's time was excessive and adopts his reduction of that time by 5% totaling $43,483.

            The Court does not find appropriate Mr. Hensley's suggestion to deduct $474,000 for

    vague, excessive time entries, bad delegation, clerical and duplicative work.

            Guinnane or its counsel, however, elected to redact many entries, particularly the

    description of the legal research, even though no appeal is pending. This made determining that

    those billings were necessary and reasonable difficult, although some of it certainly was. The

    Court deducts 22 hours at the blended rate of $575 totaling $12,650 on this issue.

            The Court also agrees that 103.6 hours for opposing the 3-5 page single fact summary

    judgment motion is a bit excessive and will deduct 23.6 hours here totaling $13,570.



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           Mr. Hensley suggested a substantial deduction—over $160,000—because Arnold &

    Porter employed block billing. Block billing is permitted by law and not unusual, and whether a

    firm use that method is a matter between the firm and its clients. The Court finds nothing

    improper about block billing and declines to reduce the fees on that account.

           The parties raise proportionality in the testimony and the briefs. While proportionality

    has a place in attorney fee analysis, the fees here were not clearly disproportionate to the stakes.

    The stakes were not just the value of the Petersons and Ms. Hibner's 50% interest, which even

    Mr. Jin agrees is worth at least $1.5 million. The stakes included the possibility that the

    DeLimas, their daughter, and grandchildren would be forced out of their long time home with

    nowhere to go. Mr. Guinnane's testimony that the DeLimas had nowhere to go was

    uncontradicted. Further, real estate is unique, and Mr. Guinnane stabled his own horses on the

    property. Guinnane's decision to pay over $1.3 million in fees and costs to enforce Guinnane's

    contract rights to obtain unique property to which Guinnane was entitled under these

    circumstances was not unreasonable.26

           In sum, the Court deducts $69,703 from Arnold & Porter's bills but otherwise finds the

    firms' fees and costs reasonable. Other than the hours deducted above, the Court finds that the

    hours reflected in the invoices were reasonable. The damages the Court finds total: $1,286,888.

    ($1,333,379 + $125,156 - $101,953 -$69,703.)




           26 The Chess defendants' argument that the special benefit doctrine mitigates
    Guinnane's damages is unpersuasive. (Chess Brief at 43:8-16.) The defendants' inducing the
    Petersons and Ms. Hibner to breach and their tortious interference provided no benefit to
    Guinnane.

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                                                                                                  Ex. A - 125
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           A.      Prejudgment Interest

           Prejudgment interest under Civil Code § 3288 is appropriate to make Guinnane whole.

    Arnold & Porter's invoices identified the amounts due, so the damages are certain or capable of

    being made certain. The Court sees no reason Guinnane should be prejudiced because of the

    time necessary to bring this action to trial and reach final judgment. Upon considering all the

    evidence and legal issues, the Court exercises its discretion to award prejudgment interest at 7%.

    See Michelson v. Hamada, 29 Cal. App. 4fil 1566 (1994).

           Mr. Jin's description of Guinnane as a "volunteer," even if accepted, does not change

    Guinnane's right to enforce the contract with the Petersons and Ms. Hibner. Nor does it change

    loss of use of the money Guinnane paid to prosecute the Peterson Action. None of the Chess

    defendants' arguments against awarding prejudgment interest are persuasive.

           To arrive at appropriate prejudgment interest, the Court orders Guinnane to prorate a

    deduction of $69,703 from the "Payment" column in the prejudgment interest chart at page 39 of

    its Closing Brief and to rerun the interest calculations at 7% as of April 1, 2024. Guinnane is to

    submit a revised chart within 15 days of this Tentative and Proposed Statement of Decision.


           B.      Punitive Damages

           The Court does not find oppression, fraud, or malice and awards no punitive damages.


    V.     CONCLUSION AND ORDERS

           Based on the foregoing and having considered all the evidence submitted at trial and

    argument of counsel, the Court rules as follows:


           A.      The Court finds in favor of Plaintiff and against all Defendants on
                   Plaintiff's First Cause of Action for inducing breach of contract and




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                 Second Cause of Action for tortious interference with contractual
                 relations.

          B.     The Court finds in favor of Defendants on Plaintiff's Third Cause of
                 Action for Interference with Prospective Economic Advantage and Fourth
                 Cause of Action for Negligent Interference with Prospective Economic
                 Advantage.
          C.     Defendants shall jointly and severally pay Plaintiff the sum of $1,286,888
                 for compensatory damages.
          D.     Defendants shall pay Plaintiff prejudgment interest at 7% simple interest
                 based on formula set forth above in Section IV.
          E.     Plaintiff shall submit a proposed judgment in conformity with this
                 Statement of Decision within 10 days of this Statement of Decision
                 becoming final and in compliance with the California Rules of Court.

          F.     The Court retains jurisdiction over any timely filed motion for fees or
                 costs.


    IT IS HEREBY ORDERED.

    Dated: July 3, 2024                                       _A--4.t- PnVivV),-v
                                                       By:
                                                                   Somnath Raj Chatterjee
                                                             Judge of the California Superior Court




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 Guinnane Construction Co. Inc.                                                     B .-,.-       Ajli-r0 '6114141:1                  BE, p ut y
 DEFENDANT/RESPONDENT:                                                                                   D. Fisher

 Stephen Marc Chess et al
      CERTIFICATE OF ELECTRONIC SERVICE CODE OF CIVIL                            CASE NUMBER:

                     PROCEDURE 1010.6                                            RG18932289


 I, the below named Executive Officer/Clerk of Court of the above -entitled court, do hereby certify that I am
 not a party to the cause herein, and that on this date I served one copy of the Tentative and Proposed
 Statement of Decision After Trial entered herein upon each party or counsel of record in the above entitled
 action, by electronically serving the document(s) from my place of business, in accordance with standard
 court practices.




     Kenneth Gibbs Hausman                                       Peter C. Catalanotti
     Arnold & Porter Kaye Scholer LLP                            Freeman Mathis & Gary LLP
     kenneth.hausman@arnoldporter.com                            peter.catalanotti@wilsonelser.com




                                                       Chad Finke, Executive Officer / Clerk of the Court
 Dated: 07/03/2024                                     By:
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     Young v. Leland Stanford Jr Univ, Alameda County Superior Ct.
                                                    No. 17877051




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          SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                       Rene C. Davidson Courthouse



    Qiqiuia Young et al                               No.         RG17877051
                    Plaintiff/Petitioner(s)
                   vs.                                Date:       12/04/2024
    The Leland Stanford Junior                        Time:       4:32 PM
    University et al                                  Dept:       20
                    Defendant/Respondent
    (s)                                               Judge:      Karin Schwartz

                                                        ORDER re: Ruling on Submitted
                                                                     Matter



    The Court, having taken the matter under submission on 10/25/2024, now rules as follows:

    The hearing on Plaintiff's motion for attorneys' fees took place on October 24 and 25, 2024.
    Having considered the parties' written submissions and oral arguments, the Court now rules as
    follows:

    Plaintiff Qiqiuia Young's Motion for Attorneys' Fees is GRANTED IN PART and DENIED IN
    PART.

    After a 6-week jury trial and various post-trial motions, Plaintiff Qiqiuia Young ("Plaintiff") was
    awarded a verdict of $10,000,000 in this employment action against Defendants The Board of
    Trustees of The Leland Stanford Junior University ("SU"), Stanford Health Care ("SHC"), and
    Chanrath Flores ("Flores") (collectively, "Defendants"). Plaintiff moves for attorneys' fees
    pursuant to Government Code § 12965, subdivision (c)(6).

    In civil actions brought under the Fair Employment and Housing Act ("FEHA"), the court, in its
    discretion, may award to the prevailing party reasonable attorneys' fees and costs. (Gov. Code §
    12965, subd. (c)(6).) Attorney fees awarded under the FEHA are intended to provide fair
    compensation to attorneys involved and encourage litigation of claims that, in the public interest,
    merit litigation. (Chavez v. City of Los Angeles (2010) 47 Ca1.4th 970, 984 ("Chavez").)

    A prevailing plaintiff should recover attorneys' fees unless special circumstances render such an
    award unjust. (Vines v. O'Reilly Auto Enterprises, LLC (2022) 74 Cal.App.5th 174, 182.) A fee
    request that appears unreasonably inflated is a special circumstance permitting the trial court to
    reduce or deny the award. (Id., citing Chavez at p. 990.)

    Plaintiff as the moving party bears the burden to prove that the fees sought are reasonable.
    (Vines, supra, 74 Cal.App.5th at p. 184.) However, the challenging party bears the burden to
    point to specific challenged items as excessive, with sufficient argument and citations to
    evidence. (Id.)

    Plaintiff's counsel requests a total fee award of $24,772,741.85, based on a total lodestar of

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                                     Rene C. Davidson Courthouse
    $16,572,782.90 for 16,745.3 hours, with a 1.5 multiplier ($8,173,709.95.) Defendants argue the
    fees sought are excessive because (1) the requested hourly rates are excessive; (2) Plaintiff
    includes work performed on claims that were not brought under FEHA and therefore not subject
    to the fee award; and (3) the fees incurred are unreasonable because they contain duplicative
    entries and reflect unnecessary work.

    The primary method for establishing the amount of reasonable attorney fees is the lodestar
    method. (Consumer Privacy Cases (2009) 175 Cal.App.4th 545, 556.) The lodestar is produced
    by multiplying the number of hours reasonably expended by counsel at a reasonable hourly rate.
    (Id.) In evaluating the reasonableness of an attorney fee request, the trial court may consider
    whether the case was overstaffed; how much time the attorneys spent on particular claims; and
    whether the hours were reasonably expended. (Reck v. FCA US LLC (2021) 64 Cal.App.5th
    682, 699-700.)

    "[T]rial courts have discretion to award fees based on declarations of counsel describing the
    work they have done and the court's own view of the number of hours reasonably spent." (Syers

    Properties III, Inc. v. Rankin (2014) 226 Cal.App.4th 691, 699.) Regarding the amount of the
    reasonable rate, the court considers the evidence and its own knowledge and familiarity with the
    legal market. (Meridian Financial Services, Inc. v. Phan (2021) 67 Cal.App.5th 657, 709.)

    Plaintiff retained three different law firms throughout the course of this litigation: Villarreal
    Hunter PC ("Villarreal"), Peck Law ("Peck"), and the Law Offices of Christopher Whelan
    ("Whelan"). Villarreal requests a lodestar of $7,002,762.90 for 9,426.1 hours, with hourly rates
    for four attorneys ranging from $875 - $1,100 and a paralegal rate of $175. (Villareal Dec. IF 60.)
    Peck requests a lodestar of $1,662,315, with hourly rates for three attorneys ranging from $850
    to $1,200. (Peck Dec. IF 65.) Whelan requests a lodestar of $7,907,705 for 5,720 hours, with
    hourly rates for two attorneys ranging from $625 - $1,600. (Whelan Dec. If 56.)

    Defendants argue that Plaintiff should receive $2,582,500 in attorneys' fees with no multiplier
    enhancement. Defense fees expert John D. O'Connor opines that based upon his judgment,
    experience, and market knowledge, Ms. Villarreal's rate should be reduced to $600/hour and Mr.
    Whelan's and Ms. Peck's rate should both be reduced to $800/hour. (O'Connor Dec. 'If 48, 51,
    121, 123.) For the associate attorneys, O'Connor proposes a reduction to $500/hour. (Id. IF 55.)

    In consideration of the parties' arguments and evidence, with the Court's knowledge and
    familiarity of both the legal market and the litigation of this action, and considering the nature of
    the legal work performed by each firm, the Court finds it reasonable to apply the following
    blended rates, representing all professionals at each of the three firms who worked on the case:
    Villarreal - $850/hour; Peck $1,050/hour; and Whelan $880/hour. (Espejo v. Copley Press, Inc.
    (2017) 13 Cal.App.5th 329, 337 [blended rate of $500/hour); 569 East County Boulevard LLC v.
    Backcountry Against the Dump (2016) 6 Cal.App.5th 426, 436-438 [blended rate of $275/hour].)
    As noted, these rates do not reflect work done by any one attorney or professional at any given
    firm. Rather, in developing these rates, the Court considered, inter alia: (1) the reasonable rate
    for each professional who performed work on the case, considering both the requested rate and
    local market conditions; (2) the proportion of work done by each type of professional; (3) the
    substantive nature of the compensable work done (e.g., pretrial motions, pretrial discovery, other
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                                     Rene C. Davidson Courthouse
    pretrial work, trial work, etc.); and (4) the contingent nature of the work performed. Thus, for
    example, if a firm utilized more paralegals and/or junior lawyers than another firm, that staffing
    ratio would be reflected in the blended rate.

    Defendants argue that the hours sought are unreasonable because Plaintiff can only seek
    attorneys' fees for work performed in litigation of her FEHA claims against SHC, pursuant to
    Gov. Code § 12965, subd. (c)(6). Defendants contend that Plaintiff cannot seek fees related to
    her claims for battery, retaliation under Labor Code § 1102.5, or defamation, nor can she seek
    fees regarding litigation against SU or Flores. Defendants further argue that fees related to work
    regarding the alter ego and joint employer theories are not recoverable, nor fees for work related
    to the anti-SLAPP motion and appeal related to Plaintiff's defamation claim. Plaintiff has not
    identified what time was incurred solely on her FEHA claims or as to each defendant.

    Plaintiff argues that her non-FEHA claims were not distinctly different in both fact and law from
    her FEHA claims such that the work need not be apportioned; she contends the defamation,
    assault, and battery claims were factually related to her retaliation and harassment claims.

    Plaintiff further argues that her joint employment and alter ego theories relate to the FEHA
    actions.

    Where a plaintiff prevails on some claims but not others, attorney fees are not awarded for time
    spent litigating claims unrelated to the successful claims, and the court should only award
    reasonable fees related to the results obtained. (Simers v. Los Angeles Times Communications
    LLC (2024) 104 Cal.App.5th 940, 946.) Fees are not awarded if the "unsuccessful forays"
    address discrete unrelated claims pursued in bad faith or claims that a reasonably competent
    lawyer would not have pursued. (Id. at p. 947.)

    In this case, Plaintiff was unsuccessful in pursuing her claims of joint employer and alter ego
    liability and claims against Flores. Plaintiff's FEHA claims prevailed only as to SHC. The Court
    finds that Plaintiff's fee award should be limited to work related to her FEHA claims against
    SHC, along with work inextricably linked to same and/or that would reasonably have been
    incurred in pursuit of such claims. In that respect, the Court does not adopt Plaintiff's contention
    that the defamatory letter distributed by both SHC and SU represented the "pinnacle" of her
    retaliation claims, such that all work performed on the defamation case is compensable as
    inextricably linked.

    The Court also finds that the fact that the case was highly publicized did not translate into overly
    complicated employment litigation. Although the defamation, joint employer, and alter ego
    issues were complex and hard fought, Plaintiff's FEHA claims were relatively straightforward,
    although they extended over several years and incorporated multiple events. Significant
    discovery disputes required the intervention of a discovery referee. Based upon the Court's
    review of the discovery referee's reports, it appears that after the first year, there were mutual
    issues with discovery and Plaintiff bore at least some responsibility for the protracted discovery.
    Ultimately, some aspects of the case were over litigated.

    O'Connor proposes either (1) an estimation of the rough approximation of the excessive or
    unreasonable hours billed and reduced based on excess; or (2) estimate the number of hours the
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           SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
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    case should have taken, allotting for necessary and reasonable time and allocation of the non-
    compensable, non-FEHA claims. (O'Connor Dec. IF 59.) O'Connor opines that a reasonable total
    maximum number of litigation hours here should have been 6,000 hours, adjusted by one third
    for non-FEHA work to 4,000 hours. (Id. 'If 141, 157.) Plaintiff objects that these numbers lack
    foundation. The Court declines to adopt O'Connor's estimates.

    Accordingly, the Court awards reasonable fees of $10,037,500 as follows: (1) Villareal:
    $5,100,000 (6000 hours x $850/hour); (2) Peck: $1,417,500 (1350 hours x $1050/hour); and (3)
    Whelan: $3,520,000 (4000 hours x $880/hour).

    The Court declines to apply the requested 1.5 multiplier. (Kennedy Commission v. City of
    Huntington Beach (2023) 91 Cal.App.5th 436, 466-67 [application of a multiplier is a
    discretionary matter largely left to the trial court].) The FEHA claims were hard fought and fact
    intensive, a fact reflected in the number of hours for which compensation is allowed. The rates
    adequately account for litigation risk.

    Plaintiff's motion for attorneys' fees is GRANTED IN PART, for a total award of $10,037,500.

    Evidentiary Objections

    Beyond what is noted above, the Court declines to rule Defendants' evidentiary objections. The
    Court does not consider them material to the Court's determination of the instant motion and the
    Court is not making any dispositive determinations that require it to consider only admissible
    evidence.

    Clerk is directed to serve copies of this order, with proof of service, to counsel and to self-
    represented parties of record.



    Dated : 12/04/2024



                                                           Karin Schwartz I Aidge




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                                   Rene C. Davidson Courthouse




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 The Leland Stanford Junior University et al
      CERTIFICATE OF ELECTRONIC SERVICE CODE OF CIVIL                            CASE NUMBER:

                     PROCEDURE 1010.6                                            RG17877051


 I, the below named Executive Officer/Clerk of Court of the above -entitled court, do hereby certify that I am
 not a party to the cause herein, and that on this date I served one copy of the Order re: Ruling on
 Submitted Matter entered herein upon each party or counsel of record in the above entitled action, by
 electronically serving the document(s) from my place of business, in accordance with standard court
 practices.




     Brian C. Coolidge                                           Elizabeth M. Peck
     brian.c.coolidge@gmail.com                                  PECK-LAW, Employment & Civil Rights
                                                                 lisa@peck-law.com



     Jordanna Gabrielle Thigpen
     Of Counsel, Villarreal Hutner, PC                           Lara Alise Villarreal Hutner
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                                                                 Ihutner@vhattorneys.com



     Michael David Bruno
     Gordon & Rees
     mbruno@grsm.corn




                                                        Chad Finke, Executive Officer / Clerk of the Court
 Dated: 12/04/2024                                       By:



                                                                     D. KinrE y, Deputy C




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                         EXHIBIT B




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                                                                                            -      oo.         |
          ORIGINAL @                                          |                 @                enynany
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 “stNN




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 oO




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 oO




         Attorneys for Plaintiffs and the Class
10
11                                     SUPERIOR COURT OF CALIFORNIA
12                              COUNTY OF ALAMEDA —               NORTHERN DIVISION
13
14       SAM DURAN, MATT FITZSIMMONS,                         Case No.:   2001-035537
         individually and on behalf of other members
15       of the general public similarly situated,            AMENDED DECLARATION OF JOHN D.
                                                              O’CONNOR IN REBUTTAL TO
16                       Plaintiffs,                          OPPOSITION TO FEE PETITION
17       VS.                                                  [CLASS ACTION]
18
         U.S. BANK NATIONAL ASSOC. and                        Date: February 25, 2010
19       DOES 1-50, inclusive,                                Time: 2:00 p.m.
                                                              Dept.: 20
20                       Defendant.                           Hon. Robert B. Freedman
21
22
                I, John D. O’Connor do hereby declare as follows:
23
                             EDUCATION, EXPERIENCE AND WORK HISTORY
24
                 1.      I am an attorney licensed to practice in all courts in the State of California, and
25
         have been so licensed December,    1972.
26
                2.       I am the principal of O’Connor       and Associates,   a law firm consisting of the
27
         undersigned and one associate, and engaged primarily in litigation practice since 1972.
28
                                                          1
                      AMENDED   DECLARATION OF JOHN D. O’CONNOR      IN SUPPORT OF FEE PETITION




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                3.        I attended The University of Notre Dame in South Bend, IN. where I graduated

       magna cum laude in 1968.               I attended the University of Michigan Law School where I graduated
 N




       cum laude in 1972, and was a member of the Order of the Coif, and Associate Editor of the
 WwW




       Michigan Law Review.                              |
 &




                4.        From June 1972 until January                  1, 1974, I was employed as an associate with the
 in




       firm of Belli, Ashe & Choulos as a litigation associate. In that capacity, I tried several cases with
 DH




       senior partner Melvin L. Belli, Esq. and tried several cases by myself.                                     |
 ~~




                5.        From January,          1974 through January,               1980, I was an Assistant United States
 CO




       Attorney for the Northern District of California in San Francisco, California.                            In that capacity, 1
 ©6©




       tried   white   collar    criminal      cases   as well     as        a variety     of civil matters,     including     medical
 cS




11     malpractice, employment discrimination, challenges to governmental actions, and a wide range

12     of other cases.

13              6.        In    1980    and    1981,   I was     Senior        Associate     at the   San   Francisco    law   firm of

14     Brobeck, Phleger & Harrison, where I worked on complex business litigation matters.                                       From

15     1982 through 2001, I was a principal with and managing partner of the law firm of Tarkington,

16     O’Connor & O'Neill, where our clients were mainly major insurance companies, corporate si

17     management        departments, and         governmental          entities.        Among    the governmental        entities we

18     served were not only local and State agencies, but also the FDIC,                                FSLIC,    RTC,    the NCUA

19     (National Credit Union Administration), and the United States government itself.

20              7.        I have       tried approximately         70        cases   in state and      federal   courts throughout               ,

21     California, as well as in courts located in Nevada, Pennsylvania and Arizona.

22              8.        From late 2001 through July, 2006, I was employed with the San Francisco firm

23     of Howard Rice as a Special Counsel and Director, practicing within the litigation department.

24     At Howard Rice, my litigation work consisted of tobacco/asbestos defense litigation on behalf of

25     R, J. Reynolds company, intellectual property litigation, and a variety of commercial litigation.

26              9.        Since July of 2006, I have practiced on my own under the name of O’Connor and

27     Associates.       In that capacity, I associated as a trial lawyer with the Downey                              Brand firm of

28     Sacramento in trying a two-month jury trial in Douglas County, Nevada, on behalf of landowner
                                                                         2
                           DECLARATION         OF JOHN D. O°CONNOR              IN SUPPORT OF FEE PETITION




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                                          e                                                             @
        Park Cattle Company against the lessee of a casino ground lease in Stateline, Nevada.                                Before the

        jury returned, the case settled in favor of the Plaintiffs for $165 million.

                   10.       ‘I successfully arbitrated as co-counsel a case in Dallas, Texas against the Dallas

        Mavericks, where my client was awarded $7.1 million; and recently tried a case in Marin County,

        Superior Court in which we achieved $2.5 million settlement on behalf of two homeowners
 NDDW




        while the case was being tried to a jury before Judge Michael Dufficy.                                I have over thirty eight

        years of significant trial experience, including current jury trial experience.

                   11.       ‘I have consulted or have been retained as a fee expert on approximately fifty
 Se




        occasions, most of them since 1992, and many involving rebuttal of opinions offered by James
 oO




10      Schratz.

i                  12.       In addition, I have significant experience dealing with fee issues in other contexts.

12                 13.       I litigated fees in a number of civil rights and other “fee-shifting” cases on behal|

13      of the United          States government               while acting as Assistant United States Attorney                    for the

14      Northern District of California.

 15                14.     —‘ I litigated a large fee case with the Tarkington firm in or around 1984 against the

16      Heller Ehrman firm, on behalf of Sonoma County, in a class action prison case involving the

17      constitutionality of various conditions of confinement in the Sonoma County jail.

18                 15.       I was also the counsel charged by the United States government to assess and

19      negotiate        significant     counsel       feels    for different        firms   prevailing      in a class   action     labor

20      discrimination case brought against the Naval Air Rework facility for the Honorable William H|

21      Orrick,

22                 16.       As a managing partner of the Tarkington firm, it was my responsibility to work

23      with   several       large     institutional     clients,    such        as insurers,    corporate    legal   departments     and

24      governmental entities such as the FDIC and RTC to discuss and enforce billing guidelines fon

25      those entities.

26                 17.       While      at the Tarkington            firm,       | consulted     with   numerous      insurance    claims

27      professionals regarding billing issues surrounding the retention of CUMIS counsel, paid by the

28      insurer but selected by the insured.                     The insurer billing guidelines for “panel” counsel werg

                                                                             3
                              DECLARATION          OF JOHN       D. O’CONNOR        IN SUPPORT OF FEE PETITION




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       generally inapplicable to such outside counsel, I frequently advised as to applicable billing
       standards prevalent within the Bay Area legal community.
 N




               18.        | also monitored legal billing counsel throughout California, when representing
 WwW




       excess carriers.
 -




               19.        As a managing       partner for twenty years at the Tarkington         firm, I reviewed
 nN




       ‘numerous bills of lawyers under my supervision, as well as lawyers in my firm but outside my
 SD




       direct supervision.     On my own volition, or in discussions with clients, I frequently analyzed and

       adjusted billings for efficiency and competence where appropriate.
 CO




               20,   | Practicing as a Senior Associate at Brobeck, Phleger and Harrison (1980-1981
 Oo




       and   as a Senior Counsel      and Director at Howard       Rice   (2001-2006),   I became       aware   of tha
 Co




M1     appropriate billing customs and practices enforced at these reputable firms.

12             21,        1 have on several occasions examined fee billings on behalf of clients and, where
13     appropriate, sought reductions.

14             22.        ‘In 2005-2006, I served as a JAMS arbitrator on an asbestos fee dispute involving!

15     over $2 million in billings.
16             23.        Based upon the foregoing, and my 38 years of litigation and trial experience, J

17     consider myself to be an expert capable of assessing the reasonableness of litigation fees for

18     complex California litigation.         I also have extensive knowledge of the background, experience,

19     bias and competence of James Schratz.

20             24.        ‘In this case, I have reviewed pleadings and motions, trial transcripts and billings

21     of the Wynne firm; have studied the opposition to the fee application herein; have analyzed the

22     Declaration of James        Schratz;    and have formed    opinions    about the reasonableness of fees

23     charged by the Wynne firm in this case, and rebuttal to criticisms raised by James Schratz. | also

24     have formed opinions about the background, bias and competence of Mr. Schratz.

25                                     ASSIGNMENT, RATES AND HOURS

26             25.        I was retained to review the documents and billing in this case and to formulate any

27     expert opinion regarding the reasonableness of the fees.              I was also retained to review the

28     Declaration   of James      Schratz    filed with   Defendant’s    Opposition   to Plaintiffs’    Motion    for
                                                              4
                           DECLARATION    OF JOHN D. O'CONNOR     IN SUPPORT OF FEE PETITION




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                                   @                                                    @
       Attorney Fees and provide opinions in response to Mr. Schratz.               _

                  26.     In order to formulate an opinion, I reviewed the following documents: the
       Declaration of James Schratz filed in this matter as well as the considerable amount of other

       material I have relevant to Mr. Schratz discussed in more detail infra.; Plaintiffs’ Motion For

       Attorneys’ Fees and supporting documents; Defendant’s Opposition to Motion for Attorney Fees
  4




       and supporting documents;            the Statements    of Decision for Phases        I and II; the Judgment;

       selected court reporter transcripts; and selected pleadings and motions.               I also determined if the
  i




       rates charged are reasonable in this area for this king of work.           Finally, I had to draft and edit this -
  °
  °°




       lengthy declaration.      A true and correct copy of my billing in this case is attached hereto ag

       Exhibit A.       The time I have invested in this matter is reasonably necessary in light of all the
  i




 1]    issues raised by Mr. Schratz in his declaration.

 12                            SUMMARY            OF OPINIONS ABOUT BILLING ISSUES                             .

 13               27.   | My opinions about the billing issues and criticisms raised by Mr. Schratz are as

 14    follows:

 15                       A)     The billing rates charged by Mr. Wynne and Mr. Pickett are standard for

 16    top-tier firms, large and small, for general employment-related litigation,

 17                       B)     The rates charged by Mr. Wynne and Mr. Pickett, in my opinion, do not

 18    properly take into account their expertise in class action and classification issues, and therefore, ] .

 19    believe the appropriate rates for Mr. Wynne              and Mr. Pickett are $750 and $625 per hour,

20     respectively;                                  |

21                        C)     The litigation risk factors, without regard to efficiency or expertise of the

22     Wynne firm, entailed a 25% chance of success at the outset of the litigation, and thus support a

23     multiplier of 4;                |

24                        D)     The       work    of Mr.   Wynne   and   Mr.    Pickett,   who   together   performed

25     approximately 90% of billed tasks, was efficient in the extreme: in comparable litigation it would

26     be customary for four to five attorneys to perform 70% of the work, and 20-30 lawyers to

27     perform the other 30%, as occasional billers performing research, document review, motions,

28     and the like;                                                                    |

                                                                5
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                       E)      The hours billed are less than those of Wynne’s opposing counsel, whose

      hours, in my opinion, were not unreasonable;

                       F)      Adjusting for 2010 rates and omitted paralegal hours, the Carlton DiSante
      firm billings, even at lower rates than Wynne, would be, with appropriate adjustment, higher

      than those charged by the Wynne firm;                               a

                       G)      The Carlton DiSante firm was paid for the majority of these hours in
 DH




      earlier years when prevailing rates were lower, and likely involved more paralegal time than the
 “4




      Wynne firm billed;                                                            |
 ©




                      H)       Adjusting for the paralegal hours and inflation, Wynne’s opposition billed
 Oo




10    more than $10 million on this litigation, as adjusted to an “apples to apples” basis;

1]                     19)     Arbitrary   billing standards   proposed       by Schratz,   such as the claimed

12    “block” billing prohibition, do not reflect community norms or standard custom and practice;

13                     J)      The Wynne decision to dismiss legal claims, thus avoiding a jury trial, was

14    an ‘excellent strategy, resulting in litigation success and cost savings;

15                     K)      Both technically and strategically, the performance of the Wynne firm was

16    excellent in all respects.

17                           _ OPINIONS REGARDING THE BACKGROUND

18                             AND     QUALIFICATION OF JAMES SCHRATZ

19            28.   | Opinions about Mr. Schratz’s approach can be summarized as follows:

20                    A)       Mr. Schratz is only minimally qualified, by virtue of his law license, to

21    opine about fee matters in complex cases;

22                    B)       Mr. Schratz has minimal and checkered experience as a junior litigator,

23    and is incompetent to judge complex litigation skills, or to opine about litigation judgment, in a

24    complex case;

25                    C)       In his experience in “auditing,” Mr. Schratz has displayed extreme bias,

26    consistent with his opinions here, which are designed to drive down the fees awarded the Wynne

27    firm without any objectivity or real-world perspective;

28                    D)       Mr. Schratz lacks a history of intellectual honesty, during the twenty one
                                                          6
                        DECLARATION OF JOHN D. O’°CONNOR       IN SUPPORT OF FEE PETITION




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                                    e                                           @
       years I have known him and his activities regarding legal fees;

             |             E)     The criticisms he offers here, inapt though they may        be, lack several
 ND




       categories of criticism which Schratz invariably employs, such as inefficient staffing and excess
 Ww




       paralegal activity, validating Wynne’s         bills in these areas by virtue of this uncharacteristic
 &




       silence.
 nun




                  29.      In this Declaration, I intend to offer extended opinions in. these general areas: |
 On




       the appropriate billing rate for Mr. Wynne, including the proper cohort of comparison; 2) the
 ~




       relative efficiency of the Wynne office in this litigation relative to both billings I have reviewed
 eo




       in other cases, and to opinions and “audits” involving Mr. Schratz; 3) the risk inherent in this
 Oo




 10    case for the Wynne office; 4) the trial, litigation and strategic skill and abilities demonstrated by

11     the Wynne firm; and 5) the background, experience and capabilities of Mr. Schratz regarding}

‘12    legal fee issues.

13                                                 BILLING RATES

14                30.      _ [ have knowledge of billing rates throughout the Bay Area for the various types

15     and classes of litigation, and have had such knowledge since 1980.

16                31.      It is true that there is a wide range of rates charged throughout the Bay Area for

17     employment litigation counsel, from insurance rates on the low end ($175-$300 per hour, often

18     charged as a “blended” rate for all lawyers within the firm) to mid-range rates ($275-$475 per

19     hour for partners, some blended on the lower end) to top-tier rates (in employment work $500-

20     $750 per hour for partners).

21                32.      This broad range of rates also holds true for, and is quite similar to, what is

22     generally termed “defense” litigation, which, like “employment” work, is a common form of

23     litigation, and promises great volume for firms that prove successful, especially at lower and

24     middle range rates. It is also a form of litigation that is necessary for many larger firms to handle

25     as a service to their clients.

26                33.      In the course of my thirty eight years of practice, I have handled a number of

27     labor cases such as wage, discrimination and wrongful termination litigation, and have triedat

28     least five such cases that I can presently recall, one of which was before Judge Ronald Sabraw of
                                                            7

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         Alameda County Superior Court.         I tried one eight-plaintiff wage/hour case in San Francisco

         Municipal Court.      I recently served as a mediator on a twelve-plaintiff wage-and-hour case set
         for trial in Alameda      County.    I have also tried lengthy cases to completion       before Hon;

         Demetrios Agretelis and Hon. Benjamin Travis.

                 .34.     Even though I consider myself quite capable of handling most labor disputes, and

         in spite of the fact that I defended one large class action discrimination case while with the
 WN




         government, and several other class actions, I do not consider myself to be expert in the field of
 ATI




         class action litigation, and especially not in the highly specialized area of wage and hour class
 CO




       {| action litigation. As I will explain later in this Declaration, wage and hour class action litigation
 oOo




10       is a highly specialized area, a practice unto itself.

11                35,     On the other hand, labor counseling and labor litigation, such as discrimination]

12       and wrongful termination litigation, is work that can be competently handled by thousands of

13       employment litigators, and even general litigators such as the undersigned.

14                36.     At the Tarkington    firm, where much     of our work was assigned by insurance

15       carriers, we engaged in both defense litigation and employment litigation at insurance defense

16       rates, while at Howard Rice, we engaged in “defense” litigation and employment litigation only

17       if paid top-tier rates.   Clients such as R.J. Reynolds Tobacco Company, which felt the need fon

18       and demanded superior work, paid these rates to Howard Rice and comparable firms throughout

19       the country.    It was the firm philosophy, as in many top-tier firms, not to accept employment,

20      products liability or toxic tort litigation (such as asbestos defense litigation) at middle-market

21      rates.   In 2004 through 2006, these middle-market rates for defense and employment litigation

22      were approximately $425 to $450 per hour for partners.         On the other hand, my rate for defense

23      litigation for R. J. Reynolds was $615. per hour in 2006, and cmployment litigation involved

24      similar rates.     A fellow Director (partner-level      lawyer), Joseph Escher, who     specialized in

25      Section 17200 class action work, charged in excess of $700 per hour in 2006.           Those rates, of

26      course, would be higher in 2010.

27               37.      This same tiered rate structure holds true in conventional employment litigation,

28      by which I mean wrongful termination and discrimination litigation not involving class-action

                                                             8
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                                      e                               —                  @
       issues.     Thus,   firms like Gibson,       Dunn    &   Crutcher, O’Melveny        & Myers    and Howard      Rice

       charge these same top-tier premium rates for employment work.                    On the other hand, a competent
 bv




       firm such as Jackson, Lewis, which specializes in-employment litigation and needs to attract q
 Ww




       high volume of business across a wide sector of clientele, charges hourly rates slightly lower
 >




       than the corporate firms named.             In my opinion, the rates being charged by the Wynne firm fit
 WN




       squarely into the top-tier rate structure for employment litigation at the top firms.
 DON




                 38.       In determining prevailing rates in any one area of employment litigation, it ig
 SN




       appropriate to consider two aspects of pricing ignored by some of the declarants in this litigation:
 fe




       volume and leverage.
 So




10               39.       _A client that promises a high volume of employment litigation year after year,

11     employing       a number      of firm attorneys, can often obtain very competent representation for

12     partner rates of between $425 and $475 per hour.                    However, in addition to providing volume,

13     this type of litigation also provides the firm leverage, that is to say, a great amount of work that

14     can   be performed       by    associates    and    lower-level     partners   without   raising client   concerns.

15     Examples of high-volume litigation would be representing a large employer with high turnover

16     and a regular flow of wrongful termination litigation, much of it requiring little skill to defend, or

17     little skill in performing certain necessary tasks.                Carlton DiSante may be such a firm, based

18     upon my review of its website.

19               40.       Thus, obtaining such volume referrals from a client would enable the firm to have

20     “leverage” of three or four associates to one partner.              If the average associate is paid $200,000 in

21     compensation and bills $600,000 per year, the work is highly profitable to the firm, while the

22     firm can appear to the client to be “economical” because its lead partner is charging $425-$450

23     per hour, less than the top-tier firms.                                 |

24               41.   | An example of this is the billings of the Carlton firm, which are within customary;

25     parameters for complex litigation. The firm billed 22,000 hours for Carlton attorneys only, albeit

26     at lower rates than Wynne, in contrast to Wynne’s                   14,000 hours for attorneys and paralegals.

27     Thus, the Wynne firm’s work was highly efficient, since the tasks performed were roughly equal

28     between the two firms.

                                                                  9
                           DECLARATION      OF JOHN D. O°CONNOR           IN SUPPORT OF FEE PETITION




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                   42.       Moreover, the Carlton DiSante firm has not provided, I understand, its paralegal

       hours, which should be well in excess of 10,000 hours if the firm followed normal staffing
       patterns.         The Wynne firm billed an unusually low number of paralegal hours, meaning that

       much document organization was left unbilled and considered part of firm overhead, resulting in
 zB




       lower than customary billings.
 WH




                 43.         Thus, the claimed defense billings of $6.6million are not comparable “apples to
 BO




       apples” with the Wynne billings.
 SY




                 44.        To compare, one should add at least $1.5million for paralegal work, and increase
 C6




       the $6.6million billed by a minimum                    of 25%, since the Carlton firm’s billings were paid on
 oOo




10     average       four years ago.          Since   2001,     rates have      increased 55%,            or, put differently, were

1      approximately 37.5% lower in 2001.                     Thus, Wynne’s billings for a “lodestar” of $8.8million

12     should be compared with approximately $10 million of defense billings, when those billings are

13     adjusted for inflation and missing paralegal time.                  Moreover, such a comparison does include tha

14     in-house counsel time of Defendant.

15               45,        In any    case,     as shown       by    defense      counsel     billings,     such   highly   leveraged

16     litigation, in my experience, is often not cost-effective for the client, since less-experienced

17     lawyers tend to be less efficient as well as less confident about tasks that can be safely ignored.

18     But whether it is a bargain for the client or not, high-volume, multi-referral litigation presents a

19     different economic model from that involved in a case singly assigned by a client because of its

20     importance.

21               46.        Thus,    for special,     one-off cases,       such     as: the    instant matter,       a sophisticated

22     employer, who may customarily pay mid-level rates for wrongful termination litigation, will

23     often hire a higher-rate firm for its defense.               In my opinion and experience, competent though the

24     Carlton DiSante firm may be, a sophisticated client more often than not will select a firm in the

25     class of Gibson, Dunn or O’Melveny & Myers for important litigation such as Duran.

26               47,        The rates that Mr. Wynne and Mr. Pickett are seeking in this litigation hit the

27     market rates squarely in the middle of the applicable top-tier range at $640 and $580 per hour.

28     These rates are within $10-$20 either way of rates that would be charged by the higher-level

                                                                      10
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                                           @                        |                          @
          firms I have described:

                  48.           1 am familiar with the rate structure presently charged by Howard Rice.                    Mr}
          Wynne’s rate is quite comparable to that of, for example, Mr. David                          Reis, an employment

          partner at Howard Rice, formerly a partner at O’Melveny & Myers with a similar amount of

          litigation experience.           However,      given the above opinion, looking only at market rates foy

          “employment” litigation is not completely valid.                     If I were a corporation’s general counsel on
     DH




          advising         a corporate   general counsel,     I would        not recommend     most higher-rate employment
     SS




          litigators for the instant litigation (and certainly would not recommend most middle and lower
     Oo




          level litigators), for want of two necessary skill sets: 1) class action expertise; 2) classification
     3b




          expertise.
     oO




 11                  49,        What     is impressive    about   Mr.        Wynne’s   experience   is not only that he hag

 12       concentrated on employment litigation for eighteen years, but also that he has concentrated on

 13       class action employment litigation dealing with classification issues.

 14                  50.       | If | were a general counsel and reviewing firms to represent my company in a

 15       class action classification case, I opine, there would only be a handful of lawyers with experience

 16       equivalent to that of Mr. Wynne, out of the thousands and thousands of lawyers who could

 17       competently handle other employment litigation.

 18               51.           In other areas of litigation, the market may consist of a number of lawyers with

 19       twenty five to thirty five years of experience.                     But in the field of class action classification]

 20       litigation, which Mr. Wynne, along with his former partner, Mr. Righetti, helped to develop in|

 21       recent years, there simply aren’t any lawyers with that length of experience of which I know,

 22       Most lawyers in the field have entered in the past five years, as it became “hot.”

 23                  52.      | Mr. Wynne’s skill in developing facts, displayed in deposition, motion and trial, is

 24       superior.        I have oflen reviewed, and am professionally quite interested in, the work of other

 25       lawyers in adducing and proving facts.              Mr. Wynne’s deposition and trial work taught me much

 26       about proof of facts in this specialized area.                My view, upon which I will elaborate more fully

27        below, is that he consistently out-lawyered his opponents factually and legally.

 28               53.           I make the above observations to support my view that Mr. Wynne is clearly due

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                                 DECLARATION OF JOHN D. O’CONNOR                IN SUPPORT OF FEE PETITION




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                                 @                            |                   @
       a rate above the standard rate schedule for top-tier employment litigators, and in my view, Mr,

       Wynne    could command        $750 to $800 per hour for his unique skill set if he were seeking
 NY




       retention by a sophisticated corporate clientele.           1 would    ask rhetorically: who,   other than
 WY




       perhaps Mr. Righetti and a few others, possesses the same level of skill and experience in thig
 FSF




       particular type of litigation?
 wan




               54.      The notion that the hourly rate of an attorney should be determined by the size of
 TIN




       his firm is simply not correct.

               55.     It is true that there is a very rough direct correlation between the size of a firm and
 CO




       rates, but, as in many     arcas, statistical association does not prove causation,         Size should bq
 Oo




10     viewed as an effect and correlative of high rates, more than it should be adjudged a factor

We     justifying high rates. I will explain.   —

12             56.      Ifa litigator at a prestigious larger firm were to develop.a clientele which paid

13     him an middle-level hourly rate of $400-$475 per hour, he may not be allowed to bring that
14     client into the firm unless he could convince the firm management of high leverage, and in some

15     cases would not be allowed to accept the assignment at all, even if there were high leverage.

16             57.      In any case, it would be the natural tendency of lawyers in top-tier firms with such

17     clients to move to a firm with lower overhead, or to a firm who charged similar rates.

18             58.      Conversely, a solo practitioner or small-firm lawyer who developed a premium

19     rate corporate practice would often find it attractive to move to a larger, high-rate firm, so that

20     the lawyer could access the larger firm’s corporate clientele for his practice.       Additionally, high+

21     rate, top-tier firms are constantly      recruiting    such lawyers    to their practice.    Today,   legal

22     newspapers frequently announce single lawyers or small firms with top-tier practices merging]                 .

23     into larger firms.   In short, like begets like, and birds of a feather flock together.     So, while there

24     is a correlation between size and rates, the size of the firm has nothing to do with the merits of

25     establishing a rate, and of bringing value to the client.

26             59.     To say that no small firm deserves or charges premium rates, as Mr. Schratz

27     appears to do, is incorrect for other reasons. Most plaintiff firms in fee-shifting cases are smaller

28     plaintiff firms, since most large institutional firms eschew contingency fee litigation. To say that

                                                             12
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                                e                       |                     e
      a smaller firm can never achieve the same rates as a larger firm in fee-shifting litigation would

      mean that a small firm could never get top prevailing rates, no matter how skilled its lawyers.       It

      would also produce a nonsensical conclusion:           if Mr. Wynne had performed the exact sama

      litigation as successfully as he has here, but happened to be an employee of, say, the Orrick firm]

      according to Mr. Schratz he would deserve a higher rate than he would if employed as he is|

      This is absurd, and shows a lack of understanding of the market for legal services.
 sD




              60.     In fact, it is true that single practitioners and small firms can and often do charge

      high rates, depending on the nature of their practices.
 o




              61.     For instance, in 1990 the Tarkington firm hired Mr. William Brockett, a partner in
 Oo




      the firm of Keker & Brockett, shortly after Mr. Brockett was hired by Mr. Schratz on behalf of
 Oo




 11   Fireman’s Fund.     The Keker firm was just then passing the size of ten lawyers.       Mr. Brockett’s

 12   rate was then $330 per hour, the rough equivalent of $800 today.            |
 13           62.     Generally speaking, a litigation attorney with class action expertise can command

 14   a higher rate than a general litigator, as exemplified by the rate differential between Mr. Escher

 15   and the undersigned while at Howard Rice.

 16           63.   — In my opinion, the appropriate rate for Mr. Wynne is $750 per hour, and $625 per

 17   hour for Mr. Pickett, based upon the above factors.

 18                                        LITIGATION RISK FACTORS

 19           64.   —_ In my opinion, the Wynne firm undertook a serious risk in two areas of the Duran

20    litigation: 1) the legal decision on class certification; 2) the factual decision by the trier of fact

21    concerning classification.

22            65.   | Had I been presented the Duran case at the outset, | would have evaluated it as

23    having had a 25% change of overall success, based upon a 50-50 chance of success on the legal

24    issue, and 50-50 chance of success on the key factual issue.

25           66.    | The competent lawyers from Carlton DiSante firm obviously felt there was a

26    significant chance of defense success in each of these two areas, based upon its exhaustive

27    litigation of each one, and its briefs and opposition to the Wynne              firm’s speak   far more

28    eloquently than I on these issues.

                                                        13
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               67.       Indeed, when I read various Carlton DiSante briefs on each of these areas without

       having first read the corresponding: Wynne brief, I was in some cases persuaded to its point of

       view, until studying the contrary Wynne brief on point.        |

               68.     . Accordingly,   just on risk alone,   given        that competent   lawyers    would   have

       adjudged Wynne’s chance of success to be 25%, my opinion is that the appropriate multiplier in
 Wn




       this case on risk alone should
                                    be 4 to 1.
 DO




               69.     | However,   I would   add some amount         to this multiplier of 4 based        upon    a)
 ST




       extraordinary    skill not reflected in the rate analysis;         and b) extreme    and virtually unique
 FCF




       efficiency. These factors I will discuss more fully below, but for present purposes it suffices to
 Cc




10     say that they should drive the multiplier above four.              Accordingly, even though a multiplier

11     above four would at first blush seem outlandish, a level-headed analysis would support it.

12             70.       Since 1990, 1 have read numerous Declarations, articles, speeches and letters of

13     Mr. Schratz, and also have deposed him and attended his deposition on several occasions.

14             71.       One general area on which I agree with Mr. Schratz is the idea that a factor in|

15     high litigation costs is a high number of billing personnel.           Mr. Schratz has publicly cited one

16     case, apocryphal or otherwise, in which 180 billing personnel worked on the case. Often times it

17     is true that a lawyer who has built up significant knowledge of a case leaves the firm or is

18     assigned off the litigation, and the client loses the efficiency of his work.           On cases that are

19     factually complex and intensive, where each lawyer must know a great amount of detail in order

20     to participate meaningfully      is one where   multiple billing personnel        can cause great billing

21     inefficiency.   Yet some inefficiency of this sort is to be expected in complex litigation, caused in

22     part by inevitable associate turnover.      In one Schratz case in which I was an expert, a fee

23     application by the Nernberg firm in a Pittsburgh, PA eminent domain case, Mr. Schratz noted

24     that 21 billing personnel were involved in $132,000 in billings.

25             72.      For a case the size and length of Duran, the assignment of lawyers would be

26     efficient if no more than five lawyers on each side performed 70% of the litigation, and no more

27     than 20-30 other personnel performed the other 30% of the work.             I suspect that Carlton DiSante

28     had a similar assignment efficiency.     Indeed, the recently produced declaration of Amy Wright
                                                         14
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                                                                                                                  Ex. B - 150
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       identifies 42 different attorney have worked on this case at Carlton DiSante since inception

       through 2009.
                  73.            Accordingly, the staffing on this case is remarkable in its efficiency because just

       two lawyers, Mr. Wynne and Mr. Pickett performed 90% of the billed work over a nine year

       period.

                  74,            | have reviewed or witnessed at least 25-30 separate analyses of attorneys fee
 NW




       billings performed by Mr. Schratz, expressed either in a declaration or in testimony.                    None of
 YW




       these cases has assignment efficiency even approaching that of the Wynne office.                 Whether as an
 CO




       insurance coverage or insurance monitoring counsel, as a fee expert or litigator, or as a managing
 O06




       partner reviewing my firm’s bills, I have never seen anything close to this efficient utilization of
 >




11     lawyers.          Indeed, highlighting the extreme efficiency of the Wynne Law Firm, it is virtually

12     unprecedented — and I am not aware of a previous instance — for Mr. Schratz not to criticize, as

13     he customarily             is wont to do, a claim        of allegedly inefficient utilization of lawyers.    Mr,

14     Schratz’s silence on this issue is deafening.

15                75.            Mr. Schratz claims to have “audited” hundreds of cases, many of them involving

16     declarations that are matters of public record, and which Mr. Schratz could therefore produce

17     herein. I would be surprised if Mr. Schratz could produce any attorney’s fee billings which show
18     such efficient utilization for a case requiring more than a few hundred thousand dollars in billing,

19     and J] have personally seen none.

20                                                  DEMONSTRATED              SKILL

21                76.          | My opinions about the Wynne firm and that of Mr. Schratz could not be further

22     apart than they are on our respective analyses of Wynne’s decision to drop the legal claims.

23                77.            ‘It is the view of Mr. Schratz that the Wynne firm shouldn’t be paid for some of its

24     time because of this decision.             To me, the decision exemplifies excellence in both the art and

25     science of practicing law, and justifies a rate increase or multiplier, not a penalty.               |

26                78.      | To an inexperienced or inartful lawyer, or to a non-lawyer observer, it may appear

27     that the jettisoning legal claims means weakening ones case, reasoning apparently logically by

28     analogy          that     shedding   ordnance    would     weaken     an   army’s   firepower.   Moreover,    an

                                                                    15
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      inexperienced lawyer would think, incorrectly, that a jury is more likely to find for the plaintiff

      than a judge, even though experienced defense counsel rarely waive a jury at the outset.

              79.      But an experienced judge or trial lawyer knows that an artful jettisoning of claimg

      will often strengthen a case by narrowing
                                              the focus on the most appealing claims.                  There is]
 ay




      however, no textbook telling the trial lawyer when, how or what to drop.
 WG




              80.     Before    making     that decision,    a trial lawyer    has to understand   his case, his
 HR




      opponent’s case, his judge and his potential jury.            In my view, Wynne did this masterfully,
 J




      showing that the firm deserves both a high rate and a rewarding multiplier.
 CO




              81.     Prefatorily, I would note that when Wynne dropped his legal claims, there was ag
 Oo




10    a result no significant “wasted” time, since the same evidence in the Section 17200 claims
11    supported the legal claims. Moreover, while Schratz purports to apply the case law of legal fees
12    in his analysis (itself a dubious undertaking for an expert, seemingly a matter within the Court’s
13    province), he ignores black-letter principles that all intertwined claims need not prove successful

14    in order to justify collection of all legal fees.

15,           82.     At the point Mr. Wynne dropped his legal claims, he obviously had gained a feel

16    for the Court’s view of the law, as well as a sense of the factual approach to be pursued by his

17    opponents.    Thus, he was faced with a key decision, and information on which to base it, to wit;

18    who should be the trier of fact — the Court or a jury?             Plaintiffs’ case, in my view, was not

19    particularly attractive to a jury, for reasons obvious to the competent Carlton DiSante defense

20    counsel in this case.    Hard-working jurors from San Leandro, Oakland, Hayward and Livermore

21    would not likely sympathize with well-paid “yuppy” bankers who knew and agreed “going in”

22    that thcy would not be paid overtime, and in fact were rewarded well for their efforts.

23            83.     For this reason, Carlton DiSante clearly was hitting on these gut-level themes and

24    would have done so quite effectively before a jury, in my opinion, notwithstanding the lack of .

25    relevance to the ultimate liability decision.       This factual approach would not only affect liability, |

26    but also would tend to depress damages as well.

27            84.     On the other hand, a rational, non-emotional            view of the law, which the Court

28    would more likely embrace, would ignore whether the bankers thought they were to receive

                                                             16
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                                    o                                          @
       overtime.      It is my understanding and belief that the underlying statute Wynne was prosecuting

       this case under has, as a matter of public policy, the protection of employee rights and the issues

       Carlton DiSante were likely to seize upon are entirely irrelevant to this analysis.       In my view

       Wynne correctly saw that a Court with a reasoned approach would ignore viscera! equities.
  Lb




                85.      So, in one of several shrewd strategic decisions, Wynne dropped his legal claims;
 W&M




       winning an award that would have been an excellent jury result.         More importantly, Wynne did
 DO




       not give up any of the overtime owed to the Class because restitution under the B&P Sec. 17200
 SS




       claim is measured in the same way as damages under the Labor Code.                                      |
 F&F




                86.      In short, any experienced lawyer should praise Wynne for his decision to drop the
 6b




       legal claims, which I do, and not criticize it, as Schratz has.
 o°




 11             87.      Mr. Schratz’s analysis absolutely ignores the cost savings Wynne achieved in not

 12    pursuing a jury trial.    A jury trial would likely have taken twice as long as a Court trial, for

 13    reasons which are obvious.        Moreover, even pre-trial development of facts is usually expedited

 14    when one is anticipating a Court trial.

 15             88.      And, of course, the battling over admissible evidence, jury instructions, motions

 16    in limine, the proper role of jury and Court, and legal issues on appeal, would have been far more

 17    intense and time-consuming than the procedure that actually played out.         In my estimation, the

 18    decision by Wynne could have easily saved each side half a million to a million dollars in fees,

 19    and perhaps more than that.

20              89.      Mr. Schratz also reveals, in my view, a lack of understanding of the litigation

21     process, when he criticizes Wynne for pursuit of the rest and meal break claims.           As a good

22     lawyer should, Wynne was clearly trying to maximize the benefits of his successful class
23     certification.

24             90.       This was an example of the aggressive pursuit by Wynne of every claim thal

25     could benefit his clients.       In this case, the outer limits of the “envelope” were not clear, and

26     Wynne should be applauded for pushing to ascertain them.          Moreover, although a class was not

27     certified on these issues, Wynne was successful in pursuit of the individual claims, for which

28     fees are recoverable.

                                                           17
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                 91.    I will add one additional observation about the skill demonstrated by Wynne.

       Although I thought Mr.         Wynne      was artful and skillful in his questioning, what was more
 nN




       impressive to me was the framing of his case.
 PW




                 92.    This framing rested upon an analysis of what was needed to counter the main

       thrust of the Defendants’ case.        Wynne did this astutely, in my judgment, and put the Defendants
 Hn




       in a box from which they never escaped.
 DOD




                 93.    Going into the trial, the strength of Defendants’          case, as I see the matter, rested
 IN




       upon some interrelated facts: 1) the salesmen were encouraged to make cold calls, and indeed
 Oo




       outside cold calls were well within accepted sales techniques; 2) in fact, salesmen made cold
 oOo




10     calls; and 3) salesmen who did not do well and were subject to improvement plan, were usuallyj

11     told to make outside cold calls.

12               94,    Plaintiffs’   counsel    obviously    understood   that, as far as it went,    this testimony,

13     would not be substantially refuted.          But counsel also understood that if they framed the factual

14     issue correctly, this testimony would not be outcome determinative.

15               95.    Mr. Wynne astutely answered that, while the foregoing was generally true, the

16     only criterion for measuring job performance was sales success.               Thus, if a salesman could do

17     well without a single outside call, such was perfectly acceptable performance.                 This Wynne did

18     brilliantly.

19               96.    The main thrust of Plaintiffs’ case, then, was to accept much of the facts which

20     the defense proved well, while skillfully framing them within the Plaintiffs’ narrative.                   A less

21     experienced     lawyer may      have     let defense   counsel   frame   the factual   issue, and    may    have

22     attempted simply to fight on the ground chosen by defense counsel.

23               96.    Plaintiffs’ also put Defense counsel in the proverbial box regarding damages and

24     damage testimony, a fact which has eluded Mr. Schratz when he criticized the development of

25     expert survey testimony.

26               98.    Mr. Schratz criticizes and deducts for the survey of Dr. Krosnick.                 Again, Mr)

27     Schratz    does this in his typical        search for “gotcha,”     without understanding       or wishing     to

28     understand the tactical value of this survey.

                                                               18
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               99.       First, as Mr. Schratz suggests, the Krosnick survey was used by Dr. Drogin as a

       basis to buttress and test his opinion. Experts can rely on inadmissible hearsay testimony if it is
  NN




       type of information upon which an expert would normally rely.            This seems to have been the
 Ww




       case with Dr. Drogin’s opinion, which Mr. Schratz conveniently omits.
 &




               100.      Moreover, as Mr. Schratz emphasizes, the survey evidence was held by the Court
 WN
 SN




       to be admissible only for rebuttal or impeachment purposes.         Again, by so doing he shows that

       he does not understand the litigation underlying the billings he is reviewing, and, accordingly,

       has no solid basis for determining whether the fees are in fact reasonable.
 Oo




               101.      The importance of the survey was not its direct admissibility.       Rather, it was its
 Do




 10    role in overcoming the constitutional challenge of Bell v. State Farm, where, briefly stated, a

1]     margin or error in a damage estimate of 30% was held to be unconstitutional under the facts off

12     that case absent additional showing of reliability.       The Krosnick survey helped to overcome the

13     reliability challenges to Drogin’s estimate, based upon factors enumerated in Bell. Accordingly,

14     Mr. Schratz’s criticism of the Krosnick survey shows the extremely superficial analysis that is

15     typical of the many Schratz opinions I have reviewed.

16             102.      In essence, the survey evidence Mr. Schratz claims worthless both buttressed and

17     protected from assault Dr. Drogin’s opinion.       Defense counsel had nowhere to go in its potential

18     Bell challenge.    A less skilled and inexperienced counsel may have lost the Plaintiffs’ damage

19     award by failing to anticipate a Bell challenge.                                               |

20             103.      Once again in his ignorance, Mr. Schratz criticizes a highly laudable and effective

21     tactic which contributed to Plaintiffs’ success.

22                                                BLOCK BILILNG

23             104.      It is simply not true that a prohibition against “block billing” is the norm in the

24     Bay Area legal community,        or, to my knowledge,       anywhere   in the country.    The standard

25     prohibiting “block billing” is a fiction invented by the insurance industry, and largely a product

26     of auditors such as those employed by Fireman’s Fund in the 1990s.            At that time, Fireman’s

27     Fund found that all of its most trusted defense firms regularly engaged in what Mr. Schratz terms

28     “block billing,” or more than one description per time entry.

                                                           19
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                                     ©                                                  e
                105.    Using arbitrary and fictitious standards, Fireman’s Fund’s auditors then claimed
 —



       that trusted panel counsel, whose bills had regularly been scrutinized by claims professionals,
 NO




       routinely “overbilled” by 20-30%.         I have personal knowledge of these audit results, which ]
 WY




       reviewed. in Fireman’s Fund documents.            These same arbitrary standards usually resulted in
 FSF




       claims of “overbilling” (by Mr. Schratz and his auditors) in the bills of non-panel counsel in
 UA




       amounts of 30-50%.         In short, the standards guarantee a claim “overbilling,” they are arbitrary,
 DB




       and do not reflect the true custom and practice.
 JT




                106.    Although      the auditing   program        of Fireman’s    Fund     caused   its regular panel
 C6




       defense counsel to “unblock” their time, the norm in the community remained that so-called
 Oo




       block billing was not only allowed, but was and is prevalent.
 Oo
—




                107.    The standard for most firms is and has been that all of the time a lawyer spent on}
 _
—




       one case for a particular day would be subsumed into one time entry, even if time was spent on
 No
—




       different activities.    It is also a less prevalent alternative practice to have a one time entry, with]
 ww
—




       many descriptive phrases, for all work in a day that is inter-connected.               For example, if a lawyer
 ay
—




       were opposing a summary judgment motion, he might bill in one time entry only to interrelated)
 tn
—




       items such as, “perform legal research on statute of limitations; draft Declaration of John Dog
 ON
—




       Re: Statute of Limitations; review documents; prepare brief re statute of limitations.”
—.
 ~]




                108.    In any case, it is clear that some form of multiple descriptive phrases in one time
 oo
—




       entry is the norm.      I have read no declaration or opinion of Mr. Schratz in his review of other law
 No]
—




       firms in which he has not criticized so-called “block                billing.”      What   is missing from Mr.
 OQ
vw




       Schratz’s Declaration is any statement to the Court as to how many of his hundreds of “audits”
RO
 —




       contained so-called “block billing.” If, as I suspect, and have witnessed in the sample of audits J
 No
bo




       have reviewed, all of them involve “block billing,” then this would be proof that the widespread
 iv)
NO




       custom and practice is indeed “block billing.”
iw
 S




               109.     “Blocked” time is often -a wealth of description for one activity, as described
dO
 in




       above in the hypothetical statute of limitations work.           On the other hand, a single description not
 aN
i)




       involving multiple descriptors, such as preparation of statute of limitations opposition” will
NO
 ~




       usually be criticized as “vague.”
 oO
bo




                                                               20
                         DECLARATION OF JOHN D. O’CONNOR              IN SUPPORT OF FEE PETITION




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                                     110.      Legal auditing, as practiced by Mr. Schratz and his ilk, is a disingenuous program]

                             to cut costs without regard to the reasonableness or efficicncy of the billings. The most skillful,

                             reasonable     in cost, and   efficient legal work    is still “overbilled”   according   to his “auditing’

                             standards, when the time entries have semicolons, and also when they don’t.
    >




                                     111.      Ihave reviewed billings of Mr. Schratz, and as well have reviewed billings of Mr.
    olhfOUlUOCOlUlUMGSCODN




                             Schratz and Schratz’s auditors. used at Fireman’s Fund, the Stuart, Maue firm of St. Louis, and

                             state that each contained numerous “blocked” entries.           J have also reviewed legal bills of work

                             performed by Fireman’s Fund attorneys under the direct supervision of Mr. Schratz, and note

                             that most of the entries involved so-called “block billing.” Mr. Schratz, acting as an expert for al
                             southern California law firm, supported its billings, most of them “blocked.”                  |

i                                    112.      The greater part of the Duran litigation involved activities which each involved

 12                          large blocks of time, such as preparation of motions or oppositions to motions, appellate briefs,

 13                          depositions, preparation for depositions, and trials.

 14                                  113.      If much     of the work here involved discrete tasks involving small and finite

 15                          amounts of time, such as isolated phone calls and letters, the “block billing” nature of the bills

 16                          might make it difficult to determine whether the overall time for each small task was reasonable.

 17                          However, given the nature of the work in the Duran case, the reasonableness of the billings can}

 18                          be assessed in large part by the total amount of time spent on a large project, e.g. preparation of a

19                           motion for summary judgment.          Put differently, it does not aid a fee analysis to break up into

20                           small increments the time spent on such a motion.          What is important is whether the overall time

21                           is reasonable.

22                                   114.      In many, if not most, of the opinions of Mr. Schratz which I have read, Mr}

23                           Schratz uses his computerized billing program to analyze how much /ofal time was spent on a

24                           particular activity, such as an opposition to a motion for summary judgment, whereupon he often

25                           opines that the activity viewed as a whole took an excessively long time. I do not believe I have

26                           ever read an opinion of Mr. Schratz where he opined that the time was reasonable, except where

27                           he was working as an expert for a law firm.          But my point is simply that it is the total time that

28                           Mr. Schratz claims, and I agree, is important.

                                                                                   21
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                                   @                                           ®
                 115.    In this case, the Wynne firm seems to have lumped time together for particular
        tasks, and therefore the overall reasonableness can be easily assessed by the Court or an expert

        If the Wynne firm had not “blocked billed” its time, and had produced billing records with time

        broken down in smaller increments day by day, Mr. Schratz, if he were true to his custom, would
   BD




        add up all the time over multiple days for a particular activity in order to assess its
   Oe




        reasonableness. In this case, the Wynne firm has already done that.
   Do




                 116.    Obviously, if a lawyer were to have “padded” his time, that would result in the
   NF




        overall time for an activity appearing to be unreasonably long.      What is startling in its absence
   Se




        from Mr. Schratz’s Declaration any meaningful effort by Mr. Schratz to suggest that activities by;
   Co




  10    the Wynne firm took an excessively long time or was inefficient.     I believe that even Mr. Schratz

  11    cannot claim such, precisely because the Wynne firm did not employ numerous attorneys for a

  12    single task, and because most work was done by one or two highly skilled and experienced

  13    lawyers with intimate knowledge of the details of the case and the applicable law.        In fact, the

  14    Carlton attorneys went to great lengths recently in conjunction with their so-far unsuccessful

  15    effort to avoid turning over their hours and bills in arguing that they were not contesting the

  16    specific amount of time Wynne spent on any particular activity, The amount of time spent on the

  17    tasks in this case is efficient in the extreme, in my opinion, and by his unusual silence on this

  18    topic Mr. Schratz seems to agree.     Given the number of lawyers on each defense brief, I expect        —

  19    that the time of the Wynne firm will be lower in comparison.

  20                                   EXPERIENCE, COMPETENCE, BIAS

  21                                AND INTEGRITY OF JAMES             SCHRATZ

  22                                                 SUMMARY                       |

  23             117.    I have extensive knowledge of the experience, competence, bias and integrity of

. 24    Mr. James Schratz.      I have had direct knowledge of Mr. Schratz and his activities for over 21

 25     years.   From his depositions, I also have knowledge of his background before.1988, when I first

 26     met him. Accordingly, I believe I am highly qualified to render opinions on these subjects.

 27              118.   | In short, my opinions can be summarized as follows: 1) as a litigator, Mr. Schratz

 28     only has minimal, junior-level litigation experience at which he was adjudged by his employers
                                                          22
                          DECLARATION OF JOHN D, O'CONNOR      IN SUPPORT OF FEE PETITION




                                                                                                          Ex. B - 158
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       to be incompetent;       2) he has demonstrated          no meaningful       understanding,      in this case of

       otherwise, of the complexitics of large litigation cases or sophisticated legal thinking; 3)
       throughout his career he has exhibited an extreme bias in favor of the entity hiring him, which in
 lw




       virtually every case is the fee payor; and 4) his opinions lack intellectual integrity and honesty.

              | 119.    Having said that, Mr. Schratz has examined a number of legal billings, and has
 DW




       information     in the public   domain       that could assist the Court         herein,   including numerous
 DBD




       declarations he has filed in the Courts regarding other fee billings he has examined.                     These
 SN




       reports would demonstrate whether or not the Wynne                     firm efficiently utilized personnel    inj
 CO




       comparison to other firms, and whether block billing is the norm in the legal community or a
 Oo




 10    deviation therefrom.      And they would demonstrate whether time spent on discrete tasks by the

 7     Wynne firm was reasonable in comparison.            However, Mr. Schratz has chosen not to provide that

 12    information to the Court in this case.

 13                    BACKGROUND        AND QUALIFICATIONS OF JAMES SCHRATZ

 14             120.    The undersigned was an attorney “supervised” by Mr. Schratz and his underlings

 15    starting in 1988, and also was the managing partner a firm subject to several “audits” by an

 16    outside “auditor” supervised by Mr. Schratz.

 17             121.    I have read what has been represented by. Fireman’s Fund to be all of the articles]

 18    correspondence and written speeches authored by Mr. Schratz while at Fireman’s Fund dealing

 19    with attorney fee billing issues, and have read numerous articles and speeches authored by Mr,

20     Schratz since then.    I have read internal memos of Mr. Schratz authored while at Fireman’s Fund

21     regarding “CUMIS” litigation and outside counsel.               I have read newspaper quotes, speeches and

22     articles of Mr. Schratz suggesting that all, or most, or a high number, of lawyers were unethical

23     and criminally dishonest in charging attorneys fees.               .

24              122.    I have spoken with and/or deposed virtually everyone who worked significantly

25     with   Mr.   Schratz   at Fireman’s   Fund     in the   early    1990s,   including   the head    of the Claims

26     Department, the attorney succeeded Mr. Schratz in using outside auditors regarding outside nor

27     panel counsel, and another attorney who supervised Fireman’s Fund’s internal auditors used for

28     trusted panel counsel; and numerous claims executives reporting to or working with Mr. SchratzJ

                                                               23
                         DECLARATION    OF JOHN D. O'CONNOR            IN SUPPORT OF FEE PETITION




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                                  e                             |                     @
       most of whom were highly experienced, and of significant tenure with Fireman’s Fund.

               123.    {have spoken with numerous lawyers in the Bay Area and around the country

       who were subject to “audits” by the Schratz-hired auditors at Fireman’s Fund (Mr. Schratz did

       no “auditing” at Fireman’s Fund).       I also spoke’ with numerous fee counsel representing firms)’

       who have had disputes with Mr. Schratz, including lawyers representing prestigious firms such

       as Thelen of San Francisco and Fagre & Benson of Minneapolis, both during and after his tenure
 DH




       at Fireman’s Fund.                          |                                              |
 SY




               124.    I have also spoken with lawyers with or representing prestigious firms such as
 Co




       Latham & Watkins and Wilson, Sonsini regarding false and scurrilous publicity about their firms
 0




       engendered by Mr. Schratz.          a
 DoD




11             125.    I] have read approximately 25 to 30 reports, Declarations or opinions of Mr;

12     Schratz since the inception of his firm of Jim Schratz & Associates.               I have as well read several

13     “audits,” consisting of both the audits he commissioned at Fireman’s Fund and “audits” prepared

14     by him for his own firm.    I have also read audits prepared by his outside auditors at the behest off

15     entities other than Fireman’s Fund or Mr. Schratz.

16             126.    Ihave deposed or interviewed several “auditors” of the outside auditing firm used

17     by Mr. Schratz at Fireman’s Fund. I have learned the “methodology” of the outside auditors Mr.
18     Schratz used at Fireman’s Fund and the present methods Mr. Schratz uses to “audit” firms on

19     behalf of his own firm.

20             127.    1 have    engaged   in fee litigation with Mr.         Schratz;     deposed       him   on several

21     occasions and observed his deposition and testimony in court.

22             128.    I have also read legal bills of Fireman’s Fund employee lawyers working directly,

23     for Mr. Schratz or lawyers chosen by Mr. Schratz.            I have read bills of Mr. Schratz himself and
24     bills of outside auditors which he has approved and paid.                                                      |

25       .     129.    I have    interviewed   several   witnesses,     and   heard      one   witness     testify,       as    to

26     inducements made or directed by Mr. Schratz for the witness to testify favorably to the position

27     of Mr. Schratz in fee disputes.

28             130.    I have newspaper and magazine articles about Mr. Schratz, attributing to him

                                                           24
                       DECLARATION OF JOHN       D. O'CONNOR        IN SUPPORT OF FEE PETITION




                                                                                                                               Ex. B - 160
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                                         @                          |                            @
       claims about lawyer overbilling, which based upon my other independent knowledge, I believe
       to have been untrue.

                  131.     I have sued Mr. Schratz and Fireman’s Fund on behalf of my former law firm,
  w




       successfully, for defamation on the basis of statements he caused to be made                                      in local and
  &




       national publications.
  WN




                 132.     ' I was co-counsel in two trials, one for liability and damages, the second one
  A




       damages only, against Fireman’s Fund based upon false and defamatory statements made about
 ~~




       my former firm by Mr. Schratz.               I was present in court as co-counsel in 1996 and 1998 to receive

       verdicts in favor of my former firm, and against Fireman’s Fund for $3.0 million and $3.4

 10    million, respectively, for defamation published or caused to be published by Mr. Schratz.

 11               133.     On behalf of my firm and the named partners, I obtained a confidential settlement

 12    with Mr. Schratz based upon defamatory statements he made about my firm after he departed

 13    Fireman’s Fund.

 14              134.      I have reviewed a cover story in the American Lawyer published in or around

 15    March,      1993    about   Mr.       Schratz    entitled,       “Litigation   MISmanagement           at Fireman’s     Fund,”

 16    (emphasis in the original) detailing Mr. Schratz’s dealings with our firm on an asbestos litigation

 17    fee dispute.

 18              135.      I was the principal lawyer at Tarkington on two prior large cases which Mr]

 19    Schratz caused to be audited by his outside auditors, but which cases were controlled by other

20     claims     personnel.       After two        time-consuming             and painstaking    “audits,” my       firm reccived

21     payments         from Fireman’s Fund            for more than the amounts            billed to Fireman’s Fund, with

22     apologies.

23               136.      Since 1992, I estimate that I have not gone more than four. or five months at a

24     time without receiving some complaint from a lawyer, or a request for consultation, regarding

25     what     the lawyer     claimed       were   false, distorted, or incompetent             assertions     by Mr.     Schratz    of

26     attorney overbilling.                                               |                                                               .

27               137.     1 have also served as an expert or consultant on several Bay Area cases since ]

28     formed O’Connor and Associates, in which the plaintiff firm received from the Court 100% of its

                                                                          25
                            DECLARATION         OF JOHN D. O’CONNOR              IN SUPPORT OF FEE PETITION




                                                                                                                                     Ex. B - 161
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       billings, notwithstanding vehement criticism to the contrary by Mr. Schratz.

               138.    As a result of the foregoing, I believe that ] have direct knowledge of Mr,
 Wd




       Schratz’s fee dispute activities from 1988 through the present, and also have knowledge of his
 WY




       background and experience prior to that time.      I believe that this information can assist the Court
 b&b




       in assessing the weight to be given Mr. Schratz’s opinions.
 DN




                                     EXPERIENCE OF JAMES SCHRATZ
               139.    After his good scholastic record at USF Law School, Mr. Schratz was hired by,
 aN




       Heller Ehrman and fired at his first annual review, unusual when Heller Ehrman was expanding}
 Oo




       Mr. Schratz told me on deposition he was terminated by Heller Ehrman for being “too happy.”
 Oo




10             140.    He then worked for Rosenblum Parish, a smaller, reputable San Francisco firm
1      where he was dismissed after a year of employment.           It is unclear, but Mr. Schratz, may have

12     tried one or two real estate broker fee cases in a trial or trials of one half to one day.

13             141.    His subsequent work for corporate counsel at Fireman’s Fund consisted of a mix

14     of litigation work and non-litigation work, the former mostly “monitoring” of outside counsel

15     hired by Fireman’s Fund throughout the country, often with corporate counsel’s name on the

16     pleadings.

17             142.    From my knowledge of Fireman’s Fund’s structure as a Fireman’s Fund panel

18     counsel, I can state that Mr. Schratz’s subsequent assignment to the Claims Department was al

19     step down career-wise from his position in the Corporate Counsel office.

20             143.    The work his group performed in Major Claims belies the name, because it dealt

21     mainly with garden-variety construction defect litigation.       I know this because our firm received

22     case assignments from the group, and were generally supervised by the functional head of the

23     group, Mr. Robert Hill, a competent and experienced claims manager.

24             144.    Mr.   Schratz’s    main    occupation    while    working    for   Major     Claims   was

25     implementing his own unique solution to what insurers at the time referred to as the “CUMIS

26     problem” at the time besetting carriers throughout California, and to a lesser degree, throughout

27     the country.

28             145.    CUMIS counsel, as discussed above, refers to lawyers selected by the insured that

                                                           26
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                                                                                                             Ex. B - 162
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           the insurer must pay, because of the potential conflict of interest that arises when coverage may

           be decided or influenced by facts proven in the underlying litigation.               The CUMIS doctrine is

           now embodied in part in C.C.P. §2860.
                   146.      Two problems for insurers arose in the 1980’s regarding CUMIS counsel: a) fee
 OSCR




           rates and      litigation methods    were    usually   not as economical      as those   of “panel”    counsel

           customarily retained by the insurer; b) where coverage limits could be exhausted, but where, as
           is standard, the defense       obligation   is unlimited,    the insured   is incentivized,   in, for example

           environmental or toxic tort litigation, to pay millions for defense but nothing for tribute, contrary,

           to the insurer’s financial interest.
 colNUDl




                   147.       Some     insurers began in the 1980s a program          of closely scrutinizing CUMIS

1]         counsel bills, including on-site visits to examine the underlying files, to challenge inefficiencies

12         and discourage unnecessary work.            As Mr. Schratz was beginning his career in claims, having

13         left his position in the corporate counsel’s office, he saw legal auditing as a method to advance

14         his career, by using legal auditing, not just as a method to discourage inefficiencies or to bargain

15         down bills, but also to end the costly underlying litigation altogether.

16                 148.      Mr. Schratz saw that legal “auditing,” or close examination of defense counsel]

17         bills, could be used for more than just cutting a bill by a few percentage points.             He saw that he

18         could use legal “auditing” results to threaten counsel with unfavorable publicity and damage

19         their reputation by reason of alleged “overbilling,” which would in turn incentivize counsel

20         under Schratz’s thinking, to end the litigation or modify the insured’s demands upon the carrier]

21         One   such method         of intimidating defense counsel would         be for Mr. Schratz or one of his

22         investigators     to call the clients of the defense          firm   to tell them    that the company      was

23         investigating overbilling by the firm and ask if the client had experienced similar overbilling.

24         Such phone calls, of course, could greatly harm the firm with institutional litigation clients.                  |

25         know that Schratz did this to several firms, including mine.

26                 149.      Another threat employed by Schratz would be of unfavorable publicity in a legal

27         publication.     Such unfavorable publicity was used by Schratz as an example with which to

28         threaten another audited firm Schratz also did this to the Tarkington Firm..
                                                                   27
                              DECLARATION      OF JOHN D. O'CONNOR       IN SUPPORT OF FEE PETITION




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                                     @                                                        @
                 150.   While employed by Fireman’s Fund, Mr. Schratz did no auditing himself, but
  —_




        learned about “auditing” by working closely with his outside auditor, the Stuart, Maue, Mitchell
  NY




        and James firm of St. Louis, Missouri.
  WD




                 151.   The person heading the Stuart: Maue firm, Mr. Harry Maue, attended neither a
  FP




        legitimate college nor legitimate law school and received mail order “degrees” for both of these                             .
  nH




        claimed degrees.       The other three names in the firm name, Stuart, Mitchell and James, do not
  ND




        represent real persons in being.     Mr. Maue falsely represented to the American Lawyer in 1990

        that the names did represent individual who had once been with the firm. See Exhibit B attached
  S&S




        hereto in which the article discusses Mr. Mauce’s prevarication on the issue:
  Oo




                “Despite its name, Stuart, Maue is a corporation and not a partnership. Maue and
  OC




                Erie James, a rumpled Air Force veteran who is the company’s resident
                computer jock, are the only ‘name partners’ in evidence. Asked about the other
  —S-
mit




                two, Maue first claims that he parted ways acrimoniously with ‘Stuart’ and
                ‘Mitchell’ a number of years ago. He declines to give their current whereabouts,
  PO




                saying ‘You can’t talk to them.’ The fact, as Maue ultimately confides, is that no
                one can talk to them because they do not exist: They are fictitious. “The names
  WD




                ‘Stuart’ and ‘Mitchell’ [do not] represent the names of former partners,’ Maue
                writes in response to a written query.       “The name Stuart, Maue, Mitchell & James,
  F&F




                Lid. simply represent the name I chose to give this company when it was formed.’
                Maue angrily maintains there is nothing inappropriate about his letterhead.”
  A
  DB
mm




                 152.   After the publication of this article, Mr. Maue commenced claiming publicly that
  HI




        these   names   were    always   meant   to   be   fictitious,     and   refer   to   his heroes   Jeb   Stuart,   the
  SB




        Confederate war general, Billie Mitchell, the WWI pilot, and Jesse James, the famous outlaw.
 OD




                 153.   Mr. Schratz would invariably use the Maue firm for legal “audits,” because the
Nm
 DT




        Maue firm in essence guaranteed “finding” a substantial amount of “overbilling,” usually 20-
 F§
NR




        50%.    These “findings” of a Maue audit would then be used by Schratz as a basis to threaten
 NY
NR




        publicity if the audited firm did not act in accordance with Mr. Schratz’s wishes.
 WD
NY




                 154.   In short, legal auditing, including attendant publicity based thereon, was one of
 FP
ND




        the methods Mr. Schratz used as part of a whole array of bullying and coercive tactics designed
NY
 Ur




        to end CUMIS litigation for his company.
 HD
NY




                 155.   My firm learned of this operation of Mr. Schratz early in the program.                     After my      ©
NO
 4A




        partners, Mr. Tarkington and Mr. O’Neill called upon Mr. Schratz and learned of his program]
 So
NH




                                                               28
                         DECLARATION      OF JOHN D. O'CONNOR            IN SUPPORT OF FEE PETITION




                                                                                                                           Ex. B - 164
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           we made the decision not to actively solicit the business of Mr. Schratz, which we considered to
           be a rogue “black bag” operation, even though we worked extensively for claims executive

           throughout Fireman’s Fund.
  Ww




                   156.   Unfortunately, this decision did not keep us away from Mr. Schratz, whom we
  bb




           encountered in our work for the    FDIC, as counsel for the FDIC as Receiver of the Golden Valley
 (OULU




           Bank of Turlock, California.
    ODN




                   157.   After this bank was closed by the FDIC in or around 1985, our firm immediately;

           became counsel for the Receiver and inherited a multitude of litigation, all of it insured by the

           insurer for the Bank, Fireman’s Fund.     We also sued on behalf of the FDIC various directors and

           officers, also insured by Fireman’s Fund.
 mo




 11                158.   For several years, we worked in harmony with Fireman’s Fund claims executives

 12        out of Fresno, California, who acknowledged Fireman’s Fund’s obligation to defend the cases,

 13        and pronounce themselves pleased with our economical handling of the litigation.      Although we

 14        regularly did work for Fireman’s Fund as panel counsel, in this case we were “CUMIS” counsel

 15        on behalf of the F DIC and the Bank.

 16                159.   However, this litigation was shifted to Mr. Schratz’s Major Claims group in lat¢

 17        1988, where upon Mr. Schratz demanded that the firm seek payment for defense costs from the

 18        government, not from Fireman’s Fund.

 19                160.   I met with Mr. Schratz in November,        1988 and explained to him that Fireman’s

20        | Fund indeed had an obligation to the Receiver of the Bank just as he did to the Bank itself.   He

21         then proposed that for a token payment, we should consider the insurance policy “exhausted,” so

22         inform our client the FDIC, and then importune the FDIC to pay our bills, releasing Fireman’s

23         Fund.

24                 161.   Since the Bank had $5.5million in coverage from Fireman’s Fund and a limitless

25         defense reimbursement right from Fireman’s Fund, we felt obliged by our duties to politely

26         refuse Mr. Schratz’s request.

27                 162.   Thereafter, we were told by his assistant Mr. Hill that Mr. Schratz had issued an

28         order that we could receive no further cases from Fireman’s Fund until the Golden Valley Bank

                                                             29
                           DECLARATION     OF JOHN   D. O’°CONNOR   IN SUPPORT OF FEE PETITION




                                                                                                           Ex. B - 165
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       matter had been resolved.          Eventually we were subject by Schratz to numerous time-consuming}

       audits,    which   we   resolved        successfully        when     the    cases    were      controlled       by   other    claims
  wv




       executives.
  Ww




                 163.     Eventually,     we     were   audited        in the asbestos            litigation     and   certain      asbestos
  >




       litigation where Fireman’s Fund: was one of seven carriers.                         We quickly resolved the matter with
 NN




       six other carriers, but fought with Mr. Schratz, who eventually began issuing scurrilous publicity

       suggesting fraud and criminality on the part of our firm.                         We were forced to sue Fireman’s Fund,                  .
 SN




       and Mr. Schratz, for which we obtained verdicts of $3.0 million and $3.6 million, and settled
 SS




       confidentially with Mr. Schratz.                                                       |
  co




10               164.     After our fee case was                  arbitrated,     Mr.     Schratz     left Fireman’s         Fund       under
 11    circumstances suggesting less than a voluntary departure.                           Mr. Schratz claimed to a local legal

 12    newspaper that he left Fireman’s Fund as a way of cutting the company’s expenses.

 13              165.     Before   he   left     Fireman’s         Fund,    Mr.     Schratz       issued       numerous      articles     and

 14    speeches, and courted publicity whenever and wherever he could get it, suggesting that there was

 15    rampant “overbilling” by attorneys in defense litigation, that much of the defense bar should be

 16    subject to State Bar discipline or criminal proceedings, and that the amounts involved were

 17    usually 30%-50% of the bills, and that it occurred in 70% of the cases.

 18              166.     While making these scurrilous remarks publicly and demeaning and tarnishing the

 19    entire reputable litigation Bar, in more confidential settings it became clear that the claimed

20     “overbilling” usually consisted of technical objections to form for time actually spent, rather than

21     substantive objections to the amount of time claimed.                        For instance, in our case, Schratz falsely.

22     and publicly “leaked” that our firm’s lawyers billed 785 hours in a month and 33 hours in a day]

23     Behind closed doors, he spent millions to make highly technical complaints as to how we

24     described and allocated our time over 5000 cases, when most of the work was performed in

25     common;       one partner admittedly used his paralegal                          to bill out his burdensome               timesheet

26     allocations to hundreds of cases.                      |

27               167.     Schratz’s (and his former auditors’) criticisms were similarly technical in all other

28     cases.    If a lawyer, as was and is the custom, submitted a time entry with various descriptions of,

                                                                       30
                          DECLARATION          OF JOHN D. O’CONNOR              IN SUPPORT OF FEE PETITION




                                                                                                                                          Ex. B - 166
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       say, trial preparation activities, separated by semi-colons, such was considered by Schratz and

       his auditors to be “block billing” and thus, “overbilling;” if a lawyer billed only one entry, e.g.,
       “trial preparation,” that entry, on the other hand, was “vague” and also “overbilling.”                                            The work
 oS)




       of paralegals was usually criticized as being mostly “clerical,” and therefore not worthy of
 A




       reimbursement,               thus    constituting      “overbilling”;         mundane        tasks       performed     by partner-level
 WN




       personnel was criticized for not being assigned to lower-level personnel with lower billing rates;
 BO




       work performed by lower-level personnel, and not partners, was often criticized as being not
 NY




       efficient      because          of    lack    of    experience;         multiple    “billers”        were     criticized;     inter-officd
 S&S




       conferences were routinely determined arbitrarily to constitute “overbilling”; the list goes on.
 co




10                 168.           I will give to the Court two examples of Mr. Schratz’s tactics in this regard. The
1      first involves the reputable California firm of Latham & Watkins, which was defending a school

12     in San Diego sued for wrongful termination and insured by Fireman’s Fund.                                             The defense was

13     paid for by Fireman’s Fund and the settlement made by Fireman’s Fund.                                        However, after the case

14     ended, Mr. Schratz sued Latham & Watkins for malpractice for overbilling and sought the fees

15     and indemnity payments to be returned.                                                                                  |
16                 169.           I happened to depose the lead outside auditor for Mr. Schratz auditing the work

17     performed by Latham & Watkins, who highly praised the firm’s work and also its billings. I also

18     interviewed a lead lawyer for Latham & Watkins.

19                 170.           However, publicly Mr. Schratz generated great publicity claiming that Latham &

20     Watkins       had          significantly     overbilled        the case,      suggesting         fraud    or abuse.     ‘The publicity;

21     continued          until     Latham     &    Watkins         relented   and    settled     the    case,    where     upon    Mr.     Schratz

22     trumpeted his victory.

23                 171.           The Court in this case has also received from Mr. Schratz part of the publicity he

24     generated to force the Wilson, Sonsini firm into a settlement regarding its fees for the Pelican]

25     Bay Prison litigation which Wilson,                          Sonsini pursued successfully and admirably as a public

26     service, only to be publicly calumniated, dishonestly in my. opinion, by Mr. Schratz.

27               172.             Wilson,    Sonsini      staffed     its prison     litigation     in an admittedly          liberal     way,   by

28     allowing sometimes summer interns and idealistic young lawyers to be involved in a duplicative
                                                                               31
                                  DECLARATION        OF JOHN        D. O’CONNOR       IN SUPPORT OF FEE PETITION




                                                                                                                                                 Ex. B - 167
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        or observational capacity, for which they duly recorded time.              The firm was justifiably proud of
  =




        its commitment to public service, and advertised this to their young lawyers.
  NO




                 173.      Although the firm gave its entire computerized billing records to the State after its
  WY




        success in the litigation, it never expected 100% payment for duplicative or observational time]. .
  BP




        and made that clear to the State from the outset of fee discussions.                  I know this because ]
  WwW




        consulted with fee counsel who represented Wilson, Sonsini.                                 .
  DB




                 174.      However,    in typical fashion, Mr. Schratz generated scurrilous publicity about
  SN




        Wilson, Sonsini’s “overbilling” of the Pelican Bay litigation, in the process tarnishing dedicated,
  F&F




        public-spirited lawyers who deserved to be praised.              Attached as Exhibit C is one example of this |
  oOo




        publicity appearing to defame the firm, in an article appearing in the local legal newspaper.
  OC
eet




                 175.      There is no doubt but that this scurrilous publicity caused Wilson, Sonsini to settle
  KH




        the fee matter, and then to return to its law business, rather than sue Mr. Schratz for defamation.
  NPN




        Generation of such publicity was Mr. Schratz’s main contribution to attorney fee issues.
  WH




                                                 AUDIT METHODOLOGY
  BP
mmm




                 176.      As a result of the foregoing, I became quite familiar with the “methodology” of
  WA




        the Maue outside auditors used by Mr. Schratz while at Fireman’s Fund.                Without getting into all
  DH




        the details of the methodology, it suffices ta say that one admirable aspect of that firm’s auditing
  JT




        process was that every time entry was examined, every piece of paper related to the time entry,
  CO
ow;




        was examined, and each lawyer questioned as to any claimed uncertainties regarding the time
  CO
Rm




        entry.   Thus, while the methodology was otherwise completely biased in an arbitrary fashion to
  CO




        cul down the “verified” portion of the bill, it at least had the virtue of thoroughness.
 —|§
KR




                 177.      Not   coincidently,   the   practice   also    cost the audited   firm       great    amounts   in
RQ
 NY




        unbillable time.     Mr. William J. F. Roll of Sherman & Sterling was quoted and paraphrased by;
 WY
KH




        the Wall Street Journal on July 21, 1992 (as repeated in the Marin Independent Journal of July|
 FP
BN




        26, 1992, attached as Exhibit D) as complaining about the intrusive and costly nature of being!
 nH
KN




        audited by Schratz and his auditors:
 HD
NO




                 “And, speaking for many attorneys: he says he found an audit ordered up by
NO
 4




                 Schratz to be intrusive and demeaning. As he described it, ‘They went through
                 our files, virtually every piece of paper that was not privileged, and they read it,
NO
 a




                 and they had lots of questions. A lot of our people, including myself, had to
                                                           32
                           DECLARATION     OF JOHN D. O’CONNOR           IN SUPPORT OF FEE PETITION




                                                                                                                           Ex. B - 168
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                                 eo                                             e
              spend an awful lot of time explaining what had happened.’             And, of course, the
              time was unbillable.”                          ,                                       ,

              178.     During his tenure at Fireman’s Fund and shortly after starting Jim Schratz and

      Associates, Mr. Schratz frequently criticized as inadequate any “audit” that was not a full field

      audit performed in the fashion described.       One such example of this is Mr. Schratz’s article

      attached as Exhibit E hereto, “The Need for Legal Audits.”

              179.     However, such audits are expensive and in fee-shifting cases, where the parties

      seek to oppose fees merely by motion without extensive litigation, the method described by Mr.

      Schratz is impossible and impractical.

              180.     Accordingly, it is Mr. Schratz’s current practice to shortcut any meaningful study
10
      or analysis in favor of superficial, selective and facile observations.   His practice is to scan legal
11
      bills into a computer system and use software for certain types of analyses determining, for
12
      example,   the   amount   of time considered    “block    billing,” spent on particular motions,      on
13
      pleadings, and on conferencing and the like, so that negative observations can be made under the
14
      guise of applying objective criteria.
15
              181.     Such   computerized    reports could provide the basis for a knowledgeable          and
16
      experienced attorney to make helpful observations.. But the converse is also true, that without
17
      expertise and experience, computerized breakdowns mean very little.             In any case, there is no
18
      such thing as “legal auditing” other than what a particular “auditor” arbitrarily deems it to be.      If
19
      the auditor doesn’t understand the complex litigation, or doesn’t want to, there results a serious
20
      “garbage in, garbage out” defect in the “audit” method.
21
              182.     In any case, Mr. Schratz is not performing the kind of thorough legal auditing he
22
      and his outside auditors had for many years championed, and is using the term “audit” to convey
23.
      falsely to the reader that he has performed some type of disciplined, rigorous and artful analysis
24
      superior to that could be performed by a person not claiming to be an auditor.
25
              183.     Indeed, the use of the term “audit” is used to mask the fact that Mr. Schratz is
26
      doing-far less by way of review and analysis than an experienced litigator would perform when
27
      acting as an expert witness in a fee case.
28
                                                        33
                       DECLARATION    OF JOHN D. O’CONNOR      IN SUPPORT OF FEE PETITION




                                                                                                           Ex. B - 169
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                184.      Even where Mr. Schratz claims to have performed such an analysis himself, in my}

      opinion, he has only the most minimal competence, by virtue of his status as a licensed attorney,
 N




      to perform such an analysis.
 W




                185.      1 personally         have   witnessed   stunning       examples    of Mr.     Schratz’s lack        of
 Se




      knowledge of litigation.
 Dn




                186.      In the Golden Valley Bank litigation, Mr. Schratz persisted over several months to

      claim that my firm was acting in conflict of interest in that litigation, even though we represented
 HN




      but one party, the FDIC            as Receiver in several different pieces of litigation.              However,        Mr,
 eS




      Schratz claimed that, even though we consistently represented the same party in these various
 Oo




10    cases, we were in conflict because in some cases we were paid by the carrier, Fireman’s Fund,

11    and in some case we were bringing suit against parties whose defense was paid by the carrier,

12    Fireman’s        Fund.   To be fair, it was difficult for me to determine                     how much      of this was

13    incompetence and how much was simply intellectual dishonesty.

14              187.       In several other instances, Mr. Schratz, has written and spoken publicly about the

15    lack of necessity for written interrogatories when                   counsel    can simply phone           the opposing

16    attorney to find out the information.              Such statements show a profound lack of understanding of

17    the litigation process.      See Exhibit F, an article containing such a statement by Schratz.

18              188.      I have      indeed     found   Mr.   Schratz   to be     intellectually    dishonest     as well    as

19    incompetent.        To give just one example, when he acted as fec expert for a prominent law firm in

20    Southern California, he justified the very same billing practices which he criticized in other

21    cases,   Moreover, I have reviewed bills of lawyers working directly for Mr. Schratz (which were

22    to be shared by or billed to another carrier for payment) filled with entries of the type that Mr,

23    Schratz had consistently condemned as being “overbilling,” when he was being retained by the

24    fee payor and against its law firm.

25             189.       Until Mr.     Schratz left the insurance industry at the end of 1993, he had a poor

26    reputation within the industry, both for lack of integrity and for the potential liability of his

27    activities.      Within his own company, Fireman’s Fund, he had the same reputation.                          Even Mr.

28    Schratz’s major supporter at Fireman’s Fund, the Executive Vice President of Claims, Mr. Gary

                                                                  34
                           DECLARATION         OF JOHN D. O’CONNOR       IN SUPPORT OF FEE PETITION




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       Black, was quoted by the Wall Street Journal as admitting that Schratz had a “very biased view’)

       of billing issues. Mr. Black told me on deposition essentially the same thing.

        |        190.       Therefore, at the very least, putting aside questions of honesty or competence, Mr|

       Schratz is certainly biased.             In his article, “The Need     for Legal Audits,”    he recommends

       widespread use of legal auditing, a field he helped promote and which he was soon to enter in
 eA




       private practice.          In any case, his bias has always been well-known.         ‘The article describes an
 DO




       extremely adversarial approach by Schratz:
 NSN




                 “Over the years Schratz, whose personal code was neatly summarized last March
 SS




                 entitled, Ready, Fire, Aim, has had to do some explaining himself when his
                 aggressive tactics backfired. After the Tarkington firm was knocked off the
 o




                 asbestos case, Fireman’s Fund’s hand-picked successor, hired at relatively low
10               pay, lost two major decisions in court.
                 ANGRY PHONE CALLS
1                Some other lawyers see Schratz as a publicity hound or an alarmist.       Gary
                 Black...says he gets angry phone calls about Schratz fairly regularly.”
12
                 191.       Mr.    Schratz’s   criticism of tactics and    strategies   of the Wynne    firm   in this
13
       litigation demonstrate, in my opinion, the same lack of credibility of Mr. Schratz that T have
14
       witnessed for the last twenty-one years.           When Mr. Schratz criticizes Mr. Wynne for waiving a
15
       jury, an excellent and artful gambit under the circumstances, obviously proven successful, it is
16
       difficult for me to determine             if this criticism is the result of his raging bias, his extreme
17
       incompetence or his patent intellectual dishonesty.            The conclusion to any of three possibilities is
18
       the same:        Mr. Schratz’s testimony should be afforded no weight by this Court.
19
                 192.       ‘This is not to say that all legal bills criticized by Mr. Schratz are unworthy off
20
       criticism.       Sometimes, as they say, a blind squirrel gets an acorn.            For example, in Rios v.
21
       Rowand,      a public interest lawyer visited a prison frequently and consulted with the female
22
       inmates, including those with children.           The lawyer knew well the prison’s policy for allowing
23
       visitation by the children.         After successfully litigating this policy, the lawyer attempted to bill
24
       the government for the thousands of hours she spent visiting the jail in performance of her
25
       normal duties as a prison advocate, most of which, of course, were unnecessary to the litigation,
26
       and not performed primarily for the sake of the litigation.
27
                 193.       In Rios v. Rowand, the court initially approved only a small portion of the fees
28
                                                             .   35
                            DECLARATION        OF JOHN D. O’CONNOR    IN SUPPORT OF FEE PETITION




                                                                                                                  Ex. B - 171
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       claimed, and after an appeal, the fee question was remanded to the same court for more specific
  —




       factual findings, at which point Mr. Schratz was hired and the matter litigated.                   The court!
 WN




       thereafter issued a similar result but with more detailed findings.
 W




                  194.    Rios v. Rowand, then, is an example of a court awarding fees roughly conforming
 B&B




       to Mr. Schratz’s opinion, but which opinion has little or no causative relationship to the law
 WwW




       award.                                                                          |
 DH




                  195.    Mr. Schratz’s opinions that I have reviewed are always wildly favorable to the
 YT




       entity hiring him.     In the Golden Eagle matter to which Mr. Schratz refers, he was hired to give
 OO




       Golden Eagle a basis to pay a claim in a receivership context, not to fight payment.             When he has
 0




       ‘been hired by law firms to support their bills, he has done so in complete reversal of views and)
ee




       principles he expressed contrarily when hired by the fee-paying client.             I have never witnessed

       Mr. Schratz giving due deference, or any complimentary comment, to the opposing side. |

                | 196.    In short, [ would assert that the determination of the reasonableness of the fee to
mm




       be paid the Wynne firm should not be based on anything that Mr. Schratz has said, because any

       opinion of Mr. Schratz is necessarily biased, superficial and incompetent.

                  197.    I have agreed to serve as an expert witness in this matter with Mr. Wynne at a rate
mm




       of $700 per hour.      As of the date of this Declaration, I have expended 79 hours in reviewing the

       file and transcript and preparing this Declaration, for a total fee of $55,300.
mw




                                                     SUMMARY                     |
                  198.    In summary, it is my opinion that the services performed by the Wynne firm were
RO




       excellent in all respects, performed extremely efficiently and billed at a rate that is reasonable,
DRO




       In my opinion, considerations of skill, efficiency and risk each militate in favor of a significant
BR




       multiplier.                                                       |
HR




                 I declare under penalty of perjury under the law of California that the foregoing is true
KN




       and correct.      Executed this a+   day of Dy           , 2019; at San Francisco, California.
NHN
NNO
NO




                                                                J       D.   @’ CONNOR           —
DO




                                                           36
                           DECLARATION OF JOHN D. O°CONNOR          IN'SUPPORT OF FEE PETITION




                                                                                                                Ex. B - 172
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                        EXHIBIT C




                                                                       Ex. C - 173
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   1
   2

   3

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   5

   6

   7

   8                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
   9                                        COUNTY OF SACRAMENTO
  10                                          UNLIMITED JURISDICTION
  11
  12
        MEDRO JOHNSON,                                        No. 34-2009-00054053
  13
                Plaintiff,                                    DECLARATION OF JOHN D.
  14                                                          O'CONNOR IN REBUTTAL TO
         V.                                                   OPPOSITION TO FEE PETITION
  15
        SEARS, ROEBUCK AND CO., SEARS
  16    HOME IMPROVEMENT PRODUCTS, INC., Date: March 9, 2012
        PAUL ST. HILAIRE, and DOES 1 through Time: 1:30 p.m.
  17    50, inclusive,                       Location: 125
  18            Defendants                                    Complaint Filed: July 27, 2009
                                                              Trial Date: September 19, 2011
  19
                 I, John D. O'Connor do hereby declare as follows:
  20
                                    EDUCATION, EXPERIENCE AND WORK HISTORY
  21
                 1.      I am an attorney licensed to practice in all courts in the State of California, and
  22
        have been so licensed since December, 1972.
  23
                 2.      I am the principal of O'Connor and Associates, a law firm consisting of the
  24
        undersigned and one associated, and I have been engaged primarily in litigation practice since
  25
        1972.
  26
                 3.          I attended The University of Notre Dame in South Bend, Indiana, where I
  27
        graduated magna cum laude in 1968. I attended the University of Michigan Law School where
  142


                                           DECLARATION OF JOHN D. O'CONNOR




                                                                                                        Ex. C - 174
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   1    in graduated cum laude in 1972, and was a member of the Order of the Coif, and Associate

        Editor of the Michigan Law Review.
   3           4.         From June 1972 until January 1, 1974, I was employed as an associate with the
   4    firm of Belli, Ashe & Choulos as litigation associated. In that capacity, I tried several cases with
   5    senior partner Melvin L. Belli, Esq. and tried several cases by myself.
   6           5.         From January 1974 through January 1980, I was an Assistant United States
   7    Attorney for the Northern District of California in San Francisco, California. In that capacity, I
   8    tried white collar criminal cases as well as a variety of civil matters, including medical
   9    malpractice, employment discrimination, challenges to governmental actions, and a wide range
  10    of other cases.
  11           6.         In 1980 and 1981, I was a Senior Associate at the San Francisco law firm of
  12    Brobeck, Phleger & Harrison, where I worked on complex business litigation matters. From
  13    1982, through 2001, I was a principal with and managing partner of the law firm of Tarkington,
  14    O'Connor & O'Neill, where our clients were mainly major insurance companies, corporate risk
  15    management departments, and governmental entities. Among the governmental entities we
  16    served were not only local and State agencies, but also the FDIC, FSLIC, RTC, the NCUA
  17    (National Credit Union Administration), and the United States government itself.
  18           7.         From late 2001 through July 2006, I was employed with the San Francisco firm of
  19    Howard Rice as a Special Counsel and Director, practicing with the litigation department. At
  20    Howard Rice, my litigation work consisted of tobacco/asbestos defense litigation on behalf of
  21    R.J. Reynolds Company, intellectual property litigation, and a variety of commercial litigation.
  22           8.         I have tried approximately 70 cases in state and federal courts throughout
  23    California, as well as in courts located in Nevada, Pennsylvania and Arizona. I have also
  24    litigated cases venued in Hawaii, Texas, Alaska and Illinois.
  25           9.         Since July of 2006, I have practiced on my own under the name of O'Connor and
  26    Associates. In that capacity, I associated as a trial lawyer with the Downey Brand firm of
  27    Sacramento in trying a two-month jury trial in Douglas County, Nevada, on behalf of landowner
  '1Q


                                         DECLARATION OF JOHN D. O'CONNOR
                                                        2




                                                                                                        Ex. C - 175
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 ' 1   Park Cattle Company against the lessee of a casino groundlease in Stateline, Nevada. Before the

   2   jury returned, the case settled in favor of my clients for $165 million.

   3          10.      I successfully arbitrated as co-counsel a case in Dallas, Texas against the Dallas

   4   Mavericks, where my client was awarded $7.1 million; and recently tried a case in Mann County

   5   Superior in which we achieved $2.5 million settlement on behalf of two homeowners while the

   6   case was being tried to a jury before Judge Michael Dufficy. I have over thirty-nine years of

   7   significant trial experience, including current jury trial experience.

   8           11.     I have consulted or have been retained as a fee expert on approximately fifty

   9   occasions, most of them since 1992, and many involving rebuttal of opinions offered by James

  10   Schratz. I have reviewed approximately twenty-five to thirty reports of Mr. Schratz. These

  11   matters involved billing disputes throughout the country.

  12             12.   In addition, I have significant experience dealing with fee issues in other contexts.

  13             13.   I litigated fees in a number of civil rights and other "fee-shifting" cases on behalf

  14   of the United States government while acting as Assistant United States Attorney for the

  15   Northern District of California.

  16             14.   I litigated a large fee case with the Tarkington firm in or around 1984 against

  17   Heller Elliman firm, on behalf of Sonoma County, in a class action prison case involving

  18   constitutionality of various conditions of confinement in the Sonoma County jail. As part of this

  19   litigation, I reviewed in detail the billings of attorneys in the Richard Goff litigation group at

  20   Heller, for which Mr. Schratz had worked during his brief stint there.

  21             15.   I was also the counsel charged by the United States government to assess and

  22   negotiate significant counsel fees for different firms prevailing in a class action labor

  23   discrimination case brought against the Naval Air Rework facility for the Honorable William H.

  24   Orrick.

  25             16.   As managing partner of the Tarkington firm, it was my responsibility to work

  26   with several large institutional clients, such as insurers, corporate legal departments and

  27   governmental entities such as FDIC and RTC, to discuss and enforce billing guidelines for those
  14   entities.
                                       DECLARATION OF JOHN D. O'CONNOR
                                                      3




                                                                                                       Ex. C - 176
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   1           17.    While at the Tarkington firm, I consulted with numerous insurance claims
   2   professionals regarding billing issues surrounding the retention of CUMIS counsel, paid by the
   3   insurer but not selected by the insured. The insurer billing guidelines for "panel" counsel were
   4   generally inapplicable to such outside counsel, and accordingly, I frequently advised as to
   5   applicable billing standards prevalent within the Bay Area legal community.
   6           18.    I also monitored legal billing counsel throughout California, when representing
   7   excess carriers. I frequently consulted with insurance carriers about billing practices in the legal
   8 community.

   9          19.     As a managing partner for twenty years at the Tarkington firm, I reviewed
  10   numerous bills of lawyers under my supervision, as well as lawyers in my firm but outside my
  11   direct supervision. On my own volition, or in discussions with clients, I frequently analyzed and
  12   adjusted billing for efficiency and competence where appropriate. As part of my duties, I
  13   frequently conferred with other managing partners about billing standards.
  14          20.     Practicing as a Senior Associate at Brobeck, Phleger and Harrison (1980-1981) as
  15   a Senior Counsel and Director at Howard Rice (2001-2006), I became aware of the billing
  16   customs and practices enforced at these reputable firms.
  17          21.     I have on several occasions examined fee billings on behalf of clients and, where
  18   appropriate, sought reductions.
  19          22.     In 2005-2006, I served as a JAMS arbitrator on an asbestos fee dispute involving
  20   over $2 million in billings.
  21          23.     Based upon the foregoing, and my 39 years of litigation and trial experience, I
  22   consider myself to be an expert cap[able of assessing the reasonableness of litigation fees for
  23   complex litigation. I also have extensive knowledge of the background, experience, reputation,
  24   bias and competence of James Schratz.
  25          24.     Having reviewed billing and billing standards of law firms numbering in the
  26   hundreds, I know well the customs and practices throughout the country regarding multi-entry
  27   billing, termed "block" billing by Mr. Schratz; billing for multi-lawyer task assignment; and the
       billing of paralegal services.
                                        DECLARATION OF JOHN D. O'CONNOR
                                                       4




                                                                                                      Ex. C - 177
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   I          25.     I therefore believe I am competent to render an opinion that, with very few
   2   exceptions, it is the universal practice within the legal profession for a lawyer to record multiple
   3   task descriptions within one time entry; assignment of more than one lawyer to a hearing,
   4   mediation or other project is within accepted billing norms; some occasional lawyer time is
   5   appropriately used and billed for incidental document management.
   6          26.     Recently, representing a large national firm, I sought approximately $4.8 million
   7   in contested litigation fees in front of a panel of three arbitrators in Los Angeles. The firm was
   8   awarded the full amount of fees sought.
   9          27.     I have also have had experience both as a Fireman's fund regularly retained
  10   insurance defense counsel, and an independent counsel named by the insured and paid by
  11   Fireman's Fund, and supervised by Mr. Schratz.
  12          28.     In the cases of Miller v. Vicorp Restaurants, Inc. (N.D. Cal. 2006) 2006 U.S. Dist.
  13   LEXIS 2210 and Gober v. Ralph's Markets, I was retained as an expert witness to rebut opinions
  14   of Mr. Schratz, who opined quite similarly to the case at bar, about the impropriety of block
  15   billings, duplicative work and clerical entries. In both cases the reviewing Court awarded the
  16   applicant firm 100% of the amount sought, contrary to the recommendation of Mr. Schratz.
  17   Indeed in Miller, federal judge Ronald Whyte expressly stated that he did "not find Mr. Schratz's

  18   declaration helpful: and had not relied on it." 2006 U.S. Dist. LEXIS 2210, fns.2 and 3.
  19          29.     I was also an expert retained to rebut Mr. Schratz's opinion in Duran v. US Bank
  20   where Mr. Schratz recommended a fee award of approximately $3 million in a "fee-shifting"
  21   case, and the Court awarded $18.8 million.
  22          30.     In Duran, Judge Freedman of the Alameda Superior Court, as part of a 41 page
  23   opinion (awarding a $640 hourly rate to Mr. Wynne, a twenty-year lawyer with less trial
  24   experience than Mr. Whalen), made the following comments about the credibility of the analysis
  25   presented by Mr. Schratz, as well as the credibility of my analysis in rebuttal:
              ...The Court finds that Plaintiffs have presented extensive evidence that the
  26          hourly rates their attorneys have requested are within the range of rates charged
  27          by and awarded to attorneys of comparable experience, reputation, and ability for
              comparable complex litigation. CHMC, 97 Cal.App4th 740, 783. That evidence
  14          includes: (1) the sworn testimony of four highly respected local attorneys who
                                      DECLARATION OF JOHN D. O'CONNOR
                                                    5




                                                                                                     Ex. C - 178
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              handle comparable complex class action litigation; (2) extensive data on the
   1
              current rates charged by many other Bay Area law firms that handle complex
   2          litigation; (3) testimony as to the rates awarded in comparable cases; (4) rates
              previously found reasonable-indeed, the Court notes, at higher rates than
   3          requested here-for Plaintiffs' counsel Mr. Wynne; and, (5) persuasive expert
              testimony expressed by Mr. John D. O'Connor.
   4
                     ...Based on the enormous volume of paper in terms of billing records,
   5
              briefing, analysis by Defendant's expert Mr. Schratz and Plaintiffs' expert
   6          Mr. O'Connor, the supporting and opposing declaration of others with
              expertise (or purported expertise), the Court find that the number of hours
   7          spent by Plaintiffs' counsel also is reasonable...
   8                —.3. Defendant's Arguments that Plaintiffs' Counsel's Hours Should
   9          Be Reduced Are Rejected.

  10                As an initial matter, the Court notes the competing declarations of
              James P. Schratz, Esq. in support of Defendant's opposition and
  11          supplemental opposition and the declarations of John D. O'Connor, Esq.
              submitted on behalf of Plaintiffs.
  12
  13                  With respect to Mr. Schratz, the Court derived modest benefit, at
              most, from Mr. Schratz' analysis. There can be no doubt as to his
  14          partisanship. He does not come before the Court in any way that can be
              described as an independent witness. Mr. Schratz brought minimal value to
  15          the process. Mr. Schratz's experience is substantial in areas which are not
              pertinent to the issues before the Court, including the billing practices of firms
  16          that serve as panel counsel for insurance companies or staff counsel for insurance
  17          companies. The Court finds it interesting but of little value in making an award in
              a wage and hour class action in which counsel are compensated entirely on a
  18          contingent fee basis as an exercise of the court's discrimination. The
              consequence of the Court's findings in this regard is that the Court affords little
  19          weight to Mr. Schratz' evaluation and rejects his arguments that Plaintiffs
              counsel's fees should be reduced for any reasons he articulated.
  20                  In marked contrast to the Court's findings with respect to Mr.
  21          Schratz, the Court finds Mr. O'Connor's declaration to be considerably
              more persuasive in assessing the relevant issues before this Court. The Court
  22          finds Mr. O'Connor's opinions related to the lodestar analysis to be useful,
              insightful and well-reasoned...
  23
                                             SUMMARY OF OPINIONS
  24
              31.     The rates here sought by the petitioning lawyers ("Whelan group") are well within
  25
       the top-tier of the market for both Bay Area and California lawyers of similar experience.
  26
              32.     The top tier of rates for one of Mr. Christopher Whelan's ability and experience,
  27
       if charged by a top tier firm, would be $700-$800 per hour, as exemplified by rates of lawyers of

                                     DECLARATION OF JOHN D. O'CONNOR
                                                    6




                                                                                                    Ex. C - 179
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   1   similar experience at firms such as Gibson Dunn, O'Melveny, Howard Rice, and other
   2   comparable firms.
   3          33.      Perhaps some discount to reflect the Sacramento market is appropriate, even
   4   though firms from San Francisco and Los Angeles do not lower their rates for Sacramento
   5   litigation. Thus, $650 per hour for Christopher Whelan is not unreasonable.
   6          34.      It is customary, in my experience, for courts, as in Duran above, to award rates
   7   prevailing at the time of the fee award, not at the time of the work performed.
   8           35.     The rates suggested by defendant's expert are below the relevant market, other
   9   than the market for volume corporate litigation counsel, which has wholly different economics
  10   than a "one off' assignment in an important case.
  11           36.     The instant case was one in which Plaintiff needed to attract counsel, and that
  12   difficulty, which reflects risk, should be factored into the multiplier.
  13           37.     The instant case was of questionable outcome from the outset and deserves a
  14   multiplier of two for risk, difficulty and staffing efficiency.
  15           38.     So-called "block billing" is the norm in the legal services industry, not the
  16   exception, and the petitioning lawyers billed a very low percentage of true "block" entries
  17   relative to the market. Indeed, most entries are not "block" billings, because time is inserted
  18   separately for each entry.
  19           39.     The instant litigation, in which Plaintiff's counsel billed only two lawyers for all
  20   the attorney hours, and none for paralegals, was pursued in an extremely efficient manner, and
  21   this fact should bear both upon rates and multiplier.
  22           40.     The amount of hours expended on appearances by multiple attorneys was
  23   unusually low relative to the normal practice, and trial staffing was more efficient than normal.
  24           41.     A rate of $345 for Brian Whelan is reasonable, as is his billing of travel time, a
  25   standard practice.

  26   ///

  27   l/1


                                       DECLARATION OF JOHN D. O'CONNOR
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                                                                                                       Ex. C - 180
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   1                                               BILLING RATES
   2          42.      I have knowledge of billing rates throughout the Bay Area, which with minor
   3   adjustments are applicable to Sacramento, for the various types and classes of litigation, and
   4   have had such knowledge since 1980.
   5           43.     It is true that there is a wide range of rates charged throughout the Bay Area for
   6   employment litigation counsel, from insurance defense rates on the low end ($175-$300 per
   7   hour, often charged as a "blended" rate for all lawyers within the firm) to mid-range rates ($300-
   8   $500) per hour for litigation partners, some blended on the lower end) to top-tier rates (in
   9   employment work $500-$750 per hour for litigation partners). For "one off' or single
  10   assignment referrals from corporations and small businesses, as opposed to "volume"
  11   arrangements for steady referrals, partner rates range in the middle tier of rates from $375-$575
  12   per hour and with highly experienced lawyers (of over 25 years litigating), the range is $475-
  13   $575. For "one off' assignments the top tier rates remain the same, that is $500-$750.
  14           44.     This broad range of rates also holds true for, and is quite similar to, what is
  15   generally termed "defense" litigation, which, like "employment" work, is a common form of
  16   litigation, and promises great volume for firms that prove successful, especially at lower and

  17   middle range rates. It is also a form of general litigation that is necessary for many larger flims
  18   to handle as a service to their clients.

  19           45.     In the course of my thirty-nine years of practice, I have handled a number of labor

  20   cases such as wage, discrimination and wrongful termination litigation, and have tried at least six
  21   such cases that I can presently recall, one of which was a disability discrimination case before

  22   Judge Ronald Sabraw of Alameda County Superior Court in 2001. I tried one eight-Plaintiff
  23   wage/hour case in San Francisco Municipal Court. I recently served as a mediator on a twelve-
  24   Plaintiff wage-and-hour case set for trial in Alameda County. I have also tried one wrongful

  25   termination case in Arizona, and three discrimination cases in U.S. District Court in San

  26   Francisco. I have also tried various cases in San Francisco Superior Court, with my first trial in

  27   December 1972 before Judge Carpeneti. I have tried cases in recent years in San Francisco

       Superior Court before Judges Mitchell, Munter, Chiantelli, Mellon and Conway, to name a few.
                                       DECLARATION OF JOHN D. O'CONNOR
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             46.     Even though I consider myself quite capable of handling most labor cases, and in

      spite of the fact that I defended one large class action discrimination case while with the

      government, and numerous employment discrimination and wrongful termination cases in
      government and private practice, I do not consider myself to be "expert" in the field of

      employment litigation. However, for an employment matter that might be tried, I would be
      considered more valuable to the market than many employment specialists without great trial

      experience. Mr. Christopher Whelan, who has a long history of employment trial work, and has
      tried other types of cases as well, should be valued highly in the employment litigation market.
             47.     At the Tarkington film, where much our work was assigned by banks, the

      government or insurance carriers, we engaged in both defense litigation and employment

      litigation at insurance defense or government rates, while at Howard Rice, we engaged in
      "defense" litigation and employment litigation only if paid top-tier rates. Clients such as R.J.

      Reynolds Tobacco Company, which felt the need for and demanded superior work, paid these

      rates to Howard Rice and comparable firms throughout the country. It was the film philosophy,

      as in many top-tier firms, not to accept employment, products liability or toxic tort litigation

      (such as asbestos defense litigation) at middle-market rates. In 2004 through 2006, these middle-

      market rates for defense and employment litigation were approximately $425 to $475 per hour

      for partners, today having increased up to a ceiling of $550 to $575 for "one off' litigation

      assignments. On the other hand, my rate for defense litigation for R.J. Reynolds was $615 per

      hour in 2006, and employment litigation involved similar rates. A fellow Director (partner-level

      lawyer), Joseph Escher, who specialized in appellate work and Section 17200 class action work,

      charged in excess of $700 per hour in 2006. Those rates, of course, would be higher in 2011,

      approximately $740 to $900 for such a specialist with thirty years experience. At a top-tier San

      Francisco firm, Brian Whelan's associate rate would be around $400 per hour.
              48.    This same tiered rate structure holds true in conventional employment litigation,

      by which I mean wrongful termination and discrimination litigation not involving class-action

      issues. Thus, firms like Gibson, Dunn & Crutcher, O'Melveny & Myers and Howard Rice

      charge these same top-tier premium rates for employment work. On the other hand, a competent
                                     DECLARATION OF JOHN D. O'CONNOR
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   1   firm such as Jackson, Lewis, which specializes in employment litigation and seeks to attract a
   2   high volume of business across a wide sector of clientele, charges hourly rates slightly lower
   3   than the top-tier corporate firms named. In my opinion, the rates being charged by the Whelan
   4   group fit squarely into the middle of the top tier structure for employment litigation, for "one
   5   off' or single assignment referrals.
   6           49.     In determining prevailing rates in anyone area of employment litigation, it is
   7   appropriate to consider two aspects of pricing ignored by some of the declarants in this litigation:
   8   volume and leverage.
   9           50.     A client that promises a high volume of employment litigation year after year,
  10   employing a number of Linn attorneys, can often obtain very competent representation for
  11   litigation partner rates of between $425 and $475 per hour. However, in addition to providing
  12   volume, this type of litigation also provides the film leverage, that is to say, a great amount of
  13   work that can be perfoinied by associates and lower-level partners without raising client
  14   concerns, often as high as 4 or 5 to 1. Examples of high-volume litigation would be representing

  15   a large employer with high turnover and a regular flow of wrongful termination litigation, much

  16   of it requiring little skill to defend, or little skill in performing certain necessary tasks. Jackson,

  17   Lewis is such a firm, based upon my review of its website, and my knowledge of its lawyers.

  18           52.     Thus, obtaining such volume referrals from a client would enable the firm to have

  19   "leverage" of three or four associates, plus one non-equity junior partner, to one partner. If the

  20   average associate is paid $200,000 in compensation and bills $600,000 per year, the work is

  21   highly profitable to the firm, while the firm can appear to the client to be "economical" because

  22   its lead partner is charging $425-$475 per hour, less than the top-tier firms. Yet in essence, the

  23   billing partner is making in his rate plus profit, totaling as much as $1,000-$1,200 per hour.

  24           53.     In any case, as shown by defense counsel billings I have reviewed, such highly

  25   leveraged litigation, in my experience, is often not cost-effective for the client, since less-

  26   experienced lawyers tend to be less efficient as well as less confident about tasks that can be

  27   safely ignored. But whether it is a bargain for the client or not, high-volume, multi-referral
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                                        DECLARATION OF JOHN D. O'CONNOR
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   1   litigation presents a different economic model from that involved in a case singly assigned by a

   2   client because of its importance.

   3          54.     Thus for "one-off" cases, such as the instant matter, a sophisticated employer,
   4   who may customarily pay mid-level rates for wrongful termination litigation, will pay more than

   5   a "volume" rate for a "one-off" referral to an experienced trial lawyer, from an excellent top-tier

   6   firm, ranging from $600 to $800 for such a top-tier lawyer, equivalent in my opinion to

   7   Christopher Whelan.

   8           55.    The notion that the hourly rate of an attorney should be determined by the size of
       his firm is simply not correct.

  10           56.    It is true that there is a very rough direct correlation between the size of a firm and

  11   rates, but as in many areas, statistical association does not prove causation. Size should be

  12   viewed as an effect and correlative of rates, more than it should be adjudged a factor justifying

  13   high rates. I will explain.

  14           57.    If a solo litigator were to develop a clientele which paid him an hourly rate of

  15   $250-$300 per hour, he may not be allowed to bring that client into a larger firm, unless he could

  16   increase the rate above $400, and convince the firm management of high leverage, and in some

  17   cases would not be allowed to join the larger film at all, even if there were high leverage.

  18           58.     A solo practitioner or small-firm lawyer who developed a good employment

  19   practice often will wish to move to a larger firm, so the lawyer could access the larger firm's

  20   corporate clientele for his practice. Moreover, larger firms are constantly recruiting such lawyers

  21   to their practice. When they do, it is because their rates are high enough. Today, legal

  22   newspapers frequently announce single lawyers or small firms with good practices merging into

  23   larger firms. In short, like begets like, and birds of a feather flock together. So, while there is a

  24   correlation between size and rates, the size of the firm has nothing to do with the merits is

  25   establishing a rate, and of bringing value to the client. Small defense firms often charge

  26   substantial rates, but then become recruitment targets, in other words.

  27           59.     To say that no small firm deserves or charges prevailing top-tier rates, as Mr.
  14   Schratz appears to do, is incorrect for other reasons. Most Plaintiff firms in fee-shifting cases are
                                         DECLARATION OF JOHN D. O'CONNOR
                                                       II




                                                                                                       Ex. C - 184
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   I   smaller Plaintiff firms, since most large institutional firms eschew contingency fee litigation. To
   2   say that a smaller firm can never achieve the same rates as a larger firm in fee-shifting litigation
   3   would mean that a small film could never get prevailing rates, no matter how skilled its lawyers.
   4   It would also produce a nonsensical conclusion: If Messrs. Whelan and Whelan had performed
   5   exactly the same litigation as successfully as they have here, but happened to be employees of,
   6   say, the Jackson Lewis or Orrick firm, according to Mr. Schratz they would deserve higher rates
   7   than they would if employed as they are. This is absurd, and shows a lack of understanding of
   8   the market for legal services.

   9           60.    In fact, it is true that single practitioners and small films can and often do charge
  10   high rates, depending on the nature of their practices.
  11           61.     For instance, in 1990 the Tarkington firm hired Mr. William Brockett, a partner
  12   in the firm of Keker 8c Brockett, shortly after Mr. Brockett was hired by Mr. Schratz on behalf of
  13   Fireman's Fund. The Keker firm was just then passing the size of ten lawyers. Mr. Brockett's
  14   rate was then $330 per hour, the rough equivalent of $800 today.

  15           62.    In my opinion, the appropriate rate for Mr. Christopher Whelan is $600-$700 per
  16   hour and $320-400 per hour for Mr. Brian Whelan, based upon the above factors. The rates they
  17   are here seeking are therefore reasonable.

  18                    LITIGATION RISK FACTORS, EFFICIENCY AN MULIPLIERS
  19           63.     On just risk alone, since competent lawyers would have adjudged the chances of
  20   success at the outset to be 60-70%, my opinion is that the appropriate multiplier in this case on

  21   risk alone should be 1.5.

  22           64.    However, I would add some amount to this multiplier of 1.5 based upon a)

  23   extraordinary skill not reflected into the rate analysis; and b) extreme and virtually unique

  24   efficiency. These factors I will discuss more fully below, but for present purposes it suffices to

  25   say that they should drive the multiplier above two.

  26           65.     Since 1990, I have read numerous Declarations, articles, speeches and letters of

  27   Mr. Schratz, and also have deposed him and attended his deposition on several occasions.
  IQ


                                        DECLARATION OF JOHN D. O'CONNOR
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   I          66.     One general area on which I agree with Mr. Schratz is the idea that a factor in
   2   high litigation costs is a high number of billed personnel. Mr. Schratz has publicly cited one
   3   case, apocryphal or otherwise, in which 180 billing personnel worked on the case. Often times it
   4   is true that a lawyer who has built up significant knowledge of a case leaves the firm or is
   5   assigned off the litigation, and the client loses the efficiency of his work. On cases that are

   6   factually complex and intensive, each lawyer must know a great amount of detail in order to

   7   participate meaningfully, but multiple billing personnel can cause great billing inefficiency.

   8   Some inefficiency of this sort is to be expected in complex litigation, caused in part by inevitable

       associate turnover. In one Schratz case in which I was an expert, a fee application by the
  10   Nernberg firm in a Pittsburgh, PA eminent domain case, Mr. Schratz noted that 21 billing
  11   personnel were involved in $132,000 in billings.
  12           67.     For a case the size and length of Johnson the assignment of lawyers would be

  13   efficient if no more than three lawyers (with some lawyer substitution at the lower levels) on
  14   each side performed 70% - 80% of the litigation, and no more than 5-10 other personnel

  15   performed the other 20% - 30% of the work. I suspect that here counsel had similar assignment
  16   efficiency.

  17           68.     Accordingly, the staffing on this case is remarkable in its efficiency because only

  18   two lawyers, and apparently no paralegals, performed the work.
  19           69.     I have reviewed or witnessed at least 25-30 separate analyses of attorneys fee

  20   billings performed by Mr. Schratz, expressed either in a declaration or in testimony. Only one

  21   firm in these cases has assignment efficiency near that of the Whelan lawyers, and that was the

  22   Wynne firm in Duran. Whether as an insurance coverage or insurance monitoring counsel, as a

  23   fee expert or litigator, or as a managing partner reviewing my firm's bills, I as well have myself

  24   witnessed only this one firm close to this efficient utilization of lawyers. Indeed, the extreme

  25   efficiency of the Whelan group, is virtually unprecedented for Mr. Schratz not to criticize, as he

  26   customarily is wont to do, a claim of allegedly inefficient utilization of lawyers. Accordingly,

  27   Mr. Scluatz's silence on this issue is deafening. The only efficiency criticism Mr. Schratz offers
  IQ
       is examples of work that should have been, according to Schratz, performed by paralegals.
                                       DECLARATION OF JOHN D. O'CONNOR
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             70.     Mr. Schratz claims to have "audited" hundreds of cases, many of them involving

      Declarations that are matters of public record, and which Mr. Schratz could therefore produce

      herein. I would be surprised if Mr. Schratz could, other than in one case, produce attorneys' fee

      billings which show such efficient utilization for a case requiring more than a few hundred
      thousand dollars in billing.

                                             BLOCK BILILNG
             71.     I first note that the Whelan group did not engage in true "block billing", because

      time was inserted for each "sub-entry" within the billing block for a day.
              72.    In any case, it is simply not true that a prohibition against "block billing" is the

      norm in the Bay Area or California legal community, or, to my knowledge, anywhere in the

      country. The standard prohibiting "block billing" is a fiction invented by the insurance industry,

      and largely a product of auditors such as those employed by Fireman's Fund in the 1990s. At
      that time, Fireman's Fund found that all of its most trusted defense firms regularly engaged in

      what Mr. Schratz terms "block billing," or more than one description per time entry.
              73.    Using arbitrary and fictitious standards, Fireman's Fund's auditors then claimed

      that trusted panel counsel, whose bills had regularly been scrutinized by claims professionals,

      routinely "overbilled" by 20-30%. I have personal knowledge of these audit results, which I

      reviewed in Fireman's Fund documents. These same arbitrary standards usually resulted in

      claims of "overbilling" (by Mr. Schratz and his auditors) in the bills of non-panel counsel in

      amounts of 30-50%. In short, the standards guarantee a claim of "overbilling," they are
      arbitrary, and do not reflect the true custom and practice.

              74.    Although the auditing program of Fireman's Fund caused its regular panel

      defense counsel to "unblock" their time, the norm in the community remained that so-called

      block billing was not only allowed, but was and is prevalent.

              75.    The standard for most firms is and has been that all of the time a lawyer spent on
      one case for a particular day would be subsumed into one time entry, even if time was spent on

      different activities. It is also a less prevalent alternative practice to have a one time entry, with

      many descriptive phrases, for all work in a day that is inter-connected. For example, if a lawyer
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  1    were opposing a summary judgment motion, he might bill in one time entry only to interrelated

  2    items such as, "perform legal research on statute of limitations; draft Declaration of John Doe

  3    Re: Statute of Limitations; review documents; prepare brief re statute of limitations." The

  4    Whelan practice is more detailed than the normal practice, since sub-entries have time noted.

  5           76.     In any case, it is clear that some font), of multiple descriptive phrases in one time

  6    entry is the norm. I have read no declaration or opinion of Mr. Schratz in his review of other law

   7   firms in which he has not criticized so-called "block billing." What is missing from Mr.

   8   Schratz's Declaration is any statement to the Court as to how many of his hundreds of "audits'

  9    contained so-called "block billing." If, as I suspect, and have witnessed in the sample of audits I

  10   have reviewed, all of them involve "block billing," then this would be proof that the widespread

  11   custom and practice is indeed "block billing."
  12          77.     "Blocked" time is often a wealth of description for one activity, as described

  13   above in the hypothetical statute of limitations work. On the other hand, a single description not

  14   involving multiple descriptors, such as "preparation of statute of limitations opposition" will

  15   usually be criticized as "vague."

  16          78.     Legal auditing, as practiced by Mr. Schratz and his ilk, is a disingenuous program

  17   to cut costs without regard to the reasonableness or efficiency of the billings. The most skillful

  18   reasonable in cost, and efficient legal work is still "overbilled" according to his "auditing'

  19   standards, when the time entries have semicolons, and also when they don't.

  20           79.    I have reviewed billings of Mr. Schratz, and as well have reviewed billings of Mr.

  21   Schratz and Schratz's auditors used at Fireman's Fund, the Stuart, Maue firm of St. Louis, and

  22   state that each contained numerous "blocked" entries. I have also reviewed legal bills of work

  23   performed by Fireman's Fund attorneys under the direct supervision of Mr. Schratz, and note

  24   that most of the entries involved so-called "block billing." Mr. Schratz, acting as an expert for a

  25   southern California law film, supported its billings, most of them "blocked."

  26           80.    The greater part of the Johnson litigation involved activities which each involved

  27   large blocks of time, such as preparation of motions or oppositions to motions, briefs
  14   depositions, preparation for depositions, and trials.
                                      DECLARATION OF JOHN D. O'CONNOR
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   1          81.     If much of the work here involved discrete tasks involving small and finite
   2   amounts of time, such as isolated phone calls and letters, the "block billing" nature of the bills
   3   might make it difficult to determine whether the overall time for each small task was reasonable.
   4   However, given the nature of the work in the Johnson case, the reasonableness of the billings can
   5   be assessed in large part by the total amount of time spent on a large project, e.g. preparation of
   6   an opposition to summary judgment. Put differently, it does not aid a fee analysis to break up
   7   into small increments the time spent on such a motion. What is important is whether the overall
   8   time is reasonable.
   9          82.     In many, if not most, of the opinions of Mr. Schratz which I have read, Mr.
  10   Schratz uses his computerized billing program to analyze how much total time was spent on a
  11   particular activity, such as an opposition to a motion for summary judgment, whereupon he often
  12   opines that the activity viewed as a whole took an excessively long time. I do not believe I have
  13   ever read an opinion of Mr. Schratz where he opined that the time was reasonable, except where
  14   he was working as an expert for a law film. But my point is simply that it is the total time that
  15   Mr. Schratz claims, and I agree, is important.
  16          83.     In this case, the Whelan group seems to have lumped time together for particular
  17   tasks, and therefore the overall reasonableness can be easily assessed by the Court or an expert.
  18   If the Whelan group had not "blocked billed" its time, and had produced billing records with
  19   time broken down in smaller increments day by day, Mr. Schratz, if he were true to his custom,
  20   would add up all the time over multiple days for a particular activity in order to assess its
  21   reasonableness. In this case, the Whelan group has already done that.
  22          84.     Obviously, if a lawyer were to have "padded" his time, that would result in the
  23   overall time for an activity appearing to be unreasonably long. What is startling in its absence
  24   from Mr. Schratz's Declaration any meaningful effort by Mr. Schratz to suggest that activities by
  25   the Whelan group took an excessively long time or was inefficient. I believe that even Mr.
  26   Schratz cannot claim such, precisely because the Whelan group did not employ numerous
  27   attorneys for a single task, and because most work was done by one or two highly skilled lawyers
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       with intimate knowledge of the details of the case and the applicable law. The amount of time
                                     DECLARATION OF JOHN D. O'CONNOR
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   1   spent on the tasks in this case is efficient in the extreme, in my opinion, and by his unusual
   2   silence on this topic Mr. Schratz seems to agree. Given the number of lawyers on each defense
   3   brief, I expect that the time of the Whelan will be lower in comparison.
   4                                              ALLOCATION
   5          85.     In my opinion, Mr. Schratz's recommendation that fees be allocated for partial
   6   success is absurd in the extreme. As has been emphasized in Plaintiff's moving papers, it is
   7   quite common to add Defendants and numerous causes of action to a case for various strategic
   8   purposes. But the fact here is that the result was unalloyed success for the Plaintiff and
   9   unalloyed defeat for the Defendant. In employment cases I have acted almost exclusively as a
  10   Defendant's counsel. No competent defense counsel would consider this anything other than a
  11   complete loss, plain and simple. There was no partial success on the part of Defendant, since
  12   removing individual Defendants and certain causes of action did nothing to lessen or mitigate the
  13   ultimate result.
  14                                  EXPERIENCE, COMPETENCE, BIAS
  15                                AND INTEGRITY OF JAMES SCHRATZ
  16                                                SUMMARY
  17           86.        I have extensive knowledge of the experience, competence, bias and integrity o

  18   Mr. James Schratz. I have had direct knowledge of Mr. Schratz and his activities for over 21
  19   years. From his depositions, I also have knowledge of his background before 1988, when I firs
  20   met him. Accordingly, I believe I am highly qualified to render opinions on these subjects.

  21           87.        In short, my opinions can be summarized as follows: 1) as a litigator, Mr. Schratz

  22   only has minimal, junior-level litigation experience at which he was adjudged by his employers

  23   to be incompetent; 2) he has demonstrated no meaningful understanding, in this case or

  24   otherwise, of the complexities of large litigation cases or sophisticated legal thinking; 3)

  25   throughout his career he has exhibited an extreme bias in favor of the entity hiring him, which in

  26   virtually every case is the fee payor; and 4) his opinions lack intellectual integrity and honesty.

  27           88.        Having said that, Mr. Schratz has examined a number of legal billings, and has

       information in the public domain that could assist the Court herein, including numerous
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       declarations he has filed in the Courts regarding other fee billings he has examined. These

       reports would demonstrate whether or not the Whelan group efficiently utilized personnel in

       comparison to other firms, and whether block billing is the norm in the legal community or a

       deviation therefrom. And they would demonstrate whether time spent on discrete tasks by the

       Whelan group was reasonable in comparison. However, Mr. Schratz has chosen not to provide
       that information to the Court in this case.

                     BACKGROUND AND QUALIFICATIONS OF JAMES SCHRATZ
               89.    The undersigned was an attorney "supervised" by Mr. Schratz and his underling

       starting in 1988, and also was the managing partner a firm subject to several "audits" by an
       outside "auditor" supervised by Mr. Schratz.
              90.     I have read what has been represented by Fireman's Fund to be all of the articles

       correspondence and written speeches authored by Mr. Schratz while at Fireman's Fund dealing

       with attorney fee billing issues, and have read numerous articles and speeches authored by Mr.
       Schratz since then. I have read internal memos of Mr. Schratz authored while at Fireman's Fund

       regarding "CUMIS" litigation and outside counsel. I have read newspaper quotes, speeches and

       articles of Mr. Schratz suggesting that all, or most, or a high number, of lawyers were unethical
       and criminally dishonest in charging attorneys fees.

               91.    I have spoken with and/or deposed virtually everyone who worked significantly

       with Mr. Schratz at Fireman's Fund in the early 1990s, including the head of the Claims

       Department, the attorney succeeded Mr. Schratz in using outside auditors regarding outside non-

       panel counsel, and another attorney who supervised Fireman's Fund's internal auditors used for
       trusted panel counsel; and numerous claims executives reporting to or working with Mr. Schratz

       most of whom were highly experienced, and of significant tenure with Fireman's Fund.

               92.     I have spoken with numerous lawyers in the Bay Area and around the country

       who were subject to "audits" by the Schratz-hired auditors at Fireman's Fund (Mr. Schratz did

       no "auditing" at Fireman's Fund). I also spoke with numerous fee counsel representing firm

       who have had disputes with Mr. Schratz, including lawyers representing prestigious firms such
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   1    as Thelen of San Francisco and Fagre & Benson of Minneapolis, both during and after his tenure
   2    at Fireman's Fund.
   3           93.     I have also spoken with lawyers with or representing prestigious firms such as
   4    Latham & Watkins and Wilson, Sonsini regarding false and scurrilous publicity about their fi
                                                                                                  —Luis
   5    engendered by Mr. Schratz.
   6           94.     I have read approximately 25 to 30 reports, Declarations or opinions of Mr.
   7    Schratz since the inception of his firm of Jim Schratz & Associates. I have as well read several
   8    "audits," consisting of both the audits he commissioned at Fireman's Fund and "audits" prepared
   9    by him for his own firm. I have also read audits prepared by his outside auditors at the behest o
  10    entities other than Fireman's Fund or Mr. Schratz.
  11           95.     I have deposed or interviewed several "auditors" of the outside auditing firm used
  12    by Mr. Schratz at Fireman's Fund. I have learned the "methodology" of the outside auditors Mr.
  13    Schratz used at Fireman's Fund and the present methods Mr. Schratz uses to "audit" firms on
  14    behalf of his own firm.
  15           96.     I have engaged in fee litigation with Mr. Schratz; deposed him on several
  16    occasions and observed his deposition and testimony in court.
  17           97.     I have also read legal bills of Fireman's Fund employee lawyers working directly
  18    for Mr. Schratz or lawyers chosen by Mr. Schratz. I have read bills of Mr. Schratz himself and
  19    bills of outside auditors which he has approved and paid.
  20           98.     I have interviewed several witnesses, and heard one witness testify, as to
  21    inducements made or directed by Mr. Schratz for the witness to testify favorably to the position
  22    of Mr. Schratz in fee disputes.
  23           99.     I have read newspaper and magazine articles about Mr. Schratz, attributing to him
  24    claims about lawyer overbilling, which based upon my other independent knowledge, I believe
  25    to have been untrue.

  26           100.    I have sued Mr. Schratz and Fireman's Fund on behalf of my former law firm
  27    successfully, for defamation on the basis of statements he caused to be made in local and
  142
        national publications.
                                          DECLARATION OF JOHN D. O'CONNOR
                                                        19




                                                                                                   Ex. C - 192
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               101.    I was co-counsel in two trials, one for liability and damages, the second one

        damages only, against Fireman's Fund based upon false and defamatory statements made about

        my former firm by Mr. Schratz. I was present in court as co-counsel in 1996 and 1998 to receive
        verdicts in favor of my foi Hier firm, and against Fireman's Fund for $3.0 million and $3.6

        million, respectively, for defamation published or caused to be published by Mr. Schratz.
               102.    On behalf of my firm and the named partners, I obtained a confidential settlement

        with Mr. Schratz based upon defamatory statements he made about my firm after he departed
        Fireman's Fund.

               103.    I have reviewed a cover story in the American Lawyer published in or around

        March, 1993 about Mr. Schratz entitled, "Litigation MISmanagement at Fireman's Fund,'

        (emphasis in the original) detailing Mr. Schratz's dealings with our firm on an asbestos litigation
        fee dispute.

               104.    I was the principal lawyer at Tarkington on two prior large cases which Mr.

        Schratz caused to be audited by his outside auditors, but which cases were controlled by other

        claims personnel. After two time-consuming and painstaking "audits," my firm received

        payments from Fireman's Fund for more than the amounts billed to Fireman's Fund, with
        apologies.

               105.    Since 1992, I estimate that I have not gone more than four or five months at a

        time without receiving some complaint from a lawyer, or a request for consultation, regarding

        what the lawyer claimed were false, distorted, or incompetent assertions by Mr. Schratz o
        attorney overbilling.

               106.    I have also served as an expert or consultant on several California cases since
        formed O'Connor and Associates, in which the plaintiff firm received from the Court 100% of it

        billings, notwithstanding vehement criticism to the contrary by Mr. Schratz.
               107.    As a result of the foregoing, I believe that I have direct knowledge of Mr.

        Schratz's fee dispute activities from 1988 through the present, and also have knowledge of his

        background and experience prior to that time. I believe that this information can assist the Court
  IS?
        in assessing the weight to be given Mr. Schratz's opinions.
                                       DECLARATION OF JOHN D. O'CONNOR
                                                     20




                                                                                                    Ex. C - 193
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                                    EXPERIENCE OF JAMES SCHRATZ
   2           108. After his good scholastic record at USF Law School, Mr. Schratz was hired by
   3   Heller Ehrman and fired at his first annual review, unusual when Heller Ehrman was expanding.
   4   Mr. Schratz told me on deposition he was terminated by Heller Ehrman for being "too happy."
   5           109. He then worked for Rosenblum Parish, a smaller, reputable San Francisco firm
   6   where he was dismissed after a year of employment. It is unclear, but Mr. Schratz may have
   7   tried one or two real estate broker fee cases in a trial or trials of one half to one day.
   8           110. His subsequent work for corporate counsel at Fireman's Fund consisted of a mix
   9   of litigation work and non-litigation work, the former mostly "monitoring" of outside counsel

  10 hired by Fireman's Fund throughout the country, often with corporate counsel's name on the
  11 pleadings.

  12           111. From my knowledge of Fireman's Fund's structure as a Fireman's Fund panel
  13 counsel, I can state that Mr. Schratz's subsequent assignment to the Claims Department was a
  14   step down career-wise from his position in the Corporate Counsel office.
  15           112. The work his group performed in Major Claims belies the name, because it dealt
  16   mainly with garden-variety construction defect litigation. I know this because our firm received
  17   case assigmnents from the group, and were generally supervised by the functional head of the
  18   group, Mr. Robert Hill, a competent and experienced claims manager.
  19           113. Mr. Schratz's main occupation while working for Major Claims was
  20 implementing his own unique solution to what insurers at the time referred to as the "CUMIS
  21   problem" at the time besetting carriers throughout California, and to a lesser degree, throughout
  22   the country.

  23           114. CUMIS counsel, as discussed above, refers to lawyers selected by the insured that
  24   the insurer must pay, because of the potential conflict of interest that arises when coverage may

  25 be decided or influenced by facts proven in the underlying litigation. The CUMIS doctrine is
  26   now embodied in part in C.C.P. §2860.
  27           115. Two problems for insurers arose in the 1980's regarding CUMIS counsel: a) fee

       rates and litigation methods were usually not as economical as those of "panel" counsel
                                       DECLARATION OF JOHN D. O'CONNOR
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                                                                                                    Ex. C - 194
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   I   customarily retained by the insurer; b) where coverage limits could be exhausted, but where, as
   2   is standard, the defense obligation is unlimited, the insured is incentivized, in, for example,

   3   environmental or toxic tort litigation, to pay millions for defense but nothing for tribute, contrary

   4   to the insurer's financial interest.

   5           116.    Some insurers began in the 1980s a program of closely scrutinizing CUMIS
   6   counsel bills, including on-site visits to examine the underlying files, to challenge inefficiencies

   7   and discourage unnecessary work. As Mr. Schratz was beginning his career in claims, having

   8   left his position in the corporate counsel's office, he saw legal auditing as a method to advance

   9   his career, by using legal auditing, not just as a method to discourage inefficiencies or to bargain

  10   down bills, but also to end the costly underlying litigation altogether.
  11           117.    Mr. Schratz saw that legal "auditing," or close examination of defense counsel
  12   bills, could be used for more than just cutting a bill by a few percentage points. He saw that h
  13   could use legal "auditing" results to threaten counsel with unfavorable publicity and damage

  14   their reputation by reason of alleged "overbilling," which would in turn incentivize counsel

  15   under Schratz's thinking, to end the litigation or modify the insured's demands upon the carrier.

  16   One such method of intimidating defense counsel would be for Mr. Schratz or one of his

  17   investigators to call the clients of the defense firm to tell them that the company was

  18   investigating overbilling by the firm and ask if the client had experienced similar overbilling

  19   Such phone calls, of course, could greatly harm the firm with institutional litigation clients. I

  20   know that Schratz did this to several firms, including mine.

  21           118.    Another threat employed by Schratz would be of unfavorable publicity in a legal

  22   publication. Such unfavorable publicity was used by Schratz as an example with which to

  23   threaten another audited firm Schratz also did this to the Tarkington

  24           119.    While employed by Fireman's Fund, Mr. Schratz did no auditing himself, but

  25   learned about "auditing" by working closely with his outside auditor, the Stuart, Maue, Mitchell

  26   and James film of St. Louis, Missouri.

  27           120.    The person heading the Stuart Maue firm, Mr. Harry Maue, attended neither a

       legitimate college nor legitimate law school and received mail order "degrees" for both of these
                                        DECLARATION OF JOHN D. O'CONNOR
                                                      22




                                                                                                      Ex. C - 195
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   I   claimed degrees. The other three names in the firm name, Stuart, Mitchell and James, do not

  2    represent real persons in being. Mr. Maue falsely represented to the American Lawyer in 1990
  3    that the names did represent individual who had once been with the firm. See below:
  4
              "Despite its name, Stuart, Maue is a corporation and not a partnership. Maue and
  5           Ernie James, a rumpled Air Force veteran who is the company's resident
              computer jock, are the only 'name partners' in evidence. Asked about the other
  6           two, Maue first claims that he parted ways acrimoniously with 'Stuart' and
              'Mitchell' a number of years ago. He declines to give their current whereabouts,
  7           saying 'You can't talk to them.' The fact, as Maue ultimately confides, is that no
              one can talk to them because they do not exist: They are fictitious. 'The names
  8           'Stuart' and 'Mitchell' [do not] represent the names of former partners,' Maue
              writes in response to a written query. 'The name Stuart, Maue, Mitchell & James,
  9           Ltd. simply represent the name I chose to give this company when it was formed.'
              Maue angrily maintains there is nothing inappropriate about his letterhead."
 10
              121.    After the publication of this article, Mr. Maue commenced claiming publicly that
 11
       these names were always meant to be fictitious, and refer to his heroes Jeb Stuart, the
 12
       Confederate war general, Billie Mitchell, the WWI pilot, and Jesse James, the famous outlaw.
 13
              122.    Mr. Schratz would invariably use the Maue firm for legal "audits," because the
 14
       Maue firm in essence guaranteed "finding" a substantial amount of "overbilling," usually 20
 15
       50%. These "findings" of a Maue audit would then be used by Schratz as a basis to threaten
 16
       publicity if the audited firm did not act in accordance with Mr. Schratz's wishes.
 17
              123.    In short, legal auditing, including attendant publicity based thereon, was one of
 18
       the methods Mr. Schratz used as part of a whole array of bullying and coercive tactics designed
 19
       to end CUMIS litigation for his company.
 20
                                          AUDIT METHODOLOGY
 21
              124.    As a result of the foregoing, I became quite familiar with the "methodology" o
 22
       the Matte outside auditors used by Mr. Schratz while at Fireman's Fund. Without getting into al
  23
       the details of the methodology, it suffices to say that one admirable aspect of that firm's auditing
 24
       process was that every time entry was examined, every piece of paper related to the time entry
  25
       was examined, and each lawyer questioned as to any claimed uncertainties regarding the time
  26
       entry. Thus, while the methodology was otherwise completely biased in an arbitrary fashion to
  27
       cut down the "verified" portion of the bill, it at least had the virtue of thoroughness.
 14

                                       DECLARATION OF JOHN D. O'CONNOR
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                                                                                                     Ex. C - 196
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   1          125.    During his tenure at Fireman's Fund and shortly after starting Jim Schratz and
   2   Associates, Mr. Schratz frequently criticized as inadequate any "audit" that was not a full field
   3   audit performed in the fashion described.
   4          126.    However, such audits are expensive and in fee-shifting cases, where the parties
   5   seek to oppose fees merely by motion without extensive litigation, the method described by Mr.

   6   Schratz is impossible and impractical.

   7          127.    Accordingly, it is Mr. Schratz's current practice to shortcut any meaningful study

   8   or analysis in favor of superficial, selective and facile observations. His practice is to scan legal

   9   bills into a computer system and use software for certain types of analyses determining, for
  10   example, the amount of time considered "block billing," spent on particular motions, on
  11   pleadings, and on conferencing and the like, so that negative observations can be made under the
  12   guise of applying objective criteria.
  13           128.   Such computerized reports could provide the basis for a knowledgeable and
  14   experienced attorney to make helpful observations. But the converse is also true, that without

  15   expertise and experience, computerized breakdowns mean very little. In any case, there is no
  16   such thing as "legal auditing" other than what a particular "auditor" arbitrarily deems it to be. If

  17   the auditor doesn't understand the complex litigation, or doesn't want to, there results a serious

  18   "garbage in, garbage out" defect in the "audit" method.
  19           129.   In any case, Mr. Schratz is not performing the kind of thorough legal auditing he

  20   and his outside auditors had for many years championed, and is using the term "audit" to convey

  21   falsely to the reader that he has performed some type of disciplined, rigorous and artful analysis

  22   superior to that could be performed by a person not claiming to be an auditor.
  23           130.   Indeed, the use of the term "audit" is used to mask the fact that Mr. Schratz is

  24   doing far less by way of review and analysis than an experienced litigator would perform when

  25   acting as an expert witness in a fee case.

  26           131.    Even where Mr. Schratz claims to have performed such an analysis himself, in my

  27   opinion, he has only the most minimal competence, by virtue of his status as a licensed attorney,

       to perform such an analysis.
                                      DECLARATION OF JOHN D. O'CONNOR
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                                                                                                     Ex. C - 197
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   I          132. I personally have witnessed stunning examples of Mr. Schratz's lack of

   2   knowledge of litigation.

   3          133. In the Golden Valley Bank litigation, Mr. Schratz persisted over several months to

       claim that my firm was acting in conflict of interest in that litigation, even though we represented

   5 but one party, the FDIC as Receiver in several different pieces of litigation. However, Mr.

   6 Schratz claimed that, even though we consistently represented the same party in these various
   7 cases, we were in conflict because in some cases we were paid by the carrier, Fireman's Fund,

   8 and in some case we were bringing suit against parties whose defense was paid by the carrier,

   9 Fireman's Fund. To be fair, it was difficult for me to determine how much of this was

  10   incompetence and how much was simply intellectual dishonesty.
  11           134.    In several other instances, Mr. Schratz has written and spoken publicly about the

  12 lack of necessity for written interrogatories when counsel can simply phone the opposing
  13   attorney to find out the information. Such statements show a profound lack of understanding o
  14   the litigation process.

  15           135. I have indeed found Mr. Schratz to be intellectually dishonest as well as
  16   incompetent. To give just one example, when he acted as fee expert for a prominent law firm in

  17 Southern California, he justified the very same billing practices which he criticized in other

  18   cases. Moreover, I have reviewed bills of lawyers working directly for Mr. Schratz (which were

  19   to be shared by or billed to another carrier for payment) filled with entries of the type that Mr.

  20 Schratz had consistently condemned as being "overbilling," when he was being retained by the

  21   fee payor and against its law firm.

  22           136. Until Mr. Schratz left the insurance industry at the end of 1993, he had a poor

  23 reputation within the industry, both for lack of integrity and for the potential liability of his

  24 activities. Within his own company, Fireman's Fund, he had the same reputation. Even Mr.

  25   Schratz's major supporter at Fireman's Fund, the Executive Vice President of Claims, Mr. Gary

  26   Black, was quoted by the Wall Street Journal as admitting that Schratz had a "very biased view'

  27   of billing issues. Mr. Black told me on deposition essentially the same thing.


                                      DECLARATION OF JOHN D. O'CONNOR
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                                                                                                    Ex. C - 198
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                 137.   Therefore, at the very least, putting aside questions of honesty or competence, Mr.
   2    Schratz is certainly biased. In any case, his bias has always been well-known. The article
   3    describes an extremely adversarial approach by Schratz:
               "Over the years Schratz, whose personal code was neatly summarized last March
   4           entitled, Ready, Fire, Aim, has had to do some explaining himself when his
               aggressive tactics backfired. After the Tarkington firm was knocked off the
   5           asbestos case, Fireman's Fund's hand-picked successor, hired at relatively low
               pay, lost two major decisions in court.
   6           ANGRY PHONE CALLS
               Some other lawyers see Schratz as a publicity hound or an alainiist. Gary
   7           Black...says he gets angry phone calls about Schratz fairly regularly."
   8
                 138.   Mr. Schratz's criticism of tactics and strategies of the Whelan group in this
   9
        litigation demonstrate, in my opinion, the same lack of credibility of Mr. Schratz that I have
  10
        witnessed for the last twenty-one years.
  11
                 139.   This is not to say that all legal bills criticized by Mr. Schratz are unworthy o
  12
        criticism. Sometimes, as they say, a blind squirrel gets an acorn. For example, in Rios v.
  13
        Rowand, a public interest lawyer visited a prison frequently and consulted with the female
  14
        inmates, including those with children. The lawyer knew well the prison's policy for allowing
  15
        visitation by the children. After successfully litigating this policy, the lawyer attempted to bill
  16
        the government for the thousands of hours she spent visiting the jail in performance of her
  17
        normal duties as a prison advocate, most of which, of course, were unnecessary to the litigation,
  18
        and not performed primarily for the sake of the litigation.
  19
                 140.   In Rios v. Rowand, the court initially approved only a small portion of the fees
  20
        claimed, and after an appeal, the fee question was remanded to the same court for more specific
  21
        factual findings, at which point Mr. Schratz was hired and the matter litigated. The court
   22
        thereafter issued a similar result but with more detailed findings.
  23
                 141.   Rios v. Rowand, then, is an example of a court awarding fees roughly conforming
   24
        to Mr. Schratz's opinion, but which opinion has little or no causative relationship to the law
   25
        award.
   26
                 142.   Mr. Schratz's opinions that I have reviewed are always wildly favorable to the
   27
        entity hiring him. In the Golden Eagle matter to which Mr. Schratz refers, he was hired to give

                                       DECLARATION OF JOHN D. O'CONNOR
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                                                                                                    Ex. C - 199
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   1   Golden Eagle a basis to pay a claim in a receivership context, not to fight payment. When he has
   2   been hired by law firms to support their bills, he has done so in complete reversal of views and
   3   principles he expressed contrarily when hired by the fee-paying client. I have never witnessed
   4   Mr. Schratz giving due deference, or any complimentary comment, to the apposing side.
   5          143.    In short, I would assert that the determination of the reasonableness of the fee to
   6   be paid the Whelan group should not be based on anything that Mr. Schratz has said, because
   7   any opinion of Mr. Schratz is necessarily biased, superficial and incompetent.
   8          144.    I have a few additional comments. By not using paralegals, the Whelan group
   9   saved significant time and expense for the fee payor. Brian Whelan's knowledge of the
  10   documents likely decreased what would have been charged as paralegal time. I find it difficult to
  11   criticize a practice that promotes efficiency and saved on fees.
  12          145.    The propriety of travel time has nothing to do with whether Brian Whelan
  13   actually moved to Sacramento. This is not a case of a contractual arrangement with a client that
  14   is now being breached, but an issue of reasonableness. The travel time here is reasonable, and o
  15   the type commonly billed throughout California and the nation.
  16          I declare under penalty of perjury that the foregoing 4.    and correct.
  17
       Dated: February 29, 2012                           O'CONNOR y1D ICIATES
  18

  19

  20                                                      JOHN D 'CONNOR
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                                      DECLARATION OF JOHN D. O'CONNOR
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                                                                                                  Ex. C - 200
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                        EXHIBIT D




                                                                       Ex. D - 201
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  1

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  9   Attorney for Plaintiff
      FOROUGH NADAF-RAHROV
 10
      Attorneys for Petitioners
 11
 12

 13                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 14                                   COUNTY OF SAN FRANCISCO
 15
                                        UNLIMITED JURISDICTION
 16
      FOROUGH NADAF-RAHROV                                CASE NO. CGC-05-437680
 17
                                                          DECLARATION OF JOHN D.
 18                  Plaintiff,                           O’CONNOR IN REBUTTAL TO
                                                          OPPOSITION TO FEE PETITION
 19          vs.                                          Date:   September 28, 2011
 20                                                       Time:   9:30 am
      THE NEIMAN MARCUS GROUP, INC.,
                                                          Dept:   503
 21                                                       Judge:  Honorable Teri L. Jackson
                     Defendants.
 22

 23
             I, John D. O’Connor do hereby declare as follows:
 24
                             EDUCATION, EXPERIENCE AND WORK HISTORY
 25
             1.      I am an attorney licensed to practice in all courts in the State of California, and
 26
      have been so licensed since December, 1972.
 27




                                     DECLARATION OF JOHN D. O’CONNOR
                                                    1

                                                                                           Ex. D - 202
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 1

 2
             2.        I am the principal of O’Connor and Associates, a law firm consisting of the
 3
     undersigned and one associate, and I have been engaged primarily in litigation practice since
 4
     1972.
 5
             3.        I attended The University of Notre Dame in South Bend, Indiana, where I
 6
     graduated magna cum laude in 1968. I attended the University of Michigan Law School where
 7
     in graduated cum laude in 1972, and was a member of the Order of the Coif, and Associate
 8
     Editor of the Michigan Law Review.
 9
             4.        From June 1972 until January 1, 1974, I was employed as an associate with the
10
     firm of Belli, Ashe & Choulos as litigation associated. In that capacity, I tried several cases with
11
     senior partner Melvin L. Belli, Esq. and tried several cases by myself.
12
             5.        From January 1974 through January 1980, I was an Assistant United States
13
     Attorney for the Northern District of California in San Francisco, California. In that capacity, I
14
     tried white collar criminal cases as well as a variety of civil matters, including medical
15
     malpractice, employment discrimination, challenges to governmental actions, and a wide range
16
     of other cases.
17
             6.        In 1980 and 1981, I was a Senior Associate at the San Francisco law firm of
18
     Brobeck, Phleger & Harrison, where I worked on complex business litigation matters. From
19
     1982, through 2001, I was a principal with and managing partner of the law firm of Tarkington,
20
     O’Connor & O’Neill, where our clients were mainly major insurance companies, corporate risk
21
     management departments, and governmental entities. Among the governmental entities we
22
     served were not only local and State agencies, but also the FDIC, FSLIC, RTC, the NCUA
23
     (National Credit Union Administration), and the United States government itself.
24
             7.        From late 2001 through July 2006, I was employed with the San Francisco firm of
25
     Howard Rice as a Special Counsel and Director, practicing with the litigation department. At
26
     Howard Rice, my litigation work consisted of tobacco/asbestos defense litigation on behalf of
27
     R.J. Reynolds Company, intellectual property litigation, and a variety of commercial litigation.



                                      DECLARATION OF JOHN D. O’CONNOR
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                                                                                           Ex. D - 203
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1

2
            8.      I have tried approximately 70 cases in state and federal courts throughout
3
     California, as well as in courts located in Nevada, Pennsylvania and Arizona. I have also
4
     litigated cases venued in Hawaii, Texas, Alaska and Illinois.
5
            9.      Since July of 2006, I have practiced on my own under the name of O’Connor and
6
     Associates. In that capacity, I associated as a trial lawyer with the Downey Brand firm of
7
     Sacramento in trying a two-month jury trial in Douglas County, Nevada, on behalf of landowner
8
     Park Cattle Company against the lessee of a casino groundlease in Stateline, Nevada. Before the
9
     jury returned, the case settled in favor of my clients for $165 million.
10
            10.     I successfully arbitrated as co-counsel a case in Dallas, Texas against the Dallas
11
     Mavericks, where my client was awarded $7.1 million; and recently tried a case in Marin County
12
     Superior in which we achieved $2.5 million settlement on behalf of two homeowners while the
13
     case was being tried to a jury before Judge Michael Dufficy. I have over thirty-nine years of
14
     significant trial experience, including current jury trial experience.
15
            11.     I have consulted or have been retained as a fee expert on approximately fifty
16
     occasions, most of them since 1992, and many involving rebuttal of opinions offered by James
17
     Schratz. I have reviewed approximately twenty-five to thirty reports of Mr. Schratz. These
18
     matters involved billing disputes throughout the country.
19
            12.     In addition, I have significant experience dealing with fee issues in other contexts.
20
            13.     I litigated fees in a number of civil rights and other “fee-shifting” cases on behalf
21
     of the United States government while acting as Assistant United States Attorney for the
22
     Northern District of California.
23
            14.     I litigated a large fee case with the Tarkington firm in or around 1984 against
24
     Heller Ehrman firm, on behalf of Sonoma County, in a class action prison case involving
25
     constitutionality of various conditions of confinement in the Sonoma County jail. As part of this
26
     litigation, I reviewed in detail the billings of attorneys in the Richard Goff litigation group at
27
     Heller, for which Mr. Schratz had worked during his brief stint there.



                                     DECLARATION OF JOHN D. O’CONNOR
                                                    3

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 2
               15.   I was also the counsel charged by the United States government to assess and
 3
     negotiate significant counsel fees for different firms prevailing in a class action labor
 4
     discrimination case brought against the Naval Air Rework facility for the Honorable William H.
 5
     Orrick.
 6
               16.   As managing partner of the Tarkington firm, it was my responsibility to work
 7
     with several large institutional clients, such as insurers, corporate legal departments and
 8
     governmental entities such as FDIC and RTC, to discuss and enforce billing guidelines for those
 9
     entities.
10
               17.   While at the Tarkington firm, I consulted with numerous insurance claims
11
     professionals regarding billing issues surrounding the retention of CUMIS counsel, paid by the
12
     insurer but not selected by the insured. The insurer billing guidelines for “panel” counsel were
13
     generally inapplicable to such outside counsel, and accordingly, I frequently advised as to
14
     applicable billing standards prevalent within the Bay Area legal community.
15
               18.   I also monitored legal billing counsel throughout California, when representing
16
     excess carriers. I frequently consulted with insurance carriers about billing practices in the legal
17
     community.
18
               19.   As a managing partner for twenty years at the Tarkington firm, I reviewed
19
     numerous bills of lawyers under my supervision, as well as lawyers in my firm but outside my
20
     direct supervision. On my own volition, or in discussions with clients, I frequently analyzed and
21
     adjusted billing for efficiency and competence where appropriate. As part of my duties, I
22
     frequently conferred with other managing partners about billing standards.
23
               20.   Practicing as a Senior Associate at Brobeck, Phleger and Harrison (1980-1981) as
24
     a Senior Counsel and Director at Howard Rice (2001-2006), I became aware of the billing
25
     customs and practices enforced at these reputable firms.
26
               21.   I have on several occasions examined fee billings on behalf of clients and, where
27
     appropriate, sought reductions.



                                    DECLARATION OF JOHN D. O’CONNOR
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 2
            22.     In 2005-2006, I served as a JAMS arbitrator on an asbestos fee dispute involving
 3
     over $2 million in billings.
 4
            23.     Based upon the foregoing, and my 39 years of litigation and trial experience, I
 5
     consider myself to be an expert capable of assessing the reasonableness of litigation fees for
 6
     complex litigation. I also have extensive knowledge of the background, experience, reputation,
 7
     bias and competence of James Schratz.
 8
            24.     Having reviewed billing and billing standards of law firms numbering in the
 9
     hundreds, I know well the customs and practices throughout the country regarding multi-entry
10
     billing, termed “block” billing by Mr. Schratz; billing for multi-lawyer task assignment; and the
11
     billing of services for document management, here labeled “clerical” work by Mr. Schratz.
12
            25.     I therefore believe I am competent to render an opinion that, with very few
13
     exceptions, it is the universal practice within the legal profession for a lawyer to record multiple
14
     task descriptions within one time entry; assignment of more than one lawyer to a hearing,
15
     mediation or other project is within accepted billing norms; some occasional lawyer time is
16
     appropriately used and billed for incidental document management.
17
            26.     Recently, representing a large national firm, I sought approximately $4.8 million
18
     in contested litigation fees in front of a panel of three arbitrators in Los Angeles. The firm was
19
     awarded the full amount of fees sought.
20
            27.     I have also have had experience both as a Fireman’s fund regularly retained
21
     insurance defense counsel, and an independent counsel named by the insured and paid by
22
     Fireman’s Fund, and supervised by Mr. Schratz.
23
            28.     In the cases of Miller v. Vicorp Restaurants, Inc. (N.D. Cal. 2006) 2006 U.S. Dist.
24
     LEXIS 2210 and Gober v. Ralph’s Markets, I was retained as an expert witness to rebut opinions
25
     of Mr. Schratz, who opined quite similarly to the case at bar, about the impropriety of block
26
     billings, duplicative work and clerical entries. In both cases the reviewing Court awarded the
27
     applicant firm 100% of the amount sought, contrary to the recommendation of Mr. Schratz.



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 2
     Indeed in Miller, federal judge Ronald Whyte expressly stated that he did “not find Mr. Schratz’s
 3
     declaration helpful: and had not relied on it. 2006 U.S. Dist. LEXIS 2210, fns.2 and 3.
 4
            29.     I was also an expert retained to rebut Mr. Schratz’s opinion in Duran v. US Bank
 5
     where Mr. Schratz recommended a fee award of approximately $3 million in a “fee-shifting”
 6
     case, and the Court awarded $18.8 million.
 7
            30.     In Duran, Judge Freedman of the Alameda Superior court, as part of a 41 page
 8
     opinion (a copy of which is attached to Mr. Pearl’s Reply Declaration), made the following
 9
     comments about the credibility of the analysis presented by Mr. Schratz, as well as the
10
     credibility of my analysis in rebuttal:
11           …The Court finds that Plaintiffs have presented extensive evidence that the
12           hourly rates their attorneys have requested are within the range of rates charged
             by and awarded to attorneys of comparable experience, reputation, and ability for
13           comparable complex litigation. CHMC, 97 Cal.App4th 740, 783. That evidence
             includes: (1) the sworn testimony of four highly respected local attorneys who
14           handle comparable complex class action litigation; (2) extensive data on the
             current rates charged by many other Bay Area law firms that handle complex
15           litigation; (3) testimony as to the rates awarded in comparable cases; (4) rates
16           previously found reasonable-indeed, the Court notes, at higher rates than
             requested here-for Plaintiffs’ counsel Mr. Wynne; and, (5) persuasive expert
17           testimony expressed by Mr. John D. O’Connor.

18                  …Based on the enormous volume of paper in terms of billing records,
            briefing, analysis by Defendant’s expert Mr. Schratz and Plaintiffs’ expert
19
            Mr. O’Connor, the supporting and opposing declaration of others with
20          expertise (or purported expertise), the Court find that the number of hours
            spent by Plaintiffs’ counsel also is reasonable…
21
                  …3. Defendant’s Arguments that Plaintiffs’ Counsel’s Hours Should
22          Be Reduced Are Rejected.
23
                  As an initial matter, the Court notes the competing declarations of
24          James P. Schratz, Esq. in support of Defendant’s opposition and
            supplemental opposition and the declarations of John D. O’Connor, Esq.
25          submitted on behalf of Plaintiffs.
26                 With respect to Mr. Schratz, the Court derived modes benefit, at
            most, from Mr. Schratz’ analysis. There can be no doubt as to his
27
            partisanship. He does not come before the Court in any way that can be
            described as an independent witness. Mr. Schratz brought minimal value to
            the process. Mr. Schratz’s experience is substantial in areas which are not
            pertinent to the issues before the Court, including the billing practices of firms
                                   DECLARATION OF JOHN D. O’CONNOR
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 2            that serve as panel counsel for insurance companies or staff counsel for insurance
 3            companies. The Court finds it interesting but of little value in making an award
              in a wage and hour class action in which counsel are compensated entirely on a
 4            contingent fee basis as an exercise of the court’s discrimination. The
              consequence of the Court’s findings in this regard is that the Court affords little
 5            weight to Mr. Schratz’ evaluation and rejects his arguments that Plaintiff’s
              counsel’s fees should be reduced for any reasons he articulated.
 6                    In marked contrast to the Court’s findings with respect to Mr.
 7            Schratz, the Court finds Mr. O’Connor’s declaration to be considerably
              more persuasive in assessing the relevant issues before this Court. The Court
 8            finds Mr. O’Connor’s opinions related to the lodestar analysis to be useful,
              insightful and well-reasoned…
 9
                                             SUMMARY OF OPINIONS
10
              31.    The rates here sought by the petitioning lawyers (“Bacon group”) are well within
11
     the mid-range of the market for Bay Area lawyers of similar experience.
12
              32.    For Mr. Bacon, the mid-range of the market for Bay Area lawyers of similar
13
     experience is $475-$550 per hour for a 30-year lawyer in the mid-level “non-premium” tier of
14
     good firms, for single or “one off” assignments, as opposed to “volume” large scale contractual
15
     arrangements.
16
              33.    The appropriate range of fees for an appellate specialist of Mr. Rusky’s
17
     experience is $600-$800 per hour, again for a non-premium specialist.
18
              34.    The top tier of rates for one of Mr. Bacon’s ability and experience, if charged by a
19
     top tier firm, would be $600-$800 per hour, as exemplified by rates of lawyers of similar
20
     experience at firms such as Gibson Dunn, O’Melveny, Howard Rice, and other comparable
21
     firms.
22
              35.    The rates suggested by defendant’s expert are well below any relevant market
23
     other than the market for general insurance defense counsel, which has wholly different
24
     economics than the regular commercial market for employment defense counsel.
25
              36.    The instant case was difficult one for the Plaintiff to attract counsel, and that
26
     difficulty, which reflects risk, should be factored into the multiplier.
27
              37.    The instant case was of questionable outcome from the outset and deserves a

     multiplier of two to three for risk, difficulty and staffing efficiency.

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 2
            38.     So-called “block billing” is the norm in the legal services industry, not the
 3
     exception, and the petitioning lawyers billed a low percentage of “block” entries relative to the
 4
     market.
 5
            39.     The instant litigation, in which Plaintiff’s counsel used only three lawyers for
 6
     over 90% of the attorney hours, was pursued in an extremely efficient manner, and this fact
 7
     should bear both upon rates and multiplier.
 8
            40.     Collaborative work between colleagues, including interaction between lead
 9
     litigation counsel and lead appellate counsel, is not considered duplicative.
10
            41.     The amount of hours expended on appearances by multiple attorneys was
11
     unusually low relative to the normal practice, and far less than that of Jackson Lewis.
12
            42.     The trial and appellate work by Plaintiff’s counsel was necessarily excellent, in
13
     order for Plaintiff to have prevailed against a reputable Defendant represented by an excellent
14
     law firm, Jackson Lewis.
15
                                                 BILLING RATES
16
            43.     I have knowledge of billing rates throughout the Bay Area for the various types
17
     and classes of litigation, and have had such knowledge since 1980.
18
            44.     It is true that there is a wide range of rates charged throughout the Bay Area for
19
     employment litigation counsel, from insurance defense rates on the low end ($175-$300 per
20
     hour, often charged as a “blended” rate for all lawyers within the firm) to mid-range rates ($300-
21
     $500) per hour for litigation partners, some blended on the lower end) to top-tier rates (in
22
     employment work $500-$750 per hour for litigation partners). For “one off” or single
23
     assignment referrals from corporations and small businesses, as opposed to “volume”
24
     arrangements for steady referrals, partner rates range in the middle tier of rates from $375-$575
25
     per hour and with highly experienced lawyers (of over 25 years litigating), the range is $475-
26
     $575. For “one off” assignments the top tier rates remain the same.
27
            45.     This broad range of rates also holds true for, and is quite similar to, what is

     generally termed “defense” litigation, which, like “employment” work, is a common form of

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2
     litigation, and promises great volume for firms that prove successful, especially at lower and
3
     middle range rates. It is also a form of general litigation that is necessary for many larger firms
4
     to handle as a service to their clients.
5
             46.     In the course of my thirty-nine years of practice, I have handled a number of labor
6
     cases such as wage, discrimination and wrongful termination litigation, and have tried at least six
7
     such cases that I can presently recall, one of which was a disability discrimination case before
8
     Judge Ronald Sabraw of Alameda County Superior Court in 2001. I tried one eight-Plaintiff
9
     wage/hour case in San Francisco Municipal Court. I recently served as a mediator on a twelve-
10
     Plaintiff wage-and-hour case set for trial in Alameda County. I have also tried one wrongful
11
     termination case in Arizona, and three discrimination cases in U.S. District Court in San
12
     Francisco. I have also tried various cases in San Francisco Superior Court, with my first trial in
13
     December 1972 before Judge Carpeneti. I have tried cases in recent years in San Francisco
14
     Superior Court before Judges Mitchell, Munter, Chiantelli, Mellon and Conway, to name a few.
15
             47.     Even though I consider myself quite capable of handling most labor cases, and in
16
     spite of the fact that I defended one large class action discrimination case while with the
17
     government, and numerous employment discrimination and wrongful termination cases in
18
     government and private practice, I do not consider myself to be “expert” in the field of
19
     employment litigation. However, for an employment matter that might be tried, I would be
20
     considered more valuable to the market than many employment specialists without great trial
21
     experience. Mr. Bacon, who has a long history of employment work, and has tried other types of
22
     cases as well, should be valued highly in the employment litigation market.
23
             48.     At the Tarkington firm, where much our work was assigned by banks, the
24
     government or insurance carriers, we engaged in both defense litigation and employment
25
     litigation at insurance defense or government rates, while at Howard Rice, we engaged in
26
     “defense” litigation and employment litigation only if paid top-tier rates. Clients such as R.J.
27
     Reynolds Tobacco Company, which felt the need for and demanded superior work, paid these
     rates to Howard Rice and comparable firms throughout the country. It was the firm philosophy,

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2
     as in many top-tier firms, not to accept employment, products liability or toxic tort litigation
3
     (such as asbestos defense litigation) at middle-market rates. In 2004 through 2006, these
4
     middle-market rates for defense and employment litigation were approximately $425 to $475 per
5
     hour for partners, today having increased up to a ceiling of $550 to $575 for “one off” litigation
6
     assignments. On the other hand, my rate for defense litigation for R.J. Reynolds was $615 per
7
     hour in 2006, and employment litigation involved similar rates. A fellow Director (partner-level
8
     lawyer), Joseph Escher, who specialized in appellate work and Section 17200 class action work,
9
     charged in excess of $700 per hour in 2006. Those rates, of course, would be higher in 2011,
10
     approximately $740 to $900 for such a specialist with thirty years experience.
11
            49.     This same tiered rate structure holds true in conventional employment litigation,
12
     by which I mean wrongful termination and discrimination litigation not involving class-action
13
     issues. Thus, firms like Gibson, Dunn & Crutcher, O’Melveny & Myers and Howard Rice
14
     charge these same top-tier premium rates for employment work. On the other hand, a competent
15
     firm such as Jackson, Lewis, which specializes in employment litigation and seeks to attract a
16
     high volume of business across a wide sector of clientele, charges hourly rates slightly lower
17
     than the top-tier corporate firms named. In my opinion, the rates being charged by the Bacon
18
     firm fit squarely into middle-tier rate structure for employment litigation at the mid-level firms,
19
     for “one off” or single assignment referrals.
20
            50.     In determining prevailing rates in anyone area of employment litigation, it is
21
     appropriate to consider two aspects of pricing ignored by some of the declarants in this litigation:
22
     volume and leverage.
23
            51.     A client that promises a high volume of employment litigation year after year,
24
     employing a number of firm attorneys, can often obtain very competent representation for
25
     litigation partner rates of between $425 and $475 per hour. However, in addition to providing
26
     volume, this type of litigation also provides the firm leverage, that is to say, a great amount of
27
     work that can be performed by associates and lower-level partners without raising client
     concerns, often as high as 4 or 5 to 1. Examples of high-volume litigation would be representing

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 2
     a large employer with high turnover and a regular flow of wrongful termination litigation, much
 3
     of it requiring little skill to defend, or little skill in performing certain necessary tasks. Jackson,
 4
     Lewis is such a firm, based upon my review of its website, and my knowledge of its lawyers.
 5
             52.     Thus, obtaining such volume referrals from a client would enable the firm to have
 6
     “leverage” of three or four associates, plus one non-equity junior partner, to one partner. If the
 7
     average associate is paid $200,000 in compensation and bills $600,000 per year, the work is
 8
     highly profitable to the firm, while the firm can appear to the client to be “economical” because
 9
     its lead partner is charging $425-$475 per hour, less than the top-tier firms. Yet in essence, the
10
     billing partner is making in his rate plus profit, totaling as much as $1,000-$1,200 per hour.
11
             53.     In any case, as shown by defense counsel billings I have reviewed, such highly
12
     leveraged litigation, in my experience, is often not cost-effective for the client, since less-
13
     experienced lawyers tend to be less efficient as well as less confident about tasks that can be
14
     safely ignored. But whether it is a bargain for the client or not, high-volume, multi-referral
15
     litigation presents a different economic model from that involved in a case singly assigned by a
16
     client because of its importance.
17
             54.     Thus for “one-off” cases, such as the instant matter, a sophisticated employer,
18
     who may customarily pay mid-level rates for wrongful termination litigation, will pay slightly
19
     more than a “volume” rate for a “one-off” referral to an experienced trial lawyer, paying from
20
     $475 to $575 per hour. Appellate specialists invariably have higher rates than these, $100-$150
21
     more per hour higher than a litigator’s rate.
22
             55.     The rates that Mr. Bacon and Mr. Rusky are seeking in this litigation hit the
23
     market rates squarely in the middle of the applicable middle-tier at $500 per hour for a trial
24
     litigator and $650 for an appellate specialist. These rates are within $25-$50 either way of rates
25
     that would be charged by good middle-tier firms. At Howard Rice, Gibson Dunn and similar
26
     firms, top appellate counsel often charge between $900-$1,000 per hour, and a thirty year
27
     litigator $750-$800.



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 2
            56.     The notion that the hourly rate of an attorney should be determined by the size of
 3
     his firm is simply not correct.
 4
            57.     It is true that there is a very rough direct correlation between the size of a firm
 5
     and rates, but as in many areas, statistical association does not prove causation. Size should be
 6
     viewed as an effect and correlative of rates, more than it should be adjudged a factor justifying
 7
     high rates. I will explain.
 8
            58.     If a solo litigator were to develop a clientele which paid him an hourly rate of
 9
     $250-$300 per hour, he may not be allowed to bring that client into a larger firm, unless he could
10
     increase the rate above $400, and convince the firm management of high leverage, and in some
11
     cases would not be allowed to join the larger firm at all, even if there were high leverage.
12
            59.     A solo practitioner or small-firm lawyer who developed a good employment
13
     practice often will wish to move to a larger firm, so the lawyer could access the larger firm’s
14
     corporate clientele for his practice. Moreover, larger firms are constantly recruiting such
15
     lawyers to their practice. When they do, it is because their rates are high enough. Today, legal
16
     newspapers frequently announce single lawyers or small firms with good practices merging into
17
     larger firms. In short, like begets like, and birds of a feather flock together. So, while there is a
18
     correlation between size and rates, the size of the firm has nothing to do with the merits is
19
     establishing a rate, and of bringing value to the client. Small defense firms often charge
20
     substantial rates, but then become recruitment targets, in other words.
21
            60.     To say that no small firm deserves or charges prevailing rates, as Mr. Schratz
22
     appears to do, is incorrect for other reasons. Most Plaintiff firms in fee-shifting cases are smaller
23
     Plaintiff firms, since most large institutional firms eschew contingency fee litigation. To say that
24
     a smaller firm can never achieve the same rates as a larger firm in fee-shifting litigation would
25
     mean that a small firm could never get prevailing rates, no matter how skilled its lawyers. It
26
     would also produce a nonsensical conclusion: If Messrs. Bacon and Rusky had performed
27
     exactly the same litigation as successfully as they have here, but happened to be employees of,
     say, the Jackson Lewis or Orrick firm, according to Mr. Schratz they would deserve higher rates

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 2
     than they would if employed as they are. This is absurd, and shows a lack of understanding of
 3
     the market for legal services.
 4
             61.     In fact, it is true that single practitioners and small firms can and often do charge
 5
     high rates, depending on the nature of their practices.
 6
             62.     For instance, in 1990 the Tarkington firm hired Mr. William Brockett, a partner
 7
     in the firm of Keker & Brockett, shortly after Mr. Brockett was hired by Mr. Schratz on behalf of
 8
     Fireman’s Fund. The Keker firm was just then passing the size of ten lawyers. Mr. Brockett’s
 9
     rate was then $330 per hour, the rough equivalent of $800 today.
10
             63.     Generally speaking, a litigation attorney with employment experience can
11
     command less than an experienced appellate lawyer, as exemplified by the rate differential
12
     between Mr. Escher and the undersigned while at Howard Rice.
13
             64.     The kerfluffles Mr. Schratz dredges up from Mr. Bacon’s past have nothing to do
14
     with his skill and experience as a litigating lawyer, nor would they be so well known and
15
     significant as to affect his rate. Mr. Schratz has a far more checkered record, while none the less
16
     has little effect on his marketability.
17
             65.     In my opinion, the appropriate rate for Mr. Rusky is $600-$700 per hour and
18
     $475-$575 per hour for Mr. Bacon, based upon the above factors. The rates they are here
19
     seeking are therefore reasonable. Mr. Soto-Suver’s proposed rates are market rates, in my
20
     opinion.
21
                     LITIGATION RISK FACTORS, EFFICIENCY AND MULIPLIERS
22
             66.     On just risk alone, since competent lawyers would have adjudged Bacon’s chance
23
     of success to be 40-50%, my opinion is that the appropriate multiplier in this case on risk alone
24
     should be 2 to 1.
25
             67.     However, I would add some amount to this multiplier of 2 based upon a)
26
     extraordinary skill not reflected into the rate analysis; and b) extreme and virtually unique
27
     efficiency. These factors I will discuss more fully below, but for present purposes it suffices to

     say that they should drive the multiplier above two.

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 2
            68.     Since 1990, I have read numerous Declarations, articles, speeches and letters of
 3
     Mr. Schratz, and also have deposed him and attended his deposition on several occasions.
 4
            69.     One general area on which I agree with Mr. Schratz is the idea that a factor in
 5
     high litigation costs is a high number of billed personnel. Mr. Schratz has publicly cited one
 6
     case, apocryphal or otherwise, in which 180 billing personnel worked on the case. Often times it
 7
     is true that a lawyer who has built up significant knowledge of a case leaves the firm or is
 8
     assigned off the litigation, and the client loses the efficiency of his work. On cases that are
 9
     factually complex and intensive, each lawyer must know a great amount of detail in order to
10
     participate meaningfully, but multiple billing personnel can cause great billing inefficiency.
11
     Some inefficiency of this sort is to be expected in complex litigation, caused in part by inevitable
12
     associate turnover. In one Schratz case in which I was an expert, a fee application by the
13
     Nernberg firm in a Pittsburgh, PA eminent domain case, Mr. Schratz noted that 21 billing
14
     personnel were involved in $132,000 in billings.
15
            70.     For a case the size and length of Nadaf the assignment of lawyers would be
16
     efficient if no more than five lawyers (with some lawyer substitution at the lower levels) on each
17
     side performed 70% of the litigation, and no more than 20-30 other personnel performed the
18
     other 30% of the work. I suspect that Jackson Lewis had similar assignment efficiency.
19
            71.     Accordingly, the staffing on this case is remarkable in its efficiency because just
20
     three lawyers, Messrs. Rusky, Bacon and Soto-Suver, performed 90% of the billed work over a
21
     seven year period.
22
            72.     I have reviewed or witnessed at least 25-30 separate analyses of attorneys fee
23
     billings performed by Mr. Schratz, expressed either in a declaration or in testimony. Only one
24
     firm in these cases has assignment efficiency near that of the Bacon group. Whether as an
25
     insurance coverage or insurance monitoring counsel, as a fee expert or litigator, or as a managing
26
     partner reviewing my firm’s bills, I as well have myself witnessed only one firm close to this
27
     efficient utilization of lawyers. Indeed, the extreme efficiency of the Bacon group, is virtually
     unprecedented – there is the one instance of which I know – for Mr. Schratz not to criticize, as

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 2
     he customarily is wont to do, a claim of allegedly inefficient utilization of lawyers. Accordingly,
 3
     Mr. Schratz’s silence on this issue is deafening. The only efficiency criticism Mr. Schratz offers
 4
     is very wan examples of multiple lawyer assignment, very low in relationship to common Bay
 5
     Area practice.
 6
             73.      Mr. Schratz claims to have “audited” hundreds of cases, many of them involving
 7
     Declarations that are matters of public record, and which Mr. Schratz could therefore produce
 8
     herein. I would be surprised if Mr. Schratz could, other than in one case, produce attorneys’ fee
 9
     billings which show such efficient utilization for a case requiring more than a few hundred
10
     thousand dollars in billing.
11
     ///
12
                                             DEMONSTRATED SKILL
13
             74.      I will add perhaps a duplicative opinion about the skills demonstrated by Mr.
14
     Bacon and Mr. Rusky, in addition to the Declarations attached to the moving papers herein.
15
             75.      It suffices to say that the Jackson Lewis firm is an excellent employment
16
     litigation firm, skilled in pursuing every conceivable vulnerability, legal and factual, in a
17
     plaintiff’s employment case.
18
             76.      Here the Jackson Lewis firm pushed Plaintiff’s counsel on a wide variety of
19
     factual and legal issues, and came close to succeeding.
20
             77.      However, Mr. Bacon did an excellent job protecting his record for a potential
21
     appeal, and Mr. Rusky did an excellent job of pursing the appeal. The hard-fought trial win is
22
     testament not only to Mr. Bacon’s trial skills, but also to his work in discovery and motions.
23
             78.      In short, in this case the proof is in the pudding regarding the demonstrated skill
24
     of Messrs. Bacon and Rusky. They fought an excellent employment litigation firm on a number
25
     of issues, which resulted in a clear victory for the plaintiff.
26
             79.      Based on the settlement discussions, and the actions of Jackson Lewis, it is clear
27
     that in the view of the Jackson Lewis lawyers, the defense had a better than 50% chance of



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 2
     prevailing in this case. Certainly the settlement offers of Jackson Lewis do not reflect an
 3
     evaluation of this as a likely Plaintiff’s win.
 4
             80.     I have been reviewing published jury verdicts since June of 1972. A reviewer of
 5
     these jury verdict reports can determine which counsel “won” the trial by comparing the trial
 6
     result to the pretrial offers and demands.
 7
             81.     If, for example, defense counsel in a rear-end collision case offered $75,000, and
 8
     the jury gave a verdict of $50,000 for the Plaintiff, such as result would be a “win” for the
 9
     defense lawyer who obviously accurately evaluated his case.
10
             82.     Our purpose here is not to suggest for a moment that the Jackson Lewis counsel
11
     were not skillful and diligent. They were. The fact that Plaintiff’s counsel prevailed here,
12
     though, necessarily demonstrates the skill of the petitioning lawyers.
13
     ///
14
                                                       ALLOCATION
15
             83.     In my opinion, Mr. Schratz’s recommendation that fees be allocated for partial
16
     success is absurd in the extreme. As has been emphasized in Plaintiff’s moving papers, it is
17
     quite common to add individual Defendants and numerous causes of action to a case for various
18
     strategic purposes. But the fact here is that the result was unalloyed success for the Plaintiff and
19
     unalloyed defeat for the Defendant. In employment cases I have acted almost exclusively as a
20
     Defendant’s counsel. No competent defense counsel would consider this anything other than a
21
     complete loss, plain and simple. There was no partial success on the part of Defendant, since
22
     removing individual Defendants and certain causes of action did nothing to lessen or mitigate the
23
     ultimate result.
24
             84.     In contrast, there are cases in which Plaintiff loses in the sense that he or she does
25
     not get the thrust of the relief sought, but instead only gets a small part of it.
26
             85.     One example of this is the Guckenberger case cited by Mr. Schratz. In that case,
27
     Mr. Sidney Wolinsky achieved success in only a small corner of the discrimination case he

     brought against a college in Boston, MA. In that case, the award of half of Mr. Wolinsky’s

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 2
     claimed fees was generous under the circumstances. It is my understanding that the cut in
 3
     claimed fees had nothing to do with the formal criticisms that Mr. Schratz made of Mr.
 4
     Wolinsky’s legal billings, and, indeed, I was informed by Mr. Wolinsky that the Court’s
 5
     comments on the record were not laudatory of Mr. Schratz.
 6
            86.      In any case, this case should be considered a total success for the Plaintiff, unlike
 7
     Guckenberger.
 8
                                            ALLEGED DUPLICATION
 9
            87.      I have reviewed Mr. Schratz’s claims regarding alleged duplication, and feel they
10
     are weak indeed.
11
            88.      In the typical hierarchical staffing that is the normal custom and practice in this
12
     type of litigation, some amount of duplication is to be expected in the sense that I will describe.
13
     Often times a junior associate will review documents, such as for potential use in deposition, or
14
     perform legal research for use in a motion. This work product will customarily be reviewed by a
15
     senior associate, or perhaps a mid-level associate, and then on to the junior partner for final
16
     preparation and inclusion either in deposition materials or in a motion. The senior partner will
17
     thereafter use those materials in deposition or review a brief including research and writing.
18
            89.      There is nothing unusual or below standard about this staffing pattern, and yet, as
19
     can be seen by the example, the same document or legal research may be viewed by four or five
20
     lawyers, all related to the same objective, i.e., the motion or deposition. Unless this duplication
21
     is excessive or unreasonable under the circumstances, the legal billings for this activity are
22
     considered reasonable and an obligation of the client to pay..
23
            90.      In this case, what Mr. Schratz cites as prime examples of duplication does not
24
     involve duplication at all. The fact that Mr. Rusky, an appellate lawyer with knowledge of the
25
     law, and Mr. Bacon, a litigation lawyer with knowledge of the facts, confer constantly in a
26
     “back-and-forth” manner, is not duplication. It is collaboration. This is to be expected in such a
27
     situation, since the work at an appellate level must necessarily be collaborative, analogous to the

     interplay between a solicitor and barrister in British practice.

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 2
            91.     The other examples Mr. Schratz provides of duplication of effort involved a few
 3
     occasions in which two or three or lawyers were engaged in one activity. These instances are
 4
     few and far between. For example, the three lawyers associated with the Bacon group all
 5
     attended a mediation, quite understandable given that three lawyers would have been helpful in
 6
     the mediation discussion, because each was efficiently assigned different tasks leading up to the
 7
     mediation.
 8
            92.     What is most interesting to me about Mr. Schratz’s analysis is that there is so
 9
     little “duplication” of effort that he can cite, especially when compared to the custom and
10
     practice of competent firms practicing in the Bay Area. Just one example of common practice in
11
     this regard is exemplified by correspondence found at Exhibit 23 to Mr. Schratz’s Declaration.
12
     The enclosed correspondence, written by Soto-Suver, is addressed to attorneys Jones, Burnett,
13
     Bradshaw and Egbert, four lawyers within Jackson Lewis, and all but Bradshaw were on
14
     conference calls with Mr. Soto-Suver, acting alone, to schedule depositions, and discuss other
15
     routine litigation matters. I also understand from Mr. Soto-Suver that this staffing pattern was
16
     common for Jackson Lewis.
17
            93.     There is nothing unusual or excessive about the deployment of three lawyers for
18
     phone calls by Jackson Lewis. According to Mr. Soto-Suver there are many other examples of
19
     three or more Jackson Lewis lawyers working on the same project at the same time, or
20
     conferring about matters of common interest.
21
            94.     Parenthetically, this is just one example of the inconsistency, hypocrisy and
22
     intellectual dishonesty I’ve witnessed from Mr. Schratz since 1988. I will give the Court one
23
     example of Mr. Schratz’s intellectual inconsistency regarding duplication of effort.
24
            95.     In the fee arbitration Mr. Schratz conducted against the Tarkington firm regarding
25
     its asbestos billings, Mr. Schratz challenged $3 million in firm billings.
26
            96.     After an audit largely concerned with formal quibbles about billing protocols
27
     regarding time allocation between and among 5,000 cases, six of the seven carriers settled with
     the firm for a standard 10% reduction in billings. Only Mr. Schratz of Fireman’s fund challenged

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                                                                                            Ex. D - 219
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 2
     the billings. He admitted publically and to me on deposition to spending $3 million in legal and
 3
     auditing fees to challenge $3 million in firm billings.
 4
            97.     In conducting this challenge, Mr. Schratz employed three separate law firms with
 5
     no distinct separation of tasks. As opposing counsel in this litigation, I often spoke to lawyers
 6
     from three separate firms to deal with the single issue, such as a standard discovery dispute.
 7
            98.     Hearings in this case were usually attended by at least three separate lawyers from
 8
     three separate firms.
 9
            99.     During the arbitration hearing, I was questioning Mr. Schratz about the
10
     Tarkington’s firm lack of duplication of effort, seeking the obvious admission that the firm
11
     usually assigned one lawyer to a task, unlike other firms, and never assigned three.
12
            100.    Mr. Schratz refused to answer the question directly, demanding instead to know
13
     when three lawyers would ever be needed at a hearing or trial. He then declared that three
14
     lawyers were never, ever needed for any hearing or trial, pounding his fist on the conference
15
     table for emphasis.
16
            101.    At the time he made the statement, under oath, he was flanked by three partner-
17
     level lawyers that he had hired, from three separate firms. I then pointed to his three lawyers and
18
     asked Mr. Schratz, “Never?” The laughter in the conference room was too loud and prolonged
19
     to allow Mr. Schratz any response.
20
            102.    My first point here is that sometimes it is appropriate to have two or three lawyers
21
     attending to one task, often because the client or his firm perceives the task as crucial or lawyer
22
     knowledge as differential.
23
            103.    The second point I would make is that the use of multiple attorneys by the Bacon
24
     group was the rare exception, not the rule, and was far below the staffing levels I witnessed as
25
     having been employed by Mr. Schratz himself.
26
            104.    Later, when the Tarkington firm brought its defamation claim against Fireman’s
27
     Fund, based upon inaccurate comments of Mr. Schratz, two law firms tried the case, including a
     Houston, Texas based trial specialty firm that had not been previously involved in the fee

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 2
     litigation, making it the fourth firm hired. During trial, the defense at all times had a least three
 3
     lawyers in Court.
 4
            105.    After the Tarkington firm won a $3 million award based upon Mr. Schratz’s
 5
     conduct, Fireman’s Fund engaged a fifth firm for the appeal, the Sonnenschein firm, and a sixth,
 6
     Gibson Dunn, for petition to the U.S. Supreme Court.
 7
            106.    The lawyer arguing for the Sonnenschein firm had four firm lawyers with him in
 8
     Court for the argument, three of whom were listed on the brief with him. So when Mr. Schratz
 9
     suggests that the limited multiple lawyer assignments by Bacon are unreasonable, the claim is
10
     belied by Mr. Schratz’s own actions in staffing cases that are important to him.
11
            107.    In summary, Mr. Schratz simply does not present any example of multiple
12
     assignments that appear to be unnecessary or ill considered, and certainly the few multiple
13
     assignments here shown are well below the norm.
14
                                          ALLEGED CLERICAL BILLINGS
15
            108.    In almost every report of Mr. Schratz that I have read, he criticizes what he calls
16
     "clerical” billings, declaiming without support that any “clerical’ billings are supposed to be part
17
     of overhead. Historically, it is simply not true at all “clerical” tasks were not billable. Rather,
18
     the standard is and was that those functions that would expect normally to be performed by a
19
     legal secretary are not normally billed. Routine functions performed incidentally to the practice
20
     of law are, however, billable.
21
            109.    There are many tasks that don’t require a law degree which are routinely billable
22
     to the client, even though they could be described as “clerical,” when such performance is
23
     incidental to the practice of law.
24
            110.    One common example of this would be the lawyer at trial or deposition who must
25
     pull documents from his briefcase to impeach a witness, gather the copies for witness, clerk and
26
     opponent, and have the documents marked in evidence.
27




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 2
             111.    None of these functions require a law degree, and could be described as
 3
     “clerical,” but nonetheless are performed incidental to the regular practice of law and the time is
 4
     billable.
 5
             112.    When I began practicing law in 1972, it was quite common for lawyers at
 6
     prestigious firms to spend much of their time in document management, reviewing, collating and
 7
     copying documents contained, for example, in the warehouse of an opponent.
 8
             113.    Today, for efficiency’s sake many of these tasks are performed by paralegals and
 9
     case clerks and billable to the client at lower rates. But they have always been considered
10
     billable services.
11
             114.    The examples cited by Mr. Schratz as improper “clerical” billings all involved
12
     references to faxing or copying a document incidental to a number of related tasks properly
13
     performed by the lawyer. It is simply inefficient in many cases for a lawyer to stop what he is
14
     doing, walk across the office and hand a document to a secretary to fax somewhere, when it
15
     would be simpler and easier to fax a document himself, or put it in the copier.
16
             115.    Common sense and good judgment should prevail in such instances, and there is
17
     nothing in the examples cited by Mr. Schratz to suggest lack of good billing judgment.
18
     ///
19
     ///
20
                                                EXCESSIVE TIME
21
             116.    There are very few examples of excessive time offered by Mr. Schratz, and the
22
     ones he does offer as the worst examples of excessive time are not meaningful.
23
             117.    I’ve read many reports of Mr. Schratz, and it is his custom to search for the worst
24
     “gotcha” items he can find, after which he claims that such an item, rather than being an
25
     exception to the rule, is supposedly indicative of a widespread practice, and thus, the basis for a
26
     large fee reduction.
27
             118.    The examples he offers here are hardly the “gotcha” items I have seen him grasp

     in the past. For example, Mr. Schratz first suggests that Mr. Soto-Suver spent 3.50 hours

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                                                                                           Ex. D - 222
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2
     preparing form interrogatories. Mr. Schratz apparently realized, of course, that the 3.50 hours
3
     were really not billed for propounding form interrogatories, but that time was spent, along with
4
     other time, in responding to form interrogatories, for a total of 7 hours in preparing responses.
5
            119.    In criticizing this amount of time, Mr. Schratz apparently made no effort, and
6
     certainly made no showing, that there was something particularly simple or simplistic about
7
     these form interrogatories, which would have allowed for preparing responses in less than 7
8
     hours. In this case, simply reviewing the billing entries suggests that part of the responses,
9
     involved the delicate issue of setoffs or mitigation of income. It is likely as well that the Jackson
10
     Lewis firm propounded form interrogatories that required a massive response, including personal
11
     background, detailing of witnesses, calculation of damages and explication of liability claims.
12
     Seven hours is completely reasonable for the tasks, indeed efficient.
13
            120.    Mr. Schratz criticizes Mr. Soto-Suver for spending four hours to prepare for a
14
     hearing. I do not find this amount of time, for a junior or senior lawyer, excessive in the least,
15
     especially when Plaintiff at the hearing. It is an obligation of a litigation lawyer, as an officer of
16
     the Court, to be well prepared for any Court hearing, and Mr. Soto-Suver should be praised, not
17
     castigated, for preparing adequately for a hearing. Again, this criticism of Mr. Schratz displays a
18
     bias and a need to gin up any and all conceivable objections to the bills of petitioning lawyers,
19
     whether the criticisms are fair or otherwise.
20
     ///
21
                                   BILLINGS OF MR. PEARL
22
            121.    It is ironic in the extreme that Mr. Schratz would criticize the Bacon group for
23
     needing “an expert to explain what the attorneys did.” The law of attorney’s fees is a specialty
24
     area of practice, and Mr. Pearl literally wrote the book on this area of the law. It is far more
25
     efficient for the Bacon group to hire Mr. Pearl to present the attorneys fees case then to delve
26
     themselves into the area. There is no showing by Mr. Schratz that a competent litigator such as
27
     Mr. Bacon could have put together the attorney’s fees petition more efficiently than Mr. Pearl.

     Indeed, Mr. Schratz himself has been hired as an “expert to explain what the attorneys did.”

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                                                                                             Ex. D - 223
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 2
     Indeed, Schratz’s entire livelihood is based upon the notion that it is wise for a law firm which
 3
     wishes to challenge fees to hire an expert such as Mr. Schratz. Mr. Schratz, in performing his
 4
     role as a self- proclaimed “auditor,” sees fit to opine on matters of law such as applicable case
 5
     law relating to attorneys fees. In the guise of offering expert opinion, Mr. Schratz spends much
 6
     of his Declaration opining on matters of law which, if he is correct, should be performed by the
 7
     Jackson Lewis firm. Our point is that attorneys’ fees is a specialized area, as Mr. Schratz’s
 8
     advertised specialty profession speaks loudly.
 9
            122.      Clearly the area of attorneys fees is a specialized area, and the hiring of
10
     specialized experts like Mr. Schratz, or specialized attorneys such as Mr. Pearl, is quite within
11
     the custom and practice in this area. Indeed, Mr. Pearl was compensated at his full market rate
12
     for similar services in numerous other Schratz cases, including Miller v. Vicorp and Duran v.
13
     U.S. Bank.
14
                                                  BLOCK BILLING
15
            123.      The area of Mr. Schratz’s criticisms upon which he bases the bulk of his
16
     reductions is his formal criticisms of so-called “block billing.” Since Mr. Schratz holds himself
17
     out to be an “auditor,” and makes much of the purported standard disallowing “block billing,” it
18
     is important to understand the history of “legal auditing,” the prohibition by auditors of “block
19
     billing,” and the background of Mr. Schratz himself.
20
            124.      In short, block billing is an invention of self-proclaimed, unlicensed “auditors,”
21
     which industry is itself a fiction created by the insurance industry in an effort to whittle down
22
     cost, and also to incentivize defense counsel to settle costly suits.
23
            125.      In fact “block billing” is the norm in the legal industry, and the degree to which it
24
     was practiced by the lawyers petitioning here for fees is far less prevalent than the custom and
25
     practice.
26
            126.      In any case, since I am witness to the creation of the auditing industry, and Mr.
27
     Schratz’s place within it, I would provide the following background for the Court’s

     consideration.

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 2
             BACKGROUND REGARDING LEGAL AUDITING AND BLOCK BILLING
 3
             127.    It is simply not true that a prohibition against “block” billing is the norm in the
 4
     legal profession anywhere in the country. The standard prohibiting “block” billing is a fiction
 5
     invented by the insurance industry, and largely a product of auditors such as those employed by
 6
     Fireman’s Fund in the late 1980’s and 1990’s, when Mr. Schratz was employed there.
 7
             128.    So-called “legal auditing” is itself a procedure invented by the insurance industry,
 8
     starting in the late 1980’s, in an attempt to control legal fees, the major component of an
 9
     insurer’s cost. The applicable rule of thumb discussed throughout the insurance industry has
10
     been that a 10% decrease in legal cost would increase an insurer’s net profits by a percentage
11
     point, a significant increase.
12
             129.    There was and is now no accepted standard or methodology for legal auditing, as
13
     there is, for example, for the accounting auditing of businesses under Generally Accepted
14
     Auditing Standards (“GAAS”).
15
             130.    It is true that Mr. Schratz customarily claims that he follows federal law in fee-
16
     shifting cases. However, to the extent a Court acts as a finder of fact in a fee petition, each
17
     factual finding is necessarily case-specific. To the extent of the Court in any such case acts in its
18
     legal role, an expert should not, in my opinion, invade the province of the Court by enunciating
19
     and applying the law.
20
             131.    There is no licensing or training required for one to hold himself out to be a legal
21
     “auditor,” and the opinion of such an “auditor” should be judged like any other opinion.
22
             132.    I have interviewed Fireman Fund’s in-house auditors who worked
23
     contemporaneously with Mr. Schratz in the 1980’s and early 1990’s, and I have deposed some of
24
     its outside auditors. I have spoken in depth with Mr. Douglas Martin, a Fireman Fund’s lawyer
25
     in charge of the company’s in-house legal auditing of Fireman’s Fund’s regular panel counsel
26
     and deposed Mr. Gary Black, the Vice President in charge of Fireman’s Fund’s claims. I have
27
     also consulted with the firm of Davidson McKinnon, a group of former Fireman’s Fund auditors
     who started an independent business in the early 1990’s after their auditing work at Fireman’s

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 2
     Fund was determined by Messrs. Martin and Black to be no longer necessary. I have also
 3
     spoken with numerous panel counsel subject to these audits. The Tarkington firm was itself
 4
     panel counsel subject to Fireman’s Fund’s billing guidelines and auditing program.
 5
     Additionally, I have deposed Mr. Schratz about the Fireman’s Fund auditing program.
 6
     Accordingly, my statements regarding auditing standards and history are based on my actual
 7
     knowledge, and thus are founded upon information upon which an expert may reliably base his
 8
     opinion.
 9
            133.    Although there is no set of commonly accepted standards for legal audits, audits
10
     in the insurance industry which gave birth to this practice involved on-site examination of a law
11
     firm’s files, including notes, memoranda and drafts, followed by questioning of lawyers both
12
     about case tactics and strategies, and about individual billing entries.
13
            134.    The goal of this thorough approach is to gain a basis on which to verify the
14
     reasonableness of the billing entries. Even if many of the auditors were not themselves skilled
15
     litigators, nor particularly knowledgeable in the type of litigation reviewed, at least its
16
     methodology had the virtue of thoroughness.
17
            135.    Mr. Schratz has himself on several occasions in speeches and articles criticized
18
     any audit that does not follow this thorough approach. To cite just one example, in Mr.
19
     Schratz’s written speech for presentation in Dallas, Texas on November 24, 1992 (Exhibit F,
20
     page 6), he addresses that audits should follow his recommended thorough, on-site approach:
21
            In deciding which outside auditors to use, look at the following criteria:
22
                · Do the auditors conduct an on-site review of the bills in the attorney’s office?
23              · Do the auditors interview all the attorneys and paralegals who entered their time
                    on the bills?
24              · Do the auditors review the entire claims file and legal file instead of merely
                    reviewing the bills?
25              · Does the audit team consist of both attorneys and accountants or CPAs?
26              · What is the trial experience of the attorneys on the auditing team?
            136.    In the “Need for Legal Audits” (Exhibit C, page 6), Mr. Schratz details the
27
     typical manpower used: “Most in-house audits have 6-8 persons and a full audit lasts five days.”



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 2
             137.       Mr. Schratz in this case has not engaged in thorough “audit” he has advocated in
 3
     the past. Therefore, he is acting in this case simply as an expert witness, who should be judged
 4
     on his litigation experience, knowledge, judgment and objectivity. For reasons I will explain
 5
     later, he is severely lacking in each of these areas.
 6
             138.       When the Fireman’s Fund auditing program began during Mr. Schratz’s
 7
     employment there, Fireman’s Fund auditors found that most billing entries of their trusted
 8
     regularly-retained panel counsel were “blocked.” This purportedly prevented the auditors from
 9
     examining discrete tasks in order to analyze efficiency or accuracy of the time claimed for a
10
     particular task.
11
             139.       Auditors also found that many entries that were not blocked were generally or
12
     summary in nature, “vague,” such as “legal research for summary judgment motion” or
13
     “preparation for deposition.” Again, auditors determined that such entries made it difficult for
14
     them to determine accuracy or efficiency.
15
             140.       Accordingly, law firm billings were often criticized by auditors as having
16
     “blocked” and “vague” entries, and a certain percentage of these billings were thus by various
17
     formulae considered to constitute “overbilling,” because they did not meet a presumed standard
18
     prohibiting same.
19
             141.       I have reviewed summaries of what Fireman’s Fund’s auditors in the first two
20
     years of its auditing program claimed to be “overbilling,” generally averaging slightly more than
21
     20% of the legal billings reviewed. The average resolution of these claims with Fireman’s Fund
22
     was just over 10%.
23
             142.       As Mr. Black has testified under oath, and Mr. Schratz has recognized in a
24
     published article, panel counsel, including my own firm, complained that the rules had been
25
     changed in the middle of the game and that the process was unfair.
26
             143.       Once the Fireman’s Fund billing guidelines were changed and panel counsel had
27
     notice of them, and were able to adhere to them, the average audit claim of “overbilling”



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 2
     dropped to 6%. Mr. Black then declared the billing “problem” solved and the in-house auditing
 3
     program disbanded.
 4
            144.    Mr. Schratz summarized this history in “The Need for Legal Audits” (Exhibit C,
 5
     page 6):
 6                 Some firms then accused us of changing the rules of the game in mid-
 7          stream. To answer this charge we developed and published a Litigation Guide for
            Defense Counsel setting out our philosophy and reporting requirements…
 8
                   The guide also discusses the Company’s audit program and states that
 9          excessive or unnecessary charges are to be repaid. The audit and guide greatly
            reduced legal fee misunderstandings. During the first two years of the program,
10          our overbilling averaged 20 percent. Today it’s less than 6 percent.
11          145.    Several conclusions may be drawn from this experiment of Fireman’s Fund in
12   auditing its panel counsel. First, “overbilling,” as determined by the arbitrary, formalistic and
13   technical standards of auditors, is not the same as “overcharging,” either by reason of
14   inefficiency or dishonesty.
15          146.    Panel counsel, that is, regularly retained counsel, were, prior to the auditing
16   program, necessarily adjudged by claims executives to have been reasonable in their billings,
17   failing which they would have ceased being panel counsel. It is therefore highly doubtful that
18   the overall billings decreased as a result of the newly imposed standards. So another conclusion
19   that could be drawn is that “blocked” and “vague” billings do not equate to “overcharging,” or
20   inefficiency. The standards imposed against “blocked” and “vague” billings may assist an
21   auditor, but violation of them does not mean that the firm is charging excessively.
22          147.    Another conclusion drawn from this is that, absent billing guidelines to the
23   contrary, the customary practice of the legal industry is that billings are “blocked.” Billing
24   entries by general or summary task description, which auditors often term “vague, “are as well
25   within accepted billing practice.
26          148.    As I explain elsewhere, Mr. Schratz deemed it useful to publicly equate formal
27   “overbilling” with “overcharging,” for purposes of intimidating law firms with bad publicity.

     But they are not the same.


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 2
             149.   Mr. Schratz’s method of determining what is “blocked” billing is subject to
 3
     criticism. Mr. Schratz uses his computer program to determine the use of semicolons in a billing
 4
     entry. Such semicolon use is deemed by Mr. Schratz to reflect discrete and separate tasks being
 5
     lumped together, thereby constituting in his view “blocked” billing. In fact, often semicolons
 6
     simply reflect a wealth of descriptions of activities.
 7
             150.   Thus, a billing attorney can be criticized under Mr. Schratz’s methodology for
 8
     describing his activities well, such as, for example, by billing “deposition preparation; assemble
 9
     exhibits; outline questions; review prior Declarations.” This would be claimed improper
10
     “blocked” billing, whereas in fact it constitutes a wealth of description.
11
             151.   However, if the same lawyer avoided semicolons, and simply billed “deposition
12
     preparation,” an auditor would likely view these entries as improperly “vague.”
13
             152.   Perhaps the best description of the distinction between formal “overbilling” and
14
     true “overcharging” was expressed by the California Court of Appeals in upholding the libel
15
     verdict (damages were retried) in the case of Tarkington v. Fireman’s Fund, based on
16
     defamation through false and scurrilous publicity leaked by Mr. Schratz about the Tarkington
17
     firm:
18
19                    Mr. Schratz himself distinguished between fraud on the one hand, and
20           overbilling on the other. Mr. Schratz and Mr. Black of Fireman’s Fund testified
             that overbilling was common. Regularly hired “panel counsel” for Fireman’s
21           Fund overbilled by an average of 20 percent before the Tarkington dispute
             became public. Fireman’s Fund’s own in-house firm which took over the Plant
22           litigation from Tarkington was found in an audit to have overbilled Commercial
             Union $153,881.96 out of $1,401,579.15, or approximately 11 percent…
23
24                   The arbitrator did not rule that the overbilling uncovered by the audit was
             fraudulent. The arbitrator concluded that Tarkington did not overcharge
25           Fireman’s Fund for the legal services provided defending Plant. His findings
             state that Fireman’s Fund “adduced no evidence to dispute adequacy of
26           [Tarkington’s] representation of the client, Plant, or that over all charges were
             reasonable. And a number of prominent opposing (Plaintiff) asbestos counsel
27
             opined that [Tarkington] was among the top asbestos defense firms in the area of
             competence, integrity and economy of use of staff. Evidence was also offered
             tending to show that while [Tarkington] handled the cases the cost of defense per
             case was lower than average in the area.
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 2

 3            (Tarkington v. Fireman’s Fund, A077091, June 17, 1998, Opinion, pp. 19-21)
              153     In fact, while Mr. Schratz always (in the 25-30 reports I have reviewed) has
 4
     criticized “block” and “vague” or “clerical” billings, when representing the fee payor, he himself
 5
     has sanctioned multiple billing entries and clerical task descriptions when it is in his interest to
 6
     do so.
 7
              154.    I have reviewed his billings to his client in one case in which he served as an
 8
     expert in Southern California, in which he frequently lumped several task descriptions in one
 9
     billing entry separated by semicolons, thus constituting “block” billings under his definition.
10
              155.    I have also reviewed billings of Mr. Schratz with general or summary descriptions
11
     of tasks. Again, while I believe Mr. Schratz’s billing entries in this regard are within standard
12
     billing practice, entries I have examined are similar to entries he criticizes elsewhere as “vague”
13
     or “clerical.”
14
              156.    I also have recently viewed the billings of outside auditors hired and paid by Mr.
15
     Schratz while employed by Fireman’s Fund in which the auditor blocked his billings and made
16
     vague and identically repetitive entries. I have reviewed entries from a unit headed by a
17
     Fireman’s Fund attorney associated with Mr. Schratz, Mr. Michael Bolechowski of the
18
     Fireman’s Fund in-house counsel firm, in which Mr. Bolechowski worked on cases in which Mr.
19
     Schratz was involved. One was a case against Pacific Gas & Electric for indemnity in which
20
     Fireman’s Fund sought another party to pay for its legal bills. One was the representation by the
21
     Fireman’s Fund in-house firm of an insured in 1,000 asbestos cases taken from our firm at the
22
     recommendation of Mr. Schratz, in which six other insurance carriers paid Fireman’s Fund
23
     counsel.
24
              157.    In each of these cases, the Fireman’s Fund firm sought payment for “blocked”
25
     and “vague” billing, as those terms are defined by Mr. Schratz, and charged paralegal time for
26
     routine document management tasks that Mr. Schratz criticized here as “clerical.” I know this
27
     because my firm deposed the billing paralegals, I have read their depositions and I have

     reviewed these bills myself, line by line.

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 2
             158.    In fact, Fireman’s Fund counsel was not overcharging or acting wrongfully by so
 3
     charging clients, but was billing per standard practice within the legal profession.
 4
             159.    I have reviewed the so-called “blocked” billings in this case, and can opine both
 5
     on the basis of my 39 years of litigation, and on my review over the years of hundreds of billings
 6
     of large law firms, that the billings of the firms in this case are consistent with the practice of law
 7
     firms, large and small, throughout the American legal profession.
 8
             160.    In summary, I opine that so-called “block” billing is the norm in the legal
 9
     profession. The “clerical” entries criticized reflect properly billable document management
10
     services, incidental to normal practice of law, and minimal in amount.
11
             161.    There is no question but that the rates here charged are clearly reasonable for
12
     firms of similar competence.
13
             162.    A related question presented by Mr. Schratz’s report is whether the client for
14
     which he is advocating in fact refuses to pay its own counsel for multiple-entry or “block” bills.
15
     The same question could be asked regarding what rates it paid in the most important litigation
16
     against the company, and also whether they paid for what has been described as “clerical”
17
     billings. It would seem inconsistent for the company not to pay counsel for Plaintiff if they have
18
     paid their own firms, such as Jackson Lewis, in large litigation for the same type of billings at
19
     similar rate.
20
             163.    Indeed, Mr. Schratz has not told the Court whether the bills of Defendant’s
21
     counsel in this very case contain “blocked” or “clerical” entries, or show multiple assigned
22
     lawyers on one task. Neither has Mr. Schratz told the Court how many hours Jackson Lewis
23
     billed in this case, by comparison with Bacon.
24
             164.    Mr. Schratz’s criticisms in this case are those he invariably renders in every case
25
     in which I have reviewed, lending support for my opinion that the practices he routinely
26
     criticizes reflect the prevailing customs and practices of the legal industry. The exception to this
27
     which I would note is Mr. Schratz’s sanctioning of bills of a reputable Southern California firm,
     in a case in which he was an expert on its behalf, where the firm billed with so-called blocked

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2
     and clerical entries, which he approved for the firm hiring him. The firm also billed in minimum
3
     quarter-hour increments, a practice now disfavored, but which Mr. Schratz approved.
4
                                         JAMES SCHRATZ SUMMARY
5
            165.    I have extensive knowledge of the experience, competence, bias and integrity of
6
     Mr. James Schratz. I have gained direct knowledge of Mr. Schratz and his activities for over 23
7
     years, as a Fireman’s Fund lawyer working on cases supervised by Mr. Schratz; as a lawyer
8
     litigating fee disputes with Mr. Schratz; as a lawyer deposing Mr. Schratz; as an opposing
9
     expert; and as one who had read internal memos, speeches and papers authored by Mr. Schratz.
10
     From his depositions, I also have knowledge of his background before 1988, when I first met
11
     him, and possess knowledge of his background gained from Mr. Schratz himself on deposition.
12
     Accordingly, I believe I am highly qualified to render opinions on these subjects.
13
            166.    In short, my opinions can be summarized as follows: 1) as a litigator, Mr. Schratz
14
     only has minimal, junior-level litigation experience at which he was adjudged by his employers
15
     to have been incompetent; 2) he has demonstrated, in cases in which I have been involved with
16
     Mr. Schratz on the same side or on opposing sides, no meaningful understanding of the
17
     complexities of large litigation cases or sophisticated legal thinking; 3) throughout his career he
18
     has exhibited an extreme bias in favor of the entity hiring him, which in most cases is the fee
19
     payor; and 4) his opinions lack intellectual integrity and honesty.
20
            167.    Having said that, Mr. Schratz has examined a number of legal billings, and has
21
     information in the public domain that could assist the Court herein, including numerous
22
     declarations he has filed in the Courts regarding other fee billings he has examined. Specifically,
23
     on the basis of his reviews of 800 sets of law firm billings, Mr. Schratz would be able to tell the
24
     Court how many of these contained significant “blocked,” multi-lawyer, or “clerical” entries. In
25
     my opinion, most, if not all, would, if consistent with industry standards, contain significant
26
     blocked, multi-lawyer and so-called clerical entries.
27
            BACKGROUND AND QUALIFICATIONS OF JAMES SCHRATZ



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 2
            168.    The undersigned was an attorney “supervised” by Mr. Schratz and his underlings
 3
     starting in 1988, and also was the managing partner of a firm subject to several “audits” by an
 4
     outside “auditor” supervised by Mr. Schratz.
 5
            169.    I have read what has been represented by Fireman’s Fund as of August, 1996, to
 6
     be all of the articles, correspondence and written speeches authored by Mr. Schratz while at
 7
     Fireman’s Fund dealing with attorney fee billing issues, and have read numerous articles and
 8
     speeches authored by Mr. Schratz since then. I have read internal memos of Mr. Schratz
 9
     authored while at Fireman’s Fund regarding “CUMIS” litigation and outside counsel. I have
10
     read newspaper quotes, speeches and articles of Mr. Schratz regarding billing issues.
11
            170.    I have interviewed and/or deposed virtually everyone who worked significantly
12
     with Mr. Schratz at Fireman’s Fund in the late 1980’s and early 1990s, including the head of the
13
     Claims Department, Mr. Gary Black; the attorney who succeeded Mr. Schratz in using outside
14
     auditors regarding outside non-panel counsel, Mr. Robert Buckley; and another attorney who
15
     supervised Fireman’s Fund’s internal auditors used for trusted panel counsel, Mr. Douglas
16
     Martin; and numerous claims executives reporting to or working with Mr. Schratz, most of
17
     whom were highly experienced, and of significant tenure with Fireman’s Fund.
18
            171.    I have read approximately 25 to 30 reports, Declarations or opinions of Mr.
19
     Schratz since the inception of his firm of Jim Schratz & Associates after his termination from
20
     Fireman’s Fund. I have as well read several “audits,” consisting of both the audits he
21
     commissioned at Fireman’s Fund and “audits” prepared by him for his own firm. I have also
22
     read audits prepared by his outside auditors at the behest of entities other than Fireman’s Fund or
23
     Mr. Schratz.
24
            172.    I have deposed or interviewed several “auditors” of the outside auditing firm used
25
     by Mr. Schratz at Fireman’s Fund. I have learned the “methodology” of the outside auditors Mr.
26
     Schratz used at Fireman’s Fund and the present methods Mr. Schratz uses to “audit” firms on
27
     behalf of his own firm.



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 2
            173.    I have engaged in fee litigation with Mr. Schratz; deposed him on several
 3
     occasions and observed both his deposition testimony and testimony in court.
 4
            174.    I have also read legal bills of Fireman’s Fund employee lawyers working directly
 5
     for Mr. Schratz or lawyers chosen by Mr. Schratz. I have read bills of Mr. Schratz himself and
 6
     bills of outside auditors which he has approved and paid.
 7
            175.    I have read newspaper and magazine articles about Mr. Schratz, quoting or
 8
     paraphrasing him about legal “overbilling.”
 9
            176.    I have sued Mr. Schratz and Fireman’s Fund on behalf of my former law firm,
10
     successfully, for defamation on the basis of statements he caused to be made in local and
11
     national publications about legal fee billing.
12
            177.    I was co-counsel in two trials, one on both liability and damages, the second one
13
     damages only, against Fireman’s Fund, based upon false and defamatory statements made about
14
     my former firm by Mr. Schratz. I was present in court as co-counsel in 1996 and 1998 to receive
15
     verdicts in favor of my former firm, and against Fireman’s Fund, for $3.0 million and $3.6
16
     million, respectively, for defamation published or caused to be published by Mr. Schratz.
17
            178.    On behalf of my firm and the named partners, I obtained a confidential settlement
18
     with Mr. Schratz based upon defamatory statements he made about my firm after he departed
19
     Fireman’s Fund.
20
            179.    I have reviewed a cover story in the American Lawyer published in or around
21
     March, 1993 about Mr. Schratz entitled, “Litigation MISmanagement at Fireman’s Fund,”
22
     (emphasis in the original) detailing Mr. Schratz’s ill-advised, destructive dealings with our firm
23
     on an asbestos litigation fee dispute.
24
            180.    I was the principal lawyer at Tarkington on two prior large cases which Mr.
25
     Schratz caused to be audited by his outside auditors, but which cases were controlled by other
26
     claims personnel. After two time-consuming and painstaking “audits,” my firm received
27
     payments from Fireman’s Fund for more than the amounts billed to Fireman’s Fund, with
     apologies from the claims executives involved, for audits that exalted form over substance. The

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 2
     insurer agreed to pay more, because my firm had consistently cut its time from pre-bills to curry
 3
     the favor of an economy-minded insurer. When Fireman’s fund subjected my firm to the
 4
     grueling demands of an audit, seeking to find and deduct for any overcharging, we asked for
 5
     reimbursement of the time we had cut from pre-bills, on the theory that the audit found
 6
     undercharging. The honest claims executives in charge of the cases agreed with us, and paid us
 7
     more than our billing in those cases.
 8
            181.    Since 1992, I have consulted with numerous lawyers across the nation, many
 9
     from reputable, well-known firms, about what they perceive to be biased or unrealistic criticism
10
     from Mr. Schratz.
11
            182.    I have also served as an expert or consultant on several Bay Area cases since I
12
     formed O’Connor and Associates, in which the Plaintiff firm received from the Court 100% of
13
     its billings, notwithstanding vehement criticism to the contrary by Mr. Schratz.
14
            183.    As a result of the foregoing, I believe that I have direct knowledge of Mr.
15
     Schratz’s fee dispute activities from 1988 through the present, and also have knowledge of his
16
     background and experience prior to that time. I believe that this information can assist the Court
17
     in assessing the weight to be given Mr. Schratz’s opinions.
18
                                      EXPERIENCE OF JAMES SCHRATZ
19
            184.    After his good scholastic record at USF Law School, Mr. Schratz was hired by
20
     Heller Ehrman and fired at his first annual review. Mr. Schratz testified in a deposition he was
21
     terminated by Heller Ehrman for being “too happy.”
22
            185.    He then worked for Rosenblum Parish, a smaller, reputable San Francisco firm
23
     where he was admittedly dismissed after one year of employment. Mr. Schratz has testified in
24
     my presence that he tried one or two real estate broker fee cases in a trial or trials of one half to
25
     one day.
26
            186.    His subsequent work for corporate counsel at Fireman’s Fund consisted of a mix
27
     of litigation work and non-litigation work, the former mostly “monitoring” of outside counsel



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 2
     hired by Fireman’s Fund throughout the country, often with corporate counsel’s name on the
 3
     pleadings along with that of the outside firm.
 4
             187.    From my knowledge of Fireman’s Fund’s structure as a Fireman’s Fund panel
 5
     counsel, I can state that Mr. Schratz’s subsequent assignment to the Claims Department was a
 6
     step down career-wise from his position in the Corporate Counsel office.
 7
             188.    The work his group performed in Major Claims belies the name, because it dealt
 8
     mainly with garden-variety construction defect litigation. I know this because our firm received
 9
     case assignments from the group, and were generally supervised by the functional head of the
10
     group, Mr. Robert Hill, a competent and experienced claims manager.
11
             189.    Mr. Schratz’s main occupation while working for Major Claims was
12
     implementing his own unique solution to what insurers at the time referred to as the “CUMIS
13
     problem” at the time besetting carriers throughout California, and to a lesser degree, throughout
14
     the country.
15
             190.    CUMIS counsel, as discussed above, refers to lawyers selected by the insured that
16
     the insurer must pay, because of the potential conflict of interest that arises when coverage may
17
     be decided or influenced by facts proven in the underlying litigation. The CUMIS doctrine is
18
     now embodied in part in C.C.P. §2860.
19
             191.    Two problems for California insurers arose in the 1980’s regarding CUMIS
20
     counsel: a) fee rates and litigation methods were usually not as economical as those of “panel”
21
     counsel customarily retained by the insurer; b) where coverage limits could be exhausted, but
22
     where, as is standard, the defense obligation is unlimited, the insured is incentivized, in, for
23
     example, environmental or toxic tort litigation, to pay millions for defense but nothing for
24
     tribute, at odds with the insurer’s financial interest.
25
             192.    Some insurers began in the 1980s a program of closely scrutinizing CUMIS
26
     counsel bills, including on-site visits to examine the underlying files, to challenge inefficiencies
27
     and discourage unnecessary work. As Mr. Schratz was beginning his career in claims, having
     left his position in the corporate counsel’s office, he saw legal auditing, not just as a method to

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 2
     discourage inefficiencies or to bargain down bills, but also to end the costly underlying litigation
 3
     altogether.
 4
            193.    Mr. Schratz saw that legal “auditing,” or close examination of defense counsel
 5
     bills, could be used for more than just cutting a bill by a few percentage points. He saw that he
 6
     could use legal “auditing” results to threaten counsel with a burdensome process, which would in
 7
     turn incentivize counsel, under Schratz’s thinking, to end the litigation or modify the insured’s
 8
     demands upon the carrier. In a copy of an ABA Speech (Exhibit E) which Mr. Schratz
 9
     produced in litigation with my firm, he frankly states that auditing is to be used to force
10
     independent counsel to settle cases:
11
12                  Audits can result in substantial savings in indemnity payments. When
            independent counsel realizes that their bills are going to be scrutinized every
13          month by independent auditors, and that legal fees are not going to be as high as
            anticipated, there is increased motivation to settle the case.
14
            194.    Another threat employed by Schratz was of unfavorable publicity, threats he
15
     made to me. Such unfavorable publicity has been used by Schratz to threaten other audited
16
     firms. In a draft of a PLI speech (Exhibit F, page 4) produced to my firm, Mr. Schratz revealed
17
     his motives:
18          Through publicizing our victories Fireman’s Fund has incurred the wrath of some
            law firms and developed a “tough guy” image within some circles. We don’t
19          especially welcome such a reputation. However, given the wide ranging abuses
20          and the reluctance of the authorities to get involved, we have little choice. While
            I seriously doubt that Fireman’s Fund can stop these abuses entirely, at the very
21          least we may be able to discourage firms from engaging in them when they are
            billing Fireman’s Fund.
22
            195.    In a speech of October 31, 1991, a transcript attached as Exhibit G, Mr. Schratz
23
     recommended that insurance claims personnel follow his practice of leaking billing
24
     investigations to the media:
25                   Through the media we can get our point of view and our work victories
             across. In addition, cumis claims people should work very closely with the
26
             media. Do not leave it up to your public relations department. It is important to
27           coordinate with that department and if possible you should take some media
             training. However, it has been my experience that reporters want to talk to claims
             people who are working on the file, not the public relations person, even though
             they are the experts.

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 2                   If you are working on a big fraud investigation, bring the media early on
 3          into the case. Develop a personal relationship with the reporter. You could insist
            that all information be off the record until the investigation is completed. I am
 4          currently working with the Wall Street Journal on an investigation, and am going
            to be talking to Sander Vanoaker on ABC Business World later on next week on
 5          an investigation that we are doing. They will keep your confidences. I think you
            will be pleasantly surprised at how the media can work with you.
 6
            (“Controlling Claims Costs”, October 31, 1991, page 6)
 7
            196.    There should be nothing objectionable about an insurer publicizing a victory
 8
     against fraudulent practices. However, Mr. Schratz has defined fraud to include standard billing
 9
     practices:
10

11          While Fireman’s Fund is willing to pay high hourly rates for exemplary legal
12          service, it will not tolerate abusive billing. On occasion we have spent more than
            the value of the underlying dispute to investigate a law firm’s charges. Our
13          results prove that this approach not only saves us money in the long term but
            ultimately saves money for our insureds. We want law firms to know we will not
14          accept the following fraudulent practices:
        ·   “Blocked billing” – combining two or more time entries into a single paragraph –
15
            or vague billing entries…
16      ·   Excessive minimal billing entries and office conference. Fireman’s Fund has
            reviewed some bills listing intra-office conference as 50 percent of the total
17          amount charged.
        ·   Excessive billing for paralegals or law clerks. Secretaries are not paralegals;
18
            paralegals are not lawyers; and lawyers who have not yet passed the bar exam are
19          not entitled to bill at the hourly rates of State Bar members.

20
            (“Do The Right Thing”, California Lawyer, June, 1992, page 40)
21
            197.    While claiming that a firm commits fraud by billing excessive paralegal and clerk
22
     time, Mr. Schratz also recommends that paralegals and clerks draft complaints, motions and
23
     deposition questions:
24                  Use paralegals and law clerks to draft complaints or prepare motions and
            deposition questions. Properly trained legal assistants are less costly and just as
25          efficient as first- or second-year lawyers.
26          (“Do The Right Thing”, supra, page 40)

27          198.    So it has been Mr. Schratz’s position that billing more than one task, separated by
     semicolons is fraud because his billing is “blocked.” But a lawyer who seeks to avoid blocked


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 2
     billing by entering a summary description of his activities is in danger of being accused of fraud
 3
     for a “vague” entry.
 4
            199.    A lawyer who, to avoid a charge of “blocked” billing, disaggregates tasks such as
 5
     reviews of correspondence and short telephone calls risks being accused of fraud for excessive
 6
     “minimal” entries, for example, a two minute phone call billed in minimum increment of .1
 7
     hour. Mr. Schratz has stated this practice is fraudulent.
 8
            200.    A lawyer who uses paralegals and clerks expansively can be accused of fraud, but
 9
     one who doesn’t is billing inefficiently, and subject to criticism.
10
            201.    In short, the auditing process was used by Mr. Schratz to chill independent
11
     counsel from vigorously defending their insured clients.
12
            202.    While employed by Fireman’s Fund, Mr. Schratz did no auditing himself, but
13
     learned about “auditing” by working closely with his outside auditor, the Stuart, Maue, Mitchell
14
     and James firm of St. Louis, Missouri (“Stuart Maue”). Stuart Maue audited my firm on behalf
15
     of Mr. Schratz on several occasions.
16
            203.    The person heading the Stuart Maue firm, Mr. Harry Maue, attended neither a
17
     legitimate college nor legitimate law school and received mail order “degrees” for both of these
18
     claimed education levels. The other three names in the firm name, Stuart, Mitchell and James,
19
     do not represent real persons in being. Mr. Maue falsely represented to the American Lawyer in
20
     1990 that the names did represent individual who had once been with the firm. See Exhibit B
21
     attached hereto, in which the article discusses Mr. Maue’s prevarication on the issue:
22                   “Despite its name, Stuart, Maue is a corporation and not a partnership.
23          Maue and Ernie James, a rumpled Air Force veteran who is the company’s
            resident computer jock, are the only ‘name partners’ in evidence. Asked about
24          the other two, Maue first claims that he parted ways acrimoniously with ‘Stuart’
            and ‘Mitchell’ a number of years ago. He declines to give their current
25          whereabouts, saying ‘You can’t talk to them.’ The fact, as Maue ultimately
            confides, is that no one can talk to them because they do not exist: They are
26          fictitious. ‘The names ‘Stuart’ and ‘Mitchell’ [do not] represent the names of
27          former partners,’ Maue writes in response to a written query. ‘The name Stuart,
            Maue, Mitchell & James, Ltd. simply represent the name I chose to give this
            company when it was formed.’ Maue angrily maintains there is nothing
            inappropriate about his letterhead.”

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 2
             204.   After the publication of this article, Mr. Maue commenced claiming publicly that
 3
     these names were always meant to be fictitious, and refer to his heroes Jeb Stuart, the
 4
     Confederate war general, Billie Mitchell, the WWI pilot, and Jesse James, the famous outlaw.
 5
             205.   Mr. Schratz would invariably use the Maue firm for legal “audits.” The audit
 6
     “findings” of a Maue audit would then be used by Schratz as a basis to threaten publicity if the
 7
     audited firm did not act in accordance with Mr. Schratz’s wishes, as he did to the Tarkington
 8
     firm.
 9
             206.   In short, legal auditing, including attendant publicity based thereon, was one of
10
     the methods Mr. Schratz used as part of a whole array of bullying and coercive tactics designed
11
     to end CUMIS litigation for his company.
12
             207.   My firm learned of this operation of Mr. Schratz early in the program. After my
13
     partners, Mr. Tarkington and Mr. O’Neil, called upon Mr. Schratz and learned of his program,
14
     we made the decision not to actively solicit the business of Mr. Schratz, even though we worked
15
     extensively for claims executives throughout Fireman’s Fund.
16
             208.   Unfortunately, this decision did not keep us away from Mr. Schratz, whom we
17
     encountered in our work for the FDIC, as counsel for the FDIC as Receiver of the Golden Valley
18
     Bank of Turlock, California.
19
             209.   After this bank was closed by the FDIC in or around 1985, our firm immediately
20
     became counsel for the Receiver and inherited a multitude of litigation, all of it insured by the
21
     insurer for the Bank, Fireman’s Fund. We also sued on behalf of the FDIC various directors and
22
     officers, also insured by Fireman’s Fund.
23
             210.   For several years, we worked in harmony with Fireman’s Fund claims executives
24
     out of Fresno, California, who acknowledged Fireman’s Fund’s obligation to defend the cases,
25
     and pronounce themselves pleased with our economical handling of the litigation. Although we
26
     regularly did work for Fireman’s Fund as panel counsel, in this case we were “CUMIS” counsel
27
     on behalf of the FDIC and the Bank.



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 2
             211.   However, this litigation was shifted to Mr. Schratz’s Major Claims group in late
 3
     1988, where upon Mr. Schratz demanded that the firm seek payment for defense costs from the
 4
     government, not from Fireman’s Fund.
 5
             212.   I met with Mr. Schratz in November, 1988 and explained to him that Fireman’s
 6
     Fund indeed had an obligation to the Receiver of the Bank just as he did to the Bank itself. He
 7
     then proposed that for a token payment, we should consider the insurance policy “exhausted,” so
 8
     inform our client the FDIC, and then importune the FDIC to pay our bills, releasing Fireman’s
 9
     Fund.
10
             213.   Since the Bank had $5.5 million in coverage from Fireman’s Fund and a limitless
11
     defense reimbursement right from Fireman’s Fund, we felt obliged by our duties to our client to
12
     politely refuse Mr. Schratz’s request.
13
             214.   Thereafter, we were told by his assistant Mr. Hill that Mr. Schratz had issued an
14
     order that we could receive no further cases from Fireman’s Fund until the Golden Valley Bank
15
     matter had been resolved. Eventually we were subject by Schratz to numerous time-consuming
16
     audits, which we resolved successfully when the cases were controlled by other claims
17
     executives.
18
             215.   Eventually, we were audited in the asbestos litigation and certain asbestos
19
     litigation where Fireman’s Fund was one of seven carriers. We quickly resolved the matter with
20
     six other carriers, but fought with Mr. Schratz, who eventually began issuing scurrilous publicity
21
     suggesting fraud and criminality on the part of our firm. We were forced to sue Fireman’s Fund
22
     and Mr. Schratz, for which we obtained verdicts of $3.0 million and $3.6 million, and settled
23
     confidentially with Mr. Schratz.
24
             216.   After our fee case was arbitrated, Mr. Schratz left Fireman’s Fund under
25
     circumstances suggesting less than a voluntary departure. I reviewed an article in which Mr.
26
     Schratz claimed to a local legal newspaper that he left Fireman’s Fund as a way of cutting the
27
     company’s expenses.



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 2
             217.   Before he left Fireman’s Fund, Mr. Schratz issued numerous articles and
 3
     speeches, and courted publicity whenever and wherever he could get it, suggesting that there was
 4
     rampant “overbilling” by attorneys in defense litigation, that much of the defense bar should be
 5
     subject to State Bar discipline or criminal proceedings, and that the amounts involved were
 6
     usually 30%-50% of the bills, and that it occurred in 70% of the cases.
 7
             218.   While making these scurrilous remarks publicly and demeaning and tarnishing
 8
     the entire reputable litigation Bar, in more confidential settings it became clear that the claimed
 9
     “overbilling” usually consisted of technical objections to form for time actually spent, rather
10
     than substantive objections to the amount of time claimed. For instance, in our case, Schratz
11
     falsely and publicly “leaked” to the Wall Street Journal and The Recorder, a San Francisco legal
12
     publication, that our firm’s lawyers billed 785 hours in a month and 33 hours in a day, all false.
13
     Behind closed doors, he spent millions to make highly technical complaints as to how we
14
     described and allocated our time over 5000 cases, when most of the work was performed in
15
     common; one partner admittedly used his paralegal to bill out his burdensome time allocations to
16
     hundreds of cases.
17
             219.   I will explain this comment more fully, because it bears directly upon Mr.
18
     Schratz’s claim that I am biased, somehow, because Mr. Tarkington, my former partner, was
19
     understandably upset with Mr. Schratz.
20
             220.   Mr. Tarkington worked hard and long supervising defense of 5,000 asbestos
21
     cases, most venued in San Francisco, where the firm enjoyed an excellent reputation for
22
     integrity. When a lawyer did “general” work, he was forced for the convenience of the insurers
23
     to allocate time over individual cases based on case activity, rather than billing to one “general”
24
     file.
25
             221.   Mr. Tarkington had his paralegal spread a portion of his time to the most active
26
     cases. The total time he billed was far less than the time he spent, and he was too busy to bill the
27
     rest using numerous billing numbers. He admitted that, because he trusted his paralegal, he
     never reviewed each allocation for accuracy. Thus, these were negligently false statements,

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 2
     albeit intentionally made, because, technically, he was not making them, but they were listed as
 3
     his statement of billings. Thus, this constituted a technical breach of fiduciary duty, or
 4
     “constructive” fraud, for which the Arbitrator disallowed his time. Judge Chiantelli on the
 5
     record called this “let’s pretend fraud.”
 6
            222.    However, as the Court of Appeals found, even though technically he “overbilled,”
 7
     he and other lawyers “undercharged” for their services:
 8
 9                  Tarkington presented substantial evidence that, in the aggregate, it
            undercharged Fireman’s Fund for its legal services on the Plant case. The firm
10          customarily reduced charges on its invoices before billing, up to 30 percent for
            Fireman’s fund. In one year, Tarkington cut about $1,000,000 from its prebills.
11          The firm typically would assign only one attorney to a particular set of tasks,
            when other firms might customarily use four or five. A former Tarkington
12          asbestos attorney, Ms. Donna Cropp Bechman, testified that she was told to
13          record less time than the actual time spent on one asbestos trial. Fireman’s
            Fund’s own expert, Mr. Gene Brown, testified that the cause of the firm’s
14          financial troubles was that it charged too little for its services. In fact, before the
            Plant dispute, Fireman’s Fund claims department personnel complimented
15          Tarkington on its economic resolution of cases. Tarkington also presented
            evidence of underbilling caused directly by the spread of billing system.
16
            (Opinion, p. 22)
17
            223.    It is true that Tarkington was personally upset at Mr. Schratz, because
18
     Schratz sent investigators to “question” witnesses, reportedly suggesting to the subjects
19
     that Mr. Tarkington committed certain personal moral misdeeds, an absurd suggestion for
20
     anyone who knows Mr. Tarkington.
21
            224.    I have no personal quarrel with Mr. Schratz, but do have serious
22
     professional disagreement with Mr. Schratz’s tactics, which I consider to fall below the
23
     high standards applicable to officers of the Court, and which inaccurately put honest
24
     members of the profession in disrepute.
25
                                            AUDIT METHODOLOGY
26
            225.    As a result of the foregoing, I became quite familiar with the “methodology” of
27
     the Maue outside auditors used by Mr. Schratz while at Fireman’s Fund. Without getting into all

     the details of the methodology, it suffices to say that one admirable aspect of that firm’s auditing

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     process was that every time entry was examined, every piece of paper related to the time entry
 3
     was examined, and each lawyer questioned as to any claimed uncertainties regarding the time
 4
     entry. Thus, while the methodology was otherwise completely biased in an arbitrary fashion to
 5
     cut down the “verified” portion of the bill, it at least had the virtue of thoroughness.
 6
            226.    Not coincidently, the practice also cost the audited firm great amounts in
 7
     unbillable time. Mr. William J. F. Roll of Sherman & Sterling was quoted and paraphrased by
 8
     the Wall Street Journal on July 21, 1992 (as repeated in the Marin Independent Journal of July
 9
     26, 1992, attached as Exhibit D) as complaining about the intrusive and costly nature of being
10
     audited by Schratz and his auditors:
11
12                  “And, speaking for many attorneys, he says he found an audit ordered up
13          by Schratz to be intrusive and demeaning. As he described it, ‘They went through
            our files, virtually every piece of paper that was not privileged, and they read it,
14          and they had lots of questions. A lot of our people, including myself, had to
            spend an awful lot of time explaining what had happened.’ And, of course, the
15          time was unbillable.”
16          227.    During his tenure at Fireman’s Fund and shortly after starting Jim Schratz and

17   Associates, Mr. Schratz frequently criticized as inadequate any “audit” that was not a full field

18   audit performed in the fashion described. One such example of this is Mr. Schratz’s article

19   attached as Exhibit E hereto, “The Need for Legal Audits.”

20          228.    However, such audits are expensive and it is Mr. Schratz’s current practice to

21   shortcut any meaningful study or analysis in favor of superficial, selective and facile

22   observations. His practice is to scan legal bills into a computer system and use software for

23   certain types of analyses determining, for example, the amount of time considered “block”

24   billing, spent on particular motions, on pleadings, and on conferencing and the like, so that

25   negative observations can be made under the guise of applying objective criteria.

26          229.    Such computerized reports could provide the basis for a knowledgeable and

27   experienced attorney to make helpful observations. But the converse is also true, that without

     expertise and experience, computerized breakdowns mean very little. In short, there is no such

     thing as “legal auditing” other than what a particular “auditor” arbitrarily deems it to be. If the
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                                                  43

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 2
     auditor doesn’t understand the complex litigation, or doesn’t want to, there results a serious
 3
     defect in the “audit” method.
 4
             230.   In any case, Mr. Schratz is not performing the kind of thorough legal auditing he
 5
     and his outside auditors had for many years championed, and is using the term “audit” to convey
 6
     falsely to the reader that he has performed some type of disciplined, rigorous and artful analysis
 7
     superior to that could be performed by a person not claiming to be an auditor.
 8
             231.   Indeed, the use of the term “audit” is used to mask the fact that Mr. Schratz is
 9
     doing far less by way of review and analysis than an experienced litigator would perform when
10
     acting as an expert witness in a fee case.
11
             232.   Even where Mr. Schratz claims to have performed such an analysis himself, in
12
     my opinion, he has only the most minimal competence, by virtue of his status as a licensed
13
     attorney, to perform such an analysis.
14
             233.   I personally have witnessed examples of Mr. Schratz’s lack of knowledge of
15
     litigation.
16
             234.   In the Golden Valley Bank litigation, Mr. Schratz persisted over several months
17
     to claim that my firm was acting in conflict of interest in that litigation, even though we
18
     represented but one party, the FDIC as Receiver, in several different pieces of litigation.
19
     However, Mr. Schratz claimed that, even though we consistently represented the same party in
20
     these various cases, we were in conflict because in some cases we were paid by the carrier,
21
     Fireman’s Fund, and in some case we were bringing suit against parties whose defense was paid
22
     by the carrier, Fireman’s Fund.
23
             235.    In several other instances, Mr. Schratz has written and spoken publicly about the
24
     lack of necessity for written interrogatories when counsel can simply phone the opposing
25
     attorney to find out pertinent information. Such statements show a profound lack of
26
     understanding of the litigation process. See Exhibit J, page 2, an article containing such a
27
     statement by Schratz.



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2
            236.    I have indeed found Mr. Schratz to be intellectually dishonest as well as
3
     incompetent. To give just one example, when he acted as fee expert for a prominent law firm in
4
     Southern California, he justified the very same billing practices which he criticized in other
5
     cases. I reviewed bills which Mr. Schratz defended, containing “blocked” billing, general
6
     descriptions that he has in other instances termed “vague,” and “clerical” entries for document
7
     management. Moreover, I have reviewed bills of lawyers working directly for Mr. Schratz
8
     (which were to be shared by or billed to another carrier for payment) filled with entries of the
9
     type that Mr. Schratz had consistently condemned as being “overbilling.”
10
            237.    Until Mr. Schratz left the insurance industry at the end of 1993, he had a poor
11
     reputation within the industry, both for lack of integrity and for extreme bias. Within his own
12
     company, Fireman’s Fund, he had the same reputation. Even Mr. Schratz’s major supporter at
13
     Fireman’s Fund, the Executive Vice President of Claims, Mr. Gary Black, was quoted by the
14
     Wall Street Journal as admitting that Schratz had a “very biased view” of billing issues. Mr.
15
     Black testified in deposition to essentially the same thing.
16
            238.    Therefore, at the very least, putting aside questions of honesty or competence, Mr.
17
     Schratz is certainly biased. In his article, “The Need for Legal Audits,” he recommends
18
     widespread use of legal auditing, a field he helped promote and which he was soon to enter in
19
     private practice. In any case, his bias has always been well-known. The July 21, 1992 Wall
20
     Street Journal, Exhibit I, article describes an extremely adversarial approach by Schratz:
21

22          “Over the years Schratz, whose personal code was neatly summarized last March
23          entitled, Ready, Fire, Aim, has had to do some explaining himself when his
            aggressive tactics backfired. After the Tarkington firm was knocked off the
24          asbestos case, Fireman’s Fund’s hand-picked successor, hired at relatively low
            pay, lost two major decisions in court.
25          ANGRY PHONE CALLS
            Some other lawyers see Schratz as a publicity hound or an alarmist. Gary
26          Black…says he gets angry phone calls about Schratz fairly regularly.”
27
            (Exhibit I)



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             239.    Mr. Schratz’s criticism of the billings of counsel in this litigation demonstrate, in
 3
     my opinion, the same lack of credibility of Mr. Schratz that I have witnessed for the last twenty-
 4
     three years.
 5
             240.    This is not to say that all legal bills criticized by Mr. Schratz are unworthy of
 6
     criticism. On rare occasions, when there is in fact overbilling, Mr. Schratz’s opinion will turn
 7
     out to be correct. For example, in Rios v. Rowand cited by Mr. Schratz, a public interest lawyer
 8
     visited a prison frequently and consulted with the female inmates, including those with children.
 9
     The lawyer knew well the prison’s policy for allowing visitation by the children. After
10
     successfully litigating this policy, the lawyer attempted to bill the government for the thousands
11
     of hours she spent visiting the jail in performance of her normal duties as a prison advocate,
12
     most of which, of course, were unnecessary to the litigation, and not performed primarily for the
13
     sake of the litigation.
14
             241.    In Rios v. Rowand, the court initially approved only a small portion of the fees
15
     claimed, and after an appeal, the fee question was remanded to the same court for more specific
16
     factual findings, at which point Mr. Schratz was hired and the matter litigated. The court
17
     thereafter issued a similar result but with more detailed findings.
18
             242.    Rios v. Rowand, then, is an example of a court awarding fees roughly conforming
19
     to Mr. Schratz’s opinion, but which opinion has little or no causative relationship to the award.
20
             243.    Mr. Schratz’s opinions that I have reviewed are always wildly favorable to the
21
     entity hiring him. In the Golden Eagle matter to which Mr. Schratz refers, he was hired to give
22
     Golden Eagle a basis to pay a claim in a receivership context, not to fight payment. When he has
23
     been hired by law firms to support their bills, he has done so in complete reversal of views and
24
     principles he expressed contrarily when hired by the fee-paying client. I have never witnessed
25
     Mr. Schratz giving due deference, or any complimentary comment, to the opposing side.
26
             244.    I have reviewed all the moving and opposing papers herein, including the
27
     Declaration of James P. Schratz with Exhibits. I have also reviewed other writings and



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 2
     Declarations of Mr. Schratz. I have spent 39.8 hours on this project. My normal billing rate for
 3
     this work is $700, but here I agreed with Mr. Pearl to reduce it to $600.
 4
                                                    SUMMARY
 5
            245.    In summary, it is my opinion that the rates charged by Plaintiff’s counsel are
 6
     reasonable; that multiple-entry, or “blocked” billing is the norm in the legal profession; that the
 7
     limited collaborative work occasionally deemed necessary and Mr. Pearl’s limited assignment
 8
     were within standard billing practice; and that limited document management work by lawyers
 9
     constitutes billable services. Finally, I opine that Mr. Schratz’s extreme bias renders his
10
     opinions suspect on these subjects.
11
12

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  2
             I declare under penalty of perjury under the laws of the State of California that the
  3
      foregoing is true and correctly.
  4

  5   Dated: September 16, 2011                         O’CONNOR AND ASSOCIATES
  6

  7                                                     _______________________________
                                                        JOHN D. O’CONNOR
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                         EXHIBIT E




                                                                       Ex. E - 251
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 14                                  UNITED STATES DISTRICT COURT
 15                               NORTHERN DISTRICT OF CALIFORNIA
 16                                            SAN JOSE DIVISION
 17
      ABDUL NEVAREZ, PRISCILLA NEVAREZ,                       Case No.: 5:16-cv-07013-LHK (SVK)
 18   and SEBASTIAN DEFRANCESO, on behalf of
      themselves and similarly situated individuals,          [CORRECTED] DECLARATION OF
 19                                                           GUY B. WALLACE IN SUPPORT OF
                              Plaintiffs,                     PLAINTIFFS’ MOTION FOR
 20                                                           REASONABLE ATTORNEYS’ FEES,
              v.                                              COSTS AND EXPENSES
 21
      FORTY NINERS FOOTBALL COMPANY,                          Judge: Hon. Lucy H. Koh
 22   LLC, a Delaware limited liability company, et al.,
                                                              Date: July 16, 2020
 23                           Defendants.                     Time: 1:30 p.m.
                                                              Ctrm: 8, 4th Floor
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           DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR REASONABLE FEES AND COSTS
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 1 I, Guy B. Wallace, declare as follows:
 2          1.              I am a senior partner at the law firm of Schneider Wallace Cottrell Konecky

 3   LLP (“Schneider Wallace” or “SWCK”). I am a member in good standing of the bar of the State

 4   of California. I am lead counsel for named Plaintiffs and class representatives Abdul Nevarez,

 5   Priscilla Nevarez and Sebastian DeFrancesco, on behalf of themselves and all others similarly

 6   situated (collectively referred to as “Plaintiffs”). I have personal knowledge of the facts set forth in

 7   this Declaration and could and would testify competently to them.

 8           2.             I am providing this Declaration in response to this Court’s Order of June 24,

 9   2020, Dkt. No. 407, directing Plaintiffs to refile their Motion for Reasonable Attorneys’ Fees,

10   Costs and Expenses.

11           3.             This Declaration describes the nature of Plaintiffs’ claims and provides a

12   procedural history of this case and the defense of the case put on by Defendants. It also discusses

13   the discovery that Plaintiffs undertook regarding the accessibility to persons with mobility

14   disabilities of Levi’s Stadium, its parking lots and the pedestrian right of way serving the Stadium,

15   as well as regarding Defendants’ policies, procedures and practices regarding disability access.

16   This Declaration discusses the proposed settlement and explains why it provides substantial relief

17   to the Plaintiff classes with respect to all of the deficiencies identified by Plaintiffs through their

18   discovery in this case. Finally, this Declaration provides a summary of Plaintiffs' application for

19   reasonable attorneys' fees, costs and expenses.

20
                                    QUALIFICATIONS OF COUNSEL
21

22           4.             I graduated from Harvard Law School in 1993. From 1993 to 1994, I was a

23   Skadden Fellow at the Disability Rights Education and Defense Fund (“DREDF”). From 1994 to

24   1998, I was a Skadden Fellow and then Staff Attorney at Disability Rights Advocates. Between

25   March 1998 and June 2000, I was a Staff Attorney at the Legal Aid Society of San Francisco/

26   Employment Law Center (“ELC”) and served as head of the disability rights practice at ELC. I

27   became a partner in the firm then known as Schneider & Wallace in June 2000 and have held that

28   position since that time.
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  1          5.             During my twenty-five (25) years of practice I have had extensive
  2   experience in class actions and other complex litigation. In particular, I have specialized in
  3   disability civil rights class actions as well as wage and hour, employment and other consumer
  4   class action matters. I have served as lead counsel, co-lead counsel, or class counsel in more than
  5   twenty class actions, and have done so through trial and on appeal. These cases have included,
  6   among others, the following:
  7                  Willits v. City of Los Angeles, Case No. 10-05782 CBM (RZx) (C.D. Cal.): lead
  8                   counsel in systemic, disability access class action involving claims under Title II of
  9                   the Americans with Disabilities Act of 1990. This case settled for $1.4 billion in
 10                   injunctive relief remedying physical access barriers to persons with mobility
 11                   disabilities in the City’s pedestrian rights of way, the largest systemic disability
 12                   access settlement in United States history.
 13                  Winans v. Emeritus Corp., Case No. 3:13-cv-03962-SC (N.D. Cal.): co-lead
 14                   counsel in consumer class action involving claims for violations of California’s
 15                   Consumer Legal Remedies Act and violations of California’s elder financial abuse
 16                   statute. This case settled for $13 million and injunctive relief.
 17                  Kirola v. City and County of San Francisco, Case No. 4:07-cv-03685 SBA (EMC)
 18                   (N.D. Cal.): lead counsel in systemic, disability access class action involving
 19                   claims under the Americans with Disabilities Act.
 20                  Shemaria v. County of Marin, Case No. CV 082718 (Marin County, Sup. Ct.): lead
 21                   counsel in disability access class action involving claims under Title II of the
 22                   Americans with Disabilities Act of 1990 and California Government Code §
 23                   11135, et seq. This case settled for $15 million in injunctive relief remedying
 24                   physical access barriers to persons with mobility disabilities in the County’s Civic
 25                   Center, parks, swimming pools, libraries and pedestrian right of way.
 26                  Williams v. H&R Block, Case No. RG08366506 (Alameda County, Sup. Ct.,
 27                   Complex Cases Dept.): co-lead counsel in state-wide wage and hour class action on
 28
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 1                 behalf of managers at H&R Block alleging misclassification and failure to pay
 2                 overtime hours and all hours worked. This case settled for $6.4 million.
 3                Holloway v. Best Buy, Case No. C-05-5056 PJH (MEJ) (N.D. Cal.): class counsel
 4                 in Title VII pattern or practice class action settlement regarding race and gender
 5                 discrimination. This case settled for injunctive relief regarding the company’s
 6                 policies, procedures and practices regarding promotions and compensation.
 7                Rosa v. Morrison Homes, Case No. 373059 (Stanislaus County, Sup. Ct., Complex
 8                 Cases Dept.): co-lead counsel in construction defect class action involving 400
 9                 homes. This case settled for $5.9 million including repairs to the subject homes.
 10               Wren v. RGIS, Case No. C-06-05778 JCS (N.D. Cal.): lead counsel in wage and
 11                hour national class action involving federal FLSA violations. This class included
 12                over 62,000 RGIS employees. This case settled for $27 million in addition to
 13                injunctive relief regarding company policies and procedures regarding payment for
 14                all employee hours worked.
 15               Chau v. CVS, Case No. BC349224 (Los Angeles County, Sup. Ct., Complex Cases
 16                Dept.): co-lead counsel in wage and hour settlement on behalf of state-wide class
 17                of pharmacists alleging meal and rest period violations as well as overtime pay
 18                violations. This case settled for $19.75 million.
 19               Satchell v. FedEx Express, Inc., Case No. C-03-2659 SI (N.D. Cal.): co-lead
 20                counsel in Title VII pattern or practice class action regarding race discrimination.
 21                This case settled for over $38 million and injunctive relief regarding the company’s
 22                employment policies, procedures and practices.
 23               Cherry v. City College of San Francisco, Case No. C-04-4981 WHA (N.D. Cal.):
 24                lead counsel in class action regarding physical and programmatic access to the San
 25                Francisco Community College District on behalf of students with mobility
 26                disabilities. This case led to a Stipulated Judgment that resulted in the expenditure
 27                of over $20 million in injunctive relief remedying physical access barriers to
 28                persons with mobility disabilities in numerous campuses of City College.
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 1               Lopez v. San Francisco Unified School District, Case No. C-99-3260 SI (N.D.
 2                Cal.): lead counsel in class action regarding physical and programmatic access to
 3                the San Francisco public schools on behalf of students and adults with mobility
 4                and/or vision disabilities. This case resulted in a Stipulated Judgment against the
 5                school district requiring over $400 million in injunctive relief remedying physical
 6                access barriers to persons with mobility disabilities in 100 of the district’s schools.
 7               Lenahan v. Sears, Roebuck & Co., Case No. 3-02-CV-000045 (SRC) (TJB)
 8                (D.N.J.): class counsel in wage and hour collective action challenging failure to pay
 9                employees for all hours worked as required by the Fair Labor Standards Act. This
10                case settled for $15 million.
11               Singleton v. Regents of the University of California, Case No. 807233-1 (Alameda
12                County, Sup. Ct., Complex Cases Dept.): class counsel in employment
13                discrimination action against Lawrence Livermore National Laboratory for gender
14                discrimination against women in promotion, compensation and other terms and
15                conditions of employment. This case settled for $10.6 million and injunctive relief
16                regarding the Laboratory’s employment policies, procedures and practices.
17               Bates v. United Parcel Service, Case No. C-99-02216 TEH, 204 F.R.D. 440 (N.D.
18                Cal. 2001): class counsel on behalf of nationwide class of deaf and hard of hearing
19                employees of UPS. This case settled for $5.8 million.
20               Siddiqi v. Regents of the University of California, Case No. C 99-0970 SI, 2000
21                WL 33190435, 81 F. Supp. 2d 972 (N.D. Cal. 1999): lead counsel in class action
22                against two campuses of the University of California for failing to adopt and
23                implement appropriate policies and procedures regarding auxiliary aids and
24                services for students who are deaf or hard of hearing as required by the Americans
25                with Disabilities Act. This case settled for injunctive relief including changes to
26                the Universities’ policies, procedures and practices for accommodating students
27                who are deaf or hard of hearing, as well as the remediation of communications
28
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 1                access barriers in University lecture halls and classrooms through the installation of
 2                assistive listening systems and other access equipment and features.
 3               Weissman v. Trustees of the California State University, Case No. Civ. 97-02326
 4                MMC (MEJ), 1998 U.S. Dist. LEXIS 22615, 1999 WL 1201809 (N.D. Cal.): co-
 5                lead counsel in class action on behalf of students and faculty members with
 6                mobility and/or visual impairments against the San Francisco State University for
 7                denial of programmatic access. This case settled for $5 million in injunctive relief
 8                requiring the removal of physical access barriers to persons with mobility and/or
 9                visual impairments at San Francisco State University.
10               Gustafson v. Regents of the University of California, Case No. C-97-4016 BZ
11                (N.D. Cal.): co-lead counsel in class action on behalf of students with mobility
12                and/or vision disabilities against the Regents of the University of California for
13                denial of physical and programmatic access at the University of California at
14                Berkeley campus.
15               C.P. v. City and County of San Francisco, Case No. 976437 (San Francisco
16                County, Sup. Ct.): lead counsel in class action challenge to policy cutting off child
17                care benefits to foster children with disabilities. This case was resolved with the
18                entry of a permanent injunction against the policy after the plaintiffs obtained a
19                TRO from the court.
20               Guckenberger v. Boston University, 974 F. Supp. 106 (D. Mass. 1997); 957 F.
21                Supp. 306 (D. Mass. 1997): class counsel in action on behalf of students with
22                learning disabilities against a private university for policies limiting access to
23                reasonable accommodations. This case was tried with plaintiffs obtaining
24                substantial changes in defendants’ policies and damages for the named plaintiffs.
25               Thomas v. BASS, Case No. 733496-8 (Alameda County, Sup. Ct.): class counsel in
26                class action on behalf of all BASS Tickets patrons in Northern California with
27                mobility disabilities denied equal access to defendant’s ticket selling services. This
28
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  1                   action settled with plaintiffs obtaining changes in defendant’s policies and
  2                   damages.
  3                  Putnam v. Oakland Unified School District, Case No. Civ. 93-3772 CW, 1995 US
  4                   Dist. LEXIS 22122, 1995 WL 873734 (N.D. Cal.): class counsel in class action
  5                   against large urban school district under state and federal law for the District’s
  6                   failure to make its programs and facilities accessible to students with mobility
  7                   disabilities. Plaintiffs’ motion for summary judgment was granted. The case was
  8                   settled requiring the defendant to make at least 25 of its schools fully accessible.
  9          6.              I serve as a member of the Board of Directors of The San Francisco Trial
 10   Lawyers Association. I have served as a member of the Board of Directors of the Bar Association
 11   of San Francisco. I have also served on the Board of Directors of Disability Rights California, a
 12   section 501(c)(3) organization committed to protecting the civil rights of persons with disabilities.
 13   I am a member of the bar of the Ninth Circuit Court of Appeals and of the United States Supreme
 14   Court. I have served as counsel in both of those courts on matters relating to employment and
 15   disability civil rights. I have been named a “Super Lawyer” in the area of civil rights by Northern
 16   California Super Lawyers magazine for the past nine years.
 17          7.              The firm of Schneider Wallace Cottrell Konecky LLP has an extensive
 18   practice in the areas of race discrimination, gender discrimination, wage and hour violations,
 19   disability civil rights (including both employment discrimination and access to public entities and
 20   public accommodations), and actions brought on behalf of consumers under both federal and state
 21   law. Class action litigation is the major focus of the firm. Todd Schneider founded the firm in
 22   1993. Schneider Wallace employs between 15 and 20 attorneys and has acted or is acting as class
 23   counsel on numerous cases, including those identified on the firm resume. The firm has
 24   represented plaintiffs at all levels including the federal and state trial courts, the California Courts
 25   of Appeal, the California Supreme Court, the Ninth Circuit Court of Appeals, and the United
 26   States Supreme Court.
 27          8.              Class Counsel also includes Linda M. Dardarian, a senior partner in the firm
 28   of Goldstein, Borgen, Dardarian & Ho (“GBDH”). Ms. Dardarian and her firm have extensive
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  1   class action experience and have served as class counsel in numerous cases. Ms. Dardarian is a
  2   nationally-recognized leader in advancing the rights of people with disabilities to fully and equally
  3   access the programs, services, and activities of public entities and the goods and services of public
  4   accommodations. In addition to her role with respect to various discrete litigation tasks, Ms.
  5   Dardarian played an integral role in the settlement negotiations, including both the formal
  6   mediations and the separate meetings with counsel for Defendants.
  7          9.             Class Counsel includes Adam Wolf, a Shareholder in the law firm of Peiffer
  8   Wolf Carr & Kane (“Peiffer Wolf” or “PWCK”). Mr. Wolf and his firm have extensive class
  9   action experience and have served as class counsel in numerous cases. Mr. Wolf is nationally
 10   recognized for his civil-rights cases and other cutting-edge litigation. Mr. Wolf’s firm played an
 11   instrumental role in working with Plaintiffs’ experts and identifying and tracking access barriers in
 12   the Stadium, and also played a significant role in the settlement negotiations.
 13                 HISTORY OF THE CASE AND SETTLEMENT NEGOTIATIONS
 14 The Complaint
 15           10.           Plaintiffs commenced this class action on December 7, 2016, asserting
 16   claims for both injunctive relief and damages against the Forty Niners Football Company, LLC,
 17   the National Football League, the City of Santa Clara (“the City”), the Santa Clara Stadium
 18   Authority (the “Stadium Authority”) and Ticketmaster Entertainment, Inc. (“Ticketmaster”) based
 19   on alleged violations of the Americans with Disabilities Act (“ADA”), the Rehabilitation Act of
 20   1973, California Government Code Section 11135, the California Disabled Persons Act
 21   (California Civil Code §§ 54 et seq.) and the California Unruh Act (California Civil Code §§ 51 et
 22   seq.). See Complt. (ECF 1). Thereafter, the Complaint was amended to add the Forty Niners
 23   Stadium Management Company LLC as a Defendant (ECF 9).
 24           11.           On April 13, 2017, pursuant to Stipulation of the Parties approved by this
 25   Court, Plaintiffs filed their Second Amended Complaint limiting their claims to the alleged
 26   violation of Titles II and III of the ADA and California’s Unruh Act. (ECS 47, 50). On August 1,
 27   2017, the Court dismissed the named Plaintiffs’ claims for individual damages against the City
 28   and Stadium Authority, except for the Nevarez’s claim for damages based on their visit to the
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 1   Stadium on April 2, 2016. On August 15, 2017 the Court dismissed without prejudice Plaintiffs
 2   claims against Ticketmaster, finding that those claims were subject to mandatory arbitration. (ECF
 3   85).
 4            12.           Plaintiffs filed a Third Amended Complaint on August 8, 2017 (ECF No. 78)
 5   and the operative Fourth Amended Complaint on July 27, 2018 (ECF 195). The Fourth Amended
 6   Complaint includes and incorporates exhibits identifying all of the alleged disability access
 7   barriers, numbering in the thousands, which form the basis for the alleged violations of the ADA
 8   and the Unruh Act. (ECF 195-1 – 195-4).
 9   Class Certification
10            13.           On July 12, 2018, this Court granted in part and denied in part Plaintiffs’
11   motion for class certification. Nevarez v. Forty Niners Football Company, LLC, 326 F.R.D. 562,
12   592 (2018). The Court certified the following three classes pursuant to Federal Rule of Civil
13   Procedure 23:
14                   Injunctive Relief Class: 1. All persons with mobility disabilities who
                     use wheelchairs, scooters, or other mobility aids who will attempt to
15                   purchase accessible seating for a public event at Levi’s Stadium and
                     who will be denied equal access to the Stadium’s facilities, services,
16                   accessible seating, parking, amenities, and privileges, including
                     ticketing, during the three years prior to the filing of the Complaint
17                   herein through the conclusion of this action.
18                   Companion Injunctive Relief Class: 2. All persons who are
                     companions of persons with mobility disabilities who use wheelchairs,
19                   scooters or other mobility aids and who have used or will use
                     companion seating for public events located at Levi’s Stadium during
20                   the three years prior to the filing of the Complaint herein through the
                     conclusion of this action.
21
                     Damages Class: 3. All persons with mobility disabilities who use
22                   wheelchairs, scooters or other mobility aids who have purchased,
                     attempted to purchase, or for whom third parties purchased accessible
23                   seating and who have been denied equal access to Levi’s Stadium’s
                     facilities, services, accessible seating, parking, amenities, and
24                   privileges at an event controlled by the Forty Niners Football
                     Company, LLC, Forty Niners SC Stadium Company, LLC, or Forty
25                   Niners Stadium Management Company, LLC, during the two years
                     prior to the filing of the Complaint herein through the conclusion of
26                   this action.
27 The first and second classes seek declaratory and injunctive relieve pursuant to Title II and Title III
28 of the ADA and the Unruh Act and were certified pursuant to Rule 23(b)(2). The third class seeks
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 1 statutory damages under the Unruh Act and was certified pursuant to Rule 23(b)(3). The Court
 2 appointed Abdul Nevarez as representative of the first and third classes, appointed Priscilla

 3 Nevarez as representatives of the second class, and later appointed Mr. DeFrancesco as a class
 4 representative for the first class (ECF 392).
 5 Discovery

 6          14.             The parties engaged in extensive discovery prior to reaching an agreement to
 7   resolve this case informally through the Settlement Agreement that is the subject of this motion.
 8   Such discovery included 13 sets of document requests (11 propounded by Plaintiffs; 2 propounded
 9   by Defendants), 6 sets of document subpoenas (all propounded by Plaintiffs); 13 sets of
10   interrogatories (9 propounded by Plaintiffs; 4 propounded by Defendants), and 15 sets of requests
11   for admission (all propounded by Plaintiffs).
12          15.             In response to Plaintiffs’ document requests and subpoenas, Defendants and
13   third parties produced approximately 3.4 million pages of documents, including thousands of
14   sheets of oversize construction drawings of the Stadium and its related facilities, most of which
15   were searched and/or reviewed for fact gathering or use as deposition or trial exhibits.
16          16.             Schneider Wallace reviewed the vast majority of the 3,400,000 pages of
17   documents that Class Counsel received from Defendants and third parties, while Peiffer Wolf and
18   GBDH reviewed specific groups of documents. The documents included thousands of oversized
19   construction drawings that counsel and their experts needed to analyze. In light of the volume of
20   discovery, all three firms contributed significantly to the discovery efforts, but each was assigned
21   different responsibilities to avoid duplication of effort.
22          17.             Over the course of fourteen days—spanning a period of fifteen months—
23   Plaintiffs’ counsel and their multiple experts meticulously inspected the Stadium, parking lots
24   serving the Stadium, and nearby pedestrian rights-of-way. The inspections revealed that almost all
25   areas of the Stadium, its parking lots, and the paths of travel from the parking lots to the Stadium
26   contained access barriers that violated the ADA and the Unruh Act. Peiffer Wolf took the lead for
27   Class Counsel to work with experts regarding the inspection of the Stadium and identification of
28   its thousands of barriers. GBDH took the lead in working with experts on access barriers in the
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  1   pedestrian right of way. The results of these inspections were set forth in six detailed and highly
  2   technical expert reports and further addressed in six more rebuttal expert reports in support of
  3   Plaintiffs’ claims. The experts included engineers, architects, and statisticians, among other
  4   specialized fields. Counsel from all three firms worked with the expert reports on different parts
  5   of their reports.
  6           18.           Cataloguing the precise location and nature of thousands of access barriers,
  7   as well as potential remedies for the barriers, was equally crucial and painstaking. GBDH headed
  8   up this vital task, including updating Plaintiffs’ master barrier spreadsheet with new barriers and
  9   measurements taken by both Plaintiffs’ and Defendants’ experts—compiling and organizing the
 10   evidence necessary for dispositive motions, trial, and settlement. With regard to identifying
 11   potential fixes for most of these barriers, Peiffer Wolf and Schneider Wallace worked closely with
 12   Plaintiffs’ experts to arrive at suggested alterations that would remedy the barriers fully.
 13           19.           Plaintiffs took or defended a took a total of 48 depositions, including 15
 14   Rule 30(b)(6) depositions, 16 expert depositions, several depositions of third parties like the
 15   Stadium’s Architect of Record, consultants to Defendants in the design and construction of the
 16   Stadium, and representatives of Ticketmaster, and the named Plaintiffs. Most of the fifteen Rule
 17   30(b)(6) depositions and sixteen expert depositions were handled by Schneider Wallace.
 18   Generally, only one attorney was responsible for each deposition; most of the depositions were
 19   attended by only one attorney, even though multiple attorneys often attended for Defendants and
 20   Third Party Defendant Turner Devcon, with both attorneys questioning the witness or making
 21   objections. Schneider Wallace took or defended thirty-seven depositions, Peiffer Wolf took or
 22   defended seven depositions, and GBDH took or defended four depositions. A true and correct
 23   copy of the deposition control log from this case is attached as Exhibit A.
 24           20.           Plaintiffs also conducted outreach to the Classes; conducted numerous
 25   interviews of Class Members to investigate the access barriers, policies and practices at issue; and
 26   submitted 32 Class Member declarations to support the motion for class certification.
 27
 28
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 1 Motion Practice
 2          21.            The parties engaged in extensive motion practice in this case, including
 3   Defendants’ motions challenging the pleadings, Plaintiffs’ motion for class certification, numerous
 4   discovery motions via letter briefs addressed to Magistrate Judge van Keulen, and cross motions
 5   for summary judgment.
 6          22.            On February 7, 2107, Defendants filed a motion to dismiss the Complaint in
 7   its entirety based on the alleged failure to state a claim and the alleged lack of standing on the part
 8   of Plaintiff Priscilla Nevarez. (ECF 28, 32). Following the filing of a Second Amended Complaint,
 9   Defendants filed a new motion to dismiss on the same grounds. (ECF 58). The Court denied these
10   motions in relevant part, finding that Ms. Nevarez had alleged sufficient facts to establish standing
11   under both Titles II and III of the ADA and under the Unruh Act. (ECF 76 at 14, 16, 17). The City
12   also moved to dismiss Plaintiff Sebastian DeFrancesco’s claim against the City for damages under
13   the Unruh Act based on the failure to exhaust the City’s claim process, which the Court granted.
14   Id. at 20. Schneider Wallace took the lead for Plaintiffs in opposing the motions to dismiss
15   Plaintiffs’ federal and state disability-rights claims, with GBDH addressing the sufficiency of
16   Plaintiffs’ government tort claims under California law.
17          23.            During the discovery phase of the case, the parties litigated 18 separate
18   discovery disputes, submitting letter briefs to Magistrate Judge van Keulen for resolution of those
19   disputes. Plaintiffs obtained relief in 13 of those disputes, and another two were not resolved by
20   the Court at the time of settlement. Most of Plaintiffs’ motions to compel were prepared by
21   Schneider Wallace.
22          24.            Plaintiffs moved to certify classes for both injunctive and monetary relief.
23   The class certification motion was extensive and vigorously opposed by Defendants. The briefing
24   in support of and in opposition to class certification and related procedural motions spanned 131
25   pages, not including numerous declarations, voluminous exhibits, and detailed expert reports
26   submitted in support of the parties’ briefs. Schneider Wallace took the laboring oar with respect to
27   class certification briefing. GBDH prepared Plaintiffs’ response to the opposition to class
28
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  1   certification that was filed by Third Party Defendant Turner/Devcon. All three firms assisted the
  2   experts and the class members regarding their declarations in support of class certification.
  3          25.            Ancillary litigation then resulted from Defendants’ refusing to produce
  4   complete contact information for class members or agreeing to the wording of the class
  5   certification notices. GBDH led the briefing regarding notice to the class.
  6          26.            The parties filed cross motions for partial summary judgment on December
  7   20, 2019. (ECF 282, 288). On February 5, 2019, this Court issued an Order denying both motions
  8   without prejudice, staying the case for case narrowing at the next case management conference,
  9   and directing the parties select up to 6 physical access barriers to litigate through summary
 10   judgment, the pre-trial conference and trial. ECF 328.
 11          27.            On June 20, 2019, the parties filed their narrowed motions for partial
 12   summary judgment limited to 6 physical access barriers. The motions were fully briefed and set
 13   for hearing for August 29, 2019, but the hearing was vacated by the Court on August 22, 2019
 14   (ECF 367). The motions were pending when the parties informed the Court that a proposed
 15   settlement agreement had been reached.
 16          28.            GBDH took the lead on Plaintiffs’ motions for partial summary judgment,
 17   and on opposing Defendants’ motion for partial summary judgment.
 18 Mediation and Settlement Negotiations

 19          29.            The parties engaged in extensive settlement negotiations in order to reach a
 20   final informal resolution of this matter, including eight formal mediation sessions and many more
 21   informal sessions. The first sessions were conducted with JAMS Mediator Michael A. Loeb, Esq.
 22   in the first half of 2018. The parties subsequently engaged in more sessions with Mr. Rudy from
 23   December 2018 through August 29, 2019. In February 2019, Mr. Rudy made a mediator’s
 24   proposal regarding the amount of damages to be paid by Defendants which was accepted by the
 25   parties and which called for the creation of a $24 million damages fund for damages class
 26   members.
 27          30.            Mr. Rudy also supervised the parties’ discussions regarding injunctive relief,
 28   although he became unavailable during the period of March through the beginning of August due
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  1   to illness and related treatment. During that time the parties continued to engage in arms-length
  2   negotiations, including several face-to-face meetings and numerous telephone calls and exchanges
  3   of draft agreements and exhibits describing proposals and counterproposals for the equitable relief
  4   at issue.
  5           31.           On August 29, 2019, Mr. Rudy supervised a mediation session at which the
  6   parties engaged in negotiations on the amount of reasonable attorneys’ fees, costs and expenses
  7   Defendants would pay to Plaintiffs. Before conducting this mediation regarding fees and costs (or
  8   even discussing fees and costs), Mr. Rudy and Class Counsel ensured that all major issues
  9   regarding injunctive relief had been resolved. At the close of the August 29 mediation session,
 10   Mr. Rudy made a mediator’s proposal regarding reasonable attorneys’ fees and costs in the
 11   amount of $13,457,152.40. Both sides accepted that proposal two weeks later, at which time they
 12   advised the Court that a settlement had been reached.
 13           32.           The negotiations described above took into account the parties’ positions on
 14   the merits of the case and each of the individual access barriers at issue, involved detailed
 15   discussions of the scope of the barrier remediation that would be required of Defendants under the
 16   Settlement Agreement, the specifications of the work to be performed as displayed in exhibits to
 17   the Agreement, and the measures to be taken for reporting on, monitoring and enforcing the
 18   obligations created by the Agreement. The negotiations were arms-length, intensive and ultimately
 19   successful in resolving this action.
 20                            TERMS OF THE PROPOSED SETTLEMENT
 21 Equitable Relief

 22           33.           The specific relief afforded by the Settlement Agreement to members of the
 23   Injunctive Relief Class and the Companion Injunctive Relief Class is set forth principally in
 24   Section III of the Settlement Agreement, entitled “Equitable Relief,” and in Exhibits A through J
 25   to the Settlement Agreement, which are incorporated therein by reference. Together these
 26   provisions describe and illustrate, using detailed descriptions, references to design standards, and
 27   architectural drawings, specific work that Defendants are required to perform to remediate close to
 28   2,700 conditions at the Stadium and surrounding area that Plaintiffs have alleged are in violation
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  1   of applicable federal and state disability access standards and that constitute access barriers for
  2   persons with mobility disabilities. In all cases, express deadlines are set forth in the Settlement
  3   Agreement for the completion of the specified remediation work to be undertaken. Although these
  4   deadlines vary depending on the scope of the work and other factors identified during the
  5   settlement negotiations, all of the remedial work must be completed within a three year
  6   compliance period. Settlement Agreement, § II.D.
  7             34.          Any work that Defendants undertake as part of the Settlement is required to
  8   comply with the accessibility standards set forth in the 2010 ADA Standards for Accessible
  9   Design or the 2019 version of Title 24 of the California Building Code, whichever provides
 10   greater protection or access to persons with mobility disabilities. See Settlement at § II.A. In
 11   addition, to the extent that any new construction or alterations to the Stadium or the Pedestrian
 12   Right of Way not required by the Settlement Agreement is undertake during the term of the
 13   Agreement, it, too, shall be performed in compliance with the 2010 ADAS and 2019 CBC.
 14   Settlement Agreement, § IV.
 15      -     Remediation of Access Barriers in the Stadium
 16             35.          The Settlement Agreement provides comprehensive relief with respect to
 17   alleged violations of the ADA and state disability access standards throughout the interior of
 18   Levi’s Stadium that were identified by Plaintiffs’ experts and set forth in the operative Complaint,
 19   including the “barrier lists” attached to the Fourth Amended Complaint as Exhibits A through D.
 20   These include the remedial access work summarized below addressing conditions in the following
 21   areas:
 22                   a.     The Stadium Box Office – to ensure an accessible box office and approach
 23 to the box office at the Stadium, Defendants are required to remediate the specific box office-
 24 related conditions identified in Exhibit A to the Settlement Agreement in the manner specified

 25 therein and in § III.A.1.c. and Exhibit C of the Settlement Agreement. This includes removing the
 26 foot bar at the base of the designated accessible ticket window to allow a forward approach by

 27 wheelchair users, raising the existing grade to provide a level accessible area in front of the
 28
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 1 window, using accessible queuing plans, providing signage for the accessible window and
 2 providing all services at the accessible window that are offered to the public. Id., Ex. C notes 8, 11.

 3                 b.      Accessible Seating – Slopes in the seating areas and aisle exceeding 2.1%
 4 will be eliminated except at area drains and drain covers, where the slope shall not exceed 3%. The
 5 number of accessible and companion seats shall comply with the 2010 ADAS standards. Arm rests

 6 and cup holders will be provided for companion seats to make them equivalent to standard seating.

 7 Settlement Agreement § III.A.1.f.; Exhs. A, E.

 8                 c.      Drink Rails – Stadium drink rails shall be modified to provide access to
 9 persons with mobility disabilities in accordance with the specifications set forth in Exhibit F to the

10 Settlement Agreement. Settlement Agreement § III.A.1.g; Ex. F

11                 d.      Counters and Bars – the counters and bars throughout the Stadium, including
12 those in the United Club, BNY Mellon Club East and West, the NRGZ Solar Terrace, the Yahoo

13 Club, and the 501 Club shall be retrofitted to provide a lowered section accessible to persons with

14 mobility disabilities that is compliant with specified applicable federal and state standards and with
15 the configuration set forth in Exhibit G of the Settlement Agreement. Settlement Agreement §

16 III.A.1.h.; § III.A.1.q.; Ex. G.

17                 e.      Restrooms – all non-compliant elements of the Stadiums restrooms,
18 identified in Exhibit A to the Settlement Agreement, will be remediated in the specific manner

19 described therein. This includes, but is not limited to, the replacement of inaccessible door
20 hardware on wheelchair accessible and ambulatory stalls, overhead signage to permit easy

21 identification of such stalls, the removal of video advertisement displays on mirrors that interfere

22 with a wheelchair user’s ability to see in the mirror, and other conditions identified in Exhibit A.
23 Settlement Agreement § III.A.1.i.; Ex. A at items 823 through 1502.1.
24                 f.      Drinking Fountains – those fountains identified in Exhibit A to the
25 Settlement Agreement will be remediated in the manner described therein. Settlement Agreement §
26 III.A.l.j; Ex. A.

27                 g.      Shops and Concessions – various conditions in the Stadium’s shops and
28 concession areas, identified in Exhibit A to the Settlement Agreement, are alleged by Plaintiff’s be
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  1 non-compliant with applicable disability access standards and constitute barriers to access for class
  2 members. The Settlement Agreement requires that these be remediated in the manner described in

  3 the “remedial measures” column of Exhibit A. Settlement Agreement §§ III.A.1.k, m; Exhibit A.
  4                  h.     Stadium Suites and Boxes – Levi’s Stadium offers dozens of suites of
  5 various sizes and configurations that can be purchased by guests to provide private seating and

  6 viewing opportunities and other amenities for a group of guests attending Stadium events. Under

  7 the terms of the Settlement Agreement, significant modifications will be made to these suites to

  8 improve accessibility. These include replacing all non-compliant dining surfaces or tables in the
  9 suites with an accessible table or with one high inaccessible table and one accessible table,

 10 providing accessible closets, shelves and clothes hanging areas of the appropriate height where

 11 such items are provided for non-disabled guests, providing at least one wheelchair accessible
 12 seating area of a minimum width of 36 inches with a line of sight of the field must be provided for

 13 each suite. Where a removable seat is placed in the accessible seating area, it will be accompanied

 14 by a sign indicating that it can be removed to provide wheelchair seating with a telephone or text
 15 number by which assistance in removing the seats can be obtained and the seat removed within 15

 16 minutes. Signage informing nondisabled patrons not to stand up during events in such a way that

 17 obstructs the line of sight for persons with mobility disabilities, and an accessible dining surface

 18 shall be provided at the wheelchair seating. Settlement Agreement § III.A.1.l., see, also, Exhibit A.

 19                  i.     Stairs and handrail extensions – the Settlement Agreement requires that
 20 Defendants provide handrail extensions at all ramps and stairways in the stadium that extend

 21 horizontally the full length of the direction of travel as required by the 2010 ADAS Section 505.10

 22 and/or the 2019 CBC. Settlement Agreement Section § III.A.1.n. Plaintiffs and their experts will be
 23 given the opportunity to review the plans for this work, including the location and design, before
 24 the work is undertaken. Id. In addition, although not expressly identified as access barriers in the

 25 Fourth Amended Complaint, Defendants have agreed under the terms of the Settlement Agreement
 26 to remediate certain specified sets of stairs in the Stadium to address access and safety issues,

 27 including the stairs at Gate A and Gate C, the stairs in the United Club, the interior stairs at the
 28 Toyota Gate F and the stairs throughout the outdoor seating areas within the Stadium. Such
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  1 remediation will include bringing the nosings at the stair treads into compliance with ADAS
  2 Section 504.5 and ensuring that the slope of the risers do not exceed 2.1%. Settlement Agreement §

  3 III.A.1.s.
  4                 j.      First Aid and Breastfeeding areas – These specialized areas of the Stadium
  5 will both be made accessible under the terms of the Settlement Agreement. Work required to make

  6 the Dignity Health First Aid Room on Level 300 (Main Concourse) accessible are specified in

  7 Exhibit A and in § III.a.1.p. of the Settlement Agreement and includes reposition of furniture and

  8 other obstacles to create clear maneuvering space and accessible routes, providing level clear floor
  9 spaces at the lavatory and water closet, and replacing or relocating toilet paper dispensers to

 10 comply with ADAS and the 2019 CBC. Id. to the first aid station Settlement Agreement §

 11 III.A.1.o, p. Under § III.A.1.p of the Settlement Agreement, Defendants will also be required to
 12 remediate the conditions described therein and in Exhibit A with respect to all breastfeeding

 13 stations in the Stadium. These include equipping the doors with locks that can be operated with one

 14 hand without requiring tight grasping, pinching, or twisting of the wrist; providing stable,
 15 unmovable floor surfaces and an adequate clear floor space within the station, providing the

 16 required maneuvering clearance at the push side of the door, among other items. Id.

 17                 k.      Auditorium – Section § III.A.1.r. of the Settlement Agreement requires that
 18 Defendants provide an accessible means for gaining access to the stage and integrated accessible

 19 and companion seating in the Stadium’s Auditorium.
 20                 l.      Stadium Restaurants – In addition to its bars, clubs and suites, Levi’s
 21 Stadium has three restaurants, known as the Bourbon Pub, the Bourbon Steak and the Tailgate. The

 22 Settlement Agreement requires that Defendants ensure that these facilities are accessible to class
 23 members by requiring that at least 5% of the seating and standing spaces and any and all types of
 24 dining surfaces, tables, counter and bars are accessible to persons with mobility disabilities.

 25 Settlement Agreement § III.A.2. It also requires the remediation of the specific barriers identified
 26 in Exhibit A in the manner described therein.

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 28
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  1      -   Accessible Stadium Parking
  2           36.           The Settlement Agreement allows Defendants to locate all of the required
  3   accessible parking for the Stadium in the Stadium’s “Main Lot,” also known as “Red Lot 1” and
  4   “Green Lot 1,” rather than remove the access barriers from the various off-site or remote lots the
  5   Forty Niners leased from third parties to provide Stadium parking. This aggregation of parking in
  6   a single lot is acceptable under the 2010 ADAS and other applicable standards and, in fact, may be
  7   preferable from an access perspective, as long as the number of designated accessible spaces and
  8   van accessible spaces is properly calculated based on the number of spaces provided in each lot
  9   and the single lot used provides equivalent or greater access. Section A.3. of the Settlement
 10   Agreement assures this by requiring that Defendants provide a minimum of 282 accessible spaces
 11   in the Main Lot, 47 of which must be van accessible spaces, and increase of 84 accessible spaces
 12   over that currently provided. All such spaces must be closer the accessible Stadium entrances than
 13   any standard spaces and compliant in all respects with the applicable provisions of the 2010
 14   ADAS and the 2019 CBC. The specific configuration of the accessible parking in the Main Lot is
 15   set forth in Exhibit J to the Settlement Agreement which was prepared by Plaintiffs’ disability
 16   access expert, approved by Defendants and expressly incorporated by reference in the Settlement
 17   Agreement.
 18      -   An Accessible Interior and Exterior Path of Travel
 19           37.           The Settlement Agreement obligates Defendants to take extensive remedial
 20   measures to provide an accessible path of travel for persons with mobility disabilities both inside
 21   and outside the Stadium. Beginning with the main parking lot in which the accessible parking will
 22   be expanded and reconfigured, a new accessible path of travel will be created, fully compliant
 23   with 2010 ADAS and the 2019 CBC, which leads from the accessible parking spaces to the
 24   nearest accessible security gates at the canopy locations and then to the nearest accessible Stadium
 25   entrances. Settlement Agreement §§ III.A.3.a, III.A.1.a, III.A.1.b., Exhs. A, B, J. The accessible
 26   path of travel in the parking lot is to be configured so that persons with mobility disabilities are
 27   not required to travel behind parked cars. § III.A.3.a
 28
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  1           38.            An accessible path of travel of at least eight feet in width shall be established
  2   in the area of the main entrance plaza at Gate A, connecting Gate A to several other locations in
  3   the plaza area, including the entrances to the team store, the elevator at SAP tower, the directional
  4   and information signage in the Plaza, the “catch” statutes of Joe Montana and Dwight Clark, the
  5   gates and path of travel connecting the plaza to the Forty Niners Museum, to the accessible Box
  6   Office windows and to the Bourbon Steak, Bourbon Pub and Tailgate restaurants. Settlement
  7   Agreement Section §§ III.A.1.b. The specifications for this remedial work are set forth in the
  8   drawings comprising Exhibit B (for the Plaza area and exterior entrances to the Stadium) and
  9   Exhibit J (for the path of travel from the parking lot) to the Settlement Agreement. The accessible
 10   path of travel to be established and maintained leading to and between the Bourbon Steak,
 11   Bourbon Pub and Tailgate restaurants is described in further detail at Section §§ III.A.2 of the
 12   Settlement Agreement.
 13           39.            As to the interior of the Stadium, the Settlement Agreement ensures that
 14   class members will have an accessible path of travel throughout. Defendants are required to
 15   remediate the specific conditions in the interior path of travel identified in Exhibits A and D in the
 16   manner specified therein, and no ramps in the path of travel will be permitted to have excessive
 17   running slopes or cross slopes. Settlement Agreement Section §§ III.A.1.e. The location and
 18   specifications of the accessible interior path of travel, for all levels of the Stadium, are set forth in
 19   Exhibit D.
 20           40.            For both the exterior and interior path of travel, the Settlement Agreement
 21   requires that Defendants provide prominently featured signage (including but not limited to
 22   overhead signage and painted or other markings on the ground) that permits persons with mobility
 23   disabilities and their companions to easily identify the accessible path of travel. See, Settlement
 24   Agreement § III.A.1.b and notes to Exhibit B (entrance plaza at Gate A and exterior path of
 25   travel); Settlement Agreement §III.A.1.e and notes to Ex. D (interior circulation).
 26

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 28
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  1      -   Making the Pedestrian Right of Way in the Area Surrounding the Stadium Accessible
  2           41.           Levi’s Stadium is served by fifteen off-site parking lots. The pedestrian
  3   right of way connecting those off-site parking lots to the Stadium contain numerous barriers to
  4   access, including curb ramps that lack a flush transition to the street and have excessive running,
  5   cross, counter, and side-flare slopes; sidewalks with excessive running and cross slopes, surface
  6   gaps, and abrupt changes in level; and pedestrian signals that fall outside of reach range for
  7   persons using wheelchairs and scooters. The proposed settlement requires the City of Santa Clara
  8   to make these portions of the pedestrian right of way fully accessible to persons with mobility
  9   disabilities. In total, the Settlement Agreement requires the remediation of 454 non-compliant
 10   conditions, including 236 curb ramps barriers present on 97 curb ramps, 203 sidewalk barriers,
 11   and 15 barriers related to inaccessible pedestrian signals. Settlement Agreement § III.A.4.
 12           42.           The Settlement Agreement prioritizes barrier removal along street segments
 13   that connect the Stadium to the largest and most used off-site parking lots, including Blue Lot 1,
 14   Green Lots 1 and 2, and Red Lots 4 and 5. Settlement Agreement § III.A.4.a & Ex. H. Pedestrian
 15   right of way barriers along those streets will be remediated by no later than two years after the
 16   Effective Date. Id. The remaining pedestrian right of way barriers, which are present along street
 17   segments that connect Yellow Lots 1-3, Red Lots 3 and 7, and Green Lots 4 and 5, will be
 18   remediated by no later than six months before the end of the Compliance Period or two and a half
 19   years after the Effective Date. Settlement Agreement § III.A.4.b & Ex. I.
 20      -   Other Equitable Relief
 21           43.           In addition to the physical modifications to the Stadium and related facilities
 22   described above, the Settlement Agreement requires that Defendants undertake numerous other
 23   actions to provide or ensure access for class members. These include the implementation of
 24   specific policies and procedures for the ongoing, periodic inspection and maintenance of
 25   accessible features as described at §§ III.B.1-12; significant modifications in the ticketing policies
 26   and procedures for Stadium events to assure that persons with mobility disabilities are
 27   accommodated and provided with full and equal access to the Stadium’s facilities and services,
 28   including the ability to exchange standard tickets for tickets for accessible seating without having
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  1   to do so in person (Settlement Agreement §§ II.C.1-3); the creation and distribution of an “Access
  2   Map and Guide” to assist class members in identifying and locating accessible features and the
  3   accessible path of travel throughout the Stadium and its parking lot (Settlement Agreement §
  4   III.D); the provision of accessible vans, shuttles and golf carts, to the extent that such modes of
  5   transportation are used to service the Stadium, and the training of operators of such equipment in
  6   the proper operation of lifts or ramps on the vans or shuttles; (Settlement Agreement § III.E); the
  7   development of a training manual and the training of all Stadium and Forty Niners Personnel
  8   having responsibility in specific areas for implementation or compliance with the Settlement
  9   Agreement (Settlement Agreement § III.F); and the establishment of a written policy and
 10   procedure for handling complaints or grievances regarding the accessibility of Levi’s Stadium and
 11   its related parking and Pedestrian Right of Way facilities, and ticketing and transportation services
 12   to Persons with Mobility Disabilities. Settlement Agreement § X.
 13 Monitoring

 14          44.            The Settlement Agreement includes periodic reporting requirements for
 15   Defendants to provide specific information regarding their progress and the status of scheduled
 16   access work, among other items. Settlement Agreement § X.B. In some cases, plans for particular
 17   remediation must be provided to Class counsel prior to the work being undertaken. The parties are
 18   required to confer on a semi-annual basis to review Defendants’ efforts to implement the
 19   Agreement and to resolve any disputes. Defendants are obligated to designate, within 90 days of
 20   the effective date of the Settlement Agreement, a liaison authorized to communicate with Class
 21   Counsel and provide information pertaining to Defendants’ compliance with the agreement. Class
 22   Counsel are entitled to review designs, drawings, plans and specifications for the access work and
 23   to conduct semi-annual inspections to monitor compliance with the required remedial measures.
 24   Settlement Agreement § X.B.; XI. The Settlement Agreement provides for reasonable attorneys’
 25   fees for Class Counsel and for reasonable expert costs on an annual basis in connection with these
 26   monitoring and enforcement activities. Settlement Agreement, § 14.B.
 27
 28
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 1 Dispute Resolution
 2          45.            Enforcement of the proposed Agreement will be subject to the continuing
 3   jurisdiction of this Court. Prior to seeking Court enforcement, the parties will meet and confer to
 4   discuss and resolve any dispute that arises regarding compliance with the Agreement. See
 5   Settlement at § XII. If, within 45 days, the parties are still unable to resolve the dispute through the
 6   meet-and-confer process, they will engage in mediation through a mediator jointly selected by the
 7   parties, or, in the event that the parties cannot reach an agreement as to a mediator, by the Court.
 8   Id. Upon certification from the mediator that the parties are unable to resolve the dispute through
 9   mediation, either may file a motion with the Court to resolve the issue. See id.
10 Damages

11          46.            In consideration for the Damages Release contained in Section XIII.A. of the
12   Settlement Agreement, the Forty Niners Defendants will establish a Damages Fund of Twenty-
13   Four Million Dollars ($24,000,000) to be paid to Damages Class members for satisfaction of their
14   statutory damages claims under the California Unruh Civil Rights Act, Cal. Civ. Code § 51, et seq.
15   Settlement Agreement § VII. This represents 34.3% of the approximate $70 million maximum
16   exposure estimated by Plaintiffs’ damages expert, but that maximum figure represents a best-case
17   scenario that assumes that each and every accessible seat included in the analysis was actually
18   sold to and occupied by Class Members who encountered at least one barrier that caused them
19   “difficulty, discomfort or embarrassment” on each occasion they attended an event, and also
20   includes $9 million based on a rate of 10% interest -- a rate that is likely to have been challenged
21   by Defendants at trial. Class Members will be eligible to receive a monetary award from this fund
22   upon submission of a valid claim form. The form and content of the claim form to be used for this
23   purpose has been negotiated by the Parties and is attached to this Declaration as Exhibit 2 and to
24   the Proposed Preliminary Approval Order as Exhibit 3. By the terms of the Agreement, this form
25   will be available for download in .pdf format from the Settlement Internet Website and will also
26   be mailed to Damages Class Members on request. Settlement Agreement §§ V.C.3, V.C.4.
27   Completed claim forms can be returned by mail or submitted electronically via a fillable form that
28   will be available on, and may be submitted through the Internet Website.
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 1          47.             The validity of the claim forms and the eligibility for and amount of each
 2   Damages Class Member’s award will be determined by the Settlement Administrator in
 3   accordance with the claims process set forth in § VII.C-K of the Settlement Agreement and the
 4   damages allocation and distribution provisions of the Agreement at § VII. Under those provisions,
 5   Damages Class members who submit a valid claim form will receive a minimum of $4,000 (unless
 6   a large the number of claims require a proportional reduction of this amount) and, depending on
 7   the number of eligible claims submitted, a maximum of $80,000. To the extent that any amount
 8   remains in the fund after the initial distribution, it will either be redistributed to eligible Damages
 9   Class members on a pro rata basis or, if $100,000.00 or less, paid as a cy pres award. No part of
10   the Damages Fund will be returned to Defendants.
11 Service Awards to Class Representatives
12          48.             Subject to Court approval, the Settlement Agreement provides that
13   Defendants shall pay the sum of $7,500.00 as a service award to each Named Plaintiff. Settlement
14   Agreement § XIII.B. Plaintiffs have moved the Court for an award of reasonable service awards
15   in the amount of $5,000 for each of the three Class Representatives. These service awards will not
16   come out of the Damages Fund. The relatively small service awards were negotiated, subject to
17   approval by the Court, in order to compensate the Named Plaintiffs for the important role they
18   played for the benefit of the Classes, and the substantial time, effort, and risks they undertook to
19   secure the result obtained on behalf of the Classes. In agreeing to serve as Class Representatives,
20   they accepted the responsibility of representing the interests of all Class Members. All three of the
21   Named Plaintiffs provided information during lengthy interviews, responded to extensive written
22   discovery, provided documents, identified witnesses, assisted Class Counsel in preparing for
23   depositions and in seeking discovery, and prepared for and sat for their own depositions. They
24   also assisted in preparing and evaluating the case for mediation, and in the settlement process
25   itself. As will be discussed in the motion for service awards that Class Counsel will file during the
26   class notice period, the amount sought here is reasonable under the circumstances.
27
28
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  1 The Release of Claims
  2          49.            In exchange for the equitable relief provided for by the Agreement, Class
  3   Members and Plaintiffs release “any and all claims that are the subject of, included within, and/or
  4   arise from this lawsuit, including without limitation, all claims, liabilities, obligations, demands,
  5   actions, and claims under Title II and Title III of the ADA, California Civil Code § 51, et seq., and
  6   their accompanying regulations that were brought or could have been brought based on the facts
  7   alleged in the Complaint against the Released Parties for injunctive or declaratory relief only
  8   relating to Conditions that allegedly deny access to the facilities specified in Exhibit A and access
  9   to Defendants’ ticketing services for wheelchair accessible and companion seating.” Settlement
 10   Agreement § XIII.A.1. This release only applies for the duration of the agreement, i.e. three and a
 11   half years after it becomes effective. Id., Settlement Agreement § XVI. The scope of the release
 12   for the Damages Class is essentially the same, except that it only releases claims for statutory
 13   damages that were brought or could have been brought based on the facts alleged in the Complaint
 14   for the period of time up to the date on which the Court grants Preliminary Approval of the
 15   Settlement Agreement. Settlement Agreement §XIII.A.2. Both releases exclude the Stadium
 16   Museum. § XIII.A.3.
 17 Reasonable Attorneys’ Fees, Costs and Expenses

 18          50.            On August 29, 2019, after damages and all major injunctive relief issues
 19   were resolved, a separate mediation was conducted with Mediator Mark S. Rudy, Esq. in an effort
 20   to reach agreement as to the amount of attorneys’ fees, costs and expenses to be paid by
 21   Defendants as part of the Settlement. It was agreed, and the proposed Settlement provides, that
 22   Class Counsel will apply to the Court for an award of reasonable attorneys’ fees, costs and
 23   expenses in an amount not to exceed $13,457,152.40. See Settlement Agreement at § XIV. Like
 24   the named Plaintiffs’ service awards, Class Counsel’s attorneys’ fees, expenses, and costs will not
 25   be paid from the $24 million Damages Fund, but will instead be paid separately by the
 26   Defendants. The proposed award of fees and costs includes approximately $1,200,000.00 in costs
 27   and a modest lodestar multiplier of approximately 1.5 (to the extent that it does not exceed the
 28   cap) on Class Counsel’s lodestar, for which Class Counsel are eligible under California law.
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  1          51.            The payment of fees, costs and expenses to Class Counsel will not diminish
  2   the injunctive relief or damages that the Settlement guarantees to the Plaintiff Classes.
  3 Alleged Barriers for Which No Remediation is Provided
  4          52.            Of the 2,699 access barriers alleged in the Fourth Amended Complaint and
  5   its Exhibits, only 25 are not identified for remediation in the Settlement Agreement. This
  6   represents less than 1% of the barriers identified in the Complaint. These alleged barriers include:
  7   18 alleged barriers regarding the lack of clear space on counters in the Stadium concessions; 4
  8   alleged barriers regarding the location of the accessible toilet compartment door openings and
  9   whether they were located too far from the side wall or partition; an alleged barrier regarding the
 10   lack of wheelchair maneuvering space at urinals; and 2 alleged barriers regarding the existence of
 11   dirt sections of the pedestrian right of way serving the remote parking lots.
 12          53.            Plaintiffs compromised regarding the clear space on the counters because of
 13   a recent U.S. Access Board interpretive guidance in which the Board stated that this type of
 14   condition did not violate the 2010 ADAS. Similarly, the parties’ experts had a good-faith
 15   disagreement regarding the correct interpretation of the requirement regarding the location of
 16   accessible toilet compartment door openings and the side walls or partitions. The lack of clear
 17   space for wheelchair users at urinals was not remediated because the Stadium’s restrooms have
 18   designated accessible wheelchair stalls and the Settlement provides comprehensive remediation
 19   regarding same. Settlement at § III.A.1.i.; Ex. A at items 823 through 1502.1. Finally, it was not
 20   necessary to remediate the two dirt sections in the pedestrian right of way because the Settlement
 21   provides compliant accessible parking in the Main Lot immediately adjacent to the Stadium, and
 22   compliant paths of travel from the Main Lot to the Stadium’s entrances.
 23                PLAINTIFFS’ APPLICATION FOR REASONABLE ATTORNEYS’
 24                           FEES, COSTS AND LITIGATION EXPENSES
 25          54.            Class Counsel seek a determination that their reasonable lodestar is
 26   $11,605,473, that their out-of-pocket costs and litigation expenses are $1,198,390.14, and that
 27   their total lodestar plus costs and expenses is $12,803,863.14. In addition, Class Counsel seek a
 28   multiplier on their reasonable lodestar that is sufficient to bring them up to the cap of
            [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
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  1   $13,457,152.40 specified in the Settlement Agreement, and seek a total award of fees, costs and
  2   expenses in that amount. See Settlement Agreement § XIV. The amount is reasonable
  3   considering the enormous expenditure of time and resources that this factually and legally
  4   complex matter required on a contingency basis over the course of three years of hard-fought
  5   litigation.
  6              55.        This litigation challenged the accessibility of the entirety of the newly-
  7   constructed Levi’s Stadium, its parking lots, and connecting paths of travel, as well as the
  8   ticketing policies and practices of the Stadium operators. It represents a hard-fought solution to a
  9   problem that affects thousands of sports fans and concert-goers with mobility disabilities who
 10   desire to attend events at this major Bay Area venue. Such large-scale, systemic disability access
 11   cases are unusual and difficult to litigate. The work involved in litigating this case was intensive
 12   because of the size of the facility at issue, the number of access barriers involved, the number of
 13   complex questions of law and facts at issue, and because of the Defendants’ scorched earth
 14   defense. The fees, costs and litigation expenses incurred in this matter are the direct result of these
 15   factors.
 16                         SUMMARY AND OVERVIEW OF WORK PERFORMED
 17                         BY THE SCHNEIDER WALLACE FIRM IN THIS CASE
 18              56.        Schneider Wallace served as the lead firm for the Plaintiff Classes in this
 19   matter. Our firm had an integral role in representing the Plaintiff Classes at each stage of the
 20   proceedings in this case, including the pleading stage, discovery, class certification, expert
 21   discovery, dispositive motions, trial preparation and settlement. SWCK either took the lead in
 22   preparing, or assisted the co-counsel firms in preparation of, all major motions. In addition,
 23   Schneider Wallace attorneys took or defended 38 out of the 48 depositions in this case, including
 24   11 of the 16 expert depositions. We also played a critical role regarding document discovery,
 25   preparing and serving most of Plaintiffs’ requests for production of documents to Defendants, as
 26   well as to third-party persons and entities who had relevant information about the claims and
 27   defenses herein. SWCK created and maintained the document database that contained the various
 28   productions of documents that were made by Defendants, Third Party Defendant Turner-Devcon
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 1   and numerous third party entities, and that was used by Class Counsel for purposes of deposition
 2   and trial preparation. Our firm also played a central role in the mediation process, including the
 3   drafting of the Settlement Agreement and the detailed remedial measures specified therein.
 4                                                  Motions
 5          57.            SWCK prepared Plaintiffs’ opposition to Defendants’ two motions to
 6   dismiss, with GBDH preparing Plaintiffs’ response to Defendants’ contention that Plaintiffs did
 7   not comply with California’s government tort claim requirements. Plaintiffs prevailed in major
 8   part, and this Court issued a significant opinion regarding Ms. Nevarez’s standing under Article III
 9   to bring claims for associational discrimination as the companion of a disabled person. Nevarez v.
10   Forty Niners Football Co., LLC, 2017 WL 3288634, at ** 5-8 (N.D. Cal. Aug. 1, 2017).
11          58.            SWCK prepared Plaintiffs’ opening and reply briefs with respect to the
12   successful motion for class certification. SWCK worked with co-counsel to prepare the class
13   member and expert declarations that were submitted in support of class certification. GBDH
14   prepared Plaintiffs’ reply to the opposition to class certification that was filed by Third Party
15   Defendant Turner Devcon. SWCK also prepared the declarations of many class members in
16   support of class certification, and worked extensively on the Declarations submitted by access
17   experts Gary Waters, Jeff Mastin and Scott McBrayer.
18          59.            SWCK prepared several motions to compel of particular significance in this
19   case. Among others, SWCK prepared a motion to compel Plaintiffs’ site inspection of the
20   Stadium. That motion was granted (ECF 105). SWCK also prepared Plaintiffs’ first motion to
21   compel class member contact information. That motion was also granted (ECF 114). It provides
22   some indication of the obdurate manner in which this case was defended that our co-counsel at
23   GBDH were later forced to file a second motion to compel a complete production of class member
24   contact information despite the Court’s prior Order. Further, SWCK prepared a motion to compel
25   the production of electronically stored information (ESI), including the emails and attachments of
26   Defendants’ officials, which was granted (ECF 241). As discussed above, there were many other
27   motions to compel that were granted in whole or in part by Magistrate Judge van Keulen, and
28   which were prepared by SWCK. The foregoing is merely illustrative.
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 1                                               Depositions
 2          60.            SWCK deposed 36 witnesses, including 11 expert witnesses and 16 Rule
 3   30(b)(6) witnesses. These witnesses included, but were not limited to, the following:
 4                a. Jim Mercurio: Mr. Mercurio was the Vice President of Stadium Operations and
 5 General Manager for the Forty Niners Stadium Operations Company. He was designated by

 6 Defendants as a 30(b)(6) witness for policies and practices regarding disability access complaints,

 7 applicable disability access standards and remediation of access barriers at the Stadium and its

 8 parking lots and was deposed both in that capacity on those topics and in his individual capacity He
 9 submitted a declaration in opposition to Plaintiffs’ Motion for Class Certification stating that he

10 “was involved in the planning related to the construction and design of Levi’s Stadium related to

11 multiple issues including accessibility issues” and was involved and consulted on access issues
12 during construction. His testimony was critical to establishing certain admissions on the part of the

13 Forty Niner Defendants with respect to the inaccessibility of the parking lots used by the Stadium

14 and the Forty Niners’ policies and procedures with respect to access issues.
15                b. David Tran: Mr. Tran is a program manager for the City of Santa Clara who served
16 as the head of the City’s permit center and also performed the functions of a Senior Plan Examiner

17 for the City in connection with the design and construction of Levi’s Stadium. He was identified as

18 a 30(b)(6) witness on issues that included access improvements or alterations to the Stadium

19 impacting disability access, the means by which such work is documented or tracked, the results of
20 any surveys, evaluations, inspections or other efforts to evaluate the accessibility of the Stadium,

21 and the designs, plans, close out procedures and approval process for the Stadium. Mr. Tran was

22 also produced as a witness on behalf of the City to testify at as separate session with respect to
23 similar topics pertaining to parking lots.
24                c. Dennis Ng: Mr. Ng was a Program Manager for the City of Santa Clara who was
25 designated by the City Defendants to testify on their behalf with respect to the pedestrian right of
26 way leading from the relevant parking lots to the Stadium, including the history of construction of

27 and alterations to the sidewalks and curb ramps, the design standards used for right-of-way
28 construction and repairs, and surveys undertaken to determine the condition of the right-of-way.
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  1 His testimony was instrumental in establishing the scope of Plaintiffs’ pedestrian right-of-way
  2 claims and the access standards to be applied.

  3              d. Craig Mobeck: Mr. Mobeck was the Director of Public Works for the City of Santa
  4 Clara. Class Counsel took his deposition as the City’s designated Rule 30(b)(6) witness on the
  5 City’s policies and procedures for ensuring that the City’s pedestrian right-of-way and City parking

  6 lots were accessible to persons with disabilities, and the extent to which the City took any steps to

  7 ensure that the off-site parking lots used by the Forty Niners for Levi’s Stadium events through the

  8 City’s off-site parking program are accessible.
  9              e. Kevin Riley: Mr. Riley is the Director of the Planning Department for the City of
 10 Santa Clara and was designated to testify as the City’s Rule 30(b)(6) witness on topics related to

 11 the off-site parking permitting program adopted by the City to enable the Forty Niners to lease off-
 12 site parking lots to provide parking for Levi’s Stadium. Testimony provided by Mr. Riley covered

 13 the identity and terms of each off-site permit obtained by the Forty Niners and allowed Class

 14 Counsel to identify, on a yearly basis, the many off-site lots used by Defendants, the number of
 15 spaces available to Defendants in each of those lots and the extent to which any of those spaces

 16 could be considered accessible. His testimony was key to Plaintiffs’ claim that the Forty Niner

 17 Defendants failed to provide the required number of accessible parking spaces for persons with

 18 mobility disabilities.

 19         1.      Jonathan Harvey: Plaintiffs serve a deposition subpoena on the principal
 20 construction contractor for Levi’s Stadium, Third Party Defendant Turner/Devcon Joint Ventures,

 21 seeking Rule 30(b)(6) testimony within the firm’s knowledge on 10 separate topics related to the

 22 design and construction of the Stadium, including, among others, the policies and practices for
 23 ensuring compliance with disability access requirements, design standards used, the accessibility of
 24 the Stadium’s suites, the location and scope of any access improvements made, the documentation

 25 of the construction work performed, the identity and responsibilities of subcontractors, consultants,
 26 employees and vendors with any responsibility for access for persons with mobilities at the

 27 Stadium, and the design, drawings, plans, specifications, and close out procedures for the Stadium.
 28 Mr. Harvey was designated as the sole witness for each of the topics specified in the deposition
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 1 subpoena and Rule 30(b)6 notice, and was examined on those topics over the course of three
 2 separate days. His testimony provided important background information on the construction of the

 3 Stadium and included several admissions and information that enabled Plaintiffs to perform
 4 important follow-up discovery.
 5              f. Robert Jay Harrison: Mr. Harrison was the City Building Inspector responsible for
 6   the inspection of the Stadium. He was deposed on the inspection process and documentation of the
 7   results, the extent to which the Stadium was inspected for disability access, and the criteria and
 8   standards used for the inspections.
 9              g. Lanson Nichols: Mr. Nichols is the Vice President of Sports Architecture for the
10 architectural firm HNTB, which served as the architect of record for Levi’s Stadium. Mr. Nichols

11 was deposed as a Rule (30)(b)(6) witness to obtain testimony about the firm’s role in the design of
12 the Stadium, the disability access standards used in the design of the Stadium, the basis for various

13 design decisions and the possible use of alternative access designs, products or technologies that

14 might result in equivalent or greater access, and the firm’s communications with Defendants and
15 other consultants or contractors involved in the design and construction of the Stadium. Mr.

16 Nichols testified on all of these topics and also provided important testimony concerning the failure

17 to employ an access expert consultant throughout the full design phase of the Stadium Project and

18 the lack of in-house expertise in disability access issues.

19              h. Jim Terry: Mr. Terry is the principal of Evan Terry Associates, a disability access
20   consulting firm that was engaged by HNTB, pursuant to its contract with Defendants, to provide
21   disability access advice and consultation services, including the review of official design drawings
22   at two phases of the design process. Class Counsel elicited important testimony from Mr. Terry
23   concerning the advice he provided to Defendants during the design of Levi’s Stadium and his
24   communications with Defendants’ representatives and other consultants regarding access issues.
25              i. Ed Roether: Mr. Roether was a disability access expert engaged by Defendants both
26   as a consultant in the design phase of the construction of Levi’s Stadium and as a rebuttal expert
27   witness in the litigation. Plaintiffs deposed Mr. Roether both in his personal capacity and as an
28   expert witness. During the course of his deposition testimony, Class Counsel was able to elicit
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 1    several important concessions from Mr. Roether on access issues that were otherwise contested by
 2    Defendants.
 3                 j. Kim Blackseth: Mr. Blackseth was Defendants’ principal disability access expert
 4    and was examined by Mr. Wallace on the opinions set forth in both his opening and rebuttal
 5    reports and his basis for those opinions. The examination resulted in dozens of important
 6    admissions concerning the inaccessibility of the Stadium.
 7                 k. John Wasson: Mr. Wasson was the construction agent/project manager on the
 8    Stadium for much of the period of time prior to completion of the Stadium and continued to serve
 9    as a consultant to the Forty Niners through the litigation. Mr. Wasson communicated regularly
 10   with the Stadium’s architect of record and access consultants Evan Terry Associates throughout
 11   this period. Pursuant to subpoena, he produced a large cache of documents related to the
 12   development of the Stadium and was deposed by Class Counsel on those documents and the
 13   discussions and decisions bearing on the accessibility of the Stadium.
 14                l. Jamie Brandt: Mr. Brandt was the Vice President of Sales and Service for the Forty
 15   Niner Defendants. They designated Mr. Brandt as the Rule 30(b)(6) witness regarding ticketing
 16   policies and practices. He submitted a declaration in opposition to Plaintiffs’ Motion for Class
 17   Certification stating that he was responsible for creating and implementing ticketing policies and
 18   practices, including ticketing for accessible seating. He was also designated to testify on behalf of
 19   the Forty Niner Defendants on the subject of the ticketing database and the production of the data
 20   made available to Plaintiffs for their expert’s damages analysis. He was deposed on two separate
 21   dates and examined on those topics during the course of the litigation. His testimony was
 22   instrumental to Plaintiffs’ understanding of Defendants’ ticketing policies and procedures and the
 23   recordkeeping and data maintenance with respect to ticketing and seating.
 24          61.             Defendants deposed 12 of Plaintiffs’ witnesses, including the named
 25   Plaintiffs. Along with Ms. Cabalo, I defended the depositions of Plaintiffs Abdul Nevarez and
 26   Priscilla Nevarez. Defendants deposed 9 of Plaintiffs’ expert witnesses. SWCK defended 7 of
 27   those depositions.
 28          62.             Altogether, the parties took more than 45 days of deposition.
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 1                                                 Experts
 2           63.           SWCK, along with co-counsel, worked closely with Plaintiffs’ experts to
 3   prepare their Rule 26 reports and their declarations regarding class certification and summary
 4   judgment. SWCK, along with Ms. Cabalo of Peiffer Wolf, worked with Plaintiffs’ experts Gary
 5   Waters and Scott McBrayer to prepare their reports and declarations regarding the Stadium. We
 6   also assisted co-counsel GBDH in working with Jeff Mastin to prepare his reports and declarations
 7   regarding the Stadium’s parking lots, and the pedestrian rights running between those lots and the
 8   Stadium. SWCK also worked with Plaintiffs’ rebuttal experts, Dr. Steinfeld and Barry Atwood, to
 9   prepare their Rule 26 reports.
10           64.           SWCK worked with ticketing services experts Matt Gasser and William
11   Michael Rafael in the preparation of their Rule 26 reports regarding Plaintiffs’ claims that
12   Defendants’ ticketing services did not provide full and equal access to persons with mobility
13   disabilities.
14           65.           Finally, SWCK, along with Adam Wolf, worked with Plaintiffs’ damages
15   expert, David Breshears of Hemming Morse, in the preparation of Plaintiffs’ damages analysis.
16                                       Document Discovery and Analysis
17           66.           SWCK served requests for production of documents regarding the following
18   subject areas, among others: the design and construction of the Stadium (including the dates
19   thereof); groundbreaking and the start of construction; the disability access standards used in the
20   construction of the Stadium; ADA compliance; documents regarding accessibility that were
21   prepared by the architect of record, HNTB; disability access plan review by the City of Santa
22   Clara; field inspections of the Stadium during construction and at the close-out and permit stages;
23   construction tolerances or dimensional tolerances regarding the built features of the Stadium;
24   policies and procedures regarding disability access to the Stadium; disability access to ticketing
25   and seating services; the accessibility of the Stadium’s various parking lots; access to
26   transportation services running from the parking lots to the Stadium; policies and procedures
27   regarding the maintenance of disability access features; complaints by or on behalf of visitors with
28   mobility disabilities; any remedial measures undertaken by Defendants during the course of this
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 1    litigation; and Defendants’ affirmative defenses. All of these subject areas were important to the
 2    claims and defenses herein.
 3           67.            Defendants and Third-Party Defendant Turner Devcon produced over 3.4
 4    million pages of documents in response to Plaintiffs’ written discovery. In addition, Plaintiffs
 5    obtained, by subpoena or informally, substantial productions of documents from a large number of
 6    third parties who had been involved in the planning or construction of Levi’s Stadium or who
 7    provided services to the Forty Niner Defendants of a type that impacted Plaintiffs’ disability
 8    access claims. These included HNTB, Evan Terry Associates, AMB Industry Groups, Bauer
 9    Transportation, Corinthian Transportation, Ed Roether, Elite Security Services, GHD Construction
 10   Services, Jack Hill, Landmark Parking Services, Ticketmaster-LiveNation, and John Wasson.
 11          68.            Much of Defendants’ production was made without Bates Stamp
 12   Numbering, including a very large production of ESI that was produced shortly before the close of
 13   discovery under a deadline imposed by Judge van Keulen and that appeared not to have been
 14   reviewed for relevance or responsiveness. This mass of documents needed to be organized and
 15   reviewed by Class Counsel for purposes of ascertaining their relevance to the claims and defenses
 16   at issue, and their usefulness to obtain admissions. As documents were produced by Defendants
 17   or other third-party entities, they were uploaded to the document database that was maintained by
 18   SWCK. The database was maintained in Relativity, so that counsel were able to use term searches
 19   to identify documents that were relevant to Plaintiffs’ claims. Those documents were then used in
 20   deposition to obtain admissions, or for purposes of follow-up questions regarding foundational
 21   facts or Defendants’ affirmative defenses (such as dimensional tolerances).
 22          69.            SWCK organized and conducted the bulk of Plaintiffs’ analysis of the
 23   documents in this case. Ms. Avilucea, who managed electronic discovery and document
 24   management for SWCK, ensured that Defendants had produced these documents to Plaintiffs in a
 25   usable format, troubleshooted problems with the document production when they arose, and acted
 26   as the liason with representatives of JND eDiscovery, the firm engaged by SWCK to upload and
 27   host the documents as they were produced and provide access to them through Relativity. Ms.
 28   Avilucea also worked with Mark Johnson and Travis Close to design and update a detailed
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 1   document review protocol, train document reviewers in the use of that protocol, and oversee and
 2   provide direction with respect to the analysis and review process and specific searches to be
 3   conducted. As discussed below, SWCK attorneys then searched this database to identify
 4   documents with potential admissions. Memoranda were prepared regarding potentially important
 5   documents that might need to be used or explored in deposition with particular witnesses, or that
 6   required follow-up discovery from Defendants or other third-party entities involved in the
 7   construction of the Stadium or disability access to the Stadium.
 8                                   Mediation and Settlement Efforts
 9          70.            Class Counsel worked collaboratively on all aspects of settlement. Working
10   with co-counsel, SCWK prepared numerous mediation briefs for the eight formal mediations that
11   took place in this case, as well as numerous drafts of the Settlement Agreement and its voluminous
12   exhibits, including Exhibits A-L, which identified each of the more than 2,500 access barriers
13   identified by Plaintiffs’ experts and provide the detailed drawings and specifications for the access
14   work to be performed pursuant to the Settlement. Because this case involved such a wide range of
15   physical access and operational issues regarding the Stadium, its parking lots, and the pedestrian
16   rights of way connecting them, Class Counsel took primary responsibility for different issues and
17   types of barriers during the settlement discussions. As a result of these joint efforts, we achieved
18   an excellent settlement that included both comprehensive injunctive relief and substantial money
19   damages on behalf of the Plaintiff Classes.
20                                           Trial Preparation
21          71.            At the time of settlement, the experienced class action trial attorneys at
22   SWCK were in the process of trial preparation. This included organizing and preparing for a
23   focus group with the National Jury Project. In addition, SWCK had begun work on jury
24   instructions and a proposed verdict form.
25                      Minimization of Inefficiencies and Duplication of Efforts
26          72.            Class Counsel made reasonable efforts to litigate in an efficient manner.
27   Although three firms were involved in the prosecution of this case, the resources devoted to the
28   case from each firm were reasonable, and projects and tasks were generally divided among the
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  1   firms in a manner designed to avoid duplication of effort or inefficiencies. This was accomplished
  2   through periodic team meetings, scheduled as needed and usually conducted by telephone, at
  3   which agendas and task lists were distributed. In this way, specific work assignments were made
  4   to each firm, and duplication of efforts was minimized. Examples of this are described above.
  5          73.            Within the Schneider Wallace firm, work was performed in an efficient
  6   manner. I acted as the primary decision maker. As a general matter, legal theories, model
  7   pleadings, and deposition outlines were developed by myself in the first instance, and then
  8   circulated to the associates for adaptation. Large projects and assignments were also given to of
  9   counsel and senior associates, including Mark T. Johnson and Sarah Colby. The time-intensive
 10   process of contacting and interviewing class members, developing, reviewing and analyzing the
 11   voluminous factual record, and propounding and responding to discovery and meet and confer
 12   regarding same, was performed mostly by associates and paralegals. This internal allocation of
 13   work ensured that all litigation tasks were performed at the most appropriate billing rate.
 14                     Summary of Attorneys’ Fees, Costs and Litigation Expenses
 15                            Rates (Including “Historic Rate” Information)
 16          74.            Class Counsel have reviewed the rates sought for the attorneys, law clerks
 17   and paralegals for whom compensation is sought in this Motion. Based on our experience and
 18   knowledge of the market, the rates sought are reasonable and fall within the market range for
 19   attorneys of comparable experience, expertise and reputation who provide similar services in the
 20   Northern District of California. Class Counsel make their application based on 2019 rates even
 21   though work on this matter has continued into 2020.
 22          75.            Plaintiffs also submit the Declaration of Richard M. Pearl, Esq., an expert
 23   and recognized authority on rates and attorneys’ fees in California. Mr. Pearl has reviewed the
 24   2019 rates sought by Class Counsel, and it is his expert opinion that those rates are reasonable and
 25   fall within the market range for attorneys of comparable experience, expertise and reputation who
 26   provide similar services in the Northern District of California.
 27          76.            Plaintiffs also have submitted the Declaration of José R. Allen, Esq. Mr.
 28   Allen has reviewed the 2019 rates sought by Class Counsel. It is his experience and understanding
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  1   that those rates are reasonable and fall within the market range for attorneys of comparable
  2   experience, expertise and reputation who provide similar services in the Northern District of
  3   California.
  4          77.            SWCK’s hourly rates are routinely approved by federal and state courts
  5   within the Bay Area. The 2019 rates requested herein for SWCK represent only a modest increase
  6   over the rates that were approved by other courts as being reasonable in 2018, 2016 and 2015.
  7   SWCK’s 2018 rates were recently approved in the matter of Shaw v. AMN Services, LLC, Case
  8   No. 3:16-cv-02816 JCS (N.D. Cal. May 31, 2019). In its Order Granting Plaintiffs’ Motion for
  9   Reasonable Attorneys’ Fees and Costs, the Court approved SWCK’s rates and found “[t]he hourly
 10   rates of Class Counsel Schneider Wallace Cottrell Konecky Wotkyns LLP also have consistently
 11   and recently been approved as reasonable by the courts. See, e.g., Villalpando v. Exel Direct Inc.,
 12   2016 WL 7740854, at *1 (N.D. Cal. Dec. 12, 2016); see also Knapp v. Art.com, Inc., No. 3:16-cv-
 13   00768-WHO (N.D. Cal. October 24, 2018); Janssen v. Square, Inc., Case No. CGC-16-549980,
 14   Superior Court of California, County of San Francisco, Order dated September 26, 2018; Winans
 15   v. Emeritus Corp., 2016 WL 107574, at *8 (N.D. Cal. Jan. 11, 2016); Carnes v. Atria Senior
 16   Living Inc., Case No. 14-cv-02727-VC, Dkt. No. 115, at 4-5 (N.D. Cal. July 12, 2016); Meza v.
 17   S.S. Skikos, Inc., Case No. 3:15-cv-01889-THE, Dkt. No. 58, at 4 (N.D. Cal. May 25, 2016).” Id.
 18   at ¶ 8. A true and correct copy of this Order and the Declaration Of Joshua Konecky In Support
 19   Of Plaintiffs’ Motion For Reasonable Attorneys’ Fees And Costs identifying the rates that were
 20   approved at ¶¶ 37-46 is attached as Exhibit B.
 21          78.            SWCK’s 2018 rates were also approved by Judge Thomas Kuhnle of Santa
 22   Clara Superior Court in the matter of Asalati v. Intel Corp., No. 2016-1-CV-302615 (Santa Clara
 23   Cnty. Super. Ct., Oct. 29, 2018). A true and correct copy of this Order and of the Declaration of
 24   Carolyn Hunt Cottrell In Support Of Plaintiff’s Motion For Final Approval Of Class And
 25   Collective-Action Settlement identifying the rates that were approved at ¶ 125 and Ex. 2 are
 26   attached as Exhibit C. SWCK’s 2019 rates are only modestly higher than the 2018 rates, and are
 27   also reasonable.
 28
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  1          79.             SWCK’s 2016 rates were approved by Judge Winifred Smith of Alameda
  2   County Superior Court in the matter of Marine v. Interstate Distributor Corp., No. RG07358277
  3   (Ala. Cnty. Super. Ct., November 18, 2016). A true and correct copy of Judge Smith’s Order of
  4   Final Approval and Judgment and the Plaintiffs’ motion for fees and costs showing the rates that
  5   she approved are attached as Exhibit D.
  6          80.             SWCK’s 2015 rates were approved by Judge Consuelo B. Marshall in Willits
  7   v. City of Los Angeles, No. CV 10-5782 CBM (RZx), 2016 WL 11678643, at *3 (C.D. Cal. Aug.
  8   26, 2016). SWCK’s 2015 rates were also approved by the District Court in Winans v. Emeritus
  9   Corp., Case No. 13-cv-03962-HSG, 2016 WL 107574, at *8 (N.D. Cal. Jan. 11, 2016) (“The
 10   Court further finds that the billing rates used by class counsel to calculate the lodestar are
 11   reasonable and in line with prevailing rates in this district for personnel of comparable experience,
 12   skill and reputation.”).
 13          81.             Many firms increase their hourly rates by anywhere from five (5) to ten (10)
 14   percent per year. Courts have recognized that this is appropriate. For example, a ten percent
 15   (10%) increase in 2016 rates over 2015 rates was found reasonable in Our Children’s Earth
 16   Foundation v. National Marine Fisheries Service, No. 14-cv-01130-WHO, 2017 WL 783490, at
 17   *11 (N.D. Cal. Mar. 1, 2017) (absent “specific justification” supporting higher increase, plaintiff’s
 18   attorneys entitled to 10 percent increase in 2016 rates over 2015 rates”). SWCK maintained the
 19   same billing rates in 2017 and 2018. However, in early 2019, upon review of the prevailing rates
 20   in the Bay Area, our firm decided to raise its rates to accord with increases in the prevailing range
 21   of market rates for complex litigation, including class action matters. As part of this increase, we
 22   raised our senior partner rates by approximately 10%.
 23          82.             The following chart show the “historic rates” for SWCK’s attorneys and
 24   paralegals who performed work on the above-captioned matter:
 25                  Hourly Rates History of Schneider Wallace Cottrell Konecky LLP

 26     Attorney /        Law School /        2019         2018         2017        2016         2015
        Paralegal         Year of             Rate         Rate         Rate        Rate         Rate
 27                       Graduation
        Guy B.            Harvard Univ.,      $925         $835         $835        $795         $750
 28     Wallace           1993
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 1      Mark T.          U.C.L.A., 1977       $875         $825        $825        $775        $700
        Johnson
 2      Sarah Colby      U.C. Hastings,       $840         $775        $775        $700        N/A
                         1997
 3
        Travis Close     Northeastern         $680         $650        $600        N/A         N/A
 4                       Univ., 2015
        Ryan Bonner      Southwestern         $625         $600        $600        N/A         N/A
 5                       Univ., 2014
        Abigail          Suffolk Univ.,       $680         $625        $625        $500        N/A
 6      Avilucea         2014
        Edgar            St. John’s Univ.,    $625         $600        N/A         N/A         N/A
 7      Olivares         2007
        Justin Proctor   Temple Univ.,        $625         $600        N/A         N/A         N/A
 8                       2007
 9      William          U.C.S.F., 2017       $575         $575        N/A         N/A         N/A
        Stewart
10      Jennifer         New York             $725         $675        $675        $550        $450
        Uhrowczik        Univ., 2009
11      Sam Marks        N/A                  $300         $300        $300        $225        $200

12
                               The Schneider Wallace Attorneys and Their Role
13
            The backgrounds and hourly rates of Plaintiffs’ attorneys and staff who worked on this
14
     matter are as follows:
15
             83.              Guy Wallace is a 1993 graduate of Harvard Law School. He has been
16
     practicing law for 25 years. From 1993 to 1994, he was a Skadden Fellow at the Disability Rights
17
     Education and Defense Fund. From 1994 to 1998, he was a Skadden Fellow and then Staff
18
     Attorney at Disability Rights Advocates. Between March 1998 and June 2000, he was a Staff
19
     Attorney at the Legal Aid Society of San Francisco/ Employment Law Center and served as head
20
     of the disability rights practice. Mr. Wallace became a partner in the firm then known as Schneider
21
     & Wallace in June 2000. Mr. Wallace is recognized as one of the best disability rights litigators in
22
     the nation, and courts have found that he has special expertise in disability rights and class action
23
     litigation. See, e.g., Lopez v. S.F. Unified Sch. Dist., 385 F. Supp. 2d 981, 991 (N.D. Cal. 2005).
24
     Mr. Wallace serves on the Board of the San Francisco Trial Lawyers Association. He has been a
25
     “Super Lawyer” for the past ten years.
26
             84.              Mr. Wallace served as lead counsel for Plaintiffs’ in this case. His work on
27
     this case included almost all aspects of the litigation, including work on the pleadings, opposing
28
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 1   Defendants’ multiple motions to dismiss, the preparation of the class certification motion, expert
 2   reports, taking and defending thirteen full day depositions including Rule 30(b)(6) depositions and
 3   expert witness depositions, as well as defending the depositions of Mr. Nevarez and Ms. Nevarez
 4   (with Ms. Cabalo), particular motions to compel, summary judgment, trial preparation and
 5   settlement.
 6          85.            The 2019 hourly rate that my law firm seeks for my own services in this case
 7   is $925.00 per hour. Having reviewed the market, my firm has determined that my rate is within
 8   the market range charged by attorneys of comparable experience, expertise, and reputation for
 9   similar services in the Northern District of California. My background and experience are
10   described supra at ¶¶ 4-6. Courts have recognized that I have special expertise in disability rights
11   and class action litigation. See, e.g., Lopez v. S.F. Unified Sch. Dist., 385 F. Supp. 2d 981, 991
12   (N.D. Cal. 2005).
13          86.            Mark Johnson is of counsel at SWCK. He received his J.D. from the
14   University of California, Los Angeles in 1977 and his B.A. in political science from the University
15   of California at Berkeley in 1974. He has extensive experience in representing plaintiffs in the
16   areas of consumer protection, ERISA, employment and disability discrimination, and has
17   specialized in class action litigation for more than twenty (20) years. Before relocating to the Bay
18   Area in 1999, Mr. Johnson was the Director of the Western Law Center for Disability Rights in
19   Los Angeles and the disability rights clinical law program at Loyola Law School.
20          87.            Mr. Johnson’s work on this case included taking fifteen deposition and
21   defending three. He was responsible for taking the depositions of key Rule 30(b)(6) witnesses
22   from both the City and Stadium Defendants and of the Forty-Niner Defendants on topics that
23   included, among others, the design standards used and new construction and alterations performed
24   to the pedestrian right of way leading to the stadium, the parking lots and spaces leased by the
25   Forty Niners to provide parking for Levi’s Stadium, and the Forty Niners ticketing database and
26   records of class member attendance. Mr. Johnson also prepared for and took the Rule 30(b)(6)
27   deposition of the Architect of Record for the Stadium, HNTB. He also took the depositions of two
28
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  1   of Defendants’ access experts and defended the depositions of two of Plaintiffs’ access experts at
  2   deposition and Plaintiffs’ damages expert.
  3          88.             In addition to the above-described work, Mr. Johnson took the lead on all
  4   aspects of Plaintiffs’ claims involving the accessibility of parking and the pedestrian right of way
  5   for the Stadium, worked extensively on the issue of class damages, worked with the firm’s
  6   document management attorney to develop the protocol for reviewing, analyzing and coding
  7   documents produced by Defendants and third parties and, with Ms. Avilucea, oversaw the
  8   document review effort. Mr. Johnson also developed document requests for service on
  9   Defendants, assumed primary responsibility for Plaintiffs’ multiple motions to compel, and
 10   actively participated in all of the mediations and settlement negotiations. Mr. Johnson’s 2019
 11   hourly rate is $875.
 12          89.             Sarah Colby was an associate at SWCKW. Ms. Colby received her J.D.
 13   from the University of California, Hastings in 1997 and her B.A. from Princeton University in
 14   1990. She clerked for the Hon. Charles A. Legge (Ret.) of the Northern District of California from
 15   1997-87. She was a Skadden Fellow at the Legal Aid Society of San Francisco—Employment
 16   Law Center form 1998-2000.
 17          90.             Ms. Colby’s work on this case included taking and defending eight
 18   depositions (including Rule 30(b)(6) depositions and expert depositions), drafting portions of the
 19   motion for class certification, preparation of expert reports and declarations, preparation of several
 20   motions to compel, as well as work on various aspects of discovery and trial preparation. Ms.
 21   Colby worked on several issues in this case, but had a particular focus on Plaintiffs’ claims that
 22   Defendants’ policies and procedures regarding ticketing and access to seating services violated the
 23   ADA and the Unruh Act. Ms. Colby’s 2019 hourly rate is $840.
 24          91.             Jennifer Uhrowczik was an associate at SWCKW. Ms. Uhrowczik received
 25   her J.D. from the New York University School of Law in 2009 and her B.A. from Indiana
 26   University in 2004. At Schneider Wallace, Ms. Uhrowczik’s practice focused on systemic
 27   disability access, employment and consumer class actions.
 28
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  1          92.            Ms. Uhrowczik worked on Plaintiffs’ oppositions to Defendants’ various
  2   motions to dismiss the pleadings, with a particular focus on Defendants’ contention that Ms.
  3   Nevarez, as a companion to Mr. Nevarez, lacked associational standing under Article III. Ms.
  4   Uhrowczik also helped to prepare the initial written discovery that Plaintiffs served upon
  5   Defendants. Ms. Uhrowczik’s 2019 hourly rate is $725.
  6          93.            Travis Close is an associate at SWCKW. He received his J.D. from
  7   Northeastern University School of Law in 2014. Mr. Close’s practice focuses on systemic
  8   disability access, elder abuse and consumer class actions.
  9          94.             Mr. Close worked on discovery and preparation for depositions (assisting
 10   Mr. Wallace with document intensive depositions, including the deposition of Defendants’
 11   primary access expert, Kim Blackseth), expert reports and declarations, and motions to compel.
 12   Mr. Close had a particular focus on all aspects of the issue of dimensional or field tolerances.
 13   Defendants contended that the deviations from the federal and state access standards within the
 14   Stadium, the parking lots and the pedestrian right of way, fell within such tolerances. Analyzing
 15   this issue required the review and analysis of thousands of pages of construction documents
 16   regarding the issue of construction tolerances for materials such as concrete, asphalt, and various
 17   metals and other materials. The subject matter is technical. Mr. Close assisted in the analysis of
 18   this issue for purposes of both expert and Rule 30(b)(6) witnesses. Mr. Close also worked on the
 19   preparation of class member declarations, class outreach and responding to class member
 20   inquiries. Mr. Close’s 2019 hourly rate is $680.
 21          95.            Abigail Avilucea was an associate at SWCK who managed and oversaw the
 22   e-discovery division of the firm. She was admitted to the Massachusetts and Maryland bars in
 23   2014. Ms. Avilucea oversaw the receipt, review, analysis and distribution of documents produced
 24   in litigation. She is trained and experienced in the efficient and effective management,
 25   organization, analysis and retrieval of documents and was responsible for assisting in the
 26   development of document review protocols and supervising document reviewers. Ms. Avilucea
 27   attended Suffolk University Law School in Boston, Massachusetts where she graduated with Pro
 28
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 1   Bono Honors. Ms. Avilucea attended undergrad at Miami University (Ohio) where she obtained
 2   her Bachelor of Arts in International Studies with a minor in Anthropology.
 3            96.          Ms. Avilucea’s work on this case included the supervision of e-discovery
 4   and document management and analysis for discovery and trial preparation. Her work on this case
 5   included extensive communications with Defendants and third parties regarding electronic
 6   discovery production and management. She coordinated with the firm’s e-discovery vendor to host
 7   over 1 million documents and to resolve numerous issues that arose along the way concerning
 8   corrupted material and incompatible document formats. She managed advanced analytics and de-
 9   duplication efforts to reduce the volume of hosted material and hone-in on documents likely to be
10   used for exhibits at depositions. She prepared potential exhibits for trial and oversaw the analysis
11   of specific barriers as part of Plaintiffs’ renewed motion for summary judgement. Ms. Avilucea’s
12   2019 hourly rate is $680.
13            97.          William Stewart is an associate attorney at SWCK. His practice focuses on
14   antitrust litigation, including pharmaceutical pay-for-delay actions. He graduated from the
15   University of San Francisco School of Law in 2017 and was admitted to the California Bar in
16   2018. While at USF School of Law, he was a member of the Internet and Intellectual Property
17   Law Clinic and a senior editor of the Intellectual Property and Technology Law Journal.
18            98.          Mr. Stewart’s work on this case included document review and analysis for
19   purposes of trial preparation. Mr. Stewart analyzed complaints from class members regarding
20   accessible ticket purchasing policies, parking lots and rights-of-way to the stadium, and seating
21   inside the stadium. He reviewed and analyzed internal event audits to determine whether
22   Defendants may have violated accessibility guidelines for ticketing policies by removing
23   accessible seating during certain events. He prepared strategic memos for prioritizing access
24   barriers on which to focus during trial preparation. He summarized Defendants’ policies regarding
25   accessible parking and transportation to determine whether they complied with federal and state
26   law, which aided negotiations for injunctive relief at settlement. Mr. Stewart’s 2019 hourly rate is
27   $575.
28
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  1          99.            Ryan Bonner is a staff attorney who joined SWCK in December of 2017 as a
  2   member of the firm’s attorney document review team and who has also worked on drafting
  3   motions and other legal documents. He obtained his Juris Doctorate from Southwestern School of
  4   Law in Los Angeles in 2014 and was admitted to the California Bar in July of 2015. Prior to
  5   joining SWCKW he held a variety of positions with other law firms as a contract attorney and
  6   document reviewer. Mr. Bonner received his undergraduate degree in political science from the
  7   University of California Los Angeles.
  8          100.           Mr. Bonner’s work on this case included an extensive review and analysis of
  9   construction blueprints to prepare exhibits for numerous 30(b)(6) depositions. He analyzed third-
 10   party document productions to gather evidence of the date of initial stadium construction, and thus
 11   whether the 1991 or 2010 standards under the ADA properly applied, which had potentially
 12   dramatic consequences regarding the scope of injunctive relief available. Mr. Bonner reviewed
 13   numerous sets of design documents from vendors and subcontractors, analyzing them for
 14   applications of disability access standards to specific design elements within the stadium. In
 15   addition, Mr. Bonner interpreted numerous seating charts to determine where accessible seating
 16   was designed and then subsequently removed at the Stadium following Defendants’ decision to
 17   use .5% accessible seating instead of 1%. Mr. Bonner also prepared analysis memoranda on these
 18   subjects that were used for purposes of deposition and for follow-up discovery. Mr. Bonner’s
 19   2019 hourly rate is $625.
 20          101.           Justin Proctor is a staff attorney at Schneider Wallace. Mr. Proctor received
 21   his Juris Doctorate from Temple University Beasley School of Law in 2007 and has been a
 22   member of the California Bar since July of 2017. He joined Schneider Wallace as a member of its
 23   attorney document review team in August of 2018 and has extensive experience in reviewing,
 24   analyzing and coding documents produced in document intensive class action cases, both as a
 25   contract attorney and paralegal. Prior to attending law school Justin obtained a paralegal
 26   certification from Villanova University in 2001. He worked for 14 years as a certified paralegal
 27   and law school graduate at a number of law firms, specializing in document management and
 28
            [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
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  1   review in large class actions and other cases and performing other advanced paralegal tasks. Justin
  2   attended the University of Chicago as an undergraduate, receiving B.A. in Philosophy in 1998.
  3          102.            Mr. Proctor’s work on this case included document review and analysis to
  4   prepare for depositions and trial. Mr. Proctor was the primary document analysis attorney for
  5   Plaintiffs in this case. As discussed, Defendants’ and Third-Party Defendant Turner-Devcon
  6   produced over 3.4 million pages of documents, most of which were not Bates Numbered or
  7   organized. Mr. Proctor used targeted searches to analyze this vast number of documents and
  8   identify key exhibits for deposition and trial. In particular, Mr. Proctor’s work included searching
  9   for documents pertaining to the depositions of Ed Roether (one of Defendants’ access
 10   consultants), Mr. Jim Terry (another of Defendants’ access consultants), Lanson Nichols (the
 11   architect of record for the Stadium), and John Wasson (Project Executive for Levi’s Stadium).
 12   Mr. Proctor’s work also included analyzing the document database to identify exhibits regarding
 13   disability access design and/or construction defects with respect to the Stadium and its restaurants,
 14   restrooms, seating areas, signage, drink rails, and handrails, as well as the pedestrian right of way
 15   serving the Stadium. Mr. Proctor prepared summary memoranda identifying key documents that
 16   contained admissions in these areas, which were then used in deposition. Mr. Proctor’s 2019
 17   hourly rate is $625.
 18          103.            Edgar Olivares is a staff attorney at Schneider Wallace. He received his
 19   juris doctorate in 2007 from St. John’s University School of Law in New York and is a member of
 20   the New York State Bar. He has worked for Schneider Wallace since May of 2019 as a member of
 21   the firm’s document review team and has also conducted class member outreach. Prior to coming
 22   to Schneider Wallace, Edgar was employed as a staff attorney for seven years with the New York
 23   firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP and worked as a contract attorney and
 24   discovery staff attorney for two other New York firms before that. Prior to attending law school,
 25   Edgar received a Bachelor of Science in Foreign Service, with a specialization in International
 26   History and Diplomacy from Georgetown University School of Foreign Service.
 27          104.            Mr. Olivares’s work on this case included document review and analysis for
 28   purposes of trial preparation. Mr. Olivares conducted targeted analysis Defendants’ documents
            [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
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  1   with a particular focus on issues regarding services for persons with disabilities, including
  2   Defendants’ policies, procedures and practices regarding ticketing, seating, sightlines, mobility
  3   services, mobility shuttles, companion seating and parking, as well as other specific access issues.
  4   Mr. Olivares’ 2019 hourly rate is $625.
  5                        The Schneider Wallace Firm Paralegals and Their Role
  6            105.         Sam Marks was a senior paralegal at Schneider Wallace. He is a 2007
  7   graduate of the University of California, Santa Barbara. Mr. Marks’ work on this case included
  8   interviewing class members, responding to their inquiries and assisting with the preparation of
  9   their declarations. He also assisted with general document review and analysis, performed
 10   research, developed organizational tools and compilations of information to assist the firms’
 11   attorneys in the litigation and in preparing for depositions and hearings, and prepared drafts of
 12   subpoenas’, deposition notices and other documents. Mr. Marks worked at our firm as a paralegal
 13   for eleven years, and he assisted with these types of tasks in many wage and hour cases and
 14   systemic disability access cases. His 2019 hourly rate is $300.
 15            106. I have reviewed various sources of information about the prevailing market rates in
 16   the Bay Area for the staff identified above. I am also familiar with case law regarding reasonable
 17   market rates in the Northern District of California. In my opinion, the rates that our firm seeks for
 18   the staff members identified above are within the market range for staff with similar qualifications
 19   and experience who do similar types of work in the Northern District of California.
 20                                       Method of Recording Time
 21            107.         The practice of both myself and the attorneys at my firm is to record time in
 22   tenth of an hour increments, and to do so as contemporaneously as possible with the expenditure
 23   of the time by the attorney.
 24                             Appropriate Billing Judgment Was Exercised
 25            108.         In the exercise of billing judgment I have reviewed and revised the billing
 26   records on an entry-by-entry basis to eliminate inefficiencies and other billing entries that should
 27   not be claimed. The remaining time was all reasonable and necessary for the prosecution of this
 28   case.
              [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
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  1          109.            To the extent that particular time entries by Schneider Wallace legal staff
  2   reflect arguably unproductive or duplicative hours, we have not requested fees based thereon. In
  3   this matter I made the following exercise of billing judgment in which I either excluded or reduced
  4   particular time entries.
  5          110.            First, I generally deleted all time expended on the matter by attorneys,
  6   paralegals and law clerks who worked on this matter for less than eighty (80) hours so as to
  7   eliminate any potential inefficiencies arising from the use of lawyers, paralegals or law clerks who
  8   were unfamiliar with the litigation and who would require the expenditure of time to achieve
  9   working familiarity with the claims. Second, I also deleted time with respect to other billers based
 10   on the exercise of billing judgment during my review of the file in connection with the preparation
 11   of this Declaration. I excluded or reduced time entries in my own records that I concluded to be
 12   non-billable, or other entries that were excessive, clerical, erroneous or otherwise non-
 13   compensable. I followed the same process with the entries made by other attorneys and paralegals
 14   for whom we seek compensation.
 15          111.            In the exercise of billing judgment, Class Counsel have eliminated all time
 16   spent in connection with the motion for a temporary restraining order, their opposition to
 17   Ticketmaster’s motion to compel arbitration, and most of the time spent in connection with
 18   requests for admission that were the addressed in Defendants’ motion for a protective order.
 19   Counsel have also billed for the presence of only two attorneys at Case Management Conferences.
 20   Id.
 21          112.            The foregoing exercises of billing judgment eliminated $870,708.50 from
 22   the Schneider Wallace lodestar in this matter, or 11.4%.
 23          113.            Despite the diligent efforts of counsel in reviewing these billing records,
 24   given the nature of this litigation and the number of time entries at issue, it is possible that the
 25   billing records still contain a very minor number of entries that Class Counsel intended to delete
 26   on the bases described above. True and correct copies of the Schneider Wallace billing records for
 27   this case up through May 15, 2020 and following the exercise of billing judgment are attached as
 28   Exhibit E to this Declaration.
            [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
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 1          114.              The chart shown below reflects the total billing judgment deductions made
 2   by Class Counsel herein.
                                   Total Exercise of Billing Judgment for All Firms
 3
                                           Nevarez v. Forty Niners, et al.
 4
 5      Schneider Wallace Cottrell Konecky LLP             Attorneys’ Fees       $870,708.50
        Goldstein, Borgen, Dardarian, & Ho                 Attorneys’ Fees       $305,409.00
 6
        Peiffer Wolf Carr and Kane                         Attorneys’ Fees       $212,930.50
 7      Total Attorneys’ Fees Reduced                                            $1,389,048.00
 8                                               Requested Fees
 9          115.              Class Counsels’ total lodestar in this matter is $11,605,473.00. The total
10   number of hours for which Class Counsel seek compensation is 16,850.4. Class Counsels’ hours
11   are reasonable given the scope of this litigation, which involved three classes comprised of several
12   thousand persons; Defendants’ aggressive defense of this litigation; the fundamental importance of
13   the civil rights at stake; and the excellent results achieved by Class Counsel in vindicating those
14   rights. Class Counsel also seek a multiplier with respect to their lodestars for this litigation, but
15   only up to the cap for fees and costs permitted by the Settlement Agreement.
16          116.              Class Counsel’s lodestar is current through May 15, 2020. However, our
17   work on this matter is ongoing. Class Counsel will provide the Court with updated lodestar
18   information just prior to the hearing on Plaintiffs’ Motion for Reasonable Attorneys’ Fees, Costs
19   and Expenses.
20                                     Schneider Wallace Cottrell Konecky LLP
21          117.              Schneider Wallace submits the following application for fees, costs and
22   expenses in this case:
23
24                                    Schneider Wallace Cottrell Konecky LLP
                                             Nevarez v. Forty Niners
25
        Attorney                  Law School    Hourly Rate            Hours            Total Fees
26                                Grad Date

27      Guy B. Wallace            1993            $925                     2,203        $2,037,775.00
        Mark T. Johnson           1977            $875                     1,146.2      $1,002,925.00
28
           [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
                         Nevarez, et. al. v. 49ers, et al., Case No. 5:16-cv-07013-LHK (SVK)
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   1     Sarah Colby           1997           $840                     1,303.9      $1,095,276.00
   2                                                                                $694,348.00
         Travis Close          2015           $680                     1,021.1
   3                                                                                $52,562.50
         Ryan Bonner           2014           $625                     84.1
   4     Abigail Avilucea      2014           $680                     524.7        $356,796.00
         Edgar Olivares        2007           $625                     242.4        $151,500.00
   5
         Justin Proctor        2007           $625                     1,485.4      $928,375.00
   6     William Stewart       2017           $575                     415.5        $238,912.50
   7     Jennifer Uhrowczik    2009           $725                     162.1        $117,522.50
                                           Paralegals and Law Clerks
   8
         Sam T. Marks          N/A            $300                     321.8        $96,540.00
   9
         Subtotal of Hours                                             8,910.2
  10

  11     Total of Attorneys’ Fees                                                   $6,722,532.50
  12     Total of Costs and Litigation Expenses                                     $ 527,503.82
         Total                                                                      $7,250,036.32
  13

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           [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
                         Nevarez, et. al. v. 49ers, et al., Case No. 5:16-cv-07013-LHK (SVK)
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  1                                   Goldstein, Borgen, Dardarian & Ho
  2          118.            The GBDH lodestar is $3,115,006.00 for 5,549.3 hours worked after the
  3   exercise of billing judgment. GBDH also seeks $360,655.61 for reimbursement of all other
  4   litigation related expenses necessarily incurred in this litigation. GBDH seeks a total of
  5   $3,475,661.61 for its lodestar, costs and expenses in this litigation.
  6
                                       Goldstein, Borgen, Dardarian, & Ho
  7                                 Nevarez v. Forty Niners City of Los Angeles
         Attorney                 Law School     Hourly Rate              Hours           Total Fees
  8                               Grad Date
         Linda M. Dardarian       1987           $925                     891.4           $824,545.00
  9      Andrew P. Lee            2006           $710                     1,449.6         $1,028,435.00
         Megan Ryan               2008           $595                     122.2           $72,709.00
 10
         Raymond Wendell          2013           $475                     250.3           $118,892.50
 11      Katharine Fisher         2015           $450                     1,345.5         $605,475.00
         Alan Romero              2017           $400                     120.7           $48,280.00
 12                                         Paralegals and Law Clerks
         Mengfei Sun              N/A            $300
 13      Jacqueline               N/A            $325
         Thompson
 14      Scott G. Grimes         N/A            $325
         Damon Valdez            N/A            $295
 15      Stuart Kirkpatrick      N/A            $275
         Subtotal of Hours                                                     5,549.3
 16      Total of Attorneys’ Fees                                                         $3,115,006.00
         Total of Costs and Litigation Expenses                                           $360,655.61
 17      Total                                                                            $3,475,661.61
 18                                         Peiffer Wolf Carr & Kane

 19           119.           The lodestar after the exercise of billing judgment for Peiffer Wolf Carr &

 20   Kane is $1,767,934.50 for 2,390.9 hours of work expended in prosecuting this case. PWCK seeks

 21   reimbursement of $310,230.71 for litigation-related costs expenses. PWCK seeks $2,078,165.21

 22   for its lodestar, costs and expenses in this litigation.

 23
                                         Peiffer Wolf Carr and Kane LLP
 24
                                          Nevarez v. Forty Niners, et al.
 25      Attorney                 Law School     Hourly Rate            Hours              Total Fees
                                  Grad Date
 26
         Joseph Peiffer           1999             $975                    39.2            $38,220.00
 27
         Adam Wolf                2001             $830                    526.1           $436,663.00
 28      Catherine Cabalo         2001             $785                    1,394.1         $1,094,368.50
            [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
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   1        Tracey Cowan          2006           $710                  56.9           $38,761.00
   2        Brandon Wise          2014           $510                  76.0           $38,760.00
            Drew Morock           2015           $435                  238.4          $103,704.00
   3                                         Paralegals and Law Clerks
   4        Tien Le               N/A            $290                  60.2           $17,458.00

   5
            Subtotal of Hours                                         2,390.9
   6

   7        Total of Attorneys’ Fees                                                  $1,767,934.50
            Total of Costs and Litigation Expenses                                    $310,230.71
   8
            Total                                                                     $2,078,165.21
   9

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  28
              [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
                            Nevarez, et. al. v. 49ers, et al., Case No. 5:16-cv-07013-LHK (SVK)
                                                       50

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  1             SUMMARY OF APPLICATION FOR FEES, COSTS AND EXPENSES
  2          120.           The following chart summarizes the reasonable attorneys’ fees, costs and
  3   expenses incurred by Plaintiffs’ Counsel herein for their work.
  4
                            Total Fees, Costs, and Litigation Expenses for All Firms
  5                                         Nevarez v. Forty Niners
         Schneider Wallace Cottrell Konecky LLP                  Attorneys’ Fees $6,722,532.50
  6                                                              Hours Billed        8,910.2
                                                                 Costs               $ 527,503.82
  7      Goldstein, Borgen, Dardarian, & Ho                      Attorneys’ Fees $3,115,006.00
  8                                                              Hours Billed        5,549.3
                                                                 Costs               $360,655.61
  9      Peiffer Wolf Carr and Kane LLP                          Attorneys’ Fees $1,767,934.50
                                                                 Hours Billed        2,390.9
 10                                                              Costs               $310,230.71
         Total Attorneys’ Fees                                                       $11,605,473.00
 11      Total Number of Hours                                                       16,850.40
         Total of Costs and Litigation Expenses                                      $1,198,390.10
 12      Total                                                                       $12,803,863.14

 13
             121.           The total amount of reasonable attorneys’ fees incurred by Class Counsel for
 14
      their work herein after the exercise of billing judgment is $11,605,473. This lodestar reflects a
 15
      reduction of $ 1,389,048, thus reducing the total amount of fees claimed by 10.69%.
 16
                            Plaintiffs’ Requested Costs and Litigation Expenses in This Motion
 17
             122. Plaintiffs submit an application for reimbursement of costs and litigation expenses
 18
      in this matter in the amount of $ 1,198,390.16. As discussed herein, and in the accompanying
 19
      Declarations of Jennifer A. Perez, Linda M. Dardarian and Adam B. Wolf, the vast majority of
 20
      these costs and litigation expenses were for expert fees, deposition transcripts, document
 21
      production, storage and copying costs, process servers, witness fees, and mediation.
 22
 23
 24

 25
 26

 27
 28
            [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
                          Nevarez, et. al. v. 49ers, et al., Case No. 5:16-cv-07013-LHK (SVK)
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 1            123. The following chart summarizes the costs and litigation expenses incurred by Class
 2    Counsel in this matter, and for which reimbursement is sought:
 3
                                 Total Costs and Litigation Expenses for All Firms
 4
                                              Nevarez v. Forty Niners
 5

 6       Schneider Wallace Cottrell Konecky LLP                                   $527,503.82
         Goldstein, Borgen, Dardarian, & Ho                                       $360,655.61
 7
         Peiffer Wolf Carr and Kane LLP                                           $310,230.71
 8
         Total Costs & Litigation Expenses                                        $1,198,390.10
 9

 10
              124.          The Schneider Wallace firm submits an application for costs and litigation
 11
      expenses incurred in the amount of $527,503.82. As discussed in the accompanying Declaration
 12
      of Jennifer Perez In Support of Plaintiffs’ Motion for an Award of Reasonable Attorneys’ Fees,
 13
      Costs and Expenses (“Perez Decl.”), the vast majority of these costs were for expert fees,
 14
      deposition transcripts, document production, storage and copying costs, process servers, witness
 15
      fees, and mediation. A true and correct copy of a detailed itemized list of our firm’s costs and
 16
      expenses, as well as the costs and expenses incurred by GBDH and PWCK, are set forth in the
 17
      separate Appendix of Costs in support of this Motion. Also included in that Appendix are copies
 18
      of all invoices, bills and statements reflecting those costs for which Plaintiffs are seeking
 19
      reimbursement.
 20
              125.          In the opinion of the undersigned, the foregoing costs and expenses were
 21
      reasonably incurred by Class Counsel and were necessary to the successful prosecution of this
 22
      litigation.
 23
                Comparison of Total Hours Expended By Class Counsel in This Case With
 24
               the Total Hours Approved in Other Systemic Disability Access Class Actions
 25
              126.          Class Counsel’s hours herein are less than those that were awarded in similar
 26
      systemic disability access cases in which I was class counsel, or that I am familiar with from my
 27
      work in this field. For example, the district court found the following hours to be reasonable in
 28
            [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
                          Nevarez, et. al. v. 49ers, et al., Case No. 5:16-cv-07013-LHK (SVK)
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   1   Lopez v. San Francisco Unified School District, Californians for Disability Rights, Inc. v. Cal.
   2   Dept. of Transp., and Willits v. City of Los Angeles:
   3
                          Hours Approved in Prior Disability Access Class Actions
   4
           Californians for Disability Rights, Inc. v. California Department of Transportation,
   5       Case No.: C-06-5125 SBA (N.D. Cal. 2010)
   6       Attorney                                   Firm               Hours
           Daniel B. Kohrman                          AFL                266.75
   7       Julie Nepveu                               AFL                690.95
           Summer Associates                          AFL                223.75
   8
           Jose R. Allen                              Skadden            1838.2
   9       Sheryl Wu Leung                            Skadden            132.4
           Jason Breeding                             Skadden            324.3
  10       Nathaniel Fisher                           Skadden            179.3
           Legal Assistants                           Skadden            454.75
  11       Legal Technology Manager                   Skadden            61.1
           Legal Technology Analyst                   Skadden            3.6
  12
           Lawrence Paradis                           DRA                3,814.6
  13       Ron Elsberry                               DRA                743.3
           Jennifer Bezoza                            DRA                42.5
  14       Roger Heller                               DRA                590.2
           Kevin Knestrick                            DRA                234
  15       Alexius Markwalder                         DRA                90.1
           Kasey Corbit                               DRA                201.8
  16       Mary-Lee Kimber                            DRA                4,395.8
  17       Stephanie Biedermann                       DRA                483.6
           Becca von Behren                           DRA                1052.4
  18       Stephanie Enyart                           DRA                145.8
           Senior Paralegals                          DRA                485
  19       Summer Associates                          DRA                541.1
           Paralegals                                 DRA                996.5
  20       Law Clerks                                 DRA                2,226.9
  21       Case Clerks                                DRA                181.5
                                                                TOTAL HOURS = 20,400.2
  22
  23       Willits et al v. City of Los Angeles, Case No. 10-cv-05782 (C.D. Cal. 2016)
           Guy Wallace                              SWCK                  3591.2
  24       Mark Johnson                             SWCK                  2213
           Andrew Lee                               SWCK                  1103.8
  25
           Jennifer Uhrowczik                       SWCK                  331.4
  26       Kiran Prasad                             SWCK                  285.7
           Michelle Nguyen                          SWCK                  101.3
  27       Katharine White                          SWCK                  76.0
           Amanda Riley                             SWCK                  217.7
  28       Chris Springer                           SWCK                  277.5
             [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
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   1      Charles Green                         SWCK             545.7
          Scott Gordon                          SWCK             100.1
   2      Sam Marks                             SWCK             1031.1
          David A. Borgen                       GBDH             113.8
   3
          Linda Dardarian                       GBDH             1276.1
   4      Andrew Lee                            GBDH             576.3
          Jason Tarricone                       GBDH             278
   5      Katrina Eiland                        GBDH             207.3
          Nancy Hanna                           GBDH             44.4
   6      Raymond Wendell                       GBDH             133.7
          Scott E. Grimes                       GBDH             372.2
   7
          Elizabeth Kramer                      GBDH             63.3
   8      Damon Valdez                          GBDH             946.4
          Wendy E. Whitt                        GBDH             329.3
   9      Charlotte Nguyen                      GBDH             100.3
          Stuart Kirkpatrick                    GBDH             178.5
  10      Jinny Kim                             LAAW             859.4
          Rachael Langston                      LAAW             180.2
  11
          Alexis Alvarez                        LAAW             28.6
  12      Mary Broughton                        LAAW             567.9
          Michael Hsueh                         LAAW             77.4
  13      Shawna Parks                          DRLC             225.5
          Ronald Elsberry                       DRLC             63.7
  14      Surisa E. Rivers                      DRLC             896.4
          Trevor Finneman                       DRLC             114.3
  15      Unnamed Law Clerk                     DRLC             257.8
  16      Debra J Patkin                        DRLC             410.2
          Sage Reeves                           DRLC             236.9
  17      Shawna L Parks                        Law Office of    15.2
                                                Shawna L. Parks
  18      Jose R. Allen                         Skadden          560.2
                                                        TOTAL HOURS = 18,987.8
  19
          Lopez v. San Francisco Unified School District, No. C99-03260, 385 F.Supp.2d 981
  20      (N.D. Cal 2005)
  21      Jose Allen                            Skadden               1846.5
          Scott Birkey                          Skadden               88.8
  22      Benjamin Ostapuk                      Skadden               80.5
          Carita Shanklin                       Skadden               55.55
  23      Summer Associate                      Skadden               55.7
  24      Legal Assistants                      Skadden               1352.28
          Paralegals                            Skadden               225.95
  25      Todd Schneider                        SWCK                  26.8
          Guy Wallace                           SWCK                  3380.6
  26      Clint Brayton                         SWCK                  61.2
          Sarah Colby                           SWCK                  256.4
  27      Jinny Kim                             SWCK                  165.6
  28      Josh Konecky                          SWCK                  29.5

           [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
                         Nevarez, et. al. v. 49ers, et al., Case No. 5:16-cv-07013-LHK (SVK)
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   1      Elisa Laird                           SWCK             2004.7
          Galin Luk                             SWCK             149
   2      Wendy Musell                          SWCK             2159.5
   3      William Wilson                        SWCK             15
          Law Clerks/Paralegals                 SWCK             735.7
   4      Lewis Bossing                         Legal Aid        2752.98
          Claudia Center                        Legal Aid        223.6
   5      Sarah Colby                           Legal Aid        59.8
          Mary K. Gillespie                     Legal Aid        2128.8
   6      Jinny Kim                             Legal Aid        82.88
          Elizabeth Kristen                     Legal Aid        47.27
   7
          William C. McNeil, III                Legal Aid        13.37
   8      Patricia Shiu                         Legal Aid        795.82
          Guy Wallace                           Legal Aid        213.8
   9      Diane Webb                            Legal Aid        122.63
          Law Clerks                            Legal Aid        1025.87
  10      Paralegals                            Legal Aid        1359.7
                                                        TOTAL HOURS = 21,515.8
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           [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
                         Nevarez, et. al. v. 49ers, et al., Case No. 5:16-cv-07013-LHK (SVK)
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                                                                                        Ex. E - 307
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 1                          Class Counsel Undertook Substantial Risks in Their
 2                               Representation of the Plaintiff Class, and a
 3                                Contingent Risk Multiplier is Warranted
 4           127.           The prosecution of this litigation required an extraordinary effort from Class
 5   Counsel, and exposed Class Counsel, who all litigated this case without any advance, concurrent,
 6   or other guarantee of payment, to substantial risk. These risks included the risk of not prevailing
 7   on their claims, or a substantial part of their claims. For example, the parties disputed whether the
 8   2010 ADAS or the 1991 ADAAG applied to the Stadium, and the case law is undeveloped in this
 9   area which focused on when groundbreaking for the Stadium took place. If Class Counsel had lost
10   on this issue, a significant number of alleged access barriers would have been eliminated from the
11   case, thus limiting the scope of injunctive relief available to the Class and resulting in only partial
12   success. Similarly, there was little case law regarding Plaintiffs’ claims regarding access to
13   ticketing services, and the outcome in this area was therefore uncertain. Further, as this Court is
14   aware, numerous disability access standards regarding particular physical elements of the Stadium
15   were disputed by the parties, and were the subject of competing expert opinions and
16   interpretations, thus raising additional uncertainty and risk regarding the ultimate outcome of
17   significant parts of Plaintiffs’ case.
18           128.            This litigation also required an extraordinary expenditure of out of pocket
19   costs and expenses by Class Counsel. Class Counsel were required to expend $1,199,141.87 to
20   fund the out-of-pocket costs and expenses of this litigation, thus making this litigation burdensome
21   and risky. This sum had to be advanced by Class Counsel for the length of the litigation with no
22   guarantee of ultimate success. In the experience of Class Counsel, relatively few firms that work
23   in the area of disability civil rights, or Plaintiffs’-side litigation more generally, would be either
24   able to, or willing to, advance such a high level of costs and expenses.
25           129.           Notwithstanding the foregoing risks, burdens and obstacles, which were
26   formidable, Class Counsel achieved an extraordinary result in this litigation. Class Counsel
27   achieved a Settlement that will make the Stadium, its parking lots and the pedestrian rights of way
28   that serve the Stadium fully accessible to persons with mobility disabilities. This outcome
           [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
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 1   vindicates the core purposes of the ADA of achieving the independence, equality and social
 2   integration of persons with mobility disabilities. In short, the result achieved by Class Counsel is
 3   truly excellent, and fully supports the award of the requested multiplier.
 4           130.           Finally, the multiplier requested by Class Counsel is modest. This multiplier is
 5   also important to compensate my firm for work that I was forced to decline during the pendency of this
 6   litigation because of the extraordinary time and resource demands of this litigation. Specifically,
 7   because of this litigation, I declined or deferred requests for representation regarding disability access
 8   regarding numerous private and public entities. Many cases I declined likely would have generated
 9   substantial fees on a shorter timeframe.
10           131.           In summary, taking into account the novelty and difficulty of the issues
11   presented, the massive scope this litigation, its protracted multi-year duration, the Defendants’
12   intransigent opposition, the great expense of conducting discovery herein and litigating this
13   matter, as well as the resultant extraordinary burdens (including almost $1.2 million in costs and
14   litigation expenses that Class Counsel actually paid out of their own pockets, with no guarantee of
15   recovery) and risk of loss borne by Class Counsel over the past three years, the requested
16   multiplier should be granted as part of a fair and reasonable award of attorneys’ fees given the
17   excellent results achieved by Class Counsel on behalf of the Plaintiff Classes.
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           [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
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  1                                             CONCLUSION
  2          132.           As described above and set forth in the Settlement Agreement itself, this
  3   Settlement provides extraordinary relief for Class Members. The injunctive relief is
  4   comprehensive, and I believe the damages fund is by far the largest ever obtained in a physical
  5   access case under Titles II or III of the ADA. Considering the totality of this relief, the substantial
  6   risk and delay of continued litigation, and the importance of the accessibility of the Stadium and
  7   its related facilities to the Class Members, the proposed Settlement constitutes an excellent result.
  8
  9          I declare under penalty of perjury under the laws of the United States of America that the
 10 foregoing is true and correct, and that this Declaration was executed on June 25, 2020, in

 11 Emeryville, California.
 12

 13                                                          /s/ Guy B. Wallace
                                                             Guy B. Wallace
 14
                                                             Attorneys for Plaintiffs
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            [CORRECTED] DECLARATION OF GUY B. WALLACE ISO PLTFS’ MOT. FOR FEES AND COSTS
                          Nevarez, et. al. v. 49ers, et al., Case No. 5:16-cv-07013-LHK (SVK)
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